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                      EXHIBIT A
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                          ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                       i

     iïi i i i i i×Ò ÌØÛ ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ ÝÑËÎÌ

     iîi i i i i i iÚÑÎ ÌØÛ Ü×ÍÌÎ×ÝÌ ÑÚ ÒÛÉ ÖÛÎÍÛÇ

     ií
     i i   iÕ×ÓÞÛÎÔÛÛ É×ÔÔ×ßÓÍôi      i   i   ÷
     iìi   i»¬ ¿´òôi i i i i i i      i   i   ÷
     i i   i i i i i i i i i i i      i   i   ÷
     iëi   i i i i iÐÔß×ÒÌ×ÚÚÍôi      i   i   ÷
     i i   i i i i i i i i i i i      i   i   ÷
     iêi   i i i i i i i i i i i      i   i   ÷
     i i   i i i iª-òi i i i i i      i   i   ÷i i iÝ×Ê×Ô ßÝÌ×ÑÒ
     iéi   i i i i i i i i i i i      i   i   ÷i i ÒÑò ïïóÝÊóðïéëì
     i i   i i i i i i i i i i i      i   i   ÷
     ièi   iÞßÍÚ ÝßÌßÔÇÍÌÍ ÔÔÝôi      i   i   ÷
     i i   i»¬ ¿´òôi i i i i i i      i   i   ÷
     içi   i i i i i i i i i i i      i   i   ÷
     i i   i i i i iÜÛÚÛÒÜßÒÌÍòi      i   i   ÷
     ïð

     ïïi   i   i   i i i i i i i iói ói ói ó ó
     i i   i   i   iÌØÛ Ê×ÜÛÑÌßÐÛÜ ÜÛÐÑÍ×Ì×ÑÒ ÑÚ ÓßÎ×ÔÇÒ ØÑÔÔÛÇ
     ïîi   i   i   i i i i i ÉÛÜÒÛÍÜßÇô ßÐÎ×Ô ëô îðïé
     i i   i   i   i i i i i i i i ói ói ói ó ó
     ïí

     ïìi i i i Ì¸» ª·¼»±¬¿°»¼ ¼»°±-·¬·±² ±º ÓßÎ×ÔÇÒ ØÑÔÔÛÇô

     ïëi i½¿´´»¼ ¾§ ¬¸» Ü»º»²¼¿²¬- º±® »¨¿³·²¿¬·±² °«®-«¿²¬

     ïêi i¬± ¬¸» Ú»¼»®¿´ Î«´»- ±º Ý·ª·´ Ð®±½»¼«®»ô ¬¿µ»²

     ïéi i¾»º±®» ³»ô ¬¸» «²¼»®-·¹²»¼ô Í¿®¿¸ Îò Ü®±©²ô Ò±¬¿®§

     ïèi iÐ«¾´·½ ©·¬¸·² ¿²¼ º±® ¬¸» Í¬¿¬» ±º Ñ¸·±ô ¬¿µ»² ¿¬

     ïçi i¬¸» ±ºº·½»- ±º Ì¸±³°-±² Ø·²» ÔÔÐô íçðð Õ»§ Ý»²¬»®ô

     îði iïîé Ð«¾´·½ Í¯«¿®»ô Ý´»ª»´¿²¼ô Ñ¸·±ô ½±³³»²½·²¹ ¿¬

     îïi iïðæðï ¿ò³òô ¬¸» ¼¿§ ¿²¼ ¼¿¬» ¿¾±ª» -»¬ º±®¬¸ò

     îî

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                 ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
    ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                               ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé            Ð¿¹» î

     iïi ißÐÐÛßÎßÒÝÛÍæ

     iî

     iíi i i i Ñ² ¾»¸¿´º ±º ¬¸» Ð´¿·²¬·ºº-æ

     iìi   i   i   i   i   iÓ·½¸¿»´ Ý±®»²ô Û-¯ò
     i i   i   i   i   i   iÖ¿®»¼ Óò Ð´¿½·¬»´´¿ô Û-¯ò
     iëi   i   i   i   i   iÝ±¸»²ô Ð´¿½·¬»´´¿ ú Î±¬¸ô ÐòÝò
     i i   i   i   i   i   iïîé Ó¿°´» ßª»²«»
     iêi   i   i   i   i   iÎ»¼ Þ¿²µô Ò»© Ö»®-»§i ðééðï
     i i   i   i   i   i   iøèèè÷ îïçóíëçç
     iéi   i   i   i   i   iÓ½±®»²à½°®´¿©ò½±³
     i i   i   i   i   i   iÖ³°´¿½·¬»´´¿à½°®´¿©ò½±³
     iè

     iç
     i i i i i Ñ² ¾»¸¿´º ±º ¬¸» Ü»º»²¼¿²¬
     ïði i i i ÞßÍÚ Ý¿¬¿´§-¬- ÔÔÝæ

     ïïi   i   i   i   i   iÛ«¹»²» Úò ß--¿ºô Û-¯ò
     i i   i   i   i   i   iÐ»¬»® ßò Ú¿®®»´´ô Û-¯ò
     ïîi   i   i   i   i   iÛ´·¦¿¾»¬¸ Ü¿´³«¬ô Û-¯ò
     i i   i   i   i   i   iÕ·®µ´¿²¼ ú Û´´·- ÔÔÐ
     ïíi   i   i   i   i   iêëë Ú·º¬»»²¬¸ Í¬®»»¬ô Ò±®¬¸©»-¬ô Í«·¬» ïîðð
     i i   i   i   i   i   iÉ¿-¸·²¹¬±²ô ÜòÝòi îðððë
     ïìi   i   i   i   i   iøîðî÷ èéçóëððð
     i i   i   i   i   i   iÛ«¹»²»ò¿--¿ºàµ·®µ´¿²¼ò½±³
     ïëi   i   i   i   i   iÐ»¬»®òº¿®®»´´àµ·®µ´¿²¼ò½±³
     i i   i   i   i   i   iÛ´·¦¿¾»¬¸ò¼¿´³«¬àµ·®µ´¿²¼ò½±³
     ïê

     ïé
     i i   i   i   i   Ñ² ¾»¸¿´º ±º ¬¸» Ü»º»²¼¿²¬-
     ïèi   i   i   i   Ý¿¸·´´ Ù±®¼±² ú Î»·²¼»´ ÔÔÐô
     i i   i   i   i   Ø±©¿®¼ Ùò øÐ»¬»®÷ Í´±¿²»ô
     ïçi   i   i   i   ×®¿ Öò Ü»³¾®±©æ

     îði   i   i   i   i   iÝ¿--¿²¼®¿ Ú·»´¼-ô Û-¯ò
     i i   i   i   i   i   iÙ®¿²¬ Ù»§»®³¿²ô Û-¯ò
     îïi   i   i   i   i   iÉ·´´·¿³- ú Ý±²²±´´§ô ÔÔÐ
     i i   i   i   i   i   iéîë Ì©»´º¬¸ Í¬®»»¬ô ÒòÉò
     îîi   i   i   i   i   iÉ¿-¸·²¹¬±²ô ÜòÝòi îðððë
     i i   i   i   i   i   iøîðî÷ ìíìóëððð
     îíi   i   i   i   i   iÝº·»´¼-à©½ò½±³
     i i   i   i   i   i   iÙ¹»§»®³¿²à©½ò½±³
     îì

     îë


                 ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
    ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                              ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé             Ð¿¹» í

     iïi ißÐÐÛßÎßÒÝÛÍ ÝÑÒÌ×ÒËÛÜæ

     iî
     i i i i i Ñ² ¾»¸¿´º ±º ¬¸» Ü»º»²¼¿²¬
     iíi i i i Ì¸±³¿- Üò Ø¿´µ»¬æ

     iìi   i   i   i   i   iÛ®·½ Ì«²·-ô Û-¯ò øÊ·¿ °¸±²»÷
     i i   i   i   i   i   iØ»®±´¼ Ô¿©ô Ðß
     iëi   i   i   i   i   iîë ×²¼»°»²¼»²½» Þ±«´»ª¿®¼
     i i   i   i   i   i   iÉ¿®®»²ô Ò»© Ö»®-»§i ðéðëç
     iêi   i   i   i   i   iøçðè÷ êìéóïðîî
     i i   i   i   i   i   iÛ¬«²·-à¸»®±´¼´¿©ò½±³
     ié

     iè
     i i i i i Ñ² ¾»¸¿´º ±º ¬¸» Ü»º»²¼¿²¬
     içi i i i ß®¬¸«® Ü±®²¾«-½¸æ

     ïði   i   i   i   i   iÕ»ª·² Øò Ó¿®·²±ô Û-¯ò øÊ·¿ °¸±²»÷
     i i   i   i   i   i   iÖ±¸² ßò Þ±§´»ô Û-¯ò øÊ·¿ °¸±²»÷
     ïïi   i   i   i   i   iÓ¿®·²±ô Ì±®¬±®»´´¿ ú Þ±§´» ÐÝ
     i i   i   i   i   i   iìíé Í±«¬¸»®² Þ±«´»ª¿®¼
     ïîi   i   i   i   i   iÝ¸¿¬¸¿³ Ì±©²-¸·°ô Ò»© Ö»®-»§i ðéçîè
     i i   i   i   i   i   iøçéí÷ èîìóçíðð
     ïíi   i   i   i   i   iÕ³¿®·²±àµ¸³¿®·²±ò½±³
     i i   i   i   i   i   iÖ¾±§´»àµ¸³¿®·²±ò½±³
     ïì

     ïë
     i i ißÔÍÑ ÐÎÛÍÛÒÌæ
     ïê
     i i i i i ß´»¨ Ý±±µô Ê·¼»±¹®¿°¸»®
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                 ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
    ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                         ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                  Ð¿¹» ì

     iïi i i i i É × Ì Ò Û Í Íi × Ò Ü Û È

     iîi i i i i i i i i i i i i i i i i i i i i ÐßÙÛ

     iíi   iÛÈßÓ×ÒßÌ×ÑÒ
     i i   iÓßÎ×ÔÇÒ ØÑÔÔÛÇ
     iìi   iÞÇ ÓÎò ßÍÍßÚòòòòòòòòòòòòòòòòòòòòòòòòòi i é
     i i   iÛÈßÓ×ÒßÌ×ÑÒ
     iëi   iÞÇ ÓÍò Ú×ÛÔÜÍòòòòòòòòòòòòòòòòòòòòòòòòi ïëë
     i i   iÛÈßÓ×ÒßÌ×ÑÒ
     iêi   iÞÇ ÓÎò ÌËÒ×Íòòòòòòòòòòòòòòòòòòòòòòòòòi ïëç

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     i i iÛÈØ×Þ×Ìi i i i i i i i i i i i i i i i ÐßÙÛ
     iç

     ïði iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïòòòòòòòòòòòòòòòòi iëï

     ïïi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îòòòòòòòòòòòòòòòòi ièï

     ïîi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íòòòòòòòòòòòòòòòòi ièë

     ïíi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ìòòòòòòòòòòòòòòòòi ièé

     ïìi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ëòòòòòòòòòòòòòòòòi içì

     ïëi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ êòòòòòòòòòòòòòòòòi içì

     ïêi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ éòòòòòòòòòòòòòòòòi içì

     ïéi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ èòòòòòòòòòòòòòòòòi içì

     ïèi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ çòòòòòòòòòòòòòòòòi içì

     ïçi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïðòòòòòòòòòòòòòòòi içì

     îði iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïïòòòòòòòòòòòòòòòi içì

     îïi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïîòòòòòòòòòòòòòòòi içì

     îîi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïíòòòòòòòòòòòòòòòi ïïè

     îíi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïìòòòòòòòòòòòòòòòi ïîï

     îìi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïëòòòòòòòòòòòòòòòi ïíê

     îëi iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïêòòòòòòòòòòòòòòòi ïíç


                 ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                         ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                  Ð¿¹» ë

     iï
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïéòòòòòòòòòòòòòòòi iïìð
     iî
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïèòòòòòòòòòòòòòòòi ïìï
     ií
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïçòòòòòòòòòòòòòòòi ïìï
     iì
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îðòòòòòòòòòòòòòòòi ïìï
     ië
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îïòòòòòòòòòòòòòòòi ïìî
     iê
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îîòòòòòòòòòòòòòòòi ïìî
     ié
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îíòòòòòòòòòòòòòòòi ïìî
     iè
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îìòòòòòòòòòòòòòòòi ïìí
     iç
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îëòòòòòòòòòòòòòòòi ïìí
     ïð
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îêòòòòòòòòòòòòòòòi ïìí
     ïï
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îéòòòòòòòòòòòòòòòi ïìí
     ïî
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îèòòòòòòòòòòòòòòòi ïìí
     ïí
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îçòòòòòòòòòòòòòòòi ïìí
     ïì
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íðòòòòòòòòòòòòòòòi ïìì
     ïë
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íïòòòòòòòòòòòòòòòi ïìì
     ïê
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íîòòòòòòòòòòòòòòòi ïìë
     ïé
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ííòòòòòòòòòòòòòòòi ïìë
     ïè
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íìòòòòòòòòòòòòòòòi ïìë
     ïç
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íëòòòòòòòòòòòòòòòi ïìë
     îð
     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íêòòòòòòòòòòòòòòòi ïìë
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     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íéòòòòòòòòòòòòòòòi ïìê
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     i i   iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íèòòòòòòòòòòòòòòòi ïìê
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                 ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
    ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³        ÇÊ»®ïº
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                         ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                  Ð¿¹» ê

     iïi i i i i i i i iÌØÛ Ê×ÜÛÑÙÎßÐØÛÎæ É»ù®» ±² ¬¸»
     iîi i®»½±®¼òi Ì¸·- ·- ¬¸» ¾»¹·²²·²¹ ±º ¬¸» ª·¼»±
     iíi i®»½±®¼»¼ ¼»°±-·¬·±² ±º Ó¿®·´§² Ø±´´»§ ·² ¬¸»
     iìi i³¿¬¬»® ±º Õ·³¾»®´»» É·´´·¿³-ô »¬ ¿´ò ª»®-«-
     iëi iÞßÍÚ Ý¿¬¿´§-¬- ÔÔÝô »¬ ¿´ò ·² ¬¸» Ë²·¬»¼ Í¬¿¬»-
     iêi iÜ·-¬®·½¬ Ý±«®¬ º±® ¬¸» Ü·-¬®·½¬ ±º Ò»© Ö»®-»§ô
     iéi i½·ª·´ ¿½¬·±² ²«³¾»® ïïóÝÊóðïéëìò
     ièi i i i iÌ¸» ¬·³» ±² ¬¸» ª·¼»± ³±²·¬±® ·- ïðæðïò
     içi iÌ±¼¿§ù- ¼¿¬» ·- ß°®·´ ëô îðïéòi Ì¸» ª·¼»±
     ïði i±°»®¿¬±® ¬±¼¿§ ·- ß´»¨ Ý±±µò
     ïïi i i i iÉ·´´ ½±«²-»´ °´»¿-» ·¼»²¬·º§ §±«®-»´ª»-
     ïîi i¿²¼ ©¸± §±« ®»°®»-»²¬ò
     ïíi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ù±±¼ ¼¿§òi ×ù³
     ïìi iÓ·½¸¿»´ Ý±®»²òi ×ù³ ®»°®»-»²¬·²¹ ¬¸» °´¿·²¬·ºº-
     ïëi i·² ¬¸» É·´´·¿³- ½¿-»ô ·²½´«¼·²¹ Ó-ò Ó¿®·´§²
     ïêi iØ±´´»§ ©¸± ·- °®»-»²¬ ¸»®» ¬±¼¿§ò
     ïéi i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi iÖ¿®»¼
     ïèi iÐ´¿½·¬»´´¿ º±® ¬¸» °´¿·²¬·ºº-ò
     ïçi i i i i i i i iÓÎò ßÍÍßÚæi i i i Ù»²» ß--¿º º±®
     îði i¼»º»²¼¿²¬ ÞßÍÚò
     îïi i i i i i i i iÓÎò ÚßÎÎÛÔÔæi i i Ð»¬»® Ú¿®®»´´
     îîi iº±® ÞßÍÚò
     îíi i i i i i i i iÓÍò ÜßÔÓËÌæi i i iÛ´·¦¿¾»¬¸
     îìi iÜ¿´³«¬ º±® ÞßÍÚò
     îëi i i i i i i i iÓÍò Ú×ÛÔÜÍæi i i iÝ¿--¿²¼®¿


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                         ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                  Ð¿¹» é

     iïi i i iÚ·»´¼- º±® Ý¿¸·´´ Ù±®¼±² ¿²¼ ¬¸» ·²¼·ª·¼«¿´
     iîi i i i¼»º»²¼¿²¬- º®±³ Ý¿¸·´´ Ù±®¼±²ò
     iíi i i i i i i i i i iÓÎò ÙÛÇÛÎÓßÒæi i iÙ®¿²¬ Ù»§»®³¿²ô
     iìi i i iÉ·´´·¿³ ú Ý±²²±´´§ô º±® Ý¿¸·´´ Ù±®¼±² ú
     iëi i i iÎ»·²¼»´ô Ð»¬»® Í´±¿²»ô ×®¿ Ü»³¾®±©ò
     iêi i i i i i i i i i iÌØÛ Ê×ÜÛÑÙÎßÐØÛÎæ Ì¸» ½±«®¬
     iéi i i i®»°±®¬»® ¬±¼¿§ ·- Í¿®¿¸ Ü®±©²ò
     ièi i i i i i iÉ·´´ ¬¸» ®»°±®¬»® °´»¿-» -©»¿® ·² óó
     içi i i i i i i i i i iÓÎò ÌËÒ×Íæi i i i Û®·½ Ì«²·- óó
     ïði i i i»¨½«-» ³»òi × ¿--«³» ©»ù®» -«°°±-»¼ ¬± °«¬ ±«®
     ïïi i i i¿°°»¿®¿²½»- ·²òi Û®·½ Ì«²·- ±² ¾»¸¿´º ±º Ì¸±³¿-
     ïîi i i iØ¿´µ»¬ò
     ïíi i i i i i i i i i iÓÎò ÓßÎ×ÒÑæi i i iÕ»ª·² Ó¿®·²±
     ïìi i i i¿²¼ Ö±¸² Þ±§´» ¾§ ¬»´»°¸±²» ±² ¾»¸¿´º ±º ß®¬¸«®
     ïëi i i iÜ±®²¾«-½¸ò
     ïêi i i i i i i i i i iÓßÎ×ÔÇÒ ØÑÔÔÛÇ
     ïéi i±º ´¿©º«´ ¿¹»ô ½¿´´»¼ ¾§ ¬¸» Ü»º»²¼¿²¬- º±®
     ïèi i»¨¿³·²¿¬·±² °«®-«¿²¬ ¬± ¬¸» Ú»¼»®¿´ Î«´»- ±º Ý·ª·´
     ïçi iÐ®±½»¼«®»ô ¸¿ª·²¹ ¾»»² º·®-¬ ¼«´§ -©±®²ô ¿-
     îði i¸»®»·²¿º¬»® ½»®¬·º·»¼ô ©¿- »¨¿³·²»¼ ¿²¼ ¬»-¬·º·»¼
     îïi i¿- º±´´±©-æ
     îîi i i i i i i ÛÈßÓ×ÒßÌ×ÑÒ ÑÚ ÓßÎ×ÔÇÒ ØÑÔÔÛÇ
     îíi iÞÇ ÓÎò ßÍÍßÚæ
     îìi iÏi iÙ±±¼ ³±®²·²¹ô Ó-ò Ø±´´»§ò
     îëi ißi iÙ±±¼ ³±®²·²¹ò


                 ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                         ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                  Ð¿¹» è

     iïi iÏi iÜ± §±« «²¼»®-¬¿²¼ §±«ù®» ¿ ½´¿-- ®»°®»-»²¬¿¬·ª»
     iîi i i i·² ¿ ´¿©-«·¬á
     iíi ißi iÇ»-ò
     iìi iÏi iÉ¸¿¬ù- §±«® «²¼»®-¬¿²¼·²¹ ±º §±«® ±¾´·¹¿¬·±²-
     iëi i i i¿- ¿ ½´¿-- ®»°®»-»²¬¿¬·ª» ·² ¬¸·- ½¿-»á
     iêi ißi i× ®»°®»-»²¬ ¬¸» »-¬¿¬» ±º ³§ ³±¬¸»®ô Õ¿¬¸®§²
     iéi i i iÜ¿®²»´´ô ¿²¼ ¬¸» ±¬¸»® ½´¿-- ³»³¾»®-ò
     ièi iÏi iß²¼ ©¸± ¿®» ¬¸» ±¬¸»® ½´¿-- ³»³¾»®-ô ·º §±«
     içi i i iµ²±©á
     ïði ißi i× ¼±²ù¬ µ²±© ¬¸»³ ¾§ ²¿³»ô ²±ò
     ïïi iÏi iÜ± §±« µ²±© ©¸± ¬¸»§ ¿®»á
     ïîi ißi iÇ»-ò
     ïíi iÏi iÉ¸± ¿®» ¬¸»§á
     ïìi ißi iÌ¸»®» ¿®» ±¬¸»® ¼»º»²¼¿²¬- ·² ¬¸·- ³¿¬¬»®ò               ×
     ïëi i i i³»¿² ±¬¸»® °´¿·²¬·ºº- ·² ¬¸·- ³¿¬¬»®ò
     ïêi iÏi iß²¼ ¼± §±« µ²±© ¸±© ³¿²§ ±º ¬¸»³ ¬¸»®» ¿®»á
     ïéi ißi iÒ±ô × ¼±²ù¬ µ²±© ¸±© ³¿²§ò
     ïèi iÏi iÜ± §±« µ²±© ©¸»®» ¬¸»§ ¿®»á
     ïçi ißi iÒ±ò
     îði iÏi iÜ± §±« µ²±© ©¸¿¬ ¬¸» ½·®½«³-¬¿²½»- ¿®» ¬± ³¿µ»
     îïi i i i¬¸»³ ½´¿-- ³»³¾»®-á
     îîi ißi iÌ± ¬¸» ¾»-¬ ±º ³§ µ²±©´»¼¹»ô ¬¸»§ù®» ½´¿--
     îíi i i i³»³¾»®- ¾»½¿«-» ¬¸»§ ©»®» ¿´-± ¸¿®³»¼ ·² ¬¸·-
     îìi i i i³¿¬¬»®ò
     îëi iÏi iÉ»®» §±« ¸¿®³»¼ ·² ¬¸·- ³¿¬¬»®á


                 ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                  Ð¿¹» ç

  iïi ißi iÞ§ ©¿§ ±º ³§ ³±¬¸»®ò
  iîi iÏi iß²¼ ©±«´¼ §±« ¼»-½®·¾» º±® ³» ¸±© §±« ¾»´·»ª»
  iíi i i i§±« ±® §±«® ³±¬¸»® ©»®» ¸¿®³»¼ò
  iìi ißi iÓ§ ³±¬¸»® ©±®µ»¼ ¿¬ ÞÚÙ±±¼®·½¸ ·² ßµ®±²ô Ñ¸·±ô
  iëi i i i©¸»®» -¸» ©¿- »¨°±-»¼ ¬± ¿-¾»-¬±-ò i ß²¼ -¸» ·-
  iêi i i i¿ °´¿·²¬·ºº ·² ¬¸·- ³¿¬¬»® ¿²¼ × ®»°®»-»²¬ ¬¸»
  iéi i i i»-¬¿¬»ò
  ièi iÏi iÜ± §±« ¬¸·²µ ¬¸¿¬ -¸» ©¿- »¨°±-»¼ ¬± ¬¿´½á
  içi ißi iÇ»-ò
  ïði iÏi iÉ¸¿¬ù- §±«® º¿½¬«¿´ ¾¿-·- ¬± ¾»´·»ª» ¬¸¿¬á
  ïïi ißi iÖ«-¬ ¾§ ¬¸» º¿½¬ ¬¸¿¬ -¸» ©±®µ»¼ ¬¸»®» ¿²¼ ©¸¿¬
  ïîi i i i-¸» -¿·¼ò
  ïíi iÏi iÉ¸¿¬ -¸» -¿·¼ ¬± §±«á
  ïìi ißi iÇ»-ò
  ïëi iÏi iÉ¸»² ¼·¼ -¸» ¬»´´ §±« ¬¸¿¬ -¸» ©¿- »¨°±-»¼ ¬±
  ïêi i i i¬¿´½á
  ïéi ißi iÖ«-¬ ·² ¸»® ¼»-½®·°¬·±² ±º ¬¸» ¶±¾ ¿²¼ ©¸¿¬ -¸»
  ïèi i i i¼·¼ò
  ïçi iÏi iÞ«¬ ¼·¼ -¸» ¬»´´ §±« -°»½·º·½¿´´§ óó ©·¬¸¼®¿©²ò
  îði i i i i i i× «²¼»®-¬¿²¼ -¸» ¬±´¼ §±« -¸» ©¿- »¨°±-»¼
  îïi i i i¬± ¿-¾»-¬±-ò
  îîi ißi iÎ·¹¸¬ò
  îíi iÏi iÉ»ù®» ¹±·²¹ ¬± ¹»¬ ¬± ¸»® ¼»°±-·¬·±² ´¿¬»® ±²ò
  îìi ißi iÑµ¿§ò
  îëi iÏi iØ¿ª» §±« ®»¿¼ ¸»® ¼»°±-·¬·±²á


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïð

  iïi ißi i× ¸¿ª» ²±¬ ®»¿¼ ¸»® ¼»°±-·¬·±²òi × ©¿- °®»-»²¬
  iîi i i i¿¬ ¸»® ¼»°±-·¬·±²ô ±²» ±º ¬¸»³ô §»-ò
  iíi iÏi iß²¼ ¼± §±« ®»½¿´´ ¬¸¿¬ -¸» ¬»-¬·º·»¼ ¬¸¿¬ -¸»
  iìi i i i©¿- »¨°±-»¼ ¬± ¿-¾»-¬±-á
  iëi ißi i× ¼±²ù¬ ®»½¿´´ »¨¿½¬´§ ©¸¿¬ ©¿- -¿·¼ò
  iêi iÏi iÜ± §±« ®»½¿´´ ¿²§¬¸·²¹ ¿¾±«¬ ¸»® ¼·-½«--·±² ±º
  iéi i i i¬¿´½ ¿¬ ¬¸» ¼»°±-·¬·±²á
  ièi ißi iÒ±ô × ½¿²ù¬ -¿§ ¬¸¿¬ × ¼±ò
  içi iÏi iß°¿®¬ º®±³ ¬¸» ¼»°±-·¬·±²ô ¼± §±« ®»½¿´´ ¸»®
  ïði i i i¼·-½«--·±² ±º ¬¿´½ ©·¬¸ §±«ái Ò±¬ ¿-¾»-¬±-ô
  ïïi i i i¬¿´½ò
  ïîi ißi i× ¼±²ù¬ ®»½¿´´òi ×ù³ ²±¬ -¿§·²¹ ¬¸¿¬ -¸»
  ïíi i i i¼·¼²ù¬ô ¾«¬ × ¼±²ù¬ ®»½¿´´ò
  ïìi iÏi iß- ©» -·¬ ¸»®» ¬±¼¿§ô §±« ¼±²ù¬ ®»½¿´´ ¿²§
  ïëi i i i¼·-½«--·±²- ±º ¬¿´½ ©·¬¸ ¸»®á
  ïêi ißi i× ¼±²ù¬ ®»½¿´´ò
  ïéi iÏi iß²¼ ©·¬¸ ®»-°»½¬ ¬± ½±²ª»®-¿¬·±²- ©·¬¸ §±«®
  ïèi i i i³±¬¸»®ô ¼± §±« »ª»® óó ¼·¼ §±« »ª»® ¼·-½«-- ¿
  ïçi i i i½±³°¿²§ ½¿´´»¼ ÎòÌò Ê¿²¼»®¾·´¬á
  îði ißi iÒ±ò
  îïi iÏi iÜ·¼ §±« »ª»® ¼·-½«-- ¿ ½±³°¿²§ ½¿´´»¼ Û³¬¿´á
  îîi ißi iÒ±ò
  îíi iÏi iÜ·¼ §±« »ª»® ¼·-½«-- ¿ ½±³°¿²§ ½¿´´»¼
  îìi i i iÛ²¹»´¸¿®¼á
  îëi ißi iÒ±ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïï

  iïi iÏi iÜ·¼ §±« »ª»® ¼·-½«-- ¿ ½±³°¿²§ ½¿´´»¼ ÞßÍÚá
  iîi ißi iÒ±ò
  iíi iÏi iÜ± §±« ¬¸·²µ ¬¸¿¬ §±«® ³±¬¸»® ©¿- »¨°±-»¼ ¬±
  iìi i i i°®±¼«½¬- ³¿¼» ¾§ ÞßÍÚá
  iëi ißi i× ©±«´¼ ¸¿ª» ²± ©¿§ ±º µ²±©·²¹ ¬¸¿¬ò
  iêi iÏi iÜ± §±« ¬¸·²µ -¸» ©¿- »¨°±-»¼ ¬± °®±¼«½¬- ³¿¼»
  iéi i i i¾§ Û²¹»´¸¿®¼á
  ièi ißi i× ¼±²ù¬ µ²±© ¬¸¿¬ °»®-±²¿´´§ »·¬¸»®ò
  içi iÏi i×² ¬»®³- ±º §±«® ®±´» ¿- ½´¿-- ®»°®»-»²¬¿¬·ª»ô
  ïði i i i©¸¿¬ ¼± §±« ©¿²¬ ±«¬ ±º ¬¸» ½¿-»á
  ïïi ißi iÉ¸¿¬ ©» ©¿²¬ º®±³ ¬¸» ½¿-» ·- º±® ¬¸» Ý±«®¬ ¬±
  ïîi i i i®»½±¹²·¦» ¬¸¿¬ ¬¸»®» ©¿- º®¿«¼ ¿²¼ ¼»½»·¬ ·²
  ïíi i i i©¸¿¬ ©¿- ¬±´¼ ¬± «- ¿¾±«¬ ¬¿´½ò
  ïìi iÏi iß²¼ ©¸¿¬ ©¿- ¬±´¼ ¬± §±« ¿¾±«¬ ¬¿´½á
  ïëi ißi i×² ¬¸·- °¿®¬·½«´¿® ·²-¬¿²½» ©» ©»®» ¬±´¼
  ïêi i i i¬¸¿¬ óó ¬¸¿¬ ·¬ ©¿- ¸¿®³º«´ ¬± ³§ ³±³ ¿²¼ ±¬¸»®
  ïéi i i i½´¿-- ³»³¾»®- ¾§ ©¿§ ±º ¬¸»·® »³°´±§³»²¬ò
  ïèi iÏi iÇ±«® ³±¬¸»® ©¿- ¬±´¼ ¬¸¿¬ ¬¿´½ ©¿- ¸¿®³º«´á
  ïçi ißi iÞ¿-»¼ «°±² ©¸¿¬ × µ²±© ±º ¬¸·- ½¿-»ô ¿²¼ ³§
  îði i i i³±¬¸»® ©¿- ¬¸» ±²» ©¸± ¼·¼ ¬¸» ·²·¬·¿´
  îïi i i i½±²ª»®-¿¬·±²- ©·¬¸ ¬¸» ¿¬¬±®²»§-ô ¾«¬ ¾¿-»¼
  îîi i i i«°±² ©¸¿¬ × ¸¿ª» ¾»»² ¬±´¼ô §»-ô × ¼± ¾»´·»ª»
  îíi i i i¬¸¿¬ò
  îìi iÏi iÌ¸¿¬ §±«® ³±¬¸»® ©¿- ¬±´¼ ¬¸¿¬ ¬¿´½ ©¿-
  îëi i i i¸¿®³º«´á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïî

  iïi ißi i×ù³ ²±¬ -¿§·²¹ ¬¸¿¬ -¸» ©¿- ¬±´¼ ¬¸¿¬ ¬¿´½ ©¿-
  iîi i i i¸¿®³º«´ô ©¸¿¬ ×ù³ -¿§·²¹ ·- ©·¬¸ ¬¸» ¼»º»²¼¿²¬-
  iíi i i i¬¸¿¬ ¬¸¿¬ ³¿¬¬»®ô ¿- º¿® ¿- ¬¿´½ ¾»·²¹ ¸¿®³º«´ô
  iìi i i i¬¸¿¬ ©±«´¼ ¸¿ª» ¾»»² ¼·-½«--»¼ ©·¬¸ ¸»® ¾§ ¬¸»
  iëi i i i¿¬¬±®²»§-ò
  iêi iÏi iÑµ¿§ò
  iéi ißi iß²¼ × ©¿- ²±¬ °®·ª§ ¬± ¬¸¿¬ ½±²ª»®-¿¬·±²ò
  ièi iÏi iÑµ¿§òi Í± ´»¬ù- ´»¿ª» §±«® ³±¬¸»®ù- ¼·-½«--·±²-
  içi i i i©·¬¸ ¸»® ¿¬¬±®²»§- ¿-·¼»òi ×ù´´ ½±³» ¾¿½µ ¬±
  ïði i i i¬¸¿¬ ·² ¿ -»½±²¼ò
  ïïi ißi iÑµ¿§ò
  ïîi iÏi iÑ¬¸»® ¬¸¿² §±«® ³±¬¸»®ù- ¼·-½«--·±²- ©·¬¸
  ïíi i i i¿¬¬±®²»§-ô ¼± §±« ¸¿ª» ¿²§ ¾¿-·- ¬± ¾»´·»ª» ¿-
  ïìi i i i¬± ¸±© §±«® ³±¬¸»® ©¿- ¸¿®³»¼ ¾§ ¬¿´½á i Ñ¬¸»®
  ïëi i i i¬¸¿² ©¸¿¬ §±«® ³±¬¸»® ¿²¼ ¬¸» ¿¬¬±®²»§-
  ïêi i i i¼·-½«--»¼ò
  ïéi ißi iÑ¬¸»® ¬¸¿² ©¸¿¬ ©¿- °®»-»²¬»¼ ·² ¬¸» ½±³°´¿·²¬ô
  ïèi i i i¬¸»² × ¸¿ª» ²± °»®-±²¿´ µ²±©´»¼¹»ò
  ïçi iÏi iß²¼ ©»ù®» ¹±·²¹ ¬± ¹»¬ ¬± ¬¸» ½±³°´¿·²¬ ¿²¼
  îði i i i©¸¿¬ °»®-±²¿´ µ²±©´»¼¹» §±« ¸¿ª» ±º ¬¸»
  îïi i i i½±³°´¿·²¬ ·² ¿ -»½±²¼ò
  îîi i i i i i iÞ«¬ ·² ¬»®³- ±º §±«® ¸¿®³- ±® §±«®
  îíi i i i³±¬¸»®ù- ¸¿®³-ô §±« ³»²¬·±²»¼ ¬¸¿¬ -¸» ©¿-
  îìi i i i¸¿®³»¼ ¾»½¿«-» -¸» ©¿- ¬±´¼ ¬¸¿¬ ¬¿´½ ©¿-
  îëi i i i¸¿®³º«´òi ×- ¬¸¿¬ ©¸¿¬ §±« -¿·¼á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïí

  iïi ißi iÇ»-òi Ì¸¿¬ù- ©¸¿¬ × -¿·¼ò
  iîi iÏi iÑµ¿§òi ß²¼ ·º -¸» ©»®» ¬±´¼ ¬¿´½ ©¿- ¸¿®³º«´ ¾§
  iíi i i i¸»® ¿¬¬±®²»§ ±® -±³»¾±¼§ »´-»ô ¸±©ô ¬¸»²ô ©¿-
  iìi i i i-¸» ¸¿®³»¼ ¿²¼ ©¸§ ·- ·¬ -¸» -¸±«´¼ ¹»¬ ³±²»§
  iëi i i i·² ¬¸·- ´¿©-«·¬á
  iêi ißi iÍ¸» ©¿- ¸¿®³»¼ ¾»½¿«-» -¸» ¼»ª»´±°»¼
  iéi i i i³»-±¬¸»´·±³¿ô ©¸·½¸ §±« ½¿² ±²´§ ¹»¬ ¾§
  ièi i i i¿-¾»-¬±- »¨°±-«®»ò
  içi iÏi iÜ± §±« ¬¸·²µ ¬¸¿¬ ¬¸·- ´¿©-«·¬ô ¬¸» É·´´·¿³-
  ïði i i i´¿©-«·¬ô ¬¸» ®»¿-±² §±«ù®» ¸»®»ô ·- ¿ ½¿-» ¬±
  ïïi i i i½±³°»²-¿¬» º±® ¸»® ¿-¾»-¬±- ·²¶«®·»-á
  ïîi ißi i× ¼±²ù¬ ¬¸·²µ ¬¸¿¬ × ½±«´¼ ¿²-©»® ¬¸¿¬
  ïíi i i i¯«»-¬·±²ò
  ïìi iÏi iÜ± §±« ¬¸·²µ ¬¸¿¬ ¬¸» ¸¿®³ ¬¸¿¬ §±«ù®» -»»µ·²¹
  ïëi i i i³±²»§ º±® ·- ¾»½¿«-» ±º §±«® ³±¬¸»®ù- ¿-¾»-¬±-
  ïêi i i i·²¶«®·»-á
  ïéi ißi iÇ»-ò
  ïèi iÏi iß®» §±« -»»µ·²¹ ³±²»§ º±® ¿²§ ±¬¸»® ®»¿-±²
  ïçi i i i±¬¸»® ¬¸¿² ¬¸» ¿-¾»-¬±- ·²¶«®·»-á
  îði i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¬±
  îïi i i iº±®³ò
  îîi iÏi iÇ±« ½¿² ¿²-©»®ò
  îíi i i i i i i i i i iÌØÛ É×ÌÒÛÍÍæi i i × ½¿² ¿²-©»®á
  îìi ißi iÎ»°»¿¬ ¬¸» ¯«»-¬·±²ò
  îëi iÏi iÍ«®»òi Ñ¬¸»® ¬¸¿² -»»µ·²¹ ³±²»§ º±® ¿-¾»-¬±-


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïì

  iïi i i i·²¶«®·»- ·² ¬¸·- ½¿-»ô ¿®» §±« -»»µ·²¹ ³±²»§
  iîi i i iº±® ¿²§ ±¬¸»® ®»¿-±² ·² ¬¸·- ½¿-»á
  iíi ißi iÞ»½¿«-» ±º º®¿«¼«´»²¬ ®»°®»-»²¬¿¬·±² ¾§ ¬¸»
  iìi i i i½±³°¿²§ò
  iëi iÏi iß²¼ ©¸¿¬ º®¿«¼«´»²¬ ®»°®»-»²¬¿¬·±²- ¿®» §±«
  iêi i i i-»»µ·²¹ ½±³°»²-¿¬·±² º±®á
  iéi ißi iÞ»½¿«-» ¬¸» ½±³°¿²§ ®»°®»-»²¬»¼ ¬¸¿¬ ¬¸»®» ©¿-
  ièi i i i²± ¿-¾»-¬±- ·² ¬¸» ¬¿´½ò
  içi iÏi iÉ¸¿¬ ½±³°¿²§ ®»°®»-»²¬»¼ ¬¸¿¬á
  ïði ißi iß¬ ¬¸·- °±·²¬ × ¹«»-- ·¬ ©±«´¼ ¾» ®»º»®®»¼ ¬±
  ïïi i i i¿- ÞßÍÚ ±® Û²¹»´¸¿®¼ò
  ïîi iÏi iÉ¸»² ¼·¼ ¬¸¿¬ ®»°®»-»²¬¿¬·±² ±½½«®á
  ïíi ißi i× ¼±²ù¬ ¸¿ª» ¬¸±-» ¼¿¬»-ò
  ïìi iÏi iÌ± ©¸±³ ©¿- ¬¸¿¬ ®»°®»-»²¬¿¬·±² ³¿¼»á
  ïëi ißi iÌ± óó ¬± ³§ ³±³ ¿²¼ ±¬¸»® °´¿·²¬·ºº-ò
  ïêi iÏi iÉ¸»² ¼·¼ óó »¨½«-» ³»ò
  ïéi i i i i i iÉ¸± ³¿¼» ¬¸» ®»°®»-»²¬¿¬·±² ¬± §±«®
  ïèi i i i³±¬¸»® ¿²¼ ±¬¸»® °´¿·²¬·ºº-á
  ïçi ißi i× ©±«´¼ ²±¬ µ²±© ¬¸¿¬ô ¾»½¿«-» ¬¸±-» ©»®»
  îði i i i½±²ª»®-¿¬·±²- ¬¸¿¬ ³§ ³±¬¸»® ¸¿¼ ©·¬¸ ¸»®
  îïi i i i¿¬¬±®²»§-ò
  îîi iÏi iÜ·¼ §±«® ³±¬¸»® óó ©·¬¸¼®¿©²ò
  îíi i i i i i iÑ¬¸»® ¬¸¿² ¬¸» ½±²ª»®-¿¬·±²- ©·¬¸ óó
  îìi i i i¾»¬©»»² §±«® ³±¬¸»® ¿²¼ ¸»® ¿¬¬±®²»§-ô ¼± §±«
  îëi i i i¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹» ±º ®»°®»-»²¬¿¬·±²-


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
 ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³         ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïë

  iïi i i i¾»·²¹ ³¿¼» ¬± §±«® ³±¬¸»® ¿¾±«¬ ¬¿´½á
  iîi ißi i× ¸¿ª» ²± °»®-±²¿´ µ²±©´»¼¹» ±º ¬¸¿¬ò
  iíi iÏi iÌ¸» ±²´§ µ²±©´»¼¹» §±« ¸¿ª» ·- º®±³ Ó®ò Þ»ª¿²
  iìi i i i®»¹¿®¼·²¹ ©¸¿¬ ©¿- -¿·¼ ±® ²±¬ -¿·¼ ¬± §±«®
  iëi i i i³±¬¸»®ô ¬®«»á
  iêi ißi iÝ±®®»½¬ò
  iéi iÏi iÍ± §±«ù®» ®»´§·²¹ ±² Ó®ò Þ»ª¿² ¿- ¬¸» -±«®½»
  ièi i i iº±® ¬¸» º¿½¬- ·² ¬¸·- ´¿©-«·¬ô º¿·®á
  içi ißi i×ù¼ -¿§ º¿·® ¾¿-»¼ «°±² ¬¸» ½±³°´¿·²¬ º·´»¼ô
  ïði i i i§»-ò
  ïïi iÏi iÜ·¼ óó ·² ¬»®³- ±º ¬¸» ¸¿®³- óó §±« ³»²¬·±²»¼
  ïîi i i i¬¸¿¬ §±«ù¼ ´·µ» ¬± ¾» ½±³°»²-¿¬»¼ º±® ¬¸» ¸¿®³-
  ïíi i i i½¿«-»¼ ¾§ ¿-¾»-¬±-ô ¬®«»á
  ïìi ißi iÌ¸» ¸¿®³- ½¿«-»¼ ¾§ ¿-¾»-¬±- ¿²¼ ¬¸»
  ïëi i i i®»°®»-»²¬¿¬·±² ¾§ ¬¸» ½±³°¿²§ò
  ïêi iÏi iÍ± §±« ©±«´¼ ´·µ» ¬± ¾» ½±³°»²-¿¬»¼ º±® ¬¸»
  ïéi i i i¸¿®³- ½¿«-»¼ ¾§ ¿-¾»-¬±- ¿²¼ ¾§ ¬¸»
  ïèi i i i®»°®»-»²¬¿¬·±²- ¾§ ¬¸» ½±³°¿²§ô ¿²¼ ¬¸»-»
  ïçi i i i®»°®»-»²¬¿¬·±²- ©»®» ¬¸» óó ¿®» ¬¸»
  îði i i i®»°®»-»²¬¿¬·±²- ¬¸¿¬ §±« µ²±© ¬¸®±«¹¸
  îïi i i iÓ®ò Þ»ª¿²ô º¿·®á
  îîi ißi iÚ¿·®ò
  îíi iÏi i×² ¬»®³- ±º ¬¸» ¸¿®³-ô ±¬¸»® ¬¸¿² ½±³°»²-¿¬·±²
  îìi i i iº±® ¿-¾»-¬±- ¿²¼ ½±³°»²-¿¬·±² º±® ¬¸»-»
  îëi i i i®»°®»-»²¬¿¬·±²- ¬¸¿¬ Ó®ò Þ»ª¿² µ²±©- ¿¾±«¬ô ¿®»


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïê

  iïi i i i¬¸»®» ¿²§ ±¬¸»® ¸¿®³- ¬¸¿¬ §±«ù®» -»»µ·²¹
  iîi i i i½±³°»²-¿¬·±² º±®á
  iíi ißi iÉ±«´¼ §±« ½´¿®·º§ ¬¸¿¬á
  iìi iÏi iÍ«®»òi Ñ¬¸»® ¬¸¿² ¬¸» ¿-¾»-¬±- ·²¶«®§ ¬± §±«®
  iëi i i i³±¬¸»® ¿²¼ ±¬¸»® ¬¸¿² ¬¸» º®¿«¼ ¬¸¿¬ Ó®ò Þ»ª¿²
  iêi i i iµ²±©- ¿¾±«¬ óó
  iéi ißi iÎ·¹¸¬ò
  ièi iÏi ióó ¿®» §±« -»»µ·²¹ ½±³°»²-¿¬·±² º±® ¿²§ ±¬¸»®
  içi i i i¸¿®³á
  ïði ißi i×ù³ ²±¬ ½»®¬¿·² ±º ¬¸¿¬òi ×ù³ ²±¬ ½»®¬¿·² ±º
  ïïi i i i¬¸¿¬ ¯«»-¬·±²ò
  ïîi iÏi iÑµ¿§òi Ú¿·® »²±«¹¸ò
  ïíi ißi iÑµ¿§ò
  ïìi iÏi iÑµ¿§òi Í± §±«ù®» -»»µ·²¹ ½±³°»²-¿¬·±² º±® ¬¸»
  ïëi i i i¿-¾»-¬±- ·²¶«®·»- ¬± §±«® ³±¬¸»®á
  ïêi ißi iÎ·¹¸¬ò
  ïéi iÏi iÌ®«»á
  ïèi ißi iÎ·¹¸¬ò
  ïçi iÏi iÇ±«ù®» -»»µ·²¹ ½±³°»²-¿¬·±² º±® ¬¸» ¿´´»¹»¼´§
  îði i i iº®¿«¼«´»²¬ -¬¿¬»³»²¬- ¬¸¿¬ Ó®ò Þ»ª¿² µ²±©-
  îïi i i i¿¾±«¬ô ¬®«»á
  îîi ißi iÌ®«»ò
  îíi iÏi iß®» §±« -»»µ·²¹ ½±³°»²-¿¬·±² º±® ¿²§¬¸·²¹ »´-»á
  îìi ißi i× ¼±²ù¬ µ²±© ©¸¿¬ ¿²§¬¸·²¹ »´-» ©±«´¼ ¾»ò
  îëi iÏi i×² ¬¸·- ´¿©-«·¬ô ¿- ©» -·¬ ¸»®» ¬±¼¿§ óó


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
 ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³         ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïé

  iïi ißi iÑµ¿§ò
  iîi iÏi ióó §±«ù®» ¹±·²¹ ¬± ¾» ¿-µ·²¹ º±® ³±²»§ô
  iíi i i i½±®®»½¬á
  iìi ißi iÝ±®®»½¬ò
  iëi iÏi iÑµ¿§òi ß²¼ §±« ©±«´¼ ´·µ» ³±²»§ º±® ¬¸»
  iêi i i i¿-¾»-¬±- ·²¶«®·»-ô ½±®®»½¬á
  iéi ißi iÇ»-ò
  ièi iÏi iß²¼ §±« ©±«´¼ ´·µ» ³±²»§ º±® ¬¸» º¿´-»
  içi i i i-¬¿¬»³»²¬- µ²±©² ¿¾±«¬ ¾§ Ó®ò Þ»ª¿²ô ½±®®»½¬á
  ïði ißi iÇ»-ò
  ïïi iÏi iÉ±«´¼ §±« ´·µ» ³±²»§ º±® ¿²§¬¸·²¹ »´-»á
  ïîi ißi i× ®»¿´´§ óó
  ïíi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¬±
  ïìi i i iº±®³ò
  ïëi i i i i i iÙ± ¿¸»¿¼ò
  ïêi i i i i i i i i i iÌØÛ É×ÌÒÛÍÍæi i i Ç»¿¸òi Ñµ¿§ò
  ïéi iÏi iÉ±«´¼ §±« ´·µ» ³±²»§ º±® ¿²§¬¸·²¹ »´-»á
  ïèi ißi i× ®»¿´´§ ©±«´¼ ²±¬ µ²±© ¸±© ¬± ¿²-©»® ¬¸¿¬
  ïçi i i i¯«»-¬·±²òi Ì¸¿¬ù- ²±¬ ½´»¿® ¬± ³»ò
  îði iÏi iÑµ¿§òi ß®» ¬¸»®» ¿²§ ±¬¸»® ·²¶«®·»- ¿- §±« -·¬
  îïi i i i¸»®» ¬±¼¿§ ¬¸¿¬ §±« ½¿² ·¼»²¬·º§ º±® ³»ô ±¬¸»®
  îîi i i i¬¸¿² ¬¸» ¿-¾»-¬±- ·²¶«®§ ¿²¼ ¬¸» ¿´´»¹»¼ ·²¶«®§
  îíi i i i±º º®¿«¼ ¬¸®±«¹¸ Ó®ò Þ»ª¿²ô -¬¿¬»³»²¬- ³¿¼» ¬±
  îìi i i iÓ®ò Þ»ª¿²á
  îëi ißi i× ¬¸·²µ ·º ¬¸»®» ©»®» ¿²§ ±¬¸»® ·²¶«®·»- ±®


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïè

  iïi i i i¿²§¬¸·²¹ »´-» ¿-µ»¼ º±® ¬¸¿¬ ¬¸¿¬ ©±«´¼ ¾»
  iîi i i i½´¿®·º·»¼ ¾§ ³§ ¿¬¬±®²»§-òi ×ù³ ²±¬ ¬¸» ´»¹¿´
  iíi i i i®»°®»-»²¬¿¬·ª»ò
  iìi iÏi iÞ«¬ §±«ù®» ¿ ½´¿-- ®»°®»-»²¬¿¬·ª»ò
  iëi ißi i×ù³ ¿ ½´¿-- ®»°®»-»²¬¿¬·ª»ò
  iêi iÏi iÍ± ×ù³ ¶«-¬ ¿-µ·²¹ §±« ¿- §±« -·¬ ¸»®» ¬±¼¿§ óó
  iéi i i i©·¬¸¼®¿©²ò
  ièi i i i i i iÇ±« °®»°¿®»¼ º±® ¬¸·- ¼»°±-·¬·±²ô
  içi i i i½±®®»½¬á
  ïði ißi iÝ±®®»½¬ò
  ïïi iÏi iÜ·¼ §±« ³»»¬ ©·¬¸ §±«® ¿¬¬±®²»§- §»-¬»®¼¿§á
  ïîi ißi iÇ»-ô × ¼·¼ò
  ïíi iÏi iÉ¸± ©¿- °®»-»²¬á
  ïìi ißi iÓ§-»´º ¿²¼ ß¬¬±®²»§ Ý±®»²ò
  ïëi iÏi iÑµ¿§òi É¿- Ó®ò Þ»ª¿² °®»-»²¬á
  ïêi ißi iÒ±ô ¸» ©¿- ²±¬ °®»-»²¬ ¼«®·²¹ ¬¸¿¬ ¬·³»ò
  ïéi iÏi iÑµ¿§òi ×² °®»°¿®¿¬·±² º±® §±«® ¼»°±-·¬·±²
  ïèi i i i¬±¼¿§ô ¸¿ª» §±« -°±µ»² ¬± Ó®ò Þ»ª¿²á
  ïçi ißi i× -°±µ» ¬± ¸·³ ·² ¹®»»¬·²¹ ¸·³ §»-¬»®¼¿§ ¿¬ ¬¸»
  îði i i i±ºº·½»ò
  îïi iÏi iß²¼ ¼·¼ §±« -°»¿µ ¬± ¸·³ ®»¹¿®¼·²¹ ¿²§ ±º ¬¸»
  îîi i i iº¿½¬- ·² ¬¸·- ½¿-» ·² °®»°¿®¿¬·±² º±® §±«®
  îíi i i i¼»°±-·¬·±²á
  îìi ißi iÒ±ô × ¼·¼ ²±¬ò
  îëi iÏi iÞ§ ¬¸» ©¿§ô ¼± §±« ¸¿ª» ¿ º»» ¿¹®»»³»²¬ ©·¬¸


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ïç

  iïi i i iÓ®ò Ý±®»² ±® Ó®ò Ð´¿½·¬»´´¿ù- º·®³á
  iîi ißi i× ¼±²ù¬ ®»½¿´´ ¬¸¿¬òi Ñ«® º¿³·´§ ·- ®»°®»-»²¬»¼
  iíi i i i¾§ Ì±³ Þ»ª¿² ¿²¼ ¸·- ¿--±½·¿¬»-ô -± × ¼±²ù¬
  iìi i i i®»½¿´´ ¬¸¿¬òi × ¬¸·²µ ¬¸¿¬ù- ¬¿µ»² ½¿®» ±º ·²
  iëi i i i±«® ®»´¿¬·±²-¸·° ©·¬¸ ¸·³ò
  iêi iÏi iÌ¸¿¬ ¿- ¿ ½´¿-- ®»°®»-»²¬¿¬·ª» §±« ¸¿ª» ¿
  iéi i i i®»´¿¬·±²-¸·° ©·¬¸ Ó®ò Þ»ª¿²á
  ièi ißi iÎ·¹¸¬ò
  içi iÏi iß²¼ §±« óó ¿²§ ®»´¿¬·±²-¸·°ô ¬¸»²ô ©·¬¸ ¬¸»
  ïði i i iÉ·´´·¿³- ´¿©§»®- ©±«´¼ ¾» ¬¸®±«¹¸ Ó®ò Þ»ª¿²á
  ïïi ißi i×¬ù- ¬¸®±«¹¸ Ó®ò Þ»ª¿²ò
  ïîi iÏi iß²¼ §±« ¼±²ù¬ µ²±© ¿²§ ±º ¬¸» ¼»¬¿·´- ±º ¬¸¿¬á
  ïíi ißi i×ù³ ²±¬ ¿©¿®» ±º ¬¸» ¼»¬¿·´- ±º ¬¸¿¬ò
  ïìi iÏi iÉ»®» §±« »ª»® ¹·ª»² ¿ ©®·¬¬»² º»» ¿¹®»»³»²¬
  ïëi i i i±«¬´·²·²¹ ©¸¿¬ ¬¸» ½±³°»²-¿¬·±² º±® óó
  ïêi ißi i× ¼±²ù¬ ®»½¿´´ ¹»¬¬·²¹ ¿ º»» ¿¹®»»³»²¬ò
  ïéi iÏi iÉ»´´ô ©¸¿¬ù- §±«® «²¼»®-¬¿²¼·²¹ ±º ©¸¿¬ ¬¸» º»»
  ïèi i i i¿¹®»»³»²¬ ·- ·² ¬¸·- ½¿-»á
  ïçi ißi i× ¼±²ù¬ ¸¿ª» ¿ °¿®¬·½«´¿® «²¼»®-¬¿²¼·²¹ ±º ¬¸»
  îði i i iº»» ¿¹®»»³»²¬ ·² ¬¸·- ½¿-»ô ¿´´ × µ²±© ·- ¬¸¿¬
  îïi i i i±«® »-¬¿¬» ·- ®»°®»-»²¬»¼ ¾§ Ì±³ Þ»ª¿²ò
  îîi iÏi iÇ±« ³»²¬·±²»¼ §±« ¸¿¼ óó §±«® º¿³·´§ ¿²¼ ¬¸»
  îíi i i i»-¬¿¬» ¸¿- ¿ ®»´¿¬·±²-¸·° ©·¬¸ Ó®ò Þ»ª¿²ò
  îìi ißi iÇ»-ò
  îëi iÏi iÉ¸¿¬ ¼± §±« ³»¿² ¾§ ¬¸¿¬á


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îð

  iïi ißi iÌ¸¿¬ ¸» ·- ¬¸» ¿¬¬±®²»§ ¬¸¿¬ ®»°®»-»²¬- «- ·²
  iîi i i i¬¸» ¿-¾»-¬±- ½¿-» ¿²¼ ¬¸» ¼»º»²¼¿²¬- ¬¸»®»·²ò
  iíi iÏi i×² ¿²§ ¿-¾»-¬±- ½¿-»á
  iìi ißi iÇ»-ò
  iëi iÏi iØ¿ª» §±« -±«¹¸¬ ½±³°»²-¿¬·±² º±® ¿-¾»-¬±-
  iêi i i i·²¶«®·»- º®±³ ½±³°¿²·»- ±¬¸»® ¬¸¿² ÞßÍÚá
  iéi ißi iÇ»-ô ©» ¸¿ª»ò
  ièi iÏi iØ±© ³¿²§ ½¿-»-á
  içi ißi iÌ¸»®»ù- ±²» ½¿-»ô ³«´¬·°´» ¼»º»²¼¿²¬-ò
  ïði iÏi iÓ«´¬·°´» ¼»º»²¼¿²¬-òi Ø±© ³¿²§ ¼»º»²¼¿²¬-á
  ïïi ißi i×ù³ ²±¬ -«®»òi Ì¸»®» ¿®» ¿ ²«³¾»® ±ºò
  ïîi iÏi iÑ®¼»® ±º ³¿¹²·¬«¼»ô ¬¸®»» ±® ¬¸®»»ô º±«® ±®
  ïíi i i iº·ª»ô ³±®» ¬¸¿² ïðái Ó±®» ¬¸¿² îðá
  ïìi ißi iÓ±®» ¬¸¿² îðò
  ïëi iÏi iß²¼ ¸¿ª» §±« óó ³±®» ¬¸¿² íðá
  ïêi ißi i×ù³ ²±¬ -«®»ò
  ïéi iÏi iÜ±»- çè -±«²¼ ®·¹¸¬á
  ïèi ißi i× ®»¿´´§ ¼±²ù¬ µ²±© óó
  ïçi iÏi iÑµ¿§ò
  îði ißi ióó ¸±© ³¿²§ ¼»º»²¼¿²¬- ¬¸»®» ©»®»ò
  îïi iÏi iÑµ¿§òi É±«´¼ §±« ¼·-¿¹®»» ©·¬¸ ¬¸» ²«³¾»® çèá
  îîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  îíi i i iº±®³ò
  îìi ißi iÒ±¬ ¾»·²¹ -«®» ¸±© ³¿²§ ¼»º»²¼¿²¬- ¬¸»®» ¿®»ô ×
  îëi i i i½¿²ù¬ ¿¹®»» ±® ¼·-¿¹®»»ò


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îï

  iïi iÏi iÑµ¿§òi ß²¼ ¸¿ª» §±« ®»½»·ª»¼ ½±³°»²-¿¬·±² º®±³
  iîi i i i±¬¸»® ¼»º»²¼¿²¬- º±® ¿-¾»-¬±-ó®»´¿¬»¼ ·²¶«®·»-á
  iíi ißi iÇ»-ò
  iìi iÏi iÚ®±³ ¸±© ³¿²§ ¼»º»²¼¿²¬-á
  iëi ißi i×ù³ ²±¬ -«®» ¸±© ³¿²§ ¼»º»²¼¿²¬-ò
  iêi iÏi iÑ®¼»® ±º ³¿¹²·¬«¼»ô ¬©± ±® ¬¸®»» ±® ³±®» ¬¸¿²
  iéi i i iîðá
  ièi ißi iÓ±®» ¬¸¿² îðò
  içi iÏi iÓ±®» ¬¸¿² îðá
  ïði ißi iÓ±®» ¬¸¿² îðò
  ïïi iÏi
       Ïi iß²¼ ¸¿ª» §±« ®»½»·ª»¼ ½±³°»²-¿¬·±² ·² »¨½»--
  ïîi i i i±ºô -¿§ô üîëðôðððá
  ïíi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
  ïìi i i i×ù´´ ·²-¬®«½¬ ¸»® ²±¬ ¬± ¿²-©»® ¬¸¿¬ò
  ïëi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ù®±«²¼-á
  ïêi i i iÙ®±«²¼-á
  ïéi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ì¸» ¹®±«²¼-
  ïèi i i i¿®» óó ±²»ô ·¬ù-ô ¿- ©» ¸¿ª» ³¿·²¬¿·²»¼ ¬± §±«ô
  ïçi i i i·¬ù- ¬±¬¿´´§ ·®®»´»ª¿²¬òi ß²¼ ·² ¬¸» ª¿®·±«-
  îði i i iº·´·²¹- ·² º®±²¬ ±º óó
  îïi
    i i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ö«-¬ óó Ó·µ»ô
  îîi i i i·- ·¬ ¿¬¬±®²»§ó½´·»²¬ °®·ª·´»¹» ±® ·- ·¬ -±³»
  îíi i i i±¬¸»® ¹®±«²¼ái Ò± -°»¿µ·²¹ ±¾¶»½¬·±²-ô °´»¿-»ò
  îìi
    i i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç±« ¿-µ»¼ ³»
  îëi i i i¬¸» ¹®±«²¼- óó


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îî

  iïi i i i i i i i iÓÎò
                     ÓÎò ßÍÍßÚæi i i i Ù®±«²¼-ò
  iîi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i óó ¿²¼ × ¹¿ª»
  iíi i§±« ¬¸» óó
  iìi i i i i i i i iÓÎò ßÍÍßÚæi i i i Ë²¼»® ¬¸»
  iëi iº»¼»®¿´ ®«´»- óó
  iêi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ò±© §±« ¼±²ù¬
  iéi i©¿²¬ ³» ¬± ¹·ª» §±« ¬¸» ¹®±«²¼-ò
  ièi
    i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ò±ô «²¼»® ¬¸»
  içi iº»¼»®¿´ ®«´»- §±« ½¿² ·²-¬®«½¬ ¿ ©·¬²»-- ²±¬ ¬±
  ïði i¿²-©»® º±® »·¬¸»® ¿¬¬±®²»§ó½´·»²¬ °®·ª·´»¹» ±®
  ïïi i-±³» ±¬¸»® ®»¿-±² -«½½·²½¬´§ -¬¿¬»¼òi ×º §±«ù®»
  ïîi i¹±·²¹ ¬± ³¿µ» ¿ -°»¿µ·²¹ ±¾¶»½¬·±²ô ×ù³ ¹±·²¹
  ïíi i¬± ¿-µ ¬¸¿¬ ¬¸» ©·¬²»-- ¾» »¨½«-»¼ò
  ïìi i i i iÍ± ¿®» §±« ¾¿-·²¹ ·¬ ±² °®·ª·´»¹» ±® -±³»
  ïëi i±¬¸»® ®»¿-±² «²¼»® ¬¸» º»¼»®¿´ ®«´»- ±º
  ïêi i»ª·¼»²½»á
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  ïèi i±² ½±²º·¼»²¬·¿´·¬§ ¿²¼ º±® ¬¸» ®»¿-±²- ¬¸¿¬ ©»
  ïçi i-»¬ º±®¬¸ ·² ¬¸» ª¿®·±«- -«¾³·--·±²- ¬± Ö«¼¹»
  îði iÜ·½µ-±²ò
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  îíi i·²-¬®«½¬·±²á
  îìi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ì¸¿¬ô ¿- ©»´´
  îëi i¿- ®»´»ª¿²½» ¬±±ô ¾«¬ §»-ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îí

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                         ÓÎò ßÍÍßÚæi i i i Ç±«ù®»
  iîi i i i·²-¬®«½¬·²¹ ¿ ©·¬²»-- ²±¬ ¬± ¿²-©»® ¾»½¿«-» ±º
  iíi i i i®»´»ª¿²½»á
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  iëi i i i·--«»- ¬¸¿¬ ©» ¸¿¼ ·² ¬¸» ¿²-©»®- ¬±
  iêi i i i·²¬»®®±¹¿¬±®·»- ¿²¼ ·¬ù- ¬¸» -¿³» ·--«» ¬¸¿¬ù-
  iéi i i i¾»º±®» Ö«¼¹» Ü·½µ-±² ¬¸¿¬ù- °»²¼·²¹ ±² ¬¸»
  ièi i i i·--«» ±º -»¬¬´»³»²¬-òi ×¬ù- ¾»»² ª»®§
  içi i i i»¨¬»²-·ª»´§ ¾®·»º»¼ò
  ïði i i i i i iß- ©» -¿·¼ô §±« ³¿§ µ²±© ¬¸¿¬ ¬¸»®» ¿®»
  ïïi i i i-»¬¬´»³»²¬-ô ¾«¬ ¿- ¬± ²¿¬«®» ¿²¼ ¬¸» ¿³±«²¬ ±º
  ïîi i i i-»¬¬´»³»²¬-ô ²±ò
  ïíi iÏi iÉ»ù´´ ¹»¬ ¬± ¬¸» ¿³±«²¬- ´¿¬»®ô ¾»½¿«-» ×
  ïìi i i i¿½¬«¿´´§ ¸¿ª» -±³» ±º ¬¸» ¼±½«³»²¬-ò
  ïëi i i i i i iÇ±« ¸¿ª» -«¾³·¬¬»¼ ¼±½«³»²¬- ¬± ¬®«-¬-ô
  ïêi i i i½±®®»½¬á
  ïéi ißi iÌ± ¬¸» ¬®«-¬ô º®±³ ©¸¿¬ × «²¼»®-¬¿²¼ô §»-ò
  ïèi iÏi iÝ±®®»½¬òi ß²¼ô ¬± §±«® µ²±©´»¼¹»ô ¸¿ª» ¬¸»§
  ïçi i i i¾»»² ¬®«¬¸º«´ ¿°°´·½¿¬·±²-ái Ì¸» ·²º±®³¿¬·±² ·²
  îði i i i¬¸»®» ¸¿- ¾»»² ¬®«¬¸º«´ô ½±®®»½¬á
  îïi ißi iÌ®«¬¸ óó »¨½«-» ³»òi Ì®«¬¸º«´ ¿²¼ ¬± ¬¸» ¾»-¬
  îîi i i i±º ³§ µ²±©´»¼¹»ô ½±²º·¼»²¬·¿´ò
  îíi iÏi iÜ·¼ §±« »ª»® -·¹² ¿ ½±²º·¼»²¬·¿´·¬§ ¿¹®»»³»²¬á
  îìi ißi i× -·¹²»¼ ½±²º·¼»²¬·¿´·¬§ ©¸»² × -·¹²»¼ ¬¸»
  îëi i i i®»´»¿-»-ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îì

  iïi iÏi iÇ±« -·¹²»¼ ½±²º·¼»²¬·¿´·¬§ ©·¬¸ ¬¸» ¬®«-¬á
  iîi ißi i× ½¿²ù¬ -¿§ º±® -«®» ©¸»¬¸»® ±® ²±¬ ·¬ ©¿- ©·¬¸
  iíi i i i¬¸» ¬®«-¬ô ¾«¬ ß¬¬±®²»§ Þ»ª¿²ù- ±ºº·½» ©·¬¸
  iìi i i i-»¬¬´»³»²¬- °®±ª·¼»¼ ³» ¿- º·¼«½·¿®§ ±º ¬¸»
  iëi i i i»-¬¿¬» ®»´»¿-»- ¬± -·¹²ò
  iêi iÏi iß²¼ ¿®» ¬¸»§ ®»´»¿-»- ª·-ó¿óª·- Ó®ò Þ»ª¿² ¿²¼
  iéi i i i¬¸» »-¬¿¬»á
  ièi ißi iÇ»-ò
  içi iÏi iÑµ¿§òi ß²¼ Ó®ò Þ»ª¿²ù- §±«® ¿¬¬±®²»§ô ½±®®»½¬á
  ïði ißi iÓ®ò Þ»ª¿² ·- ±«® ¿¬¬±®²»§ò
  ïïi iÏi iß²¼ -± ¬¸» ½±²º·¼»²¬·¿´·¬§ ¿¹®»»³»²¬ ¾»¬©»»²
  ïîi i i i§±« ¿²¼ Ó®ò Þ»ª¿² ¿²¼ ¬¸» »-¬¿¬»ô §±« ½±«´¼
  ïíi i i i½¸¿²¹» ¬¸¿¬ ·º §±« ©¿²¬»¼ ¬±ô ½±®®»½¬á i Ç±«ù®»
  ïìi i i i¬¸» ½´·»²¬ò
  ïëi ißi i× ®»¿´´§ óó × ®»¿´´§ ½¿²ù¬ -¿§ ¬¸¿¬ò
  ïêi iÏi iÑµ¿§òi Í± ±¬¸»® ¬¸¿² ¬¸» ½±²º·¼»²¬·¿´·¬§ ©·¬¸
  ïéi i i iÓ®ò Þ»ª¿²ô ¿®» §±« ¿©¿®» ±º ¿²§ ±¬¸»®
  ïèi i i i½±²º·¼»²¬·¿´·¬§ ¿¹®»»³»²¬ °®±¸·¾·¬·²¹ §±« º®±³
  ïçi i i i¼·-½«--·²¹ -»¬¬´»³»²¬-á
  îði ißi iÒ±¬ ¬¸¿¬ × ½¿² °»®-±²¿´´§ ®»½¿´´ò
  îïi iÏi iÉ¸±-» ·¼»¿ ©¿- ·¬ º±® §±« ¬± ¾»½±³» ¿ ½´¿--
  îîi i i i®»°®»-»²¬¿¬·ª» ·² ¬¸·- ½¿-»á
  îíi ißi i× ¿³ ¿ ½´¿-- ®»°®»-»²¬¿¬·ª» ·² ¬¸·- ½¿-» ¾¿-»¼
  îìi i i i«°±² ¾»·²¹ º·¼«½·¿®§ ±º ³§ ³±¬¸»®ù- »-¬¿¬»ò
  îëi iÏi iÞ«¬ ×ù³ -¿§·²¹ ¸±© ¼·¼ §±« »ª»² º·²¼ ±«¬ ¿¾±«¬


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                                  12171




                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îë

  iïi i i i¬¸·- ½¿-»á
  iîi ißi iÌ¸®±«¹¸ ±«® ¿¬¬±®²»§-ò
  iíi iÏi iÌ¸®±«¹¸ Ó®ò Þ»ª¿²á
  iìi ißi iÎ·¹¸¬ò
  iëi iÏi iÌ¸·- ·- ¬¸» -¿³» Ó®ò Þ»ª¿² ©¸± ¸¿- µ²±©´»¼¹» ±º
  iêi i i i¿²§ º¿½¬- ®»¹¿®¼·²¹ ¬¿´½ ¿²¼ ®»°®»-»²¬¿¬·±²-
  iéi i i i³¿¼» ¬± §±«® ³±¬¸»®ô ½±®®»½¬á
  ièi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¬±
  içi i i iº±®³ò
  ïði ißi iÝ±®®»½¬ò
  ïïi iÏi iß²¼ ¬¸» -¿³» Ó®ò Þ»ª¿² ©¸± ¸¿- ¬¸·-
  ïîi i i i½±²º·¼»²¬·¿´·¬§ ¿¹®»»³»²¬ ©·¬¸ §±«ô ½±®®»½¬á
  ïíi ißi iÝ±®®»½¬ò
  ïìi iÏi iß²¼ ¸»ù- ¬¸» ±²» ©¸± º·®-¬ ¬±´¼ §±« ¿¾±«¬ ¬¸»
  ïëi i i i°±--·¾·´·¬§ ±º ¾»·²¹ ¿ °´¿·²¬·ºº ·² ¬¸·-
  ïêi i i iÉ·´´·¿³- ½¿-»á
  ïéi ißi iÇ»-ò
  ïèi iÏi iÉ¸»² ©¿- ¬¸¿¬á
  ïçi ißi i× ¼±²ù¬ ¸¿ª» °¿®¬·½«´¿® ¼¿¬»-ò
  îði iÏi iß¬ ¬¸» ¬·³» Ó®ò Þ»ª¿² -°±µ» ¬± §±«ô ¼·¼ §±«
  îïi i i i¸¿ª» ¿²§ º¿½¬- ®»¹¿®¼·²¹ Û³¬¿´ô Û²¹»´¸¿®¼ô
  îîi i i iÞßÍÚô ±® Ý¿¸·´´ Ù±®¼±²ái Ø¿¼ §±« »ª»® »ª»²
  îíi i i i¸»¿®¼ ±º ¬¸»³á
  îìi ißi i× ¸¿¼ ²±¬ ¸»¿®¼ ±º ¬¸»³ °®»ª·±«- ¬± ¬¿´µ·²¹ ¬±
  îëi i i i¸·³ò


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îê

  iïi iÏi i×² ¬¸·- ½¿-» ¿- ¿ ½´¿-- ®»°®»-»²¬¿¬·ª»ô ©±«´¼
  iîi i i i§±« ´·µ» ³±²»§ º®±³ ¬¸» ¼»º»²¼¿²¬-á
  iíi ißi iÇ»-ò
  iìi iÏi iÑ¬¸»® ¬¸¿² ³±²»§ô ¼± §±« ©¿²¬ ¿²§¬¸·²¹ »´-»á
  iëi ißi i× ©±«´¼ ´·µ» ·¬ ¬± ¾» ½´¿®·º·»¼ º±® ³§ ³±³ ¿²¼
  iêi i i i±¬¸»® ½´¿-- ³»³¾»®- ¬¸¿¬ ¬¸·- °¿®¬·½«´¿®
  iéi i i i½±³°¿²§ ©¿- ²±¬ ¬®«¬¸º«´ ·² ·¬- ®»°®»-»²¬¿¬·±²
  ièi i i i¿- ¬± ¬¸»·® °®±¼«½¬ ¿²¼ ¬¸» »ºº»½¬ ±º ¬¸»·®
  içi i i i°®±¼«½¬ ±² ³§ ³±¬¸»® ¿²¼ ±¬¸»® ½´¿-- ³»³¾»®-ò
  ïði iÏi iÇ±« -¿·¼ ¬¸» ½±³°¿²§ ©¿- ²±¬ ¬®«¬¸º«´ ¿- ¬± ·¬-
  ïïi i i i°®±¼«½¬á
  ïîi ißi iß- ¬± ¬¸» ¸¿®³ ·¬- °®±¼«½¬ ½±«´¼ ¼±ò
  ïíi iÏi iÉ¸»² §±« -¿§ ¬¸» ½±³°¿²§ ©¿- ²±¬ ¬®«¬¸º«´ ¿- ¬±
  ïìi i i i¬¸» ¸¿®³ ¬¸» °®±¼«½¬ ½¿² ¼±ô §±«® ¾¿-·- º±®
  ïëi i i i¬¸¿¬ ·- ¿¹¿·² Ó®ò Þ»ª¿²ô ½±®®»½¬á i Ç±« ¸¿ª» ²±
  ïêi i i i·²¼»°»²¼»²¬ °»®-±²¿´ µ²±©´»¼¹»á
  ïéi ißi i× ¸¿ª» ²± ·²¼»°»²¼»²¬ °»®-±²¿´ µ²±©´»¼¹»ô ¾«¬
  ïèi i i i¾¿-»¼ «°±² ¬¸» ¿´´»¹¿¬·±²- ½±²¬¿·²»¼ ·² ¬¸»
  ïçi i i i½±³°´¿·²¬ô ×ù³ °®·ª§ ¾§ ¬¸¿¬ò
  îði iÏi iÑ¬¸»® ¬¸¿² ©¸¿¬ù- ©®·¬¬»² ·² ¬¸» ½±³°´¿·²¬ ¿²¼
  îïi i i i©¸¿¬ Ó®ò Þ»ª¿² ¸¿- ¬±´¼ §±«ô §±« ¸¿ª» ²±
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  îíi i i i¼±·²¹ ¿²§¬¸·²¹ ©®±²¹ô ½±®®»½¬á
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  îëi i i i¼± ²±¬ ¸¿ª» ¿²§ ·²¼»°»²¼»²¬ °»®-±²¿´ µ²±©´»¼¹»ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îé

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    i iÏi iß²¼ -± ·² ¬»®³- ±º ¬¸» ¸¿®³- ¿²¼ ´»¬¬·²¹ °»±°´»
  iîi i i iµ²±© ¿¾±«¬ ¬¸» ¸¿®³-ô ·- ¬¸¿¬ §±«® ·¼»¿ ±® ·-
  iíi i i i¬¸¿¬ Ó®ò Þ»ª¿²ù- ·¼»¿á
  iìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²òi ß²¼
  iëi i i i×ù³ ¹±·²¹ ¬± ·²-¬®«½¬ ¸»® ²±¬ ¬± »¨¬»²¬ óó ²±¬
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  içi i i i¬¸» ¯«»-¬·±² ©·¬¸±«¬ ·²½±®°±®¿¬·²¹ ±® ®»ª»¿´·²¹
  ïði i i i¿¼ª·½» ±º ½±«²-»´ô °´»¿-» ®»-°±²¼ò
  ïïi ißi i× ½¿²ù¬ ¿²-©»® ©·¬¸±«¬ ®»ª»¿´·²¹ ¿¼ª·½» ±º
  ïîi i i i½±«²-»´ò
  ïíi iÏi iÓ®ò Þ»ª¿² ¹¿ª» §±« ¿¼ª·½» ¿- ¬± ´»¬¬·²¹ ±¬¸»®
  ïìi i i i°»±°´» µ²±© ¿¾±«¬ ¬¸» ¸¿®³-á
  ïëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ²½» ¿¹¿·²ô
  ïêi i i i-¿³» ·²-¬®«½¬·±²òi Ì± ¬¸» »¨¬»²¬ §±«® ¿²-©»®
  ïéi i i i®»´·»- «°±² ¿¼ª·½» ±º ½±«²-»´ô ©» ·²-¬®«½¬ §±«
  ïèi i i i²±¬ ¬± ¿²-©»®òi ×º §±« ½¿² ¿²-©»® ©·¬¸±«¬
  ïçi i i i·²½±®°±®¿¬·²¹ ±® ®»ª»¿´·²¹ ¿¼ª·½» ±º ½±«²-»´ô
  îði i i i§±« ½¿² ®»-°±²¼ò
  îïi iÏi iÝ¿² §±« ¿²-©»®á
  îîi ißi i× ½¿²²±¬ ¿²-©»®ô ¾»½¿«-» × ¾»´·»ª» ¬¸¿¬ ¬¸¿¬ù-
  îíi i i i¿¬¬±®²»§ó½´·»²¬ °®·ª·´»¹»ò
  îìi iÏi iÜ·¼ §±« ¿²¼ Ó®ò Þ»ª¿² óó ©·¬¸¼®¿©²ò
  îëi i i i i i iÜ·¼ §±« ¿²¼ ¿²§¾±¼§ ¼·-½«-- §±« ®»½»·ª·²¹


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îè

  iïi i i i¿² ·²½»²¬·ª» ¿©¿®¼ ±® ¿ ¾±²«- º±® ¾»·²¹ ¿ ½´¿--
  iîi i i i®»°®»-»²¬¿¬·ª»á
  iíi ißi iÒ±ò
  iìi iÏi iÜ± §±« µ²±© óó ©·¬¸¼®¿©²ò
  iëi i i i i i i×² ¬»®³- ±º ±¬¸»® ½´¿-- ³»³¾»®-ô ¸¿ª» §±«
  iêi i i i-°±µ»² ¬± ¿²§ °»±°´» §±« ¾»´·»ª» ©¸± ¿®»
  iéi i i i³»³¾»®- ±º ¬¸» ½´¿--á
  ièi ißi i×² ¿ ³»»¬·²¹ ¿¬ ß¬¬±®²»§ Þ»ª¿²ù- ±ºº·½» ¬¸»®»
  içi i i i©»®» -»ª»®¿´ ±º «- °®»-»²¬òi × ¼±²ù¬ ®»³»³¾»®
  ïði i i i¬¸»·® ²¿³»-ô ¾«¬ × ¬¸·²µ ¬¸»®» ©»®» ¬¸®»» ±®
  ïïi i i iº±«® ±¬¸»® ®»°®»-»²¬¿¬·ª»- ±º ¬¸» ½´¿-- ¿¬ ¬¸¿¬
  ïîi i i i³»»¬·²¹ò
  ïíi iÏi iß²¼ ¼·¼ ¬¸»§ ¿´´ ¸¿ª» ¿ °®·±® ®»´¿¬·±²-¸·° ©·¬¸
  ïìi i i iÓ®ò Þ»ª¿²á
  ïëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
  ïêi i i i i i i× ·²-¬®«½¬ §±« ¬± ¬¸» ¿²-©»® óó ¬± ¬¸»
  ïéi i i i»¨¬»²¬ §±«® ¿²-©»® ®»´·»- ±² ¿¼ª·½» ±º ½±«²-»´
  ïèi i i i§±«ù®» ²±¬ ¬± ¿²-©»®ô ¾«¬ ·º §±« ¸¿ª» §±«® ±©²
  ïçi i i i°»®-±²¿´ ¾¿-·- ±® µ²±©´»¼¹» ±º ¬¸¿¬ô ¬¸»² §±«
  îði i i i½¿² ®»-°±²¼ò
  îïi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ß- ¬± ©¸»¬¸»® ¿
  îîi i i i°»®-±² ·- ®»°®»-»²¬»¼ ¾§ ¿² ¿¬¬±®²»§ ¿²¼ -¸»
  îíi i i iµ²±©- ¬¸¿¬ái Ì¸¿¬ù- ´»¹¿´ ¿¼ª·½»á
  îìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ×¬ ¼»°»²¼- ¸±©
  îëi i i i-¸» ´»¿®²- ·¬ô Ù»²»ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» îç

  iïi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ×¬ù- ¿ º¿½¬ò
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  iíi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ò±òi ×ù³ -¿§·²¹
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  iêi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ×¬ù- ¿ º¿½¬ò
  iéi i i iÉ¸»¬¸»® -±³»¾±¼§ù- ®»°®»-»²¬»¼ ±® ²±¬ ·- ¿ º¿½¬
  ièi i i i¬¸¿¬ §±« °«¬ »ª»² ±² ¿ °®·ª·´»¹» ´±¹ò i ×¬ù- ²±¬
  içi i i i®»ª»¿´·²¹ ¿¼ª·½» ±º ½±«²-»´ò
  ïði ißi iÎ»°»¿¬ ¬¸» ¯«»-¬·±²ò
  ïïi iÏi iÍ«®»òi Ü± §±« ¸¿ª» óó ¼± §±« µ²±© ©¸»¬¸»® ¬¸»
  ïîi i i i±¬¸»® °»±°´» ¿¬ ¬¸·- ³»»¬·²¹ ©·¬¸ Ó®ò Þ»ª¿²
  ïíi i i i¿´-± ¸¿¼ °®·±® ®»´¿¬·±²-¸·°- ©·¬¸ ¸·³ º±® ±¬¸»®
  ïìi i i i¿-¾»-¬±- ½¿-»-á
  ïëi ißi i× ©±«´¼ ²±¬ ¸¿ª» ¬¸¿¬ ·²º±®³¿¬·±²ò
  ïêi iÏi iÜ± §±« µ²±© ©¸± ¬¸»§ ©»®»á
  ïéi ißi i× ¼±²ù¬ ®»½¿´´ ©¸± ¬¸»§ ©»®»ò
  ïèi iÏi iÉ»´´ô ©»®» ¬¸»§ Õ·³¾»®´»» É·´´·¿³-á
  ïçi ißi i× µ²±© ¬¸»®» ¿®» ±¬¸»® °´¿·²¬·ºº-ô ¾«¬ × ¼±²ù¬
  îði i i iµ²±© ¬¸»³ °»®-±²¿´´§òi Ì¸»§ ©»®» °®±¾¿¾´§
  îïi i i i·¼»²¬·º·»¼ ¿¬ ¬¸¿¬ ³»»¬·²¹ô ¾«¬ × ¼±²ù¬
  îîi i i i®»³»³¾»® ¬¸»·® ²¿³»-ò
  îíi iÏi iØ±© ´±²¹ ¼·¼ ¬¸·- ³»»¬·²¹ ±½½«®á
  îìi ißi iØ±© ´±²¹ ¿¹± óó
  îëi iÏi iÇ»¿¸ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íð

  iïi ißi ióó ±® ¸±© ´±²¹ ©¿- ¬¸» ³»»¬·²¹á
  iîi iÏi iØ±© ´±²¹ ¿¹±ò
  iíi ißi iÍ»ª»®¿´ §»¿®-ò
  iìi iÏi iÞ»º±®» ¬¸» º·´·²¹ ±º ¬¸» ½±³°´¿·²¬á
  iëi ißi i× ¾»´·»ª» ¬¸» º·®-¬ ³»»¬·²¹ ©¿- ¾»º±®» ¬¸»
  iêi i i iº·´·²¹ ±º ¬¸» ½±³°´¿·²¬ô ¾«¬ × ½¿²ù¬ -¬¿¬»
  iéi i i i«²»¯«·ª±½¿´´§ò
  ièi iÏi iÉ¿- Ó®ò Ð´¿½·¬»´´¿ ±® ¿²§¾±¼§ º®±³
  içi i i iÓ®ò Ð´¿½·¬»´´¿ù- º·®³ ¿¬ ¬¸¿¬ ³»»¬·²¹á
  ïði ißi iÇ»-ò
  ïïi iÏi iÉ¿- Ó®ò Ð´¿½·¬»´´¿ ¬¸»®»á
  ïîi ißi i× ¼±²ù¬ ®»½¿´´ò
  ïíi iÏi iØ±© ´±²¹ ¼·¼ ¬¸» ³»»¬·²¹ ¬¿µ» °´¿½»ái Ø±© ´±²¹
  ïìi i i i¼·¼ ·¬ ¹±á
  ïëi ißi iß¾±«¬ ¿² ¸±«® ±® ¬©±ò
  ïêi iÏi iÉ·¬¸±«¬ ®»ª»¿´·²¹ ©¸¿¬ ©¿- -¿·¼ô ¼·¼
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  îïi iÏi iÓ¿¼» ¿ °®»-»²¬¿¬·±²á
  îîi ißi iÎ·¹¸¬ò
  îíi iÏi iÉ¿- ·¬ ¿ Ð±©»®Ð±·²¬ °®»-»²¬¿¬·±²á
  îìi ißi iÒ±ô ·¬ ©¿- ²±¬ò
  îëi iÏi iÜ·¼ ¬¸»§ -¸±© §±« ¼±½«³»²¬-á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íï

  iïi ißi i× ¼±²ù¬ ¾»´·»ª» ¬¸»®» ©»®» ¼±½«³»²¬-ò
  iîi iÏi iÉ¿- ¬¸»®» ¿²§¾±¼§ ¿¬ ¬¸» ³»»¬·²¹ ©¸± ©¿- ²±¬ ¿
  iíi i i i½´¿-- ®»°®»-»²¬¿¬·ª» ±® ¿² ¿¬¬±®²»§
  iìi i i i®»°®»-»²¬·²¹ ¬¸» ½´¿--á
  iëi ißi i× ®»¿´´§ ½±«´¼²ù¬ -¿§ò
  iêi iÏi iÜ·¼ §±« ¬¿µ» ²±¬»- ±º ¬¸» ³»»¬·²¹á
  iéi ißi i× ¬±±µ ¿ º»© °»®-±²¿´ ²±¬»-ò
  ièi iÏi iß²¼ ¼± §±« ¸¿ª» ¬¸±-» ²±¬»-á
  içi ißi iÒ±ô × ¼± ²±¬ò
  ïði iÏi iÉ¸»®» ¿®» ¬¸»§á
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  ïîi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ø¿ª» ¬¸»§ ¾»»²
  ïíi i i i´±¹¹»¼á
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  ïëi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ð¿®¼±² ³»á
  ïêi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i × ¼±²ù¬ µ²±©ò
  ïéi i i i× ½¿²ù¬ ¬»´´ §±« ±ºº ¬¸» ¬±° ±º ³§ ¸»¿¼ò
  ïèi ißi iÌ¸·- ©¿- -»ª»®¿´ §»¿®- ¿¹±ò
  ïçi iÏi iØ¿ª» §±« ¹·ª»² ¬¸»³ ¬± §±«® ¿¬¬±®²»§-á
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  îïi i i i¿ ½±«°´» ±º °»®-±²¿´ ²±¬»-ò
  îîi iÏi iÑµ¿§ò
  îíi ißi iÌ¸¿¬ ©¿- ·¬ò
  îìi iÏi iÑµ¿§òi ß²¼ ©·¬¸ ®»-°»½¬ ¬± ¿¬ ´»¿-¬ ¬¸»-»
  îëi i i i°»®-±²¿´ ²±¬»-ô ¸¿ª» §±« ¹·ª»² ¬¸»³ ¬± §±«®


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íî

  iïi i i i¿¬¬±®²»§-á
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  iíi i i i¬¸»®» ©¿- ²±¬¸·²¹ óó ¬± ¬¸» ¾»-¬ ±º ³§
  iìi i i iµ²±©´»¼¹»ô ¬¸»®» ©¿- ²±¬¸·²¹ ·² ³§ ²±¬»- ¬±
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  ïði i i i¼±½«³»²¬- §±« ¸¿ª» ¬¸¿¬ ®»´¿¬» ¬± ¬¸·-
  ïïi i i i½±³°´¿·²¬ ±® ¬¸» ¿´´»¹¿¬·±²- ·² ¬¸·- ½¿-»á
  ïîi ißi i×ù³ ²±¬ ½»®¬¿·² × «²¼»®-¬¿²¼ §±«® ¯«»-¬·±²ò
  ïíi iÏi iÑµ¿§òi Ø¿ª» §±«® ¿¬¬±®²»§- ½±³» ¬± §±« ¿²¼
  ïìi i i i-¿·¼ô þÓ-ò Ø±´´»§ô ©»ù¼ ´·µ» §±« ¬± -»¿®½¸ §±«®
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  ïéi i i i½¿-»þái Ø¿ª» ¬¸»§ ¿-µ»¼ §±« ¬¸¿¬ ·² ©±®¼- ±® ·²
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  îði iÏi iÉ»´´ô §±«ùª» ¾»»² ¿®±«²¼ ¬¸» ´·¬·¹¿¬·±² -§-¬»³
  îïi i i iº±® §»¿®- ·² ¬¸»-» ¿-¾»-¬±- ½¿-»-ô ®·¹¸¬á
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íí

  iïi iÏi iß²¼ ·º §±«® ¿¬¬±®²»§- ¸¿¼ ¿-µ»¼ §±« º±®
  iîi i i i¼±½«³»²¬-ô §±« ©±«´¼ ¸¿ª» ¬±´¼ ¬¸»³ ¿¾±«¬ ¬¸»
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  iìi ißi iÐ»®-±²¿´´§ô × ½¿²ù¬ ¬¸·²µ ±º ¿²§ ¼±½«³»²¬- ¬¸¿¬
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  iêi i i i¬¸¿¬ × ®»½»·ª»¼ ©»®» º®±³ ¬¸» ¿¬¬±®²»§-ò
  iéi iÏi iÉ»´´ô ´»¬ù- -¬¿®¬ ©·¬¸ ¬¸» ²±¬»- ¬¸¿¬ §±« ¬±±µ
  ièi i i i¼«®·²¹ ¬¸» Þ»ª¿² ½´¿-- ®»° ³»»¬·²¹ ©·¬¸
  içi i i iÓ®ò Ð´¿½·¬»´´¿òi ×¬ù- ½´»¿® §±« ¸¿ª»²ù¬ ¹·ª»²
  ïði i i i¬¸±-» ¬± ¬¸» ¿¬¬±®²»§-ò
  ïïi ißi iÝ´»¿®ò
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  ïìi iÏi iß²¼ ¬¸»§ ¸¿ª»²ù¬ ¿-µ»¼ §±« º±® ¬¸»³á
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íì

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  ïði i i iµ»°¬ «° ¬± ¼¿¬» ±² ©¸¿¬ù- ¸¿°°»²·²¹ ·² ¬¸·-
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  ïéi i i i¼·-½«--·±²-á
  ïèi ißi i× ¶«-¬ µ²±© ¬¸»®» ©»®» -»¬¬´»³»²¬ ¼·-½«--·±²-ò
  ïçi i i i× ¸¿ª» ²± ·²º±®³¿¬·±² ±² ¬¸±-» °¿®¬·½«´¿®
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  îîi i i i¬»®³-ô ¬¸» ³±²»§ ¬¸¿¬ ©¿- ¾»·²¹ ±ºº»®»¼ô
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íë

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  iëi ißi iÒ±ò
  iêi iÏi i×²¬»®»-¬·²¹òi ß- ¿ ½´¿-- ®»°®»-»²¬¿¬·ª»ô ¼± §±«
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  ïði i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  ïïi i i iº±®³ò
  ïîi ißi i× ¸¿ª» ¿´©¿§- ¾»»² ¿¼ª·-»¼ ±º ®»´»ª¿²¬
  ïíi i i i-»¬¬´»³»²¬- ·² ®»¹¿®¼ ¬± ¬¸» ¼»º»²¼¿²¬-ù »²¼ô
  ïìi i i i³§ ³±³ù- ¿-¾»-¬±- ½¿-»ò
  ïëi iÏi iÓ®ò Þ»ª¿² ¿´©¿§- ¬»´´- §±« ¬¸¿¬ ¬¸»®»ù- ¿
  ïêi i i i¼»º»²¼¿²¬ ©¸±ù- ©·´´·²¹ ¬± °¿§ üïðôðððô º±®
  ïéi i i i»¨¿³°´»ô ½±®®»½¬á
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  ïçi iÏi iß²¼ ¬¸»² §±« ¼»½·¼» óó
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íê

  iïi ißi i×º ¬¸»®» ·- ¿ ®»¿-±²¿¾´» -»¬¬´»³»²¬ ±ºº»®»¼ô ×
  iîi i i i¼± »¨°»½¬ ¬¸¿¬ò
  iíi iÏi iÇ±« »¨°»½¬ ¬± ¾» ·²º±®³»¼ ±º ·¬ô ½±®®»½¬á
  iìi ißi i× »¨°»½¬ ¬± ¾» ·²º±®³»¼ò
  iëi iÏi iß²¼ ©¸±-» ¼»½·-·±² ©±«´¼ ·¬ ¾» ¬± ¿½½»°¬ ¬¸»
  iêi i i i-»¬¬´»³»²¬ ±ºº»® º±® ¬¸» ½´¿--á
  iéi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  ièi i i iº±®³ò
  içi ißi iÓ§ ¿¬¬±®²»§-ò
  ïði iÏi iÇ±« ³»¿² Ó®ò Ð´¿½·¬»´´¿ ¿²¼ Ó®ò Ý±®»² ©±«´¼
  ïïi i i i¼»½·¼» ±² ¸±© ³«½¸ ³±²»§ ¬¸» ½´¿-- -¸±«´¼ ¹»¬á
  ïîi ißi iÌ¸»§ ©±«´¼ ¿¼ª·-» ³»ò
  ïíi iÏi iÉ¸¿¬ ¿¾±«¬ Ó®ò Þ»ª¿²á
  ïìi ißi i×ù³ óó ×ù³ ²±¬ -«®» ·² ¬¸·- ³¿¬¬»®ò i Ì¸»§ù®»
  ïëi i i i®»°®»-»²¬·²¹ ¬¸» ½´¿-- ¿½¬·±²ô -± ×ù³ ²±¬
  ïêi i i i½»®¬¿·² ¸±© ¬¸¿¬ù- ¼±²»òi × ½¿² ·³¿¹·²» ¬¸¿¬
  ïéi i i iß¬¬±®²»§ Þ»ª¿² ©±«´¼ ¾» °®·ª§ ¬± ·¬ô ¾«¬ ×
  ïèi i i i¼±²ù¬ µ²±© ¬¸¿¬ º±® ½»®¬¿·²ò
  ïçi iÏi iÞ«¬ ¿- ©» -·¬ ¸»®» ¬±¼¿§ô §±«ùª» ²»ª»® ¾»»²
  îði i i i·²º±®³»¼ ¬¸¿¬ ¬¸»®» ©¿- ¿² ±°°±®¬«²·¬§ ¬±
  îïi i i i-»¬¬´» ¿ ½¿-» º±® -±³» -«³ ±º ³±²»§ ¬¸¿¬ §±«
  îîi i i i©±«´¼ ®»½»·ª»ô ½±®®»½¬á
  îíi ißi i×² -±³» ±º ¬¸» ±¬¸»®-ò
  îìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
  îëi iÏi iÉ·¬¸¼®¿©²ò


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íé

  iïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
  iîi ißi iÑµ¿§ò
  iíi iÏi iÔ»¿ª» ¿-·¼» ¬¸» ·²¼·ª·¼«¿´ ¿-¾»-¬±- ½¿-»- ©·¬¸
  iìi i i iÓ®ò Þ»ª¿²ô ±µ¿§á
  iëi ißi iÑµ¿§òi Ñµ¿§ò
  iêi iÏi iÉ·¬¸ ®»-°»½¬ ¬± ¬¸·- ½¿-»ô ¬¸» É·´´·¿³- ½¿-»ô
  iéi i i i¿- ©» -·¬ ¸»®» ¬±¼¿§ô §±«ùª» ²»ª»® ¾»»²
  ièi i i i·²º±®³»¼ ¬¸¿¬ ¬¸»®» ©¿- ¿ °±--·¾·´·¬§ ¬± -»¬¬´»
  içi i i i¿ ½¿-» óó -»¬¬´» ¬¸»-» ½¿-»- ¿¬ -±³» -«³ ±º
  ïði i i i³±²»§ ¿²¼ ¬¸¿¬ §±« ©·´´ ®»½»·ª» -±³» -°»½·º·½
  ïïi i i i-«³ô ½±®®»½¬á
  ïîi ißi i×ùª» ±²´§ ¾»»² ¿¼ª·-»¼ ¬¸¿¬ ¬¸»®» ¸¿ª» ¾»»²
  ïíi i i i-±³» -»¬¬´»³»²¬ ¼·-½«--·±²-òi Ò± ³±²»§ ©¿-
  ïìi i i i¼·-½«--»¼ò
  ïëi iÏi i×¬ ©¿- ²»ª»® óó
  ïêi ißi iÉ·¬¸ ³»ò
  ïéi iÏi iÑµ¿§òi É»´´ô §±«ù®» ¬¸» ½´¿-- ®»°®»-»²¬¿¬·ª»ò
  ïèi ißi iÎ·¹¸¬òi Î·¹¸¬òi Î·¹¸¬ò
  ïçi iÏi iÑ¬¸»® ¬¸¿² §±«ô ·- ¬¸»®» ¿²§¾±¼§ »´-» óó
  îði ißi iÎ·¹¸¬ò
  îïi iÏi ióó §±« ¬¸·²µ ©±«´¼ ¾» °®·ª§ ¬± ¬¸»-»
  îîi i i i¼·-½«--·±²-á
  îíi ißi i× ©±«´¼²ù¬ µ²±© ¬¸¿¬ò
  îìi iÏi iß¬ ¬¸» »²¼ ±º ¬¸» ¼¿§ô ¼± §±« ¬¸·²µ ¬¸¿¬
  îëi i i iÓ®ò Ð´¿½·¬»´´¿ ¿²¼ Ó®ò Þ»ª¿² ¹»¬ ¬± ¼»½·¼» ¸±©


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íè

  iïi i i i³«½¸ ³±²»§ ¬¸» ½´¿-- -¸±«´¼ ¹»¬á
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  iíi i i iº±®³ò
  iìi ißi iÎ»°»¿¬ ¬¸¿¬ò
  iëi iÏi iÍ«®»òi ×² ¬¸·- ½´¿-- ¿½¬·±²ô ¼± §±« ¬¸·²µ ¬¸»
  iêi i i i½´¿-- ®»°®»-»²¬¿¬·ª»- ¼»½·¼» ¸±© ³«½¸ ³±²»§ ¬¸»
  iéi i i i½¿-» -¸±«´¼ ¾» -»¬¬´»¼ º±®ô ·º ·¬ù- -»¬¬´»¼ô ±®
  ièi i i i¬¸» ¿¬¬±®²»§-ô ´·µ» Ó®ò Ð´¿½·¬»´´¿ô Ó®ò Ý±®»²ô
  içi i i i¿²¼ Ó®ò Þ»ª¿²á
  ïði i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  ïïi i i iº±®³ò
  ïîi ißi i× ¾»´·»ª» ¬¸¿¬ ±«® ¿¬¬±®²»§- ©±«´¼ ¿¼ª·-» «- ±²
  ïíi i i i¬¸¿¬ò
  ïìi iÏi iß¼ª·-» §±« ±² ©¸± ³¿µ»- ¬¸» ¼»½·-·±²á
  ïëi ißi iÒ±òi ß¼ª·-» ±² ¿²§ -»¬¬´»³»²¬- ¬¸¿¬ ¸¿ª» ¾»»²
  ïêi i i i±ºº»®»¼ ¿²¼ ¬¸»§ º»»´ ¿- ¬¸±«¹¸ ¬¸»§ ¿®»
  ïéi i i i-»¬¬´»³»²¬- ¬¸¿¬ ©» -¸±«´¼ ¬¿µ» ·²¬±
  ïèi i i i½±²-·¼»®¿¬·±²ò
  ïçi iÏi iß²¼ô º±® »¨¿³°´»ô ·º -±³»¾±¼§ ¸¿¼ ±ºº»®»¼
  îði i i i§±« óó ©·¬¸¼®¿©²ò
  îïi i i i i i i×º ¿ ¼»º»²¼¿²¬ ±® ¿ ¹®±«° ±º ¼»º»²¼¿²¬-
  îîi i i i·² ¬¸·- ½¿-» ¸¿¼ ±ºº»®»¼ §±«ô -¿§ô üëðôððð ¬±
  îíi i i i-»¬¬´» ¬¸» ½¿-»ô ©±«´¼ §±« ¿¬ ´»¿-¬ ©¿²¬ ¬±
  îìi i i iµ²±© ¿¾±«¬ ¬¸¿¬á
  îëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» íç

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  iíi i i i¾»º±®»ô × «²¼»®-¬¿²¼ ·² ¬¸·- °¿®¬·½«´¿® ³¿¬¬»®
  iìi i i i¬¸¿¬ ¬¸»®» ¸¿¼ ¾»»² -±³» -»¬¬´»³»²¬
  iëi i i i¼·-½«--·±²-ô ¾«¬ ¬¸¿¬ ©¿- ©·¬¸ óó ¬¸¿¬ ©¿- ¬¸»
  iêi i i i¿¬¬±®²»§-ô ¬¸» °´¿·²¬·ºº-ô ¿²¼ ¬¸» ¼»º»²¼¿²¬-ò
  iéi i i iß- ¿ ½´¿-- ¿½¬·±² ³»³¾»®ô × ©¿- ²±¬ °®·ª§ ¬±
  ièi i i i¬¸¿¬ò
  içi iÏi iß²¼ ¿- ¿ ½´¿-- ®»°®»-»²¬¿¬·ª» §±« ©»®» ²±¬
  ïði i i i°®·ª§ ¬± ¬¸±-» ¼·-½«--·±²-ô ½±®®»½¬á
  ïïi ißi iÒ±ô ²±¬ ¬± ¬¸±-» °¿®¬·½«´¿® ¼·-½«--·±²-ò
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  ïìi i i iµ²±©´»¼¹» ±º ©¸»¬¸»® §±« ¸¿¼ ¿² ¿¾·´·¬§ ´¿-¬
  ïëi i i i-«³³»® ¬± ¹»¬ ¿ -°»½·º·½ -«³ ±º ³±²»§ ¬± -»¬¬´»
  ïêi i i i¬¸» ½¿-»á
  ïéi ißi i× ¸¿ª» ²± µ²±©´»¼¹» ±º ¬¸¿¬ò
  ïèi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ú±®³ ±¾¶»½¬·±²ò
  ïçi i i i×ù³ -±®®§ô ×ù³ ¿ ´·¬¬´» -´±© ±² ¬¸» ¼®¿©ò
  îði iÏi i×² ³»»¬·²¹ ©·¬¸ Ó®ò Ý±®»² §»-¬»®¼¿§ô ©¿- ¬¸»®»
  îïi i i i¿²§¾±¼§ »´-» °®»-»²¬ ·² ¬¸» ®±±³á
  îîi ißi iÒ±ò
  îíi iÏi iß²¼ ¼·¼ ¸» -¸±© §±« ¿²§ ¼±½«³»²¬-á
  îìi ißi i× ¸¿¼ ¿´®»¿¼§ ®»½»·ª»¼ ¼±½«³»²¬-ò
  îëi iÏi iÚ®±³ ©¸±³á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìð

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  iîi iÏi iÜ·¼ §±« ®»ª·»© ¬¸±-» ¼±½«³»²¬-á
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  iìi iÏi iÜ·¼ ¬¸»§ ®»º®»-¸ §±«® ³»³±®§ ¿²¼ ¸»´° §±«
  iëi i i i®»³»³¾»® ¬¸·²¹-á
  iêi ißi iÞ¿-·½¿´´§ ¬¸»§ ¸»´°»¼ ·² ¶«-¬ ¬¸» ®»ª·»© ±º ¬¸»
  iéi i i i½¿-» ·¬-»´ºò
  ièi iÏi iÉ»®» ¬¸»§ ¼±½«³»²¬- ®»´¿¬·²¹ ¬± §±«® ³±¬¸»®ù-
  içi i i i½¿-»á
  ïði ißi iÇ»-òi Î»´¿¬·²¹ ¬± ¬¸·- °¿®¬·½«´¿® ½¿-»ò
  ïïi iÏi iÉ»®» ¬¸»§ ¼±½«³»²¬- ®»´¿¬·²¹ ¬± ¬¸» É·´´·¿³-
  ïîi i i i½´¿-- ¿½¬·±²á
  ïíi ißi iÇ»-ò
  ïìi iÏi iÝ±«´¼ §±« »-¬·³¿¬» ¸±© ³¿²§ ¼±½«³»²¬- §±« ¹±¬á
  ïëi i i iÉ¿- ·¬ º·ª»ô ïðô ïëô îðá
  ïêi ißi i× µ²±© ¸±© ³¿²§ ¼±½«³»²¬- × ®»½»·ª»¼ò
  ïéi iÏi iÑ¸òi Ø±© ³¿²§á
  ïèi ißi i×¬ ©¿- óó ¬¸»®» ©»®» ¬¸®»» ¼±½«³»²¬-ò
  ïçi iÏi iß²¼ ¬¸±-» ¼±½«³»²¬- ¸»´°»¼ §±« ¾±¬¸ °®»°¿®» º±®
  îði i i i¬±¼¿§ ¿²¼ ®»º®»-¸ §±«® ³»³±®·»- ¿- ¬± ¬¸»
  îïi i i i»ª»²¬-ô ½±®®»½¬á
  îîi ißi iÇ»-ò
  îíi iÏi iÉ¸¿¬ ¬¸®»» ¼±½«³»²¬- ®»º®»-¸»¼ §±«® ³»³±®·»- ¿-
  îìi i i i¬± ¬¸» »ª»²¬-á
  îëi ißi iÌ¸» ½±³°´¿·²¬ô ¿³»²¼»¼ ½±³°´¿·²¬ô ¿²¼ ¬¸»


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìï

  iïi i i i¶«¼¹»ù- óó ¬¸» ¶«¼¹»ù- ±°·²·±²ò
  iîi iÏi iÍ± ¬¸» °´»¿¼·²¹- ©·¬¸ ¬¸» ¿´´»¹¿¬·±²- ·² ¬¸·-
  iíi i i i½¿-» ¿²¼ ¬¸» Ý±«®¬ ±º ß°°»¿´-ù ¼»½·-·±²- óó
  iìi ißi iÝ±®®»½¬ò
  iëi iÏi ióó ¿®» ©¸¿¬ §±« ®»ª·»©»¼ ¬± °®»°¿®» §±« º±®
  iêi i i i¬±¼¿§ù- ¼»°±-·¬·±²á
  iéi ißi iÌ¸¿¬ ¿´±²¹ ©·¬¸ ¬¸» ³»»¬·²¹ ©·¬¸ Ó®ò Ý±®»²ò
  ièi iÏi iß²¼ ©»®» ¿²§ ±¬¸»® ¼±½«³»²¬- -¸±©² ¬± §±«á
  içi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ß-µ»¼ ¿²¼
  ïði i i i¿²-©»®»¼ò
  ïïi iÏi iÑ¬¸»® ¬¸¿² ¬¸±-» ¬¸®»»ò
  ïîi ißi iÒ±¬ ¿¬ ¬¸·- ¬·³»òi × ¸¿¼ ®»½»·ª»¼ ¼±½«³»²¬-
  ïíi i i i¾»º±®»ò
  ïìi iÏi i×² °®»°¿®¿¬·±² º±® §±«® ¼»°±-·¬·±² ±® ¶«-¬ ¿- ¿
  ïëi i i i½´¿-- ®»°®»-»²¬¿¬·ª»á
  ïêi ißi iÌ¸»-» óó ¬¸» ¼±½«³»²¬- × ®»ª·»©»¼ ©»®» º±®
  ïéi i i i°®»°¿®¿¬·±² ±º ¬¸·- ¼»°±-·¬·±²ò
  ïèi iÏi iÌ¸» ¬¸®»» ¼±½«³»²¬- §±« ®»ª·»©»¼á
  ïçi ißi iÌ¸±-» ¬¸®»» ¼±½«³»²¬-ò
  îði iÏi iÑµ¿§òi Ü·¼ §±« ®»ª·»© ¿²§ ±¬¸»® ¼±½«³»²¬- ·²
  îïi i i i°®»°¿®¿¬·±² º±® §±«® ¼»°±-·¬·±²á
  îîi ißi iÒ±ô × ¼·¼ ²±¬ò
  îíi iÏi iÑµ¿§òi ×² ¬»®³- ±º §±«® ®±´» ¿- ½´¿--
  îìi i i i®»°®»-»²¬¿¬·ª»ô ¼± §±« ¾»´·»ª» ¬¸¿¬ ±¬¸»® ½´¿--
  îëi i i i³»³¾»®- ¿®» ·²¬»®»-¬»¼ ·² ®»½»·ª·²¹ ³±²»§ º±®


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìî

  iïi i i i¿´´»¹»¼ ·²¶«®·»-á
  iîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
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  iìi ißi iÜ± × ¾»´·»ª» ¬¸¿¬ ±¬¸»® óó
  iëi iÏi iÝ´¿-- ³»³¾»®- óó
  iêi ißi ióó ½´¿-- ³»³¾»®- óó
  iéi iÏi ióó ©¿²¬ ³±²»§ò
  ièi ißi i×ù¼ -¿§ §»-ò
  içi iÏi iÑµ¿§òi ×² ¬»®³- ±ºô -¿§ô ¬¸·²¹- ¬¸¿¬ ¿®»²ù¬
  ïði i i i³±²»§ô ¿´´ ®·¹¸¬ô ·²-¬»¿¼ ±º ³±²»§ô ©¸¿¬»ª»®
  ïïi i i i»´-»ô -¿§ ¿² ¿°±´±¹§ô ¼± §±« ¬¸·²µ ±¬¸»® ½´¿--
  ïîi i i i³»³¾»®- ©±«´¼ °®»º»® ³±²»§ ±® ¿² ¿°±´±¹§á
  ïíi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  ïìi i i iº±®³ò
  ïëi ißi i× ½±«´¼²ù¬ -¿§ ©¸¿¬ ¬¸»§ ©±«´¼ °®»º»®ò
  ïêi iÏi iÉ¸¿¬ ¿¾±«¬ §±«á
  ïéi ißi i× ¬¸·²µ ×ùª» ¿´®»¿¼§ -¬¿¬»¼ ·¬ô ©¸¿¬ × óó ©¸¿¬
  ïèi i i i³§ »¨°»½¬¿¬·±² ·-ò
  ïçi iÏi iÓ±²»§á
  îði ißi iÓ±²»¬¿®§ ½±³°»²-¿¬·±² ¿²¼ ¿¼³·--·±² ±º
  îïi i i iº®¿«¼«´»²¬ ®»°®»-»²¬¿¬·±²ò
  îîi iÏi iß¼³·--·±² ±º º®¿«¼«´»²¬ ®»°®»-»²¬¿¬·±²ò
  îíi i i i i i iÌ¸» ¿¼³·--·±² ±º º®¿«¼«´»²¬
  îìi i i i®»°®»-»²¬¿¬·±²ô ©» ¬¿´µ»¼ ¿¾±«¬ ¬¸¿¬ »¿®´·»®ô
  îëi i i i¬¸¿¬ù- ©¸¿¬ óó


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìí

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  iîi iÏi ióó Ó®ò Þ»ª¿² µ²±©- ¿¾±«¬ô ²±¬ §±«ô ®·¹¸¬á
  iíi ißi i× µ²±© ¿¾±«¬ ·¬ ¬¸®±«¹¸ Ó®ò Þ»ª¿²ò
  iìi iÏi iÇ±« µ²±© óó ¿²§¬¸·²¹ §±« µ²±©ô §±« µ²±© ¿¾±«¬
  iëi i i i·¬ ¬¸®±«¹¸ Ó®ò Þ»ª¿²ô º¿·®á
  iêi ißi iÓ®ò Þ»ª¿² ¿²¼ Ó®ò Ý±®»²ò
  iéi iÏi iß²§¬¸·²¹ §±« µ²±© ¿¾±«¬ ¬¸» ¿´´»¹»¼ º®¿«¼«´»²¬
  ièi i i i³·-®»°®»-»²¬¿¬·±² §±« µ²±© »·¬¸»® ¬¸®±«¹¸
  içi i i iÓ®ò Þ»ª¿² ±® Ó®ò Ý±®»²á
  ïði ißi iÌ¸®±«¹¸ ¬¸» ¿¬¬±®²»§-ô §»-ò
  ïïi iÏi iß´´ ®·¹¸¬òi Ü± §±« ¬¸·²µ ¬¸¿¬ ³»³¾»®- ±º ¬¸»
  ïîi i i i½´¿-- -¸±«´¼ ¹»¬ ³±²»§ ·º ¬¸»§ ©»®» ²±¬ ¸¿®³»¼á
  ïíi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ú±®³ ±¾¶»½¬·±²ò
  ïìi i i i i i iÇ±« ½¿² ®»-°±²¼ò
  ïëi i i i i i i i i i iÌØÛ É×ÌÒÛÍÍæi i i Ü·¼ §±« -¿§ ×
  ïêi i i i½±«´¼ ®»-°±²¼á
  ïéi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç»-òi Ç»-ò
  ïèi ißi iß½¬«¿´´§ô × ¼±²ù¬ ¬¸·²µ × ©±«´¼ ¾» ¿¾´» ¬±
  ïçi i i i¿²-©»® ¬¸¿¬ ¯«»-¬·±²òi Þ»½¿«-» §±«ù®» ¬¿´µ·²¹
  îði i i i¿¾±«¬ »¨°»½¬¿¬·±²- ±º ±¬¸»® °»±°´»ô ®·¹¸¬á
  îïi iÏi iÉ»´´ô ×ù³ ¬¿´µ·²¹ ¿¾±«¬ §±«® ®±´» ¿- ½´¿--
  îîi i i i®»°®»-»²¬¿¬·ª» ·² ¿°°®±ª·²¹ ±® × ¹«»-- ¸»¿®·²¹
  îíi i i i¿¾±«¬ ¿ -»¬¬´»³»²¬ º®±³ §±«® ¿¬¬±®²»§-ò
  îìi i i i i i iÜ± §±« »¨°»½¬ ¬¸¿¬ ½´¿-- ³»³¾»®- ©¸± ©»®»
  îëi i i i²±¬ ·²¶«®»¼ -¸±«´¼ ¹»¬ ³±²»§á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìì

  iïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¬±
  iîi i i iº±®³ò
  iíi ißi iß²¼ × ¼±²ù¬ µ²±© »¨¿½¬´§ ©¸¿¬ §±« ³»¿² ¾§
  iìi i i iþ½´¿-- ³»³¾»®- ©¸± ©»®» ²±¬ ·²¶«®»¼òþ i É¸§
  iëi i i i©±«´¼ ¬¸»§ ¾» ½´¿-- ³»³¾»®-á
  iêi iÏi iÑµ¿§òi Ù±±¼ ¯«»-¬·±²ò
  iéi i i i i i iÍ± ·º -±³»¾±¼§ô ´»¬ù- -¿§ô ¿½¬«¿´´§
  ièi i i i¼·¼²ù¬ ¸¿ª» »¨°±-«®» ¬± Û³¬¿´ ¬¿´½ ¿²¼ §»¬
  içi i i iº·´»¼ ¿ ½±³°´¿·²¬ ¿¹¿·²-¬ Û³¬¿´ ¿²¼ ¸¿¼ ·¬
  ïði i i i¼·-³·--»¼ô ¼± §±« ¬¸·²µ ¬¸»§ -¸±«´¼ ¹»¬ ³±²»§á
  ïïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  ïîi i i iº±®³ò
  ïíi ißi iß²¼ ¸¿¼ ·¬ ¼·-³·--»¼á
  ïìi iÏi iÇ»¿¸òi Ûª»² ¬¸±«¹¸ ¬¸»§ ¸¿¼ ²»ª»® ©±®µ»¼ ©·¬¸
  ïëi i i iÛ³¬¿´ ¬¿´½ò
  ïêi ißi iÉ¸§ ©±«´¼ ¬¸»§ ¾» ¿ °¿®¬§ ¬± ¬¸» ½´¿-- ·º ¬¸»§
  ïéi i i i¸¿¼ ²»ª»® ©±®µ»¼ º±® óó ·º ¬¸»§ ¸¿¼ ²»ª»® ¾»»²
  ïèi i i i»¨°±-»¼ ¬± ±® ¸¿®³»¼á
  ïçi iÏi iÉ»´´ô §±«® óó §±« ³»²¬·±²»¼ »¿®´·»® §±« ¸¿¼
  îði i i iº·´»¼ ¿ ½±³°´¿·²¬ ¿¹¿·²-¬ ¼±¦»²- ±º ½±³°¿²·»-ô
  îïi i i i½±®®»½¬á
  îîi ißi iÑ¬¸»® ½±³°¿²·»-ô ½±®®»½¬ò
  îíi iÏi iß²¼ ¼± §±« µ²±© ©¸»¬¸»® ¿´´ ±º ¬¸»³ ¿½¬«¿´´§
  îìi i i i¸¿¼ ¿-¾»-¬±- ¬¸¿¬ §±«® ³±¬¸»® ©¿- »¨°±-»¼ ¬±á
  îëi ißi iÒ±ô × ©±«´¼ ²±¬òi × ©±«´¼ ²±¬ µ²±© ¬¸¿¬ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìë

  iïi iÏi iß²¼ ·º §±« º±«²¼ ±«¬ ´¿¬»® ¬¸¿¬ ±²» ±º ¬¸»
  iîi i i i½±³°¿²·»- ©¿- ´·-¬»¼ ¿- ¿ ¼»º»²¼¿²¬ ¾«¬
  iíi i i i¿½¬«¿´´§ ¼·¼²ù¬ ¸¿ª» ¿²§ °®±¼«½¬ ¿¬ ¬¸» °´¿½»
  iìi i i i©¸»®» §±«® ³±¬¸»® ©±®µ»¼ô ©±«´¼ §±« ©¿²¬ ³±²»§
  iëi i i iº®±³ ¬¸»³á
  iêi ißi iÉ±«´¼²ù¬ ¬¸¿¬ ¾» ¿ ´»¹¿´ ·--«»á
  iéi iÏi iÉ»´´ô × ¬¸·²µ ·¬ù- ¿½¬«¿´´§ ¶«-¬ ¿ ³¿¬¬»® ±º
  ièi i i i»¬¸·½-ô ·-²ù¬ ·¬á
  içi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  ïði i i iº±®³ò
  ïïi ißi i× ¼±²ù¬ ¬¸·²µ ·¬ù- ¿²§¬¸·²¹ ¬¸¿¬ × ½¿² ¿²-©»®ò
  ïîi i i i×º §±« ®»°»¿¬ ¬¸» ¯«»-¬·±² óó
  ïíi iÏi iÍ«®»ò
  ïìi ißi ióó ¿²¼ × ¹»¬ ¿ ¾»¬¬»® «²¼»®-¬¿²¼·²¹ô ³¿§¾» ×
  ïëi i i i½¿² ¿²-©»® §±«ò
  ïêi iÏi i×º §±« º±«²¼ ±«¬ ¬¸¿¬ ¬¸»®»ù- ¿ ´¿©-«·¬ ¿¹¿·²-¬
  ïéi i i i¬¸» ½±³°¿²§ ¿²¼ ¬¸» ½±³°¿²§ ¿½¬«¿´´§ ¼·¼²ù¬
  ïèi i i i¸¿ª» ¿²§ °®±¼«½¬- ©·¬¸ ¿-¾»-¬±- ¬¸¿¬ §±«®
  ïçi i i i³±¬¸»® ©¿- »¨°±-»¼ ¬±ô ¬¸»§ ©»®» ²¿³»¼ ¾§
  îði i i i³·-¬¿µ»ô ¼± §±« ¬¸·²µ ¬¸¿¬ ½±³°¿²§ -¬·´´ ±©»-
  îïi i i i§±« ±® §±«® »-¬¿¬» ³±²»§á
  îîi ißi iÉ¸»®» ¬¸» ½±³°¿²§ù- -¬·´´ ·² ¬¸» ´¿©-«·¬ ±®
  îíi i i i©»®» ¬¸»§ ¼·-³·--»¼á
  îìi iÏi iÔ»¬ù- -¿§ ¬¸»§ù®» -¬·´´ ·² ¬¸» ´¿©-«·¬ò
  îëi ißi i× -¬·´´ óó × ¼±²ù¬ ¬¸·²µ ·¬ù- ¿²§¬¸·²¹ ¬¸¿¬ ×


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìê

  iïi i i i½¿² ¿²-©»®ò
  iîi iÏi iÉ»´´ô ´»¬ù- -¿§ ¬¸»§ ©»®» ¼·-³·--»¼ò
  iíi ißi iÒ±¬ ¾¿-»¼ «°±² ¬¸» ©¿§ ¬¸¿¬ §±« °®»-»²¬»¼ ·¬ò
  iìi iÏi iÜ± §±« ¬¸·²µ ¬¸¿¬ ¿²§ ½±³°¿²§ ¬¸¿¬ù- -«»¼ ·² ¿²
  iëi i i i¿-¾»-¬±- ½¿-» ²»»¼- ¬± °¿§ ³±²»§ ¬± ¬¸»
  iêi i i i°´¿·²¬·ººá
  iéi ißi i×-²ù¬ ¬¸¿¬ -°»½«´¿¬·±²á
  ièi iÏi iÇ±« ½¿² ¿²-©»® ¬¸» ¯«»-¬·±²ò
  içi ißi i× ¼±²ù¬ -»» ¸±© × ½±«´¼ ¿²-©»® ¬¸¿¬ ¯«»-¬·±²ò
  ïði i i i× ¼±²ù¬ -»» ¸±© óó ©¸§ × -¸±«´¼ ¿²-©»® ¬¸¿¬
  ïïi i i i¯«»-¬·±²ô ¾»½¿«-» §±«ù®» ¬¿´µ·²¹ ¿¾±«¬ ±¬¸»®
  ïîi i i i°»±°´» ¿²¼ × ¬¸·²µ §±«ù®» ¾®·²¹·²¹ «° ´»¹¿´
  ïíi i i i·--«»-òi ß²¼ ×ù³ ²±¬ óó ×ù³ ²±¬ ¯«¿´·º·»¼ ¬±
  ïìi i i i¿²-©»® ¬¸¿¬ò
  ïëi iÏi i×º §±« º±«²¼ ±«¬ ·² ¬¸·- ½¿-» óó
  ïêi ißi iÑµ¿§ò
  ïéi iÏi ióó ¬¸¿¬ §±«® ³±¬¸»® ©¿- ²±¬ »ª»® »¨°±-»¼ ¬±
  ïèi i i iÛ³¬¿´ ¬¿´½ô ¼± §±« ¬¸·²µ §±« -¸±«´¼ -¬·´´ ¹»¬
  ïçi i i i³±²»§ ·² ¬¸·- ½¿-»á
  îði ißi i× ¼±²ù¬ ¬¸·²µ ©»ù´´ º·²¼ ¬¸¿¬ ±«¬ò
  îïi iÏi iÉ¸§ óó
  îîi ißi iÍ¸» ©¿- »¨°±-»¼ ¬± Û³¬¿´ ¬¿´½ò
  îíi iÏi iß²¼ §±« µ²±© ¬¸¿¬ ¬¸®±«¹¸ Ó®ò Þ»ª¿²á
  îìi ißi iÇ»-ò
  îëi iÏi iÉ»´´ô ·º Ó®ò Þ»ª¿²ù- ©®±²¹ º±® -±³» ®»¿-±² ¿²¼


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìé

  iïi i i i× ¿³ ¿¾´» ¬± -¸±© §±« Ó®ò Þ»ª¿² ·- ©®±²¹ô ©·´´
  iîi i i i§±« -¬·´´ ©¿²¬ ³±²»§ ·² ¬¸·- ½¿-»á
  iíi ißi i× ¬¸·²µ ¬¸¿¬ù- -°»½«´¿¬·ª»òi × ¼±²ù¬ -»» ¸±© ×
  iìi i i i½±«´¼ ¿²-©»® ¿ ¯«»-¬·±² ¾¿-»¼ «°±²
  iëi i i i°®±¾¿¾·´·¬·»-òi Ò±©ô ·º §±« ¿-µ ³» ¿ ¯«»-¬·±²
  iêi i i i¾¿-»¼ «°±² -±³»¬¸·²¹ ·² ¬¸·- °¿®¬·½«´¿® ½¿-»ô
  iéi i i i§»-ô ¾«¬ ×ù³ ²±¬ «²¼»®-¬¿²¼·²¹ ¬¸¿¬ ¯«»-¬·±² ¿-
  ièi i i i³§ ¾»·²¹ ¿¾´» ¬± ¹·ª» §±« ¿ -«¾-¬¿²¬·ª» ¿²-©»®ò
  içi i i i×º §±« ®»°»¿¬ ·¬ ±® ·º §±« °¸®¿-» ·¬ ¿
  ïði i i i¼·ºº»®»²¬ ©¿§ô ³¿§¾»ô ¾«¬ ¾¿-»¼ «°±² ¬¸» ©¿§
  ïïi i i i¬¸¿¬ §±« °«¬ ¬¸» ¯«»-¬·±²ô × ¼±²ù¬ -»» ¸±© ×
  ïîi i i i½¿² ¿²-©»® ¬¸¿¬ò
  ïíi iÏi iÇ±«ùª» ¾»»² ·²ª±´ª»¼ ·² ²«³»®±«- ´¿©-«·¬-
  ïìi i i i¿¹¿·²-¬ ¿-¾»-¬±- ½±³°¿²·»-ô ¬®«»á
  ïëi ißi iÇ»-òi Í·²½» ¬¸» ¼»¿¬¸ ±º ³§ ³±³ò
  ïêi iÏi iÑµ¿§ò
  ïéi ißi iË¸ó¸«¸ò
  ïèi iÏi iÜ±¦»²- ±º ¬¸»³ô ½±®®»½¬á
  ïçi ißi iÝ±®®»½¬ò
  îði iÏi iÑµ¿§òi ß²¼ ¾¿-»¼ «°±² §±«® »¨°»®·»²½» ·² ¼±¦»²-
  îïi i i i±º ¿-¾»-¬±- ½¿-»-ô ¼± §±« ¬¸·²µ ¬¸¿¬ §±« -¸±«´¼
  îîi i i i®»½»·ª» ³±²»§ »ª»² ·º §±« ´¿¬»® ´»¿®² ¬¸¿¬ ¬¸»
  îíi i i i½±³°¿²§ ¬¸¿¬ §±« -«»¼ ¼·¼ ²±¬¸·²¹ ©®±²¹á
  îìi ißi i× ½¿²ù¬ óó
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìè

  iïi ißi i× ½¿²²±¬ ¿²-©»® ¬¸¿¬ ¯«»-¬·±²ò
  iîi iÏi iÇ±« ¼±²ù¬ «²¼»®-¬¿²¼ ¬¸¿¬ ½±²½»°¬á
  iíi ißi i×¬ù- ²±¬ ¿ ³¿¬¬»® ±º ²±¬ «²¼»®-¬¿²¼·²¹ ¬¸»
  iìi i i i½±²½»°¬ô ·¬ù- ¿ ³¿¬¬»® ±º ©¸¿¬ ¿®» §±« ®»¿´´§
  iëi i i i¿-µ·²¹ ³» ¬± ¿²-©»®á
  iêi iÏi i×ù³ ¿-µ·²¹ ·º §±« º±«²¼ ±«¬ ¿ ½±³°¿²§ ¼·¼
  iéi i i i²±¬¸·²¹ ©®±²¹ ¿²¼ §±« -«»¼ ¬¸»³ ¿²§ ©¿§ô ©±«´¼
  ièi i i i§±« ´»¬ ¬¸»³ ±«¬ ±º ¬¸» ´¿©-«·¬á
  içi ißi i× ¹«»-- ©¸¿¬ -¬±°- ³» ·² ¬¸·- ¯«»-¬·±²ô ©¸»²
  ïði i i i§±« -¬¿®¬ ±ºº ©·¬¸ þ·ºòþi Í± ¬± ³» ¬¸¿¬ù-
  ïïi i i i-°»½«´¿¬·ª»òi × ¼±²ù¬ µ²±© ¸±© ¬± ¿²-©»® ¬¸¿¬ò
  ïîi iÏi iÉ»´´ô ¬¸» þ·ºþ ¸¿- ¬± ¼± ©·¬¸ °®±±º ¬¸¿¬ ¬¸»
  ïíi i i i½±³°¿²§ ¼·¼ ²±¬ ¸¿ª» ¿²§ ¿-¾»-¬±- ¬¸¿¬ §±«®
  ïìi i i i³±¬¸»® ©¿- »¨°±-»¼ ¬±òi Ì¸¿¬ù- ¬¸» þ·ºòþ
  ïëi ißi iÇ±« -¿·¼ ·º ¬¸»®» ©»®» ±¬¸»® ½±³°¿²·»- ¬¸¿¬
  ïêi i i i©»®» ½´¿·³»¼ ¬± ¸¿ª» ¿-¾»-¬±- óó
  ïéi iÏi iÉ·¬¸¼®¿©²ò
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  ïçi iÏi iÉ·¬¸¼®¿©²ò
  îði ißi ióó ¾»½¿«-» ×ù³ ²±¬ «²¼»®-¬¿²¼·²¹ óó
  îïi iÏi iÑµ¿§ò
  îîi ißi ióó ¬¸¿¬ ¯«»-¬·±²ò
  îíi iÏi iÚ¿·® »²±«¹¸ò
  îìi ißi iÑµ¿§ò
  îëi iÏi iÉ·¬¸¼®¿©²ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ìç

  iïi ißi iÑµ¿§ò
  iîi iÏi iÜ± §±« µ²±© ©¸»¬¸»® §±«ùª» »ª»® ¼·-³·--»¼ ¿
  iíi i i i½±³°¿²§ º®±³ ¿²§ ±º §±«® ¼±¦»²- ±º ´¿©-«·¬-
  iìi i i i©·¬¸±«¬ ¬¿µ·²¹ ¿²§ ³±²»§á
  iëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  iêi i i iº±®³ò
  iéi ißi i× ½¿²ù¬ ®»½¿´´òi × ®»¿´´§ óó × ½¿²ù¬ ®»½¿´´ò
  ièi i i iÌ¸»®» ¿®» ¿ ²«³¾»® ±º ¼»º»²¼¿²¬-ô -± ×
  içi i i i®»¿´´§ óó × ½¿²²±¬ ®»½¿´´ò
  ïði iÏi iÝ¿² §±« ¬¸·²µ ±º ¿²§ ®»¿-±² ©¸§ §±« ©±«´¼ ¿´´±©
  ïïi i i i¿ ½±³°¿²§ ±«¬ ±º ¿ ´¿©-«·¬ ©·¬¸±«¬ °¿§·²¹
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  ïíi ißi i× ©±«´¼ óó × ©±«´¼ ¿½¬«¿´´§ »¨°»½¬ ³§ ¿¬¬±®²»§
  ïìi i i i¬± ¸¿²¼´» ¬¸¿¬ò
  ïëi iÏi iØ»®»ù- ©¸¿¬ ×ù³ ¬®§·²¹ ¬± ¹»¬ ¿¬ óó
  ïêi ißi iÐ´»¿-»ò
  ïéi iÏi ióó Ó-ò Ø±´´»§òi ß²¼ ·¬ù- ²±¬ ¿ ´»¹¿´ ¯«»-¬·±²ô
  ïèi i i i·¬ù- ¿½¬«¿´´§ ¶«-¬ ¿ ¾¿-·½ º¿·®²»-- ¯«»-¬·±²ò
  ïçi ißi iÑµ¿§ò
  îði iÏi i×º §±« º±«²¼ ±«¬ §±« -«»¼ ¿ ½±³°¿²§ ¬¸¿¬ ©¿-²ù¬
  îïi i i i®»-°±²-·¾´» º±® ¿²§ ¸¿®³ ¬± §±«ô ©±«´¼ §±«
  îîi i i i-¬·´´ ©¿²¬ ¬¸»³ ¬± °¿§ §±« ³±²»§á i Ý¿² §±«
  îíi i i i¿²-©»® ¬¸¿¬ ¯«»-¬·±² þ§»-þ ±® þ²±þá
  îìi ißi i× ©±«´¼ ®»´§ ±² ¿¼ª·½» ±º ½±«²-»´ò
  îëi iÏi iÑµ¿§òi É·¬¸±«¬ óó §±« ½¿²ù¬ ¿²-©»® ¬¸» ¯«»-¬·±²


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ëð

  iïi i i i±º ©¸»¬¸»® §±« »¨°»½¬ ³±²»§ º®±³ ½±³°¿²·»- »ª»²
  iîi i i i¬¸±«¹¸ ¬¸»§ ¼·¼ ²±¬¸·²¹ ©®±²¹ ©·¬¸±«¬ ¬¿´µ·²¹
  iíi i i i¬± §±«® ¿¬¬±®²»§-ái Ç±« ²»»¼ ¬± ¬¿´µ ¬± §±«®
  iìi i i i¿¬¬±®²»§- ¿¾±«¬ ¬¸¿¬ ¯«»-¬·±²á
  iëi ißi i× ¼±²ù¬ ²»»¼ ¬± ¬¿´µ ¬± ³§ ¿¬¬±®²»§- ¿¾±«¬ ¬¸¿¬
  iêi i i i¯«»-¬·±²ô ¾«¬ ·² ³§ ³·²¼ô ·² ³§ ©¿§ ±º
  iéi i i i¬¸·²µ·²¹ô ¬¸» ©¿§ §±« ¿®» °¸®¿-·²¹ ¬¸»
  ièi i i i¯«»-¬·±²ô ·¬ ¼±»-²ù¬ -»»³ ¬± ³» ¬¸¿¬ ·¬ù- ¿
  içi i i i¯«»-¬·±² × ½¿² ¿²-©»®òi Ü± §±« ©¿²¬ ¬± ®»°»¿¬
  ïði i i i·¬ ¿¹¿·²á
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  ïîi ißi iÑµ¿§òi Ð´»¿-» ¼±ò
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  ïìi i i i·º ¬¸»§ ©»®» ²±¬ ¸¿®³»¼á
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  îîi i i i¯«»-¬·±²ò
  îíi iÏi iÌ¸» ¾¿-·- ·- ¬¸¿¬ §±«ùª» -«»¼ -±³»¾±¼§ ©¸± ¼·¼
  îìi i i i²±¬¸·²¹ ©®±²¹ ¿²¼ §±« ©¿²¬ ¬¸»³ ¬± °¿§ §±«
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ëï

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  ïíi i i i«²·²ª±´ª»¼ ©·¬¸ §±«® ³±¬¸»®ô ½±®®»½¬á
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ëë

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  iêi i i i©»®» ²»¹±¬·¿¬·²¹ ±® ¸¿¼ ¼»ª»´±°»¼á i É¸¿¬ ¼±»-
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  iêi i i i-»²¬»²½» ±º °¿®¿¹®¿°¸ îë ¿²¼ ¬¸» °»®-±² ©¸±
  iéi i i i¼±»- ¸¿ª» ¬¸» º¿½¬- ©±«´¼ ¾» Ó®ò Þ»ª¿²á
  ièi ißi iÌ¸» °»®-±² ©¸± ¼±»- ¸¿ª» ¬¸» º¿½¬- ©±«´¼ ¾»
  içi i i iÓ®ò Þ»ª¿²ô ¿- ·²¼·½¿¬»¼ ±² Ò±ª»³¾»® ïìô ¬¸¿¬
  ïði i i iÕ¿¬¸®§² Ü¿®²»´´ô ©¸·´» ¿´·ª»ô ½±³³»²½»¼ò i Í±
  ïïi i i i¬¸¿¬ ©±«´¼ ¸¿ª» ¾»»² ¾»¬©»»² ³§ ³±¬¸»® ¿²¼
  ïîi i i iß¬¬±®²»§ Þ»ª¿²òi ß²¼ × ©¿- ²±¬ ¿ °¿®¬§ ¬± ¿²§
  ïíi i i i½±²º»®»²½»- ±® ³»»¬·²¹- ¬± ¼»ª»´±° ¬¸·-
  ïìi i i i°¿®¬·½«´¿® ´¿©-«·¬ò
  ïëi iÏi iß²¼ -± ·º × ©¿²¬»¼ ¬± µ²±© ©¸¿¬ù- ³»¿²¬ ¾§ ¬¸»
  ïêi i i i¿½½»°¬»¼ ¿-¾»-¬±- °®¿½¬·½» ·² Ý«§¿¸±¹¿ Ý±«²¬§
  ïéi i i iº±® -»¬¬´»³»²¬ °®±¹®¿³ô × ©±«´¼ ¾» ¾»-¬ ¬± ¬¿´µ
  ïèi i i i¬± Ó®ò Þ»ª¿²ô º¿·®á
  ïçi ißi iÑ® ®»ª·»© ¬¸» ¿½½»°¬»¼ °®¿½¬·½»-ò
  îði iÏi iÞ«¬ ·² ¬»®³- ±º ¬¸·- ½±³°´¿·²¬ô §±« ¸¿ª»ô ¿²¼
  îïi i i i¿- óó ©·¬¸¼®¿©²ò
  îîi i i i i i iß- ¿ ½´¿-- ®»°®»-»²¬¿¬·ª»ô ·² °¿®¿¹®¿°¸
  îíi i i iîë ½¿² §±« ®»º»® ³» ¬± ¿²§¾±¼§ ©¸±³ × ½±«´¼
  îìi i i i¬¿´µ ¬± ¬± ¹»¬ ¿²-©»®- ¿¾±«¬ °¿®¿¹®¿°¸ îëá
  îëi ißi iÑµ¿§òi Ì¸» ´¿©-«·¬ ©¿- ¾®±«¹¸¬ ·² ¬¸» Ý±³³±²


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ëè

  iïi i i iÐ´»¿- Ý±«®¬ ±º Ý«§¿¸±¹¿ Ý±«²¬§ ¿²¼ ·¬ -¿§- ·²
  iîi i i i¿½½±®¼¿²½» ©·¬¸ ¬¸» ¿½½»°¬»¼ ¿-¾»-¬±-
  iíi i i i°®¿½¬·½»-òi Í± × ¼±²ù¬ «²¼»®-¬¿²¼ ¸±© × ©±«´¼
  iìi i i i»ª»² ¾» ¿¾´» ¬± ¿²-©»® ¬¸¿¬ ¯«»-¬·±²ô ®»¿´´§ò
  iëi iÏi iß²¼ ´»¬ù- -¬»° ¾¿½µò
  iêi ißi iÑµ¿§ò
  iéi iÏi iÉ¸»² §±« ®»ª·»©»¼ ¬¸» ½±³°´¿·²¬ô ¼·¼ §±« ¸¿ª»
  ièi i i i¿²§ ¯«»-¬·±²- ¿¾±«¬ ©¸¿¬ ¬¸¿¬ ³»¿²¬á
  içi ißi iÌ¸·- °¿®¬·½«´¿® ½±³°´¿·²¬ ©¿- ¼±²» ¾§ ß¬¬±®²»§
  ïði i i iÞ»ª¿² ©·¬¸ ³»»¬·²¹- ©·¬¸ ³§ ³±¬¸»®ò
  ïïi iÏi iÉ·¬¸¼®¿©²ò
  ïîi i i i i i iÉ·¬¸ ®»-°»½¬ ¬± ®»ª·»©·²¹ ¬¸» É·´´·¿³-
  ïíi i i i½±³°´¿·²¬ô ¬¸» -»½±²¼ ½±³°´¿·²¬ ¬¸¿¬ù- ·²
  ïìi i i iº®±²¬ óó
  ïëi ißi iÎ·¹¸¬ò
  ïêi iÏi ióó ±º §±«ò
  ïéi ißi iÎ·¹¸¬ò
  ïèi iÏi iÉ¸»² §±« ®»¿¼ ·¬ º±® ¬¸» º·®-¬ ¬·³»ô ¼·¼ §±«
  ïçi i i i¸¿ª» ¿²§ ¯«»-¬·±²- ¿¾±«¬ ©¸¿¬ ¬¸¿¬ ³»¿²¬á
  îði ißi iÒ±òi Ò±ô × ¼·¼ ²±¬ò
  îïi iÏi iÜ·¼ §±« ®»ª·»© ¬¸» ½±³°´¿·²¬ º±® ¿½½«®¿½§á
  îîi ißi iÇ»-ô ¸±©»ª»®ô × ¼±²ù¬ -»» ¿²§¬¸·²¹ ¬¸¿¬ × ©±«´¼
  îíi i i i¯«»-¬·±² ·² ¬¸·- °¿®¬·½«´¿® °¿®¿¹®¿°¸ò
  îìi iÏi iÉ»´´ô §±« ¶«-¬ óó ©·¬¸¼®¿©²ò
  îëi i i i i i iÇ±« ¼±²ù¬ µ²±© ©¸¿¬ óó ¬¸» ¿½½»°¬»¼


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» ëç

  iïi i i i¿-¾»-¬±- °®¿½¬·½»- º±® -»¬¬´»³»²¬- ·² Ý«§¿¸±¹¿
  iîi i i iÝ±«²¬§ô ¼± §±«á
  iíi ißi iÒ±ô × ¼±²ù¬ µ²±© ¬¸» ¿½½»°¬»¼ ·² Ý«§¿¸±¹¿
  iìi i i iÝ±«²¬§ò
  iëi iÏi iß²¼ ·º × ©¿²¬»¼ ¬± º·²¼ ±«¬ º®±³ ¿²§¾±¼§
  iêi i i i·²ª±´ª»¼ ·² ¬¸·- ½¿-»ô ¼± §±« ¬¸·²µ Ó®ò Þ»ª¿²
  iéi i i i³·¹¸¬ ¾» ¬¸» °»®-±² ¬± ¬¿´µ ¬±ái Ñ® -±³»¾±¼§
  ièi i i i»´-»á
  içi ißi iÇ±«ù®» ¬¿´µ·²¹ ¿¾±«¬ ¬¸» ½±³°´¿·²¬ º·´»¼ ·²
  ïði i i iîðððá
  ïïi iÏi iÒ±òi ×ù³ ¬¿´µ·²¹ ¿¾±«¬ ¬¸¿¬ óó ©¸± óó ¬¸·- óó
  ïîi i i i©·¬¸¼®¿©²ò
  ïíi i i i i i iÐ¿®¿¹®¿°¸ îë óó
  ïìi ißi iÑµ¿§ò
  ïëi iÏi ióó ·² §±«® ½±³°´¿·²¬ ¿¹¿·²-¬ ³§ ½´·»²¬ -¿§-
  ïêi i i i¬¸¿¬ ¬¸»®»ù- ¿² ¿½½»°¬»¼ ¿-¾»-¬±- °®¿½¬·½» ·²
  ïéi i i iÝ«§¿¸±¹¿ Ý±«²¬§ º±® -»¬¬´»³»²¬ °®±¹®¿³-ò i Ç±«
  ïèi i i i-¿§ §±« ¼±²ù¬ µ²±© ¿²§¬¸·²¹ ¿¾±«¬ ¬¸¿¬ô
  ïçi i i i½±®®»½¬á
  îði ißi iß¾±«¬ ©¸¿¬ô ¬¸» ¿½½»°¬»¼ °®¿½¬·½»-á
  îïi iÏi iÇ»-ò
  îîi ißi iÌ± ¬¸» ¾»-¬ ±º ³§ µ²±©´»¼¹» ¿²¼ «²¼»®-¬¿²¼·²¹
  îíi i i i¾¿-»¼ «°±² §±«® ¯«»-¬·±²ô × ¼±²ù¬ µ²±© ©¸§ ×
  îìi i i i°»®-±²¿´´§ ©±«´¼ µ²±© ¿¾±«¬ ¿½½»°¬»¼ °®¿½¬·½»-
  îëi i i i·² Ý«§¿¸±¹¿ Ý±«²¬§ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êð

  iïi iÏi iß²¼ ¿- ¿ ½´¿-- ®»°®»-»²¬¿¬·ª»ô ½±«´¼ §±« °±·²¬
  iîi i i i³» ¬± ¬¸» °»®-±² ©¸± ©±«´¼ µ²±© ¿²§¬¸·²¹ ¿¾±«¬
  iíi i i i¬¸±-» °®¿½¬·½»- ¿- ®»º»®»²½»¼ ·² ¬¸» ½±³°´¿·²¬á
  iìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¬±
  iëi i i i¬¸» º±®³ò
  iêi iÏi iÝ±«´¼ × ¬¿´µ ¬± Ó®ò Þ»ª¿²ái É±«´¼ ¸» ¾» ¿
  iéi i i i¾»¬¬»® °»®-±² ¬± ¬¿´µ ¬±á
  ièi ißi iÇ»-òi Þ»½¿«-» × ½±²-·¼»® ¿½½»°¬»¼ °®¿½¬·½»- ¬±
  içi i i i¾» ¿² ·--«» ¬¸¿¬ ¬¸» ¿¬¬±®²»§- ©±«´¼ µ²±©
  ïði i i i¿¾±«¬ô ²±¬ ¿² ·--«» ¬¸¿¬ × ©±«´¼ µ²±© ¿¾±«¬
  ïïi i i i°»®-±²¿´´§ò
  ïîi iÏi iÍ± ·¬ù- -±³»¬¸·²¹ óó
  ïíi ißi i×² -°·¬» ±º ®»ª·»©·²¹ óó × ®»ª·»© ¬¸» ½±³°´¿·²¬
  ïìi i i i¾¿-»¼ «°±² óó ¾¿-»¼ «°±² º¿½¬- ¬¸¿¬ × µ²±© ±ºò
  ïëi i i iÌ¸» ´»¹¿´ ·--«»- × ®»´§ ±² ¬¸» ¿¬¬±®²»§-ò               ×
  ïêi i i i½±²-·¼»® ¬¸¿¬ ¬± ¾» ¿ ´»¹¿´ ·--«» ©¸»² §±« -¿§
  ïéi i i iþ¿½½»°¬»¼ °®¿½¬·½»-òþi Ø±© ©±«´¼ × µ²±© ¿¾±«¬
  ïèi i i i¿½½»°¬»¼ °®¿½¬·½»- ¿- ¿ ´¿§°»®-±²á
  ïçi iÏi iÌ¸¿¬ ©±«´¼ ¾» Ó®ò Þ»ª¿²á
  îði ißi iÎ·¹¸¬ò
  îïi iÏi iÑµ¿§òi ß²¼ ¬«®² ¬± ¬¸» ²»¨¬ -»²¬»²½»ò i ×¬ -¿§-ô
  îîi i i iþ®»¿-±²¿¾´§ ®»´§·²¹ «°±² ¿²¼ ¿½¬·²¹ «°±² ¬¸»
  îíi i i i³·-®»°®»-»²¬¿¬·±²- ¿²¼ ³¿¬»®·¿´ ±³·--·±²- ±º
  îìi i i iÜ»º»²¼¿²¬- ®»¹¿®¼·²¹ Û²¹»´¸¿®¼ù- ¬¿´½ °®±¼«½¬-
  îëi i i i¿²¼ ¬¸» ¿¾-»²½» ±º ¿²§ »ª·¼»²½» ·²¼·½¿¬·²¹


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êï

  iïi i i iÛ²¹»´¸¿®¼ù- ¬¿´½ ½±²¬¿·²»¼ ¿-¾»-¬±- º·¾»®- ¬¸¿¬
  iîi i i i©»®» ³¿¼» ¬± ¸»® ¿¬¬±®²»§ ¿²¼ ®»°®»-»²¬¿¬·ª»ô
  iíi i i iÌ¸±³¿- Þ»ª¿²ô ¿- -»¬ º±®¬¸ ³±®» °¿®¬·½«´¿®´§
  iìi i i i¸»®»·²òþ
  iëi i i i i i iÜ± §±« -»» ¬¸¿¬á
  iêi ißi iÇ»-ò
  iéi iÏi i× ¬¸·²µ §±« ³»²¬·±²»¼ »¿®´·»® ¬¸¿¬ ¬¸» ¿´´»¹»¼
  ièi i i i®»°®»-»²¬¿¬·±²- ©»®» ³¿¼» ¬± ±® µ²±©² ¿¾±«¬ ¾§
  içi i i iÓ®ò Þ»ª¿²ô ²±¬ §±«ô ½±®®»½¬á
  ïði ißi iÌ¸¿¬ ©±«´¼ ¾» ½±®®»½¬ò
  ïïi iÏi iÍ± ·º × ©¿²¬ ¬± ¿-µ -±³»¾±¼§ ¿¾±«¬ ¬¸¿¬
  ïîi i i i-»²¬»²½»ô × ©±«´¼ ¸¿ª» ¬± ¿-µ Ó®ò Þ»ª¿²ô
  ïíi i i i½±®®»½¬á
  ïìi ißi iÇ»-òi ×¬ -¿§-ô þ¬¸¿¬ ©»®» ³¿¼» ¬± ¸»® ¿¬¬±®²»§
  ïëi i i i¿²¼ ®»°®»-»²¬¿¬·ª»ô Ì¸±³¿- Þ»ª¿²òþ
  ïêi iÏi iß²¼ ¬¸»² ¹±·²¹ ¬± ¬¸» ²»¨¬ -»²¬»²½»ô ·¬ -¿§-ô
  ïéi i i iþÐ´¿·²¬·ºº ª±´«²¬¿®·´§ ¼·-³·--»¼ ¸»® ´¿©-«·¬
  ïèi i i i¿¹¿·²-¬ Û¿-¬»®² Ó¿¹²»-·¿ ¿- °¿®¬ ±º ¿ ²±³·²¿´
  ïçi i i i-»¬¬´»³»²¬ ©·¬¸ ¿ ¹®±«° ±º ¬¿´½ -«°°´·»®
  îði i i i¼»º»²¼¿²¬- ©·¬¸±«¬ ®»½»·ª·²¹ º«´´ô º¿·® ¿²¼
  îïi i i i¿¼»¯«¿¬» ½±³°»²-¿¬·±² º±® ¸»® ¿-¾»-¬±- ·²¶«®§
  îîi i i i½´¿·³- ¿¹¿·²-¬ ÞßÍÚù- °®»¼»½»--±®-òþ
  îíi i i i i i iÜ± §±« µ²±© ¿²§¬¸·²¹ ¿¾±«¬ ¬¸¿¬ -»²¬»²½»
  îìi i i i¿²¼ ¬¸» º¿½¬- «²¼»®´§·²¹ ·¬á
  îëi ißi iÌ¸¿¬ ³§ ³±³ ¿½½»°¬»¼ -»¬¬´»³»²¬ ¾¿-»¼ «°±² ¬¸»


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êî

  iïi i i iº¿½¬- ¬¸¿¬ ¸»® ¿¬¬±®²»§- ¸¿¼ ¿¬ ¬¸¿¬ ¬·³»ò
  iîi iÏi iß²¼ §±« µ²±© ¿¾±«¬ ¬¸¿¬ ¬¸®±«¹¸ Ó®ò Þ»ª¿²ô
  iíi i i i½±®®»½¬á
  iìi ißi iÇ»-ô × ¼±ò
  iëi iÏi iÑ¬¸»® ¬¸¿² ©¸¿¬ §±« µ²±© º®±³ Ó®ò Þ»ª¿²ô §±«
  iêi i i i¼±²ù¬ ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹»á
  iéi ißi i× ¸¿ª» ²± °»®-±²¿´ µ²±©´»¼¹»ò
  ièi iÏi iÌ«®²·²¹ ¬± ¬¸» ²»¨¬ °¿¹»ô -¬·´´ °¿®¿¹®¿°¸ îëò
  içi i i iþÐ´¿·²¬·ºº Ø±´´»§ ¼·¼ ²±¬ µ²±© ¿²¼ ´»¿®² ¬¸¿¬
  ïði i i i¸»® ¼»½»¼»²¬ ©¿- ¿ ª·½¬·³ ±º Ü»º»²¼¿²¬-ù
  ïïi i i iÚ®¿«¼«´»²¬ ß-¾»-¬±- Ü»º»²-» Í½¸»³» «²¬·´ ´¿¬»
  ïîi i i iîðïðñ»¿®´§ îðïïô ©¸»² -¸» ©¿- ·²º±®³»¼ ±º ¬¸»
  ïíi i i i-¿³» ¾§ ¸»® ¿¬¬±®²»§ô Ì±³ Þ»ª¿²òþ
  ïìi i i i i i iÜ± §±« -»» ¬¸¿¬á
  ïëi ißi iÇ»-ò
  ïêi iÏi iÜ± §±« ¸¿ª» ¿²§ °¿°»®-ô ¼±½«³»²¬-ô »³¿·´-ô ¬¸¿¬
  ïéi i i i½±«´¼ °«¬ ¿ ³±®» -°»½·º·½ ¼¿¬» ±² ©¸»²
  ïèi i i iÓ®ò Þ»ª¿² ·²º±®³»¼ §±« ±º ¬¸·- º®¿«¼«´»²¬
  ïçi i i i¿-¾»-¬±- ¼»º»²-» -½¸»³»á
  îði ißi iÌ± ¬¸» ¾»-¬ ±º ³§ ®»½±´´»½¬·±²ô ·¬ ©¿- ´¿¬»
  îïi i i iîðïðô »¿®´§ îðïï ©¸»² × ³»¬ ©·¬¸ óó ©¸»² × ³»¬
  îîi i i i¿¬ ß¬¬±®²»§ Þ»ª¿²ù- ±ºº·½»ò
  îíi iÏi iÑµ¿§òi ß²¼ ©¿- ¬¸¿¬ ¬¸» -¿³» ³»»¬·²¹
  îìi i i iÓ®ò Ð´¿½·¬»´´¿ ©¿- ¿¬á
  îëi ißi iÇ»-ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êí

  iïi iÏi iÍ± ¬¸» º·®-¬ ¬·³» §±« ¸»¿®¼ ±º ¬¸·- ¿´´»¹»¼
  iîi i i i-½¸»³» ¿²¼ º·´·²¹ ¿ ½´¿-- ¿½¬·±² ½±³°´¿·²¬ ©¿-
  iíi i i i¿ ³»»¬·²¹ ©·¬¸ Ó®ò Þ»ª¿² ¿²¼ Ó®ò Ð´¿½·¬»´´¿
  iìi i i i¬¸¿¬ ´¿-¬»¼ ¿¾±«¬ ¬©± ¸±«®- ¿¬ Ó®ò Þ»ª¿²ù-
  iëi i i i±ºº·½»á
  iêi ißi iÑ²» ±® ¬©± ¸±«®-òi ß²¼ ´»¬ ³» óó ´»¬ ³»
  iéi i i i½´¿®·º§òi ×¬ ©¿- óó Ó®ò Ý±®»² ©¿- ¬¸»®»ò
  ièi iÏi iß²¼ Ó®ò Ý±®»² ¬±±á
  içi ißi iË¸ó¸«¸òi Ç»¿¸ò
  ïði iÏi iß²¼ ¿º¬»® ¬¸¿¬ ¬¸» ½±³°´¿·²¬ ©¿- º·´»¼á
  ïïi ißi iÍ±³»¬·³» ¿º¬»® ¬¸¿¬òi × ¼±²ù¬ ®»³»³¾»® »¨¿½¬´§
  ïîi i i i©¸»²ô ¾«¬ -±³»¬·³» ¿º¬»® ¬¸¿¬ ³»»¬·²¹ ¬¸»
  ïíi i i i½±³°´¿·²¬ ©¿- º·´»¼ò
  ïìi iÏi iÜ·¼ §±« ¸¿ª» ¿²§ ±¬¸»® ³»»¬·²¹- ¾»¬©»»² ¬¸¿¬
  ïëi i i iº·®-¬ ³»»¬·²¹ ¿²¼ ¬¸» ¬·³» ¬¸» ½±³°´¿·²¬ ©¿-
  ïêi i i iº·´»¼á
  ïéi ißi i× ½¿²ù¬ ®»½¿´´ º±® -«®»òi × µ²±© ¬¸¿¬ ¬¸»®»
  ïèi i i i©»®» ¿¬ ´»¿-¬ ±²» ±® ¬©± ³±®» ³»»¬·²¹-ô ¾«¬ ×
  ïçi i i i½¿²ù¬ -¿§ -°»½·º·½¿´´§ ·º ¬¸»§ ©»®» ¾»º±®» ±®
  îði i i i¿º¬»® ¬¸» ½±³°´¿·²¬ ©¿- º·´»¼ò
  îïi iÏi iß²¼ ¿¬ ¿²§ ±º ¬¸±-» ³»»¬·²¹- ©»®» ¬¸»®» °»±°´»
  îîi i i i¾»-·¼»- §±«® ¿¬¬±®²»§- ±® ±¬¸»® ½´¿--
  îíi i i i®»°®»-»²¬¿¬·ª»-á
  îìi ißi iß¬ ¬¸» º·®-¬ ³»»¬·²¹ º±® -«®»ò
  îëi iÏi iÌ¸» ±¬¸»® ½´¿-- ®»°- ©»®» ¿¬ ¬¸» ³»»¬·²¹á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êì

  iïi ißi iÇ»-ò
  iîi iÏi iÉ»®» ¬¸»®» °»±°´» ©¸± ©»®»²ù¬ ½´¿--
  iíi i i i®»°®»-»²¬¿¬·ª»- ¿¬ ¬¸» ³»»¬·²¹á
  iìi ißi i× ©±«´¼ ²±¬ µ²±© ¬¸¿¬ò
  iëi iÏi iÑµ¿§òi ßº¬»® óó ©·¬¸¼®¿©²ò
  iêi i i i i i ißº¬»® ¬¸¿¬ º·®-¬ ³»»¬·²¹ô ©»®» ¬¸»®»
  iéi i i i±¬¸»® ³»»¬·²¹- ©¸»®» °»±°´» ¿¬¬»²¼»¼ ©¸± ©»®»
  ièi i i i²±¬ ½´¿-- ®»°- ±® ¿¬¬±®²»§-á
  içi ißi iÒ±¬ ¬¸¿¬ × ½¿² ®»½¿´´òi × ©±²ù¬ -¿§
  ïði i i i«²»¯«·ª±½¿´´§ô ¾«¬ ²±¬ ¬¸¿¬ × ½¿² ®»½¿´´ò
  ïïi iÏi iß²¼ ¿¬ ¬¸·- º·®-¬ ³»»¬·²¹ô ¼·¼ Ó®ò Ð´¿½·¬»´´¿
  ïîi i i i·² ©±®¼- ±® ·² -«¾-¬¿²½»ô ±® ¿²§ ±º ¸·-
  ïíi i i i½±´´»¿¹«»-ô ¬»´´ §±« ¬± ³¿µ» -«®» §±«
  ïìi i i i³¿·²¬¿·²»¼ ¿´´ ±º §±«® ¼±½«³»²¬- ®»´¿¬·²¹ ¬±
  ïëi i i i¬¸» «²¼»®´§·²¹ Þ»ª¿² ½¿-»- ¿¹¿·²-¬ Û³¬¿´á
  ïêi ißi iÒ±ô × ©¿- ²±¬ -°»½·º·½¿´´§ ¬±´¼ ¬¸¿¬ò
  ïéi iÏi iÉ»®» §±« »ª»® ¬±´¼ ¬¸¿¬á
  ïèi ißi iÒ±¬ -°»½·º·½¿´´§ô ²±ò
  ïçi iÏi iÌ«®²·²¹ ¬± ¬¸» ²»¨¬ -»²¬»²½» ±º °¿®¿¹®¿°¸ îëò
  îði i i iþØ¿¼ Ð´¿·²¬·ººù- ½±«²-»´ ¿²¼ Ð´¿·²¬·ºº µ²±©²
  îïi i i i¿¾±«¬ ¬¸» »¨·-¬»²½» ±º -°±´·¿¬·±² ¼»-½®·¾»¼
  îîi i i i³±®» °¿®¬·½«´¿®´§ ¸»®»·² ¿²¼ñ±® ¬¸» »¨·-¬»²½»
  îíi i i i±º »ª·¼»²½» ¬¸¿¬ ÞßÍÚù- ¬¿´½ ¿²¼ ¬¿´½ °®±¼«½¬-
  îìi i i i½±²¬¿·²»¼ ¿-¾»-¬±-ô ¬¸» -»¬¬´»³»²¬ ¼»³¿²¼ ©±«´¼
  îëi i i i¸¿ª» ¾»»² ¸·¹¸»® ¿²¼ñ±® ¬¸» Ð´¿·²¬·ºº ©±«´¼


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êë

  iïi i i i¸¿ª» ¬¿µ»² ¸»® ½¿-» ¬± ¬®·¿´òþ
  iîi i i i i i iÜ± §±« -»» ¬¸¿¬á
  iíi ißi iÇ»-ò
  iìi iÏi iÜ± §±« ¸¿ª» ¿²§ µ²±©´»¼¹» ±º ¬¸» º¿½¬-
  iëi i i i-«®®±«²¼·²¹ ¬¸» -»¬¬´»³»²¬ ¼»³¿²¼ ¿²¼ ©¸»¬¸»®
  iêi i i i§±« ©±«´¼ ¸¿ª» ¬¿µ»² ¬¸» ½¿-» ¬± ¬®·¿´ ±® ·-
  iéi i i i¬¸¿¬ ¿ Ó®ò Þ»ª¿² ¬±°·½ ¿- ©»´´á
  ièi ißi i× ¸¿ª» ²± °»®-±²¿´ µ²±©´»¼¹» ±º ¬¸¿¬ô ²±ò
  içi iÏi iß²¼ ·¬ -¿§- ¸»®» °´¿·²¬·ºº- ©±«´¼ ¸¿ª» ¬¿µ»²
  ïði i i i¬¸» ½¿-» ¬± ¬®·¿´ò
  ïïi i i i i i iÜ± §±« -»» ¬¸¿¬á
  ïîi ißi iÇ»-ò
  ïíi iÏi iÑ«¬ ±º ¬¸» çè ±® -± ½¿-»- óó ©·¬¸¼®¿©²ò
  ïìi i i i i i iÑ«¬ ±º ¬¸» çè ±® -± ¼»º»²¼¿²¬- ¬¸¿¬
  ïëi i i i§±«ùª» -«»¼ô ¸¿ª» ¿²§ ±º ¬¸±-» ½¿-»- ¹±²» ¬±
  ïêi i i i¬®·¿´á
  ïéi ißi iÉ» ¼·¼ ²±¬ ¹± óó
  ïèi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ú±®³ ±¾¶»½¬·±²ò
  ïçi i i i i i iÇ±« ½¿² ¿²-©»® ·¬ò
  îði i i i i i i i i i iÌØÛ É×ÌÒÛÍÍæi i i Ñµ¿§ò
  îïi ißi iÉ» ¼·¼ ²±¬ ¹± ¬± ¬®·¿´ò
  îîi iÏi i×² ¿²§ ±º ¬¸»³á
  îíi ißi iÉ» ¼·¼ ²±¬ ¹± ¬± ¬®·¿´ò
  îìi iÏi iÞ«¬ Ó®ò Þ»ª¿² ©±«´¼ µ²±© ©¸»¬¸»® ¬¸·- ©¿- ¬¸»
  îëi i i i½¿-» ¬¸¿¬ §±« ©»®» ¹±·²¹ ¬± ¬¿µ» ¬± ¬®·¿´á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êê

  iïi i i iØ»ù- ¬¸» °»®-±² × -¸±«´¼ ¿-µá
  iîi ißi iØ» ©±«´¼ µ²±© ¬¸¿¬òi × -°»½·º·½¿´´§ °»®-±²¿´´§
  iíi i i i®»½¿´´ ¬¸¿¬ ÞÚÙ±±¼®·½¸ ¼»º»²¼¿²¬ -»¬¬´»¼ ©·¬¸·²
  iìi i i i¿ ©»»µ ¾»º±®» ¬¸» ¬®·¿´ ¼¿¬»ò
  iëi iÏi iß²¼ ¬¸»² ¬¸» ²»¨¬ -»²¬»²½» -¿§-ô þÐ´¿·²¬·ºº ·-
  iêi i i i©·´´·²¹ ¿²¼ ±ºº»®- ¬± ®»¬«®² ¬¸» °±®¬·±² ±º ¬¸»
  iéi i i i-»¬¬´»³»²¬ ½±²¬®·¾«¬»¼ ¾§ ÞßÍÚô ±® -«½¸ ¿³±«²¬
  ièi i i i¬¸» Ý±«®¬ ¼»»³- º¿·® ¿²¼ ¶«-¬ô ·² ±®¼»® ¬± ¾»
  içi i i i®»-¬±®»¼ ¬± ¬¸» -¬¿¬«- ¯«± ¿²¬» ¬¸» -»¬¬´»³»²¬
  ïði i i i©·¬¸ ÞßÍÚòþ
  ïïi i i i i i iÍ± ¬¸» °´¿·²¬·ººô ¬¸¿¬ù- §±«ô ½±®®»½¬á
  ïîi ißi iÝ±®®»½¬ò
  ïíi iÏi iß²¼ ¬¸¿¬ ³»¿²- §±«ù®» ©·´´·²¹ ¬± ®»¬«®² ¬¸»
  ïìi i i i³±²»§ §±«ùª» ¿´®»¿¼§ ¹±¬¬»² º®±³ ÞßÍÚ ±®
  ïëi i i iÛ²¹»´¸¿®¼á
  ïêi ißi i×º ×ù³ ²±¬ ³·-¬¿µ»² ·² ¬¸» ©¿§ × ®»¿¼ ¬¸·-
  ïéi i i i°¿®¿¹®¿°¸ô ¬¸» ³±²»§ ©±«´¼ ¸¿ª» ¾»»² ®»¬«®²»¼
  ïèi i i i·º ¬¸»®» ¸¿¼ ²±¬ ¾»»² ¿ °®±¾´»³ ©·¬¸ ÞßÍÚò
  ïçi iÏi iÜ± §±« µ²±© ¸±© ³«½¸ ³±²»§ §±« ±® ¬¸» »-¬¿¬»
  îði i i i®»½»·ª»¼ º®±³ ÞßÍÚ ±® Û²¹»´¸¿®¼á
  îïi ißi i× ¼±²ù¬ µ²±©òi × ¼±²ù¬ ®»³»³¾»® ¬¸» ¿³±«²¬ò                ×
  îîi i i i¼±²ù¬ ®»³»³¾»®ò
  îíi iÏi iÑµ¿§òi ×² -»¬¬´·²¹ ¬¸»-» ½¿-»- óó ¾§ ¬¸» ©¿§ô
  îìi i i i§±«ùª» ¼»¿´¬ ©·¬¸ ª¿®·±«- -»¬¬´»³»²¬- ±º °»±°´»
  îëi i i i©¸± ¸¿¼ ¿-¾»-¬±-ô ½±®®»½¬á


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êé

  iïi ißi iÝ±®®»½¬ò
  iîi iÏi iß²¼ ¸¿ª» §±« ¼»¿´¬ ©·¬¸ ¼»º»²¼¿²¬- ©¸± ¼·¼²ù¬
  iíi i i i¸¿ª» ¿-¾»-¬±-á
  iìi ißi i× ½¿²ù¬ ®»½¿´´ò
  iëi iÏi iÞ§ ¬¸» ©¿§ô ©·¬¸ ®»-°»½¬ ¬± óó ©·¬¸¼®¿©²ò
  iêi i i i i i iÇ±«ùª» ¾»»² ¿½¬·²¹ ¿- ¿ ®»°®»-»²¬¿¬·ª»
  iéi i i iº±® §±«® ³±¬¸»®ù- »-¬¿¬» -·²½» îððð ·² ¬¸»-»
  ièi i i i¿-¾»-¬±- ½¿-»-á
  içi ißi iÒ±òi Ò±òi îððð ©¿- °®·±® ¬± ¸»® ¼»¿¬¸ò
  ïði iÏi iÑµ¿§ò
  ïïi ißi iÑµ¿§òi Í¸» °¿--»¼ Ö«²» éô îððïò
  ïîi iÏi iÝ±®®»½¬ò
  ïíi ißi iÑµ¿§ò
  ïìi iÏi iÍ± -·²½» ¬¸¿¬ ¬·³» §±«ùª» ¾»»² ®»-°±²-·¾´» º±®
  ïëi i i i¸¿²¼´·²¹ ¬¸» ¿-¾»-¬±- ½¿-»-á
  ïêi ißi iÍ·²½» ¬¸¿¬ ¬·³» óó ·² îððï ©» ¼·¼ ±°»² «° ¿²
  ïéi i i i»-¬¿¬» ©·¬¸ ¬¸» ´±½¿´ Ð®±¾¿¬» Ý±«®¬ò
  ïèi iÏi iß²¼ §±« ³»²¬·±²»¼ ¾»º±®» ¬¸¿¬ §±«ùª» ®»½»·ª»¼
  ïçi i i i¸¿®¼ ½±°·»- ±º ¼±½«³»²¬- º®±³ Ó®ò Þ»ª¿²á
  îði ißi iÝ±®®»½¬ò
  îïi iÏi iß²¼ §±« -¿§ §±« ¸¿ª»²ù¬ ®»½»·ª»¼ ¿²§ »³¿·´-
  îîi i i iº®±³ Ó®ò Þ»ª¿²á
  îíi ißi iÒ±òi É» «-«¿´´§ ¼»¿´ ©·¬¸ ¬¸» ¼±½«³»²¬-
  îìi i i i¬¸»³-»´ª»- ª·¿ ¸¿®¼ ½±°§ò
  îëi iÏi iÑµ¿§òi Í± Ó®ò óó ·º Ó®ò Þ»ª¿² ¸¿- »³¿·´- ¬±


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êè

  iïi i i i§±« óó
  iîi ißi iÓ®ò Þ»ª¿² ¼±»-²ù¬ ¸¿ª» »³¿·´- ¬± ³»ò
  iíi iÏi iÑµ¿§ò
  iìi ißi iÒ±¬ -°»½·º·½¿´´§ô ²±ò
  iëi iÏi iÙ»²»®¿´´§á
  iêi ißi iÒ±ô ²±¬ ¹»²»®¿´´§òi Ò±ò
  iéi iÏi iß´´ ®·¹¸¬ò
  ièi ißi iÒ±òi É» »·¬¸»® ³»¬ ±® × ®»½»·ª»¼ ½±°·»- º®±³
  içi i i i¸·- ±ºº·½»ò
  ïði iÏi iß²¼ ¬¸»² ·² ¬»®³- ±º ¬¸»-» ª¿®·±«- ¼±½«³»²¬-
  ïïi i i iº±® §±«® «²¼»®´§·²¹ ¿-¾»-¬±- ½¿-»- -·²½» îððïô
  ïîi i i i¸¿ª» §±« »ª»® ¼·-½¿®¼»¼ ±® ¼»-¬®±§»¼ ¿²§ ±º
  ïíi i i i¬¸»³á
  ïìi ißi iÒ±ò
  ïëi iÏi iÍ± §±« -¬·´´ ¸¿ª» ¬¸»³ ¿´´á
  ïêi ißi iÇ»-ò
  ïéi iÏi iÝ±«´¼ §±« ¼»-½®·¾» º±® ³» ©¸¿¬ ¬¸±-» º·´»- ´±±µ
  ïèi i i i´·µ»ái ×- ·¬ ê ·²½¸»-ô ·- ·¬ ¿ ½±«°´» ¾±¨»-á
  ïçi ißi i×¬ù- ¿ ´±¬ ±º °¿°»®òi ×¬ù- ¯«·¬» ¿ ¾·¬ô ¾«¬ ×
  îði i i i½±«´¼ ²±¬ ¹·ª» §±« ¿ ¹»²»®¿´ ·¼»¿ ¾»½¿«-» ¬¸»®»
  îïi i i i©»®» ¿ ²«³¾»® ±º ¼±½«³»²¬- ¸¿ª·²¹ ¾»»² ®»½»·ª»¼
  îîi i i i¿¬ ª¿®·±«- ¬·³»-òi × ¼·¼ ²±¬ ®»½»·ª» ¿´´ ±º ¬¸»
  îíi i i i¼±½«³»²¬- ¿¬ ±²» ¬·³»òi Ñµ¿§ò
  îìi iÏi iÞ«¬ §±« ¸¿ª» -±³» -±®¬ ±º º·´» -§-¬»³á
  îëi ißi iÇ»-ò


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» êç

  iïi iÏi iÑµ¿§ò
  iîi ißi iÚ®±³ ®»½»·ª·²¹ ¼±½«³»²¬- º®±³ ¬¸» ±ºº·½»ô §»-ò
  iíi iÏi iß²¼ ¬¸»² ¬¸»-» ²±¬»- ©» ®»º»®»²½»¼ ¾»º±®» ±º
  iìi i i i§±«® ³»»¬·²¹- ©·¬¸ ±¬¸»® ½´¿-- ®»°®»-»²¬¿¬·ª»-ô
  iëi i i i©±«´¼ ¬¸±-» ²±¬»- ¾» ·² ¬¸» -¿³» º·´» -§-¬»³á
  iêi ißi iß²¼ ×ù³ ²±¬ »ª»² -«®» ±º ¬¸¿¬ò i × ³»¿²ô ¬¸»§
  iéi i i i©»®» ¶«-¬ -±³» ½«®-±®§ ²±¬»- ¬¸¿¬ × ³¿¼»ô §»¿¸ò
  ièi i i iÒ±¬ °«¬¬·²¹ ¼±©² º¿½¬- ±® ¿²§¬¸·²¹ô ¾«¬
  içi i i i¾¿-·½¿´´§ ¬¸» ¼¿¬» ±º ¬¸» ³»»¬·²¹ô ©¸± óó ³¿§¾»
  ïði i i i©¸± ©¿- ¬¸»®» ¿²¼ ¸±© ´±²¹ ·¬ ¬±±µô ¾«¬ ²±¬ ¿²§
  ïïi i i i»¨¬»²-·ª» ²±¬»-ô ²±ò
  ïîi iÏi iÉ»´´ô ©¸»¬¸»® ¬¸»§ù®» »¨¬»²-·ª» ±® ²±¬ô ¬¸»-»
  ïíi i i i²±¬»-ô ¿®» ¬¸»§ ·² ¬¸» -¿³» º·´» -§-¬»³ ¿- §±«®
  ïìi i i iÞ»ª¿² ´·¬·¹¿¬·±² º·´»-á
  ïëi ißi iÐ®»¬¬§ ³«½¸ô §»-ò
  ïêi iÏi iß²¼ ·² ±®¼»® ¬± º·²¼ ±«¬ ©¸»¬¸»® ¬¸» ²±¬»- ¿®»
  ïéi i i i»¨¬»²-·ª» ±® ²±¬ ¿²¼ ©¸»¬¸»® ¬¸»§ ¸¿ª» ¿½¬«¿´
  ïèi i i iº¿½¬- ¬¸¿¬ ³·¹¸¬ ¾» ®»´»ª¿²¬ ¬± ¬¸» ½¿-»ô ©»
  ïçi i i i©±«´¼²ù¬ µ²±© ¿½¬«¿´´§ «²¬·´ ¿² ¿¬¬±®²»§
  îði i i i®»ª·»©»¼ ¬¸»³ô ½±®®»½¬á
  îïi ißi iÝ±®®»½¬ò
  îîi iÏi iß²¼ Ó®ò Ð´¿½·¬»´´¿ ¿²¼ Ó®ò Ý±®»² ¸¿ª»²ù¬ ¿-µ»¼
  îíi i i i¬± ®»ª·»© ¬¸»³ô ½±®®»½¬á
  îìi ißi iÒ±òi Ò±ò
  îëi iÏi iÝ±«´¼ × ¿-µ §±« ¶«-¬ óó × µ²±© §±«ù´´ ¼± ¬¸·-


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éð

  iïi i i i¿²§ ©¿§ô ¾«¬ °´»¿-» ¼±²ù¬ ¼·-½¿®¼ ¬¸»³ò i Õ»»°
  iîi i i i¸±´¼ ±º ¬¸»³ô ±µ¿§á
  iíi ißi iÉ»´´ô × µ»»° ¿´´ ¬¸» óó
  iìi iÏi iÞ»½¿«-» × ¬¸·²µ óó × ¬¸·²µ óó
  iëi ißi i× µ»»° ¬¸» ³¿¬»®·¿´ × ®»½»·ª»ò
  iêi iÏi iÙ±±¼òi × ¬¸·²µ ¬¸»§ù®» ¹±·²¹ ¬± ¿-µ §±« ²±© ¬±
  iéi i i i®»ª·»© ¬¸»³ò
  ièi ißi iÑµ¿§ò
  içi iÏi iÑµ¿§òi × ³·¹¸¬ ¾» ©®±²¹ ±² ¬¸¿¬ô ¾«¬ × ¬¸·²µ
  ïði i i i×ù³ ®·¹¸¬ò
  ïïi i i i i i iÑµ¿§òi Ô»¬ù- ¹± ¬± °¿®¿¹®¿°¸ îîè ±º ¬¸»
  ïîi i i i½±³°´¿·²¬òi ×ù³ ¹±·²¹ ¬± ¿-µ §±« ¿¾±«¬ îîè ¬±
  ïíi i i iîíðò
  ïìi ißi iÑµ¿§ò
  ïëi iÏi iÍ± ·º §±« ¬¿µ» ¿ ³·²«¬» ¿²¼ ®»ª·»© ¬¸±-»ò
  ïêi ißi iÑµ¿§òi îîè ¬± îíðá
  ïéi iÏi iÇ»-ô ³¿ù¿³ò
  ïèi i i i i i iÑµ¿§ò
  ïçi ißi iÑµ¿§ò
  îði iÏi iß´´ ®·¹¸¬òi Í± ·² °¿®¿¹®¿°¸ îîèô ¿²¼ ¬¸»² ×ù³
  îïi i i i¹±·²¹ ¬± ½±²¬·²«» ±² ¬± îíðô ¬¸»®»ù- ¬¸» °¸®¿-»
  îîi i i i·² ¬¸» º·®-¬ -»²¬»²½»ô þÉ¸»² ²»¹±¬·¿¬·²¹ ¬¸»-»
  îíi i i i¿¹¹®»¹¿¬» -»¬¬´»³»²¬- ¿²¼ ¼»½·¼·²¹ ¬± ®»½±³³»²¼
  îìi i i i¿²¼ ±¾¬¿·² ·¬- ½´·»²¬-ù ½±²-»²¬ ¿²¼
  îëi i i i¿«¬¸±®·¦¿¬·±² ¬± °¿®¬·½·°¿¬» ·² ¬¸»³ô ¬¸» Þ»ª¿²


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éï

  iïi i i iÔ¿© Ú·®³ ®»¿-±²¿¾´§ ®»´·»¼ «°±² Ý¿¸·´´ Ù±®¼±²ù-
  iîi i i i¿²¼ ÞßÍÚù- ø±® ·¬- °®»¼»½»--±®-ù÷
  iíi i i i®»°®»-»²¬¿¬·±²-þ ¿²¼ ·¬ ½±²¬·²«»-ò
  iìi i i i i i iÜ± §±« -»» ¬¸¿¬á
  iëi ißi iÇ»-ò
  iêi iÏi iÞ¿-»¼ «°±² §±«® »¨°»®·»²½» ©·¬¸ Ó®ò Þ»ª¿² ¿²¼
  iéi i i i±ª»® ¬¸» ´¿-¬ ïë §»¿®- ±º ¿-¾»-¬±- ´·¬·¹¿¬·±²
  ièi i i i©·¬¸ çè ±® -± ¼»º»²¼¿²¬-ô ¼± §±« ¸¿ª» ¿²§
  içi i i i«²¼»®-¬¿²¼·²¹ ±º ©¸¿¬ ¬¸» °¸®¿-» þ¿¹¹®»¹¿¬»
  ïði i i i-»¬¬´»³»²¬þ ³»¿²-á
  ïïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ß²¼ô
  ïîi i i iÓ®-ò Ø±´´»§ô ±²½» ¿¹¿·² × ²»»¼ ¬± ·²-¬®«½¬
  ïíi i i i§±« óó
  ïìi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ñ¸ô °´»¿-»ò
  ïëi i i iÓ·½¸¿»´ò
  ïêi
    i i i i i i i i i i i
                        iÓÎò ÝÑÎÛÒæi i i i Í¬±° ·¬ò
  ïéi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ò±òi Ì¸·- ·-
  ïèi i i i²±¬ óó ¬¸»®»ù- ²± ¿¼ª·½» ¬± ¹± ¸»®»ò i ×ù³
  ïçi i i i¿-µ·²¹ ¸»® ·º -¸» µ²±©- ©¸¿¬ ·¬ ³»¿²-ò i ×¬ù- ¿
  îði i i i§»- ±® ²± ¯«»-¬·±²òi Ì¸»®»ù- ²± ´»¹¿´ ¿¼ª·½»
  îïi i i i¬¸¿¬ ½¿² ½±²½»·ª¿¾´§ ·³°¿½¬ ¬¸·- ¿²-©»®ò
  îîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i É»´´ô §±« ¿²¼ ×
  îíi i i i-»»³ ¬± ¸¿ª» ¿ ¼·-¿¹®»»³»²¬ô Ù»²»ô ±² °«¬¬·²¹
  îìi i i i³§ ±¾¶»½¬·±² ±² ¬¸» ®»½±®¼ò
  îëi
    i i i i i i i×
                i ·²-¬®«½¬ §±« ²±¬ ¬± ¿²-©»® ¬± ¬¸»


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éî

  iïi i i i»¨¬»²¬ §±«® ¿²-©»® ®»´·»- «°±² ¿¼ª·½» ±º
  iîi i i i½±«²-»´òi ×º §±« ½¿² ¿²-©»® ¬¸» ¯«»-¬·±²
  iíi i i i©·¬¸±«¬ ·²½±®°±®¿¬·²¹ ±® ®»ª»¿´·²¹ ¿¼ª·½» ±º
  iìi i i i½±«²-»´ô °´»¿-» ®»-°±²¼ ¬± Ó®ò ß--¿ºù-
  iëi i i i¯«»-¬·±²ò
  iêi iÏi iß²¼ ¬± ¾» ½´»¿®ô Ó-ò Ø±´´»§ô ×ù³ ¿-µ·²¹ §±« §»-
  iéi i i i±® ²± ¼± §±« µ²±© ©¸¿¬ ¬¸¿¬ ³»¿²-ò
  ièi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ß²¼ô Ó®ò Ý±®»²ô
  içi i i i×ù¼ ¿-µ §±« ¬± -¬±° ½±¿½¸·²¹ ¿²¼ -«¹¹»-¬·²¹
  ïði i i i¿²-©»®- ¬± ¬¸» ©·¬²»--ò
  ïïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ×ù³ ²±¬
  ïîi i i i½±¿½¸·²¹òi ×ù³ °«¬¬·²¹ ¿² ±¾¶»½¬·±² ±² ¬¸»
  ïíi i i i®»½±®¼ò
  ïìi iÏi iÜ± §±« µ²±© ©¸¿¬ ¬¸» ¬»®³ þ¿¹¹®»¹¿¬»
  ïëi i i i-»¬¬´»³»²¬þ ³»¿²-á
  ïêi ißi i× ¾»´·»ª» × ¼±ò
  ïéi iÏi iÑµ¿§òi É¸¿¬ ·- ·¬á
  ïèi ißi iÌ¸¿¬ ·¬ ©±«´¼ ¾» ¬¸» ½±´´»½¬·ª» ¹®±«° ±º
  ïçi i i i-»¬¬´»³»²¬-ò
  îði iÏi iÍ± ©·¬¸ ±¬¸»® °´¿·²¬·ºº-á
  îïi ißi iÉ·¬¸ ±¬¸»® °´¿·²¬·ºº-ò
  îîi iÏi iß²¼ ¸¿ª» §±« °¿®¬·½·°¿¬»¼ ·² ¿¹¹®»¹¿¬»
  îíi i i i-»¬¬´»³»²¬-á
  îìi ißi iÐ¿®¬·½·°¿¬»¼ ·² ©¸¿¬ ©¿§á
  îëi iÏi iØ¿ª» §±« -»¬¬´»¼ ¿- °¿®¬ ±º ¿² ¿¹¹®»¹¿¬»


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éí

  iïi i i i-»¬¬´»³»²¬á
  iîi ißi iÇ»-ò
  iíi iÏi iß²¼ ¼·¼ §±« óó ©·¬¸¼®¿©²ò
  iìi i i i i i iß²¼ ¸¿- Ó®ò Þ»ª¿² ®»°®»-»²¬»¼ §±« ·²
  iëi i i i¬¸»-» ¿¹¹®»¹¿¬» -»¬¬´»³»²¬-á
  iêi ißi iÇ»-ò
  iéi iÏi iÒ±©ô ·º §±« ¬«®² ¬± °¿®¿¹®¿°¸ îíðô ¿¬ ¬¸» ª»®§
  ièi i i i¾±¬¬±³ ±º ¬¸» °¿¹»ô ·¬ -¿§-ô þÝ±®®»-°±²¼·²¹´§òþ
  içi i i iÜ± §±« -»» ·¬ ¿¬ ¬¸» ¾±¬¬±³ ®·¹¸¬á
  ïði ißi iË¸ó¸«¸ò
  ïïi iÏi iþÝ±®®»-°±²¼·²¹´§ô ¬¸» Þ»ª¿² Ô¿© Ú·®³ ¿-¾»-¬±-
  ïîi i i i·²¶«®§ ½´·»²¬-ô ·²½´«¼·²¹ Ð´¿·²¬·ºº Ð»¿-»ô
  ïíi i i iÐ´¿·²¬·ºº Ø±´´»§ù- ¼»½»¼»²¬ô Ó-ò Ü¿®²»´´ô ¿²¼
  ïìi i i iÐ´¿·²¬·ºº É¿®»ô ¿- ©»´´ ¿- ±¬¸»®- -·³·´¿®´§
  ïëi i i i-·¬«¿¬»¼ ¬± ¬¸»³ô ©±«´¼ ²±¬ ¸¿ª» ¹·ª»² ¬¸»·®
  ïêi i i i½±²-»²¬ ±® ¿«¬¸±®·¦¿¬·±² ¬± °¿®¬·½·°¿¬» ·² ¿²
  ïéi i i i¿¹¹®»¹¿¬» -»¬¬´»³»²¬ ©·¬¸ ÞßÍÚòþ
  ïèi i i i i i iÜ± §±« -»» ¬¸¿¬á
  ïçi ißi iÇ»-ò
  îði iÏi iÜ± §±« ¸¿ª» ¿²§ µ²±©´»¼¹» ±º ©¸»¬¸»® ±® ²±¬ §±«
  îïi i i i©±«´¼ ¸¿ª» ¹·ª»² ¿«¬¸±®·¦¿¬·±² ¬± °¿®¬·½·°¿¬»
  îîi i i i·² ¿ -»¬¬´»³»²¬ ©·¬¸ ÞßÍÚá
  îíi ißi i× ¸¿ª» ²± µ²±©´»¼¹» ±º ¬¸¿¬ò
  îìi iÏi i×º × ©¿²¬»¼ óó ¬¸» °»®-±² ©¸± ©±«´¼ ¸¿ª»
  îëi i i iµ²±©´»¼¹» ±º ¬¸¿¬ ©±«´¼ ¾» Ó®ò Þ»ª¿²ô ½±®®»½¬á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éì

  iïi ißi iÇ»-ô ·¬ ©±«´¼ ¸¿ª» ¾»»² Ó®ò Þ»ª¿²ò
  iîi iÏi iß´´ ®·¹¸¬òi Ý±«´¼ §±« ¬«®² ¬± °¿¹» óó ¬±
  iíi i i i°¿®¿¹®¿°¸ îèçò
  iìi ißi iÑµ¿§ò
  iëi iÏi i×¬ -¿§-ô þÐ´¿·²¬·ºº-ù ½´¿·³- ¿®» ¬§°·½¿´ ±º ¬¸»
  iêi i i i½´¿·³- ±º ±¬¸»® Ý´¿-- Ó»³¾»®-ùòþ
  iéi i i i i i iÜ± §±« -»» ¬¸¿¬á
  ièi ißi iÇ»-ò
  içi iÏi iÜ± §±« µ²±© ©¸¿¬ ¬¸¿¬ ³»¿²-á
  ïði ißi iÇ»-ò
  ïïi iÏi iÉ¸¿¬ ¼±»- ¬¸¿¬ ³»¿² ¬± §±«á
  ïîi ißi i×¬ -¿§- ¾»½¿«-» ©» ©»®» -·³·´¿®´§ ¿ºº»½¬»¼ ¾§
  ïíi i i iÜ»º»²¼¿²¬-ù -°±´·¿¬·±² ±º ¿-¾»-¬±- »ª·¼»²½»ò
  ïìi iÏi iß²¼ ¼± §±« ¸¿ª» ¿²§ º¿½¬- ¬± ¬¸¿¬ ±® ·- ¬¸¿¬ ¿
  ïëi i i iÓ®ò Þ»ª¿² ·--«»á
  ïêi ißi iÌ¸¿¬ù- ¿ Ó®ò Þ»ª¿² ·--«»ò
  ïéi iÏi iÑµ¿§òi Ý±«´¼ §±« ¬«®² ¬± °¿®¿¹®¿°¸ íïêò
  ïèi ißi i×ù³ ¬¸»®»ò
  ïçi iÏi iÑµ¿§òi ×¬ -¿§-ô þß- ¿ º«®¬¸»® °®±¨·³¿¬»þ ½¿«-»
  îði i i iþ±º ¬¸» ¿¾±ª» ¼»-½®·¾»¼ ¼»´·¾»®¿¬» ¹¿¬¸»®·²¹
  îïi i i i¿²¼ ©·¬¸¸±´¼·²¹ô ¼»-¬®«½¬·±² ¿²¼ñ±® ½±²½»¿´³»²¬
  îîi i i i±º ¼±½«³»²¬- ¿²¼ »ª·¼»²½» ®»´¿¬·²¹ ¬± Ý´¿--
  îíi i i iÓ»³¾»®-ù «²¼»®´§·²¹ ¿-¾»-¬±- ½´¿·³-ô ¿²¼ñ±® ¬¸»
  îìi i i iº¿´-» ¿²¼ ³·-´»¿¼·²¹ -¬¿¬»³»²¬- ¬¸»®»¿º¬»® ¬¸¿¬
  îëi i i i²± ¼±½«³»²¬- ±® »ª·¼»²½» »¨·-¬»¼ô Ð´¿·²¬·ºº-


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éë

  iïi i i i¿²¼ ±¬¸»® Ý´¿-- Ó»³¾»®- ³¿§ ±® ©·´´ ·²½«®ô ±®
  iîi i i i¸¿ª» ¿´®»¿¼§ ·²½«®®»¼ °»½«²·¿®§ ´±--»- ¿²¼
  iíi i i i¼¿³¿¹»-ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ¬¸» ´±--
  iìi i i i±º ¬¸»·® «²¼»®´§·²¹ ¿-¾»-¬±- ·²¶«®§ ½´¿·³ô ¬¸»
  iëi i i i»¨°»²-»- ¿²¼ ½±-¬- ±º °®±½»»¼·²¹ ©·¬¸±«¬ ¬¸·-
  iêi i i i»ª·¼»²½» ·²½«®®»¼ ·² ¬¸» »ºº±®¬ ¬± ®»°´¿½»ô
  iéi i i i´±½¿¬»ô ±® ·¼»²¬·º§ »ª·¼»²½»ô ¿²¼ ¬¸» ½±-¬ ±º
  ièi i i i°®±-»½«¬·²¹ ¬¸·- ½¿-» ¬± °®±ª» ¬¸» º®¿«¼«´»²¬
  içi i i i½±²½»¿´³»²¬ ¿²¼ -°±´·¿¬·±² ±º »ª·¼»²½»òþ
  ïði i i i i i iÜ± §±« -»» ¬¸¿¬á
  ïïi ißi iÇ»-ò
  ïîi iÏi iÑµ¿§òi Ú·®-¬ ±º ¿´´ô ¬¸» °»½«²·¿®§ ¼¿³¿¹»-ô
  ïíi i i i©¸¿¬ °»½«²·¿®§ ¼¿³¿¹»-ô ©¸¿¬ ³±²»§ ¼¿³¿¹»- ¸¿ª»
  ïìi i i i§±« -«ºº»®»¼á
  ïëi ißi iÉ¸¿¬ ³±²»§ ¼¿³¿¹»-á
  ïêi iÏi iÇ»¿¸ò
  ïéi ißi iß®» §±« ¿-µ·²¹ ¿®» ¬¸»®» ³±²»§ ¼¿³¿¹»- ¬¸¿¬ ×
  ïèi i i i¸¿ª» -«ºº»®»¼ °»®-±²¿´´§á
  ïçi iÏi iÇ»-ò
  îði ißi i×ù¼ ¸¿ª» ¬± ¹·ª» ¬¸±«¹¸¬ ¬± ¬¸¿¬ ¯«»-¬·±²ò i ×ù³
  îïi i i i²±¬ ½»®¬¿·² ©¸¿¬ù- ·²ª±´ª»¼ ·² ³±²»§ ¼¿³¿¹»-
  îîi i i iº±® ³»òi ß®» §±« ¬¿´µ·²¹ ¿¾±«¬ ¬·³»ái ß®» §±«
  îíi i i i¬¿´µ·²¹ ¿¾±«¬ ¿²§ µ·²¼ ±º ³¿¬»®·¿´ ´±-- ¬¸¿¬ ×
  îìi i i i¸¿ª» ¸¿¼ái ×ù³ ²±¬ -«®» ©¸¿¬ ¬¸¿¬ ³»¿²-ò
  îëi iÏi iÉ¸¿¬ ¿¾±«¬ ·² ¬»®³- ±º §±«® ³±¬¸»®ù- »-¬¿¬»ô


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éê

  iïi i i i©¸¿¬ ³±²»§ ¼¿³¿¹»- ¸¿- ¬¸¿¬ ·²½«®®»¼á
  iîi ißi iÉ¸¿¬ ¼± §±« ³»¿²á
  iíi iÏi iÉ»´´ô ·¬ -¿§- ¬¸¿¬ ½´¿-- ³»³¾»®-ô °´¿·²¬·ºº- óó
  iìi ißi iÎ·¹¸¬ò
  iëi iÏi ióó ¸¿ª» óó ³¿§ ±® ©·´´ ·²½«® ±® ³¿§ ¸¿ª»
  iêi i i i¿´®»¿¼§ ·²½«®®»¼ °»½«²·¿®§ ±® ³±²»¬¿®§ ´±--»-
  iéi i i i¿²¼ ¼¿³¿¹»-ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ¬¸»
  ièi i i i´±-- ±º ¬¸»·® «²¼»®´§·²¹ ¿-¾»-¬±- ·²¶«®§
  içi i i i½´¿·³-ô ¿²¼ ¬¸»² ·¬ ¹±»- ±²ò
  ïði ißi iË¸ó¸«¸ò
  ïïi iÏi iÍ± ´»¬ù- -¬¿®¬ ¬¸»®»òi É·¬¸ ®»-°»½¬ ¬± ¬¸» ´±--
  ïîi i i i±º ¬¸» «²¼»®´§·²¹ ¿-¾»-¬±- ·²¶«®§ ½´¿·³ô ¼± §±«
  ïíi i i i¬¸·²µ ¬¸¿¬ ¬¸¿¬ù- ¿ ´±-- ¬¸¿¬ §±« ±® §±«®
  ïìi i i i³±¬¸»®ù- »-¬¿¬» ¸¿- ·²½«®®»¼á
  ïëi ißi iÇ»-ò
  ïêi iÏi iÑµ¿§òi ß²¼ ¸±© ³«½¸á
  ïéi ißi iØ±© ³«½¸á
  ïèi iÏi i×- ¬¸¿¬ ´±--á
  ïçi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  îði i i iº±®³ò
  îïi ißi iß- ·² ¿ ³±²»¬¿®§ ª¿´«»á
  îîi iÏi iÇ»-ò
  îíi ißi i× ©±«´¼ ²±¬ ¾» ¿¾´» ¬± ¿²-©»® ¬¸¿¬ò
  îìi iÏi iÉ»´´ô §±« ²±© ¸¿ª» ¬»-¬·º·»¼ §±«ùª» ¾»»²
  îëi i i i·²ª±´ª»¼ ©·¬¸ Ó®ò Þ»ª¿² º±® ïë §»¿®- -»¬¬´·²¹


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éé

  iïi i i i½¿-»- ¿¹¿·²-¬ ¿-¾»-¬±- ¼»º»²¼¿²¬-ô ·²½´«¼·²¹ô
  iîi i i i¿- ©»ù®» ¹±·²¹ ¬± -»»ô °»±°´» ©¸± ¿½¬«¿´´§
  iíi i i i½®»¿¬»¼ ¿-¾»-¬±- °·°·²¹ ©¸»®» §±«® ³±¬¸»®
  iìi i i i©±®µ»¼ò
  iëi ißi iÎ·¹¸¬ò
  iêi iÏi iß²¼ §±« -»¬¬´»¼ ¬¸±-» ½¿-»-á
  iéi ißi iÎ·¹¸¬ò
  ièi iÏi iÍ± §±« ¸¿ª» -±³» «²¼»®-¬¿²¼·²¹ ±º ©¸¿¬ ½¿-»-
  içi i i i-»¬¬´» º±®ô ½±®®»½¬á
  ïði ißi i× ¸¿ª» -±³» «²¼»®-¬¿²¼·²¹ ±º ©¸¿¬ ½¿-»- -»¬¬´»¼
  ïïi i i iº±®ô ¾«¬ × ¼± ²±¬ µ²±© ¸±© ¬¸» º·¹«®»- ©»®»
  ïîi i i i¼»®·ª»¼ò
  ïíi iÏi iÉ»´´ô ¿- ©» -·¬ ¸»®» ¬±¼¿§ô ¼± §±« ¸¿ª» ¿²§
  ïìi i i i¿³±«²¬ ±º ³±²»§ ¬¸¿¬ §±« ½±«´¼ ·¼»²¬·º§ º±® ³»
  ïëi i i i¿- §±«® ´±-- º±® ¸¿ª·²¹ §±«® ³±¬¸»®ù- ½´¿·³
  ïêi i i i¼·-³·--»¼ ±® -»¬¬´»¼ ¿¹¿·²-¬ ÞßÍÚá
  ïéi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
  ïèi i i iº±®³ò
  ïçi i i i i i i i i i iÇ±« ½¿² ®»-°±²¼ò
  îði ißi i× ¸¿ª» óó × ¸¿ª» ²± ·¼»¿òi Ì¸¿¬ ¸¿- ²±¬ ¾»»²
  îïi i i i¼·-½«--»¼ò
  îîi iÏi iÉ»´´ô ¼± §±« µ²±© ¬¸¿¬ §±« ±® §±«® ³±¬¸»®ù-
  îíi i i i»-¬¿¬» ¸¿ª» -»¬¬´»¼ ©·¬¸ ±¬¸»® ¬¿´½
  îìi i i i³¿²«º¿½¬«®»®-á
  îëi ißi i× µ²±© ¬¸¿¬ ¬¸»§ ¸¿ª» -»¬¬´»¼ ©·¬¸ ±¬¸»®


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éè

  iïi i i i¼»º»²¼¿²¬-ô ©¸»¬¸»® ±® ²±¬ ¬¸»§ ©»®» ¬¿´½
  iîi i i i³¿²«º¿½¬«®»®-ô ×ù³ ²±¬ ½»®¬¿·²ò i × °¿®¬·½«´¿®´§
  iíi i i i®»³»³¾»® ¼»º»²¼¿²¬- ´·µ» ÞÚÙ±±¼®·½¸ô Ý±±°»®ô
  iìi i i i¬¸¿¬ -±®¬ ±º ¬¸·²¹ò
  iëi iÏi iß²¼ §±« -¿·¼ §±« «²¼»®-¬±±¼ ¬¸» ¬»®³ þ¿¹¹®»¹¿¬»
  iêi i i i-»¬¬´»³»²¬-þ óó
  iéi ißi iÎ·¹¸¬ò
  ièi iÏi ióó ®·¹¸¬á
  içi ißi iÎ·¹¸¬ò
  ïði iÏi iÌ¸¿¬ù- ©¸»®» ³¿§¾» ¿ ¾«²½¸ ±º ¼»º»²¼¿²¬- óó
  ïïi ißi iÎ·¹¸¬ò
  ïîi iÏi ióó ©»®» -»¬¬´·²¹ óó
  ïíi ißi iÎ·¹¸¬ò
  ïìi iÏi ióó ©·¬¸ ¿ ¾«²½¸ ±º °´¿·²¬·ºº- óó
  ïëi ißi iÎ·¹¸¬ò
  ïêi iÏi ióó ½±®®»½¬á
  ïéi ißi iÎ·¹¸¬òi Î·¹¸¬ò
  ïèi iÏi iß²¼ ©±«´¼ §±« ¿¹®»» ©·¬¸ ³»ô ©±«´¼ ·¬ ¾» º¿·®
  ïçi i i i·º × ½¿² -¸±© §±« ¬¸¿¬ §±«® ³±¬¸»® ±® §±«®
  îði i i i³±¬¸»®ù- »-¬¿¬» -»¬¬´»¼ ©·¬¸ ¬¿´½ ³¿²«º¿½¬«®»®-
  îïi i i i©¸± ¿¼³·¬¬»¼ ¬¸»§ ¸¿¼ ¿-¾»-¬±- ·² ¬¸» ¬¿´½ô
  îîi i i i¬¸¿¬ ©±«´¼ ¾» ·²-¬®«½¬·ª» º±® §±« ·²
  îíi i i i«²¼»®-¬¿²¼·²¹ ©¸¿¬ ¬¸» ¼¿³¿¹»- ¿®» ·² ¸¿ª·²¹
  îìi i i i-»¬¬´»¼ ©·¬¸ Û²¹»´¸¿®¼ô ½±®®»½¬á
  îëi ißi i× ¬¸·²µ ·¬ù- ·²-¬®«½¬·ª» ¬± ¿ ½»®¬¿·² »¨¬»²¬ò


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 ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³         ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» éç

  iïi iÏi iÞ»½¿«-» ·º §±« ¸¿ª» ¬©± ¬¿´½ ³¿²«º¿½¬«®»®- ¿²¼
  iîi i i i§±«ù®» -»¬¬´·²¹ ©·¬¸ ¬¸»³ô §±« ©±«´¼ ¬¸·²µô
  iíi i i i¾¿-»¼ «°±² §±«® »¨°»®·»²½» ©·¬¸ Ó®ò Þ»ª¿²ô ¬¸¿¬
  iìi i i i¬¸» ¬¿´½ ³¿²«º¿½¬«®»® ©¸± ¸¿- ¿-¾»-¬±- ·² ¬¸»
  iëi i i i¬¿´½ ©±«´¼ °¿§ ³±®» ¬¸¿² ¬¸» ¬¿´½ ³¿²«º¿½¬«®»®
  iêi i i i©¸± ¼±»-²ù¬ ¸¿ª» ¿-¾»-¬±- ·² ¬¸» ¬¿´½ô º¿·®á
  iéi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ú±®³ ±¾¶»½¬·±²ò
  ièi i i i i i iÇ±« ½¿² ®»-°±²¼ò
  içi ißi iÚ¿·® ¬± ¿ ½»®¬¿·² »¨¬»²¬ô ¾»½¿«-» ·² ¬¸·-
  ïði i i i°¿®¬·½«´¿® ³¿¬¬»® ¬¸»®» ©¿- º®¿«¼ ·²ª±´ª»¼ò
  ïïi iÏi iÞ¿-»¼ ±² ©¸¿¬ Ó®ò Þ»ª¿² ¬±´¼ §±«á
  ïîi ißi iÞ¿-»¼ «°±² ©¸¿¬ óó §»-òi Þ¿-»¼ «°±² ©¸¿¬
  ïíi i i iÓ®ò Þ»ª¿² -¿·¼ ¿²¼ ¬¸» ¾¿-·- óó ¬¸» ª»®§ ¾¿-·-
  ïìi i i i±º ¬¸·- ´¿©-«·¬ò
  ïëi iÏi iÑµ¿§òi Þ«¬ ·² ¬»®³- ±º ¬¸» «²¼»®´§·²¹ ½¿-»-
  ïêi i i i¾¿½µ ·² îððð ¿²¼ îððïô îððîô §±« «²¼»®-¬±±¼
  ïéi i i i¬¸¿¬ ¬¸±-» ½¿-»- ©»®» ¾»·²¹ -»¬¬´»¼ ¿¹¿·²-¬
  ïèi i i i¼»º»²¼¿²¬- ©¸± ¾±¬¸ ¸¿¼ ¿-¾»-¬±- ·² ¬¸»·®
  ïçi i i i°®±¼«½¬ ¿²¼ ¼·¼²ù¬ ¸¿ª» ¿-¾»-¬±- ·² ¬¸»·®
  îði i i i°®±¼«½¬ô ½±®®»½¬á
  îïi ißi iÓ§ «²¼»®-¬¿²¼·²¹ ·- ¾¿-»¼ «°±² ¬¸±-» ¬¸¿¬ ¸¿¼
  îîi i i i¿-¾»-¬±-òi × ½¿²²±¬ ®»½¿´´ ¬¸±-» ©¸± ¼·¼ ²±¬ò
  îíi i i i×º ¬¸»®» ©»®» ¬¸±-» ©¸± ¼·¼ ²±¬ò
  îìi iÏi iÉ»´´ô §±« -»¬¬´»¼ óó §±«® ³±¬¸»®ù- »-¬¿¬»
  îëi i i i-»¬¬´»¼ ©·¬¸ Û²¹»´¸¿®¼ô ¿²¼ ±²» ±º ¬¸» ®»¿-±²-


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» èð

  iïi i i iÓ®ò Þ»ª¿² ¬±´¼ §±« ¬¸»®» ©¿- º®¿«¼ ·- ¾»½¿«-»
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  iíi i i i·² ¬¸» ¬¿´½ô ®·¹¸¬á
  iìi ißi iÒ±ò
  iëi iÏi iÒ±ò
  iêi ißi iÉ»´´ô ¾¿-»¼ «°±² ³§ «²¼»®-¬¿²¼·²¹ ±º ¬¸·-
  iéi i i i°¿®¬·½«´¿® ½¿-»ô ¬¸» ·²º±®³¿¬·±² ¹·ª»² ¬± ¬¸»³
  ièi i i i¿¬ ¬¸¿¬ ¬·³» ©¿- ¬¸¿¬ Û²¹»´¸¿®¼ ¼·¼ ²±¬ ¸¿ª»
  içi i i i¿-¾»-¬±- ·² ¬¸» ¬¿´½ò
  ïði iÏi iß²¼ ¿¬ ¬¸» ¬·³» óó ©·¬¸¼®¿©²ò
  ïïi i i i i i iÞ¿-»¼ «°±² §±«® ´·¬·¹¿¬·±² »¨°»®·»²½»
  ïîi i i i©·¬¸ Ó®ò Þ»ª¿²ô §±« ¸¿ª» ½±³» ¬± ´»¿®² ¬¸¿¬ §±«
  ïíi i i i¸¿ª» -»¬¬´»¼ ©·¬¸ ¼»º»²¼¿²¬- ©¸± ¿½¬«¿´´§ ¼·¼
  ïìi i i i¸¿ª» ¿-¾»-¬±- ·² ¬¸» ¬¿´½ô ®·¹¸¬á
  ïëi ißi iÇ»-ò
  ïêi iÏi iß²¼ §±« ©±«´¼ ¿¹®»» ©·¬¸ ³» ¬¸¿¬ù- ¹±·²¹ ¬± ¾»
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  îði ißi iÝ±®®»½¬ ±²´§ ·º óó ±²´§ ·º ¬¸»§ ¿¼³·¬¬»¼ ¬¸¿¬
  îïi i i i¬¸»§ ¸¿¼ ¿-¾»-¬±- ·² ¬¸» ¬¿´½ò i × ¼±²ù¬ ¬¸·²µ
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  îíi i i i©·¬¸ -±³»±²» ©¸± -¿·¼ ¬¸¿¬ ¬¸»§ ¼·¼ ²±¬ ¸¿ª»
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» èï

  iïi iÏi iÑµ¿§òi ß²¼ ©»ù´´ ¹»¬ ¬± ¬¸¿¬òi ×ù³ ¹±·²¹ ¬±
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  iéi ißi iß´´ ®·¹¸¬òi ß´´ ®·¹¸¬ò
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  ïði i i i·²¬»®®±¹¿¬±®§á
  ïïi i i i i iøÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ î ©¿- ³¿®µ»¼ò÷
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  ïìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ù»²»ô ©¸»² §±«
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  ïêi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ç»¿¸ô × ¬¸·²µ
  ïéi i i i¬¸·- ©·´´ ¬¿µ» º·ª» ³·²«¬»- ±® -± ¿²¼ ¬¸»² óó
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  îíi i i iØ±´´»§ù- ¿²-©»®- ¬± ÞßÍÚù- º·®-¬ -»¬ ±º
  îìi i i i·²¬»®®±¹¿¬±®·»-ò
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                                  12228




                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» èî

  iïi ißi iÇ»-ò
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  iíi ißi i× º·®-¬ -¿© ¬¸»-» ¿º¬»® ¬¸»§ ©»®» °®»°¿®»¼ º±®
  iìi i i i³»ô ¾«¬ × ½¿²ù¬ ¹·ª» §±« ¿² »¨¿½¬ ¬·³» ©¸»²
  iëi i i i¬¸»§ ©»®» óó ©¸»² ·¬ ©¿- ¼±²»ò i Ô»¬ù- -»»ò
  iêi i i i i i iÞ¿-»¼ «°±² ¬¸» ½»®¬·º·½¿¬» ±º -»®ª·½»ô ·¬
  iéi i i i´±±µ- ´·µ» ·¬ ©¿- ¬¸» »²¼ ±º ´¿-¬ §»¿®ò i Ñµ¿§ò
  ièi iÏi iß²¼ ¼·¼ §±« ®»ª·»© ¬¸»-» ·²¬»®®±¹¿¬±®·»- ¾»º±®»
  içi i i i¬¸»§ ©»®» º·²¿´·¦»¼ái Ñ® ¼·¼ §±« ®»ª·»© ¬¸»³
  ïði i i i¿º¬»® ¬¸»§ ©»®» ¿´®»¿¼§ º·´»¼á
  ïïi ißi iÒ±òi × ®»ª·»©»¼ ¬¸»³ ¿º¬»® ¬¸»§ ©»®» º·²¿´·¦»¼ò
  ïîi i i iÉ» ¼·-½«--»¼ ¬¸»³ °®·±® ¬± -«¾³·--·±²ò
  ïíi iÏi iß²¼ ¼·¼ §±« »ª»® -·¹² ©¸¿¬ù- ½¿´´»¼ ¿
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  îði i i i»³¿·´ ·¬ ¬± ³» ¼«®·²¹ ¬¸» ¼»°ô ¬¸¿¬ ©±«´¼ ¾»
  îïi i i i«-»º«´òi Ñµ¿§á
  îîi i i i i i i i i i iÓÎò ÙÛÇÛÎÓßÒæi i iÍ¿³» ¹±»- º±®
  îíi i i i¬¸» ª»®·º·½¿¬·±²- º±® ¬¸» ±¬¸»® ¼»º»²¼¿²¬-ò
  îìi iÏi iÍ± §±« ®»³»³¾»® -·¹²·²¹ ¬¸» ª»®·º·½¿¬·±²á
  îëi ißi i× ¾»´·»ª» -±òi × ©±²ù¬ -¿§ «²»¯«·ª±½¿´´§ô ¾«¬ ×


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» èí

  iïi i i i¾»´·»ª» -±ò
  iîi iÏi iß²¼ ¾»½¿«-» §±«ùª» -·¹²»¼ ª»®·º·½¿¬·±²- º±®
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  iìi i i i´·¬·¹¿¬·±²-ô ½±®®»½¬á
  iëi ißi iÝ±®®»½¬ò
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  içi i i i i i i×² ïï ¬¸» -»½±²¼ °¿®¿¹®¿°¸ ®»¿¼-ô
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  ïêi iÏi iÍ±®®§òi É·¬¸¼®¿©²ò
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  ïèi ißi iÑµ¿§òi ×²¬»®®±¹¿¬±®§ ²«³¾»® ïïá
  ïçi iÏi iïïô §»°òi Ü»-½®·¾» ·² ¼»¬¿·´ ¬¸» °®±½»-- ¾»¸·²¼
  îði i i i¬¸» Ü»½»¼»²¬ù- ¼»½·-·±² ¬± -»¬¬´» ±® ¼·-³·--
  îïi i i iÛ²¹»´¸¿®¼ ·² ¬¸» Ë²¼»®´§·²¹ ß½¬·±²-ô ·²½´«¼·²¹
  îîi i i i¬¸» Ð»®-±²- ·²ª±´ª»¼ô ¬¸» ·²º±®³¿¬·±² ®»ª·»©»¼ô
  îíi i i i¿²¼ ¬¸» ¾¿-·- º±® ¬¸» ¼»½·-·±²-ò
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» èì

  iïi iÏi iß²¼ ¬¸»² ¬¸» ®»-°±²-»ô ¬¸» -»½±²¼ °¿®¿¹®¿°¸ô
  iîi i i i-¿§-ô þÐ´¿·²¬·ºº °±--»--»- ²± °»®-±²¿´
  iíi i i i·²º±®³¿¬·±² ®»-°±²-·ª» ¬± ¬¸·- ®»¯«»-¬òþ
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  iéi i i i¾»¹·²²·²¹ ±º ¬¸» ¼»°±-·¬·±²ô ¬¸» ·²º±®³¿¬·±² óó
  ièi i i i°»®-±²¿´ óó ©·¬¸¼®¿©²ò
  içi i i i i i iÇ±« ¸¿ª» ²± °»®-±²¿´ ·²º±®³¿¬·±²
  ïði i i i®»¹¿®¼·²¹ ©¸§ ¬¸» «²¼»®´§·²¹ ½¿-» ©¿- -»¬¬´»¼ô
  ïïi i i i©¸¿¬ ¸¿°°»²»¼ ·² ¬¸» «²¼»®´§·²¹ ½¿-»ô ©¸¿¬ ©¿-
  ïîi i i i-¿·¼ ®»¹¿®¼·²¹ Û²¹»´¸¿®¼ ·² ¬¸» «²¼»®´§·²¹
  ïíi i i i½¿-»ô ½±®®»½¬á
  ïìi ißi i× ¸¿ª» ²± °»®-±²¿´ ·²º±®³¿¬·±² ±º ¬¸¿¬ô ¬¸¿¬ù-
  ïëi i i i¬®«»ò
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  ïéi i i i·²º±®³¿¬·±² óó
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  îði ißi iß¬¬±®²»§ Þ»ª¿²ò
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  îíi i i iþÜ»-½®·¾» ¿´´ »ºº±®¬- ³¿¼» ¾§ Ü»½»¼»²¬ ¿²¼ ¸»®
  îìi i i i½±«²-»´ ·² ¬¸» Ë²¼»®´§·²¹ ß½¬·±² ¬± ¼»ª»´±° ¿²¼
  îëi i i i°®±-»½«¬» ½´¿·³- «²¼»® Û²¹»´¸¿®¼òþ


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» èë

  iïi i i i i i iß²¼ô ¿¹¿·²ô ¶«-¬ ¬± ¾» ½´»¿®ô ¬¸» °»®-±²
  iîi i i i©¸± ©±«´¼ ¸¿ª» ¬¸» º¿½¬«¿´ ·²º±®³¿¬·±² ¬±
  iíi i i i¿¼¼®»-- ©¸§ ¬¸» ½¿-» ©¿- -»¬¬´»¼ô ©¸¿¬ ©¿- -¿·¼
  iìi i i i¾§ Û²¹»´¸¿®¼ ©±«´¼ ¾»á
  iëi ißi iß¬¬±®²»§ Þ»ª¿²ò
  iêi iÏi iß²¼ ±² ¬¸¿¬ ²±¬»ô ©»ù´´ ¬¿µ» ¿ ¾®»¿µò
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  ïîi i i i i iøÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ í ©¿- ³¿®µ»¼ò÷
  ïíi iÞÇ ÓÎò ßÍÍßÚæ
  ïìi iÏi iÑµ¿§òi ×² º®±²¬ ±º §±«ô Ó-ò Ø±´´»§ô ·-
  ïëi i i i»¨¸·¾·¬ óó Ü»º»²¼¿²¬-ù Û¨¸·¾·¬ íô ¬¸» ®»-°±²-»
  ïêi i i i¬± ¬¸» Ý¿¸·´´ Ù±®¼±² ·²¬»®®±¹¿¬±®·»-ò
  ïéi i i i i i iÜ± §±« -»» ¬¸»-»á
  ïèi ißi iÇ»-ò
  ïçi iÏi iÜ·¼ §±« ¿´-± ®»ª·»© ¬¸»-» ¿¬ -±³» °±·²¬á
  îði ißi iÇ»-ò
  îïi iÏi iÑµ¿§ò
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  îëi iÏi iÑµ¿§ò


              ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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  ïêi ißi iÇ»-ò
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  ïçi i i iº®±³ Ó®ò Þ»ª¿²á
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  îïi i i i¬¿´µ»¼ ¿¾±«¬ ®»-·¼»²½»-ò
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  îíi ißi iÑµ¿§òi Í± ¬¸¿¬ ©±«´¼ ¸¿ª» ¾»»² °»®-±²¿´
  îìi i i iµ²±©´»¼¹»ò
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» èé

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  iîi i i i·¼»²¬·º·»¼ ¿- °±¬»²¬·¿´ ©·¬²»--»-á
  iíi ißi iÔ·²¼¿ Ò»¿´ô ²±¬ ²»½»--¿®·´§ ³§ ¾®±¬¸»®ò
  iìi iÏi iÑµ¿§òi ß´´ ®·¹¸¬ò
  iëi ißi iË¸ó«¸ò
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  iéi i i i·²º±®³¿¬·±² óó
  ièi ißi iÇ»-ò
  içi iÏi ióó ¬¸» º¿½¬- ±º ¬¸» «²¼»®´§·²¹ ½¿-» ¿²¼ ¬¸»
  ïði i i iº¿½¬- ±º ¬¸» ¿´´»¹»¼ º®¿«¼ô ¿´´ ¬¸¿¬ù-
  ïïi i i iÓ®ò Þ»ª¿²á
  ïîi ißi iÇ»-ò
  ïíi iÏi iþÙ± ¬¿´µ ¬± Ó®ò Þ»ª¿²þá
  ïìi ißi iÇ»-ò
  ïëi i i i i iøÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ì ©¿- ³¿®µ»¼ò÷
  ïêi iÏi iÓ¿§ × ¸¿ª» °«¬ ·² º®±²¬ ±º ¬¸» ©·¬²»--
  ïéi i i iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ìô °´»¿-»ò
  ïèi i i i i i iÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ì ·- »²¬·¬´»¼ þÝ´¿--
  ïçi i i iÐ´¿·²¬·ºº- Î«´» îêø¿÷ Ü·-½´±-«®»-òþ
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  îíi iÏi iÑµ¿§ò
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  ïìi ißi iË¸ó¸«¸ò
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» èç

  iïi i i iÜ»º»²¼¿²¬-ô ¿²¼ ¬¸» ¿½¬·±²- ¬¿µ»² ¿- ¿ ®»-«´¬
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  iíi i i i-¬¿¬»³»²¬-ô ³¿¬»®·¿´ ±³·--·±²- ½±²½»®²·²¹ Û³¬¿´
  iìi i i i¬¿´½ ¿²¼ ¬¸» »ª·¼»²½» ±º ¿-¾»-¬±- ·² Û³¬¿´
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  iêi i i i¼·-³·--¿´ ±º ¸·- ½´·»²¬-ù ½´¿·³- ¼«» ¬± ¬¸»
  iéi i i i¼»º»²¼¿²¬-ù ³·-®»°®»-»²¬¿¬·±²-ô ¸¿´ºó¬®«¬¸
  ièi i i i-¬¿¬»³»²¬- ¿²¼ ³¿¬»®·¿´ ±³·--·±²- ½±²½»®²·²¹
  içi i i iÛ³¬¿´ ¬¿´½ ¿²¼ ¬¸» »ª·¼»²½» ±º ¿-¾»-¬±- ·²
  ïði i i iÛ³¬¿´ ¬¿´½òþ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» çï

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  ïíi i i i¿²¼ -±³»¾±¼§ ©¸±ù- µ²±©² Ó®ò Þ»ª¿² º±® ïë
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  ïíi i i i±²½» ¿¹¿·²ô ¬¸» ·--«» ·- ¿ ³¿¬¬»® ±º ¿--»®¬·±²
  ïìi i i i±º °®·ª·´»¹»ô ©¸·½¸ ·- ¿ ½±³°´·½¿¬»¼ ±²» ·² Ò»©
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  ïêi i i iÖ»®-»§òi É» ¸¿ª» ¿--»®¬»¼ ¬¸» °®·ª·´»¹»ò i ×¬ù-
  ïéi i i i¿ ³¿¬¬»® «²¼»® -«¾³·--·±² ¬± ¶«¼¹» óó
  ïèi i i iÓ¿¹·-¬®¿¬» Ö«¼¹» Ü·½µ-±²òi ×ù³ ·²-¬®«½¬·²¹ ¬¸»
  ïçi i i i½´·»²¬ ²±¬ ¬± ¿²-©»®ò
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  îîi i i i·² ¬¸·- ½¿-»ô ¬¸» É·´´·¿³- ½¿-»á i Ö«-¬ ¿²-©»®
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» çí

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  iìi i i i½¿-»ái Ü±²ù¬ -¿§ ©¸¿¬ ¸» -¿·¼ô ¶«-¬ ¸¿ª» §±«
  iëi i i i¸¿¼ ¬¸±-» ¼·-½«--·±²-á
  iêi ißi i× ¸¿ª» ²±¬ ¸¿¼ ¬¸±-» ¼·-½«--·±²- ©·¬¸ ¸·³ò
  iéi iÏi iÑµ¿§òi Ü± §±« ¸¿ª» ¿²§ ©®·¬¬»² ¿¹®»»³»²¬ ©·¬¸
  ièi i i iÓ®ò Þ»ª¿² °®±¸·¾·¬·²¹ ¸·³ º®±³ ¬»-¬·º§·²¹ ·²
  içi i i i¬¸·- ½¿-»á
  ïði ißi iÒ±ò
  ïïi iÏi iÉ» ¬¿´µ»¼ ¿¾±«¬ ¬¸» ¿®®¿²¹»³»²¬- ©¸»² ©»
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  ïëi ißi i×ù³ ²±¬ ¹±·²¹ ¬± -¿§ ¬¸¿¬ × ¼±²ù¬ ¸¿ª» ±²»ô ×
  ïêi i i i¶«-¬ ¼±²ù¬ ®»½¿´´ ¬¸¿¬ °¿®¬·½«´¿® ¼±½«³»²¬ò
  ïéi iÏi iÉ±«´¼ ¬¸·- ¾» ·² §±«® º·´»- ¬¸¿¬ ¬¸»
  ïèi i i i°´¿·²¬·ºº-ù ½±«²-»´ ¸¿ª»²ù¬ ®»ª·»©»¼ §»¬á
  ïçi ißi iÛ·¬¸»® ·² ³§ º·´»- ±® Ó®ò Þ»ª¿²ù-ò
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  îïi i i iÓ®ò Þ»ª¿² ·² ©®·¬·²¹ º±® ½±³°»²-¿¬·±² ·² ¬¸·-
  îîi i i i½¿-»ô ¬¸» É·´´·¿³- ½¿-»á
  îíi ißi i×ù³ ²±¬ -«®»òi Î»¿´´§ ×ù³ ²±¬ -«®»ò
  îìi iÏi iÉ±«´¼ ¬¸¿¬ ¾» ·² §±«® º·´»- ¿- ©»´´á
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» çì

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  iîi iÏi iÜ± §±« ¸¿ª» ¿²§ ·¼»¿ ±º ¸±© Ó®ò Ð´¿½·¬»´´¿ù-
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  iëi ißi iÒ±ô × ¼±²ù¬òi Ò±¬ °»®-±²¿´´§ô ²±ò
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  iéi i i i°»®½»²¬ô §±« ©±«´¼²ù¬ µ²±©á
  ièi ißi i×ù³ ²±¬ ¿©¿®»òi ×ù³ ²±¬ ¿©¿®»òi × ¼±²ù¬ µ²±©ò
  içi iÏi iÌ¸¿¬ ©¿- ²»ª»® ¼·-½«--»¼ ©·¬¸ §±«á
  ïði ißi i× ¼±²ù¬ µ²±©ò
  ïïi iÏi iÑµ¿§òi Ò±© ·º §±« ¬¿µ» ·² º®±²¬ ±º §±« Ü Û¨ò óó
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  ïëi i i i i iøÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ê ©¿- ³¿®µ»¼ò÷
  ïêi i i i i iøÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ é ©¿- ³¿®µ»¼ò÷
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  îíi i i iº¿·®´§ -¸±®¬ ±®¼»®ò
  îìi i i i i i iÓ¿§ × ¸»´° §±«á
  îëi ißi i× ¶«-¬ ©¿²¬ ¬± ³¿µ» ½»®¬¿·² ¬¸¿¬ × ¸¿ª» ïîò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» çë

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  iîi ißi iÑµ¿§ò
  iíi iÏi iÇ»¿¸ô × ¬¸·²µ ¬¸»§ù®» ¿´´ ¸»®»ò
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  iêi ißi iÑµ¿§ò
  iéi iÏi iß²¼ ×ù³ ¹±·²¹ ¬± ¬®§ ¬± ¼± ¬¸»-» ·² ±®¼»®ô
  ièi i i iÓ-ò Ø±´´»§ óó
  içi ißi iÑµ¿§ò
  ïði iÏi ióó ±µ¿§á
  ïïi ißi iß´´ ®·¹¸¬ò
  ïîi iÏi iß´´ ®·¹¸¬òi Ú·®-¬ ±º ¿´´ô Ü Û¨ò ë ·- ¿ Ò±ª»³¾»®
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  ïëi i i i i i iÜ± §±« ®»½±¹²·¦» ¬¸·- ¼±½«³»²¬á
  ïêi ißi iÇ»-ò
  ïéi iÏi iß²¼ ¬¸»-» ¿®» ¬¸» çë ¼»º»²¼¿²¬- º®±³ ©¸±³
  ïèi i i i§±«ùª» ¾»»² °«®-«·²¹ ½±³°»²-¿¬·±² ±ª»® ¬¸» ´¿-¬
  ïçi i i iïë §»¿®-á
  îði ißi iÌ± ¬¸» ¾»-¬ ±º ³§ µ²±©´»¼¹»ô §»-ò
  îïi iÏi iß²¼ -±³» ¸¿ª» °¿·¼ ¿²¼ -±³» ¸¿ª»²ù¬á
  îîi ißi iÇ»-ò
  îíi iÏi i×² ¿¼¼·¬·±² ¬± ¬¸·- ´¿©-«·¬ô ©»®» ¬¸»®» ¿²§
  îìi i i i±¬¸»® ´¿©-«·¬- º·´»¼ ¿¹¿·²-¬ ¿²§ ±¬¸»®
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» çê

  iïi ißi iÉ¸»² §±« -¿§ þ·² ¿¼¼·¬·±² ¬± ¬¸·- ´¿©-«·¬ôþ
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  iíi iÏi i×² ¿¼¼·¬·±² ¬± ¬¸» ´¿©-«·¬ ¿¹¿·²-¬ çè ¿-¾»-¬±-
  iìi i i i¼»º»²¼¿²¬- óó
  iëi ißi iÑ¸ô × -»»ò
  iêi iÏi ióó ¼·¼ §±« º·´» ¿²§ ±¬¸»® ¿-¾»-¬±- ½¿-»á
  iéi ißi iÒ±ô ²±¬ óó ²±¬ »¨½»°¬ ¬¸» ±²» ¬¸¿¬ ©»ù®»
  ièi i i i°®»-»²¬´§ ¬¿´µ·²¹ ¿¾±«¬ò
  içi iÏi iÑµ¿§òi Í± ¬¸¿¬ù- Ò±ª»³¾»® ïìô îðððô ±µ¿§á
  ïði ißi iË¸ó¸«¸ò
  ïïi iÏi iÌ¸»² ©»ù®» ¹±·²¹ ¬± ¹± ¬± ¬¸» ª»®§ ²»¨¬ °¿¹» óó
  ïîi i i i¬¸» ª»®§ ²»¨¬ ¼±½«³»²¬ô Ü Û¨ò êò i ×¬ ·- ¿
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  ïëi i i i i i iÜ± §±« -»» ¬¸·- ¼±½«³»²¬á
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  ïéi iÏi iß²¼ ·º §±« ¬«®² ¬± ¬¸» -»½±²¼ °¿¹» ±º Ü Û¨ò êô
  ïèi i i i¬¸»®»ù- ¿ ®»º»®»²½» ¬± Ó-ò Ü¿®²»´´ò i Ü± §±« -»»
  ïçi i i i¬¸·-ái Ü± §±« -»» ¬¸¿¬á
  îði ißi iÇ»-ò
  îïi iÏi iÌ¸» ¼±½«³»²¬ -¿§-ô þ× ¸¿ª» »²½´±-»¼ ¬¸» ¿¾±ª»
  îîi i i i½¿°¬·±²»¼ Ó¿-¬»® Ý±²-±´·¼¿¬»¼ Ý±³°´¿·²¬-ò i ß- ×
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» çé

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  iìi i i iº¿½·´·¬·»- ©¸»®» ¬¸»§ ©»®» »¨°±-»¼ ¬± ¬¿´½òþ
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  ïçi iÏi iÜ± §±« ¬¸·²µ ¬¸±-» óó ©·¬¸¼®¿©²ò
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  îíi i i i¼·-»¿-»- ³¿¬¬»® ·² ¬»®³- ±º ½±³°»²-¿¬·±²á
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» çè

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  iîi ißi iÌ¸» -»ª»®·¬§ ±º ¬¸» ·´´²»--»-ò i Þ¿-·½¿´´§
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  ïêi ißi iÑµ¿§ò
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                 Ð¿¹» çç

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   iîi i i i i i iÜ± §±« -»» ¬¸¿¬á
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   iìi iÏi iÇ»-ò
   iëi ißi iË¸ó¸«¸ò
   iêi iÏi iÑµ¿§òi Í± Ó®ò Þ»ª¿²ù- ¿-µ·²¹ Ó®ò Ó¿®¬·´´±¬¬¿
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   ièi i i i¬¸®»» ³±²¬¸- ¿º¬»® ¬¸» ½±³°´¿·²¬ù- º·´»¼ô
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   ïði ißi iß½½±®¼·²¹ ¬± ¬¸» ®»½±®¼ô §»-ò
   ïïi iÏi iÑµ¿§òi Ò±© ´»¬ù- ¹± ¬± Ü Û¨ò éô ©¸·½¸ ·- ¬¸»
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   ïëi i i i i i iÜ± §±« -»» ¬¸¿¬á
   ïêi ißi iÇ»-ò
   ïéi iÏi iß²¼ ·²½´«¼»¼ ·² ¬¸»-» ¼»º»²¼¿²¬- ¿®» ½±³°¿²·»-
   ïèi i i i´·µ» ¬¸» ß-¾»-¬±- Ý±®°±®¿¬·±²ò i Ü± §±« -»»
   ïçi i i i¬¸¿¬á
   îði ißi iÇ»-ò
   îïi iÏi iß²¼ Þ»´´ ß-¾»-¬±- Ó·²»-ò
   îîi ißi iË¸ó¸«¸ò
   îíi iÏi iß²¼ Ú»¼»®¿´ Ó±¹«´ò
   îìi ißi iË¸ó¸«¸ò
   îëi iÏi iÜ± §±« -»» ¬¸¿¬á


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³        ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðð

   iïi ißi iÇ»-ò
   iîi iÏi iß²¼ Ù»±®¹·¿óÐ¿½·º·½òi Ü± §±« -»» ¬¸¿¬á
   iíi ißi iÇ»-ò
   iìi iÏi iß²¼ ÎòÌò Ê¿²¼»®¾·´¬ ¿²¼ Ý±³°¿²§òi Ü± §±« -»»
   iëi i i i¬¸¿¬á
   iêi ißi iÎòÌò Ê¿²¼»®¾·´¬ò
   iéi iÏi iÇ»¿¸ô ¼±©² ¬±©¿®¼- ¬¸» »²¼ò
   ièi ißi iÇ»-ò
   içi iÏi iß²¼ ·º §±« ¹± ¾¿½µ «° ¬± ¬¸» Ûù-ô Û¿-¬»®²
   ïði i i iÓ¿¹²»-·¿ Ì¿´½ Ý±³°¿²§ô ¼± §±« -»» ¬¸¿¬á
   ïïi ißi iÇ»-ò
   ïîi iÏi iÍ± ·² Ó¿§ ±º îððïô ¿´´ ±º ¬¸» ½´¿·³- ¿¹¿·²-¬
   ïíi i i i¬¸±-» ¼»º»²¼¿²¬- ¿®» ¼·-³·--»¼ ¾§ §±«® ³±¬¸»®ô
   ïìi i i i¼± §±« -»» ¬¸¿¬á
   ïëi ißi iÇ»-ò
   ïêi iÏi iÑµ¿§òi Ì¸»² ¿ º»© ©»»µ- ´¿¬»® óó ×ù¼ ´·µ» ¬±
   ïéi i i i¬«®² §±«® ¿¬¬»²¬·±² ¬± Ü Û¨ò èò
   ïèi ißi iÑµ¿§ò
   ïçi iÏi iÜ Û¨ò è ·- ¿ ¼±½«³»²¬ ¼¿¬»¼ Ó¿§ îëô îððï º®±³
   îði i i iÓ®ò Ó¿®¬·´´±¬¬¿ ¬± Ó®ò Þ»ª¿²ò
   îïi ißi iÇ»-ò
   îîi iÏi iß²¼ ·¬ù- »²¬·¬´»¼ þÍ»¬¬´»³»²¬ ©·¬¸ é Ì¿´½
   îíi i i iÜ»º»²¼¿²¬-òþ
   îìi i i i i i iÜ± §±« -»» ¬¸¿¬á
   îëi ißi iÇ»-ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðï

   iïi iÏi iÞ§ ¬¸» ©¿§ô ¸¿ª» §±« -»»² ¬¸·- ¼±½«³»²¬ ¾»º±®»á
   iîi ißi i× ½¿²ù¬ -¿§ ¬¸¿¬ × ¸¿ª»òi × ³¿§ ¸¿ª»ô ¾«¬ ¬¸»®»
   iíi i i i¸¿ª» ¾»»² -± ³¿²§ ¼±½«³»²¬-òi × ½¿²²±¬ ·¼»²¬·º§
   iìi i i i¬¸»³ ·²¼·ª·¼«¿´´§ò
   iëi iÏi iÑµ¿§òi Ô»¬ù- -»» ·º × ½¿² ®»º®»-¸ §±«®
   iêi i i i®»½±´´»½¬·±² ±² ¬¸·-ò
   iéi ißi iÑµ¿§ò
   ièi iÏi iÌ¸¿²µ §±« º±® º±®©¿®¼·²¹ ¬± ³» ¬¸» ®»´»¿-»ò
   içi i i iÐ´»¿-» ®»ª·-» ¬¸» ²¿³» ±º Ø¿®©·½µ Ý¸»³·½¿´
   ïði i i iÝ±®°±®¿¬·±² ¬± ®»¿¼ ùØ¿®©·½µ Ý¸»³·½¿´ Ý±®°ò ²±©
   ïïi i i iµ²±©² ¿- Ø¿®©·½µ Í¬¿²¼¿®¼ Ü·-¬®·¾«¬·±²
   ïîi i i iÝ±®°±®¿¬·±²ùòi É·¬¸ ¬¸¿¬ ½¸¿²¹»ô ¬¸» ¬¿´½
   ïíi i i i¼»º»²¼¿²¬- ¿¹®»» ¬± ¬¸» ´¿²¹«¿¹» ±º ¬¸» Î»´»¿-»
   ïìi i i i¿²¼ «®¹» §±« ¬± ±¾¬¿·² ¬¸»³ º±® ¬¸» Ù®¿²¬
   ïëi i i iÞ®»½µ»²®·¼¹» °´¿·²¬·ºº- ©·¬¸ ©¸±³ ©» ¿®»
   ïêi i i i-»¬¬´·²¹ º±® ¿ ¬±¬¿´ ±º üïìôðððô ¿²¼ ¬¸»
   ïéi i i iº±«®¬»»² °´¿·²¬·ºº- º®±³ ¬¸» ±¬¸»® ½¿-»-ô
   ïèi i i i-°»½·º·½¿´´§ ·²½´«¼·²¹ Õ¿¬¸®§² Ü¿®²»´´ò
   ïçi i i i i i iÜ± §±« -»» ¬¸¿¬á
   îði ißi iÇ»-ò
   îïi iÏi iÌ±³ô ¿- -±±² ¿- §±« ¸¿ª» ¬¸» »¨»½«¬»¼ Î»´»¿-»-ô
   îîi i i i°´»¿-» º±®©¿®¼ ¬¸»³ ¬± ³» ¿²¼ × ©·´´ º±®©¿®¼ ¬±
   îíi i i i§±« ¬¸» ¼®¿º¬-ò
   îìi ißi iË¸ó¸«¸ò
   îëi iÏi i×² ¬¸» ³»¿²¬·³»ô °®»°¿®» ¿²¼ -»®ª» ±² ¬¸» ÝÔßÜ


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðî

   iïi i i i¬¸» ¼·-³·--¿´ ±º ¬¸» -»ª»² ¬¿´½ ¼»º»²¼¿²¬- ©·¬¸
   iîi i i i©¸±³ §±« ¿®» -»¬¬´·²¹ ·² »¿½¸ ±º ¬¸»-» ½¿-»-ò
   iíi i i i i i iÜ± §±« -»» ¬¸¿¬á
   iìi ißi iÇ»-ò
   iëi iÏi iß²¼ ¬¸»² ·º §±« ¬«®² ¬± ¬¸» -»½±²¼ óó ±® ×
   iêi i i i¹«»-- ·¬ù- °¿¹» í «²¼»® þÞ»ª¿² ïì Ð´¿·²¬·ºº-òþ
   iéi i i i i i iÜ± §±« -»» ¬¸¿¬á
   ièi ißi iÇ»-ò
   içi iÏi iß²¼ ·¬ -¿§- üïçôððð ¿²¼ Õ¿¬¸®§² Ü¿®²»´´ò
   ïði i i i i i iÍ± ¼± §±« -»» ¬¸¿¬á
   ïïi ißi iÇ»-ò
   ïîi iÏi iß´´ ®·¹¸¬òi Ü±»- ¬¸¿¬ ®»º®»-¸ §±«® ®»½±´´»½¬·±²
   ïíi i i i¬¸¿¬ ¿´´ -»ª»² ¬¿´½ ¼»º»²¼¿²¬- ©»®» -»¬¬´·²¹
   ïìi i i iº±® ¿ ¬±¬¿´ ±º üïìôðððá
   ïëi ißi iÒ±ô ·¬ ¼±»- ²±¬òi ×¬ ¼±»- ²±¬ ®»º®»-¸ ³§
   ïêi i i i®»½±´´»½¬·±²òi ß²¼ô ¿½¬«¿´´§ô ¬¸·- ·- ¼¿¬»¼ Ó¿§
   ïéi i i iîëô îððïòi ×¬ ©¿- ´·¬»®¿´´§ ±²´§ ¬©± ©»»µ-
   ïèi i i i¾»º±®» ³§ ³±³ °¿--»¼ ¿©¿§ò
   ïçi iÏi i×² ¬»®³- ±º «²¼»®-¬¿²¼·²¹ ¬¸» º¿½¬- ±º ¬¸·-
   îði i i i-»¬¬´»³»²¬ ©·¬¸ -»ª»² ¬¿´½ ¼»º»²¼¿²¬- º±®
   îïi i i iüïìôðððô ©±«´¼ Ó®ò Þ»ª¿² ¾» ¬¸» °»®-±² ¬¸¿¬ §±«
   îîi i i i©±«´¼ »²½±«®¿¹» ³» ¬± ¬¿´µ ¬±á
   îíi ißi iÇ»-òi Ø» ©±«´¼ ¼»º·²·¬»´§ ¸¿ª» ¬¸» ·²º±®³¿¬·±²
   îìi i i i±² ¬¸·-òi × ¼·¼ ²±¬òi × ©¿- ²±¬ ¿ °¿®¬§ ¬±
   îëi i i i¬¸·-ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðí

   iïi iÏi iÑµ¿§òi Ì¸»² ·º §±« ¬«®² ¬± Ü Û¨ çòi ×¬ù- ¼¿¬»¼
   iîi i i iÓ¿§ ïêô îððïò
   iíi ißi iÇ»-ò
   iìi iÏi iÍ± ²±© ×ù³ -¸±©·²¹ §±« ¬¸·- ¾»½¿«-» ·¬ù- ¿
   iëi i i iª±´«²¬¿®§ ¼·-³·--¿´ ±º ¼»º»²¼¿²¬- Ù»±®¹·¿ Ì¿´½ô
   iêi i i iØ¿®©·½µ Ý¸»³·½¿´ô Û³¬¿´ô ÎòÌò Ê¿²¼»®¾·´¬ô
   iéi i i iÖ±¸²-±² ú Ö±¸²-±²ô ¿²¼ Í±«¬¸»®² Ì¿´½ Ý±³°¿²·»-ô
   ièi i i i©¸·½¸ -»»³- ¬± ¾»ô ¾§ ³§ ½±«²¬ô -»ª»² ¬¿´½
   içi i i i½±³°¿²·»-ò
   ïði ißi iÑµ¿§ò
   ïïi iÏi iÑµ¿§òi Ò±©ô ®»³»³¾»® ·² ¬¸» ¾»¹·²²·²¹ ±º ¬¸»
   ïîi i i i¼»°±-·¬·±² × ¿-µ»¼ §±« ©¸»¬¸»® ¬¿´½ ½±³°¿²·»-
   ïíi i i i©¸± ¸¿ª» ¿-¾»-¬±- ·² ¬¸» ¬¿´½ ©»®» °¿§·²¹ ³±²»§
   ïìi i i i¼·ºº»®»²¬ º®±³ ¬¿´½ ½±³°¿²·»- ¬¸¿¬ ¼·¼²ù¬ ¸¿ª»
   ïëi i i i¿-¾»-¬±- ·² ¬¸» ¬¿´½á
   ïêi ißi iÇ»-ô × ®»½¿´´ ¬¸¿¬ò
   ïéi iÏi iß²¼ §±« -¿·¼ §±« ©±«´¼ »¨°»½¬ ¬¸» ¬¿´½
   ïèi i i i½±³°¿²·»- ©·¬¸ ¿-¾»-¬±- ¬± ¿½¬«¿´´§ °¿§ ³±®»ô
   ïçi i i iº¿·®á
   îði ißi iÚ¿·®ò
   îïi iÏi iÒ±©ô ¸»®» ©» ¸¿ª» -»ª»² ¬¿´½ ¼»º»²¼¿²¬-
   îîi i i i¼·-³·--·²¹ ¬¸» ½¿-» ¿¹¿·²-¬ §±«® ³±¬¸»® ¿²¼
   îíi i i i´»¬ù- ¿--«³» ·¬ù- º±® üïìôðððô °»® Ó®ò Þ»ª¿²ù-
   îìi i i i´»¬¬»®ô ±µ¿§á
   îëi ißi iÑµ¿§ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðì

   iïi iÏi iß´´ ®·¹¸¬òi Í± ¼·¼ §±« µ²±© ¬¸¿¬ ÎòÌò
   iîi i i iÊ¿²¼»®¾·´¬ ·² º¿½¬ ¸¿¼ ¿-¾»-¬±- ·² ·¬- ¬¿´½á
   iíi ißi iÒ±ô × ¼·¼ ²±¬ µ²±© ¬¸¿¬òi Ð»®-±²¿´´§ô ²±ò
   iìi iÏi iÑµ¿§òi É»´´ô ½¿² §±« ¼·-°«¬» ¬¸¿¬ Ó®ò Þ»ª¿²
   iëi i i iµ²»© ¬¸¿¬á
   iêi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
   iéi i i iº±®³ò
   ièi ißi i× ©±«´¼²ù¬ ¾» ¿¾´» ¬± ¼·-°«¬» ¬¸¿¬ò i Ì¸¿¬ù-
   içi i i i¾¿-»¼ «°±² ¸·- µ²±©´»¼¹» ¿²¼ ¾»´·»º ¿²¼ ·¬ù-
   ïði i i i²±¬¸·²¹ ¬¸¿¬ × ¼·-½«--»¼ ©·¬¸ ¸·³ò
   ïïi iÏi iÑµ¿§ò
   ïîi ißi iÞ»½¿«-» ¬¸·-ô ¿- × -¿§ô ¬¸·- ©¿- °®·±® ¬± ³§
   ïíi i i i³±³ù- °¿--·²¹òi ß²¼ -± ¬¸·- °¿®¬·½«´¿®
   ïìi i i i¼»º»²¼¿²¬ óó ¬¸»² -¸» ©±«´¼ ¸¿ª» ¸¿¼ ¬¸»
   ïëi i i i®»´¿¬·±²-¸·° ©·¬¸ Ó®ò Þ»ª¿²ò
   ïêi iÏi iÉ»´´ô ¬¸·- ·- ¿½¬«¿´´§ óó ¬¸·- ·- ß«¹«-¬ ïêô
   ïéi i i iîððïò
   ïèi ißi iÑµ¿§ò
   ïçi iÏi iÌ¸·- ·- ¬¸» ¼·-³·--¿´ ±º ¿´´ -»ª»² ¬¿´½
   îði i i i¼»º»²¼¿²¬-ò
   îïi ißi iÌ¸¿¬ ©¿- ¬¸» ¼·-³·--¿´ óó
   îîi iÏi iÇ»°ò
   îíi ißi ióó ±º ¿´´ -»ª»² ¿²¼ ·¬ ©¿- óó × ¸¿ª» ·¬ ¿¬
   îìi i i i¸±³»òi × ¼±²ù¬ ®»³»³¾»® óó ´»¬ ³» -»» óó ¬¸»
   îëi i i i¼¿¬» ±º ³§ ¾»½±³·²¹ óó


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðë

   iïi iÏi iÑµ¿§ò
   iîi ißi ióó »¨»½«¬®·¨ ±º ¬¸» »-¬¿¬»ò
   iíi iÏi iÑµ¿§òi Þ«¬ ¿- ©» -·¬ ¸»®» ¬±¼¿§ô ¼± §±« µ²±©
   iìi i i i©¸»¬¸»® Í±«¬¸»®² Ì¿´½ ¸¿¼ ¿-¾»-¬±- ·² ·¬- ¬¿´½á
   iëi ißi i× ¸¿ª» ²± ·¼»¿ò
   iêi iÏi iß²¼ ½±«´¼ §±« ¼·-°«¬» ¬¸¿¬ Ó®ò Þ»ª¿² ·² º¿½¬
   iéi i i iµ²»© ¬¸¿¬ Í±«¬¸»®² Ì¿´½ ¸¿¼ ¿-¾»-¬±- ·² ¬¸»
   ièi i i i¬¿´½á
   içi ißi i× ©±«´¼ ²±¬ óó
   ïði i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
   ïïi ißi ióó ¾» ¿¾´» ¬± ¼·-°«¬» ¬¸¿¬ò
   ïîi iÏi iÝ±«´¼ §±« ¬«®² ¬± Ü Û¨ò ïðá
   ïíi ißi iÑµ¿§ò
   ïìi iÏi iÖ¿²«¿®§ éô îððî º®±³ Ó®ò Þ»ª¿² ¬± Í¿³
   ïëi i i iÓ¿®¬·´´±¬¬¿ò
   ïêi ißi iÎ·¹¸¬ò
   ïéi iÏi iß²¼ ¼¿¬»¼ Ö¿²«¿®§ éô îððîò
   ïèi ißi iË¸ó¸«¸ò
   ïçi iÏi iÛ²¬·¬´»¼ þÌ¿´½ Í»¬¬´»³»²¬òþ
   îði ißi iÎ·¹¸¬ò
   îïi iÏi iþÜ»¿® Í¿³æ
   îîi i i i i i i× ¸¿ª» »²½´±-»¼ »¨»½«¬»¼ ®»´»¿-» º±® ¬¸»
   îíi i i iº±´´±©·²¹ ½´·»²¬-òþ
   îìi i i i i i iß²¼ ¬¸»² ±² ¬¸» ²»¨¬ °¿¹» ·¬ -¿§-ô þÌ¸»
   îëi i i iº±´´±©·²¹ ½´·»²¬- ©»®» °®»ª·±«-´§ °¿·¼òþ


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðê

   iïi i i i i i iþÉ» ¸¿ª» ²±¬ º·´»¼ ½´¿·³ º±® ¬¸»
   iîi i i iº±´´±©·²¹ ·²¼·ª·¼«¿´-òþ
   iíi i i i i i iÉ» ¿®» ©¿·¬·²¹ ®»´»¿-»- º®±³ ¬¸»
   iìi i i iº±´´±©·²¹ ½´·»²¬-ò
   iëi i i i i i iþÐ»® §±«® ®»´»¿-»ô × ¸¿ª» »²½´±-»¼ ¼»¿¬¸
   iêi i i i½»®¬·º·½¿¬»- º±® ¬¸» º±´´±©·²¹ ½´·»²¬-òþ
   iéi i i i i i iß²¼ ¬¸»² ±² °¿¹» í ·¬ -¿§-ô þß½½±®¼·²¹ ¬±
   ièi i i i±«® ®»½±®¼-ô ©» ¸¿ª» °®»ª·±«-´§ -»¬¬´»¼ ¿²¼
   içi i i i¼·-³·--»¼ô ¾«¬ ²±¬ §»¬ ¾»»² °¿·¼ º±® ¬¸»
   ïði i i iº±´´±©·²¹ ½´·»²¬-òþi Ü± §±« -»» ©¸»®» ·¬ -¿§-
   ïïi i i iÕ¿¬¸®§² Ü¿®²»´´á
   ïîi ißi iÇ»-ô ©¸·½¸ ·²½´«¼»- ³§ ³±³ô §»-ò
   ïíi iÏi iÉ¸·½¸ ·²½´«¼»- §±«® ³±³ò
   ïìi ißi iË¸ó¸«¸ò
   ïëi iÏi iß²¼ ·¬ -¿§- º±® ¬¸» ¬¿´½ ¼»º»²¼¿²¬- ¬¸¿¬ -¸»
   ïêi i i i©¿- °¿·¼ üîôðððòi Ü± §±« -»» ¬¸¿¬á
   ïéi ißi i× -»» ¬¸¿¬ò
   ïèi iÏi iß²¼ ¬¸¿¬ üîôððð ·²½´«¼»¼ ³±²»§ º®±³ ¬¿´½
   ïçi i i i¼»º»²¼¿²¬- ©¸± ¸¿¼ ¿-¾»-¬±- ·² ¬¸» ¬¿´½ô
   îði i i i½±®®»½¬á
   îïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
   îîi i i iº±®³ò
   îíi ißi iÜ±»- ·¬ -¿§ ¬¸¿¬á
   îìi iÏi i×ù³ ¿-µ·²¹ ·º §±« µ²±©ò
   îëi ißi i× ¼±²ù¬ µ²±©ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðé

   iïi iÏi iÓ®ò Þ»ª¿² ©±«´¼ µ²±©ô ½±®®»½¬á
   iîi ißi iÑµ¿§òi Î·¹¸¬ò
   iíi iÏi iß²¼ ©±«´¼ §±« ¾» -«®°®·-»¼ô ¾¿-»¼ ±² ©¸¿¬ §±«
   iìi i i iµ²±© ±º Ó®ò Þ»ª¿² ¿²¼ ¬¸» ¿´´»¹¿¬·±²- ·² ¬¸·-
   iëi i i i½¿-»ô ·º Ó®ò Þ»ª¿² ®»½±³³»²¼»¼ ¿ -»¬¬´»³»²¬
   iêi i i iº®±³ ¬¿´½ ¼»º»²¼¿²¬- ©¸± ¸¿¼ ¿-¾»-¬±- ·² ¬¸»
   iéi i i i¬¿´½ º±® ¿ ¬±¬¿´ ±º üîôðððái É±«´¼ ¬¸¿¬
   ièi i i i-«®°®·-» §±«á
   içi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
   ïði i i iº±®³ò
   ïïi ißi iÞ¿-»¼ «°±² ¬¸» ©¿§ §±« °«¬ §±«® ¯«»-¬·±²ô ×
   ïîi i i i¼±²ù¬ µ²±© ©¸§ × ©±«´¼ ¾» -«®°®·-»¼ ±® ²±¬
   ïíi i i i-«®°®·-»¼ô ¾»½¿«-» ©»ù®» ¬¿´µ·²¹ ¿¾±«¬
   ïìi i i i-»¬¬´»³»²¬ ·--«»-òi Ñµ¿§ò
   ïëi iÏi iÍ± ¿- ©» -·¬ ¸»®» ¬±¼¿§ô §±« ½¿²ù¬ ¬¸·²µ ±º ¿²§
   ïêi i i i®»¿-±² §±« ©±«´¼ ±¾¶»½¬ ¬± -»¬¬´·²¹ ©·¬¸ ¿ ¬¿´½
   ïéi i i i¼»º»²¼¿²¬ ©¸± ¸¿¼ ¿-¾»-¬±- ·² ¬¸» ¬¿´½ º±®
   ïèi i i iüîôðððá
   ïçi ißi i× ½¿² ¬¸·²µ óó
   îði i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
   îïi i i iº±®³ò
   îîi ißi ióó ±º ²± ®»¿-±² º±® ³» ¬± ±¾¶»½¬ò
   îíi iÏi iÇ±« ½¿² ¬¸·²µ ±º ²± ®»¿-±² §±« ©±«´¼ ±¾¶»½¬ ¬±
   îìi i i i¿ -»¬¬´»³»²¬ ±º üîôððð º®±³ ¿ ¬¿´½ ¼»º»²¼¿²¬
   îëi i i i©·¬¸ ¿-¾»-¬±-á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðè

   iïi ißi iÒ±ô ²±¬ ©·¬¸ óó «²¼»®-¬¿²¼·²¹ ¬¸» «²¼»®´§·²¹
   iîi i i i·--«»-ò
   iíi iÏi iÝ±«´¼ §±« ¬«®² ¬± Ü Û¨ò ïïô ¬¸» ª»®§ ²»¨¬
   iìi i i i¼±½«³»²¬òi Ì¸·- ·- Ö¿²«¿®§ ïðô îððîò
   iëi i i i i i i×¬ -¿§-æi Û²½´±-»¼ ·- ¿ -»¬¬´»³»²¬ ¼®¿º¬
   iêi i i iº®±³ ¬¸» Ó¿²-±«® Ì®«-¬ ß½½±«²¬ °¿§¿¾´» ¬± Þ»ª¿²
   iéi i i iú ß--±½·¿¬»- ±² ¾»¸¿´º ±º ¬¸» Þ®»½µ»²®·¼¹»
   ièi i i iÐ´¿·²¬·ºº- ¿²¼ ïì ¿¼¼·¬·±²¿´ Ð´¿·²¬·ºº- ´·-¬»¼
   içi i i i¾»´±©ô ·² ¬¸» ¿³±«²¬ ±º üííôðððò
   ïði i i i i i i×¬ -¿§-æi Í°»½·º·½¿´´§ô ¬¸» -»¬¬´»³»²¬ ·-
   ïïi i i i©·¬¸ Ü»º»²¼¿²¬- Û³¬¿´ô Ù»±®¹·¿ Ì¿´½ óó °«¬ ¿ óó
   ïîi i i i¶«-¬ ®»³»³¾»® Ù»±®¹·¿ Ì¿´½ò
   ïíi ißi iÎ·¹¸¬ò
   ïìi iÏi iØ¿®©·½µ Ý¸»³·½¿´ô Ö±¸²-±² ú Ö±¸²-±²ô ÎòÌò
   ïëi i i iÊ¿²¼»®¾·´¬ óó ´»¬ù- ®»³»³¾»® ÎòÌò Ê¿²¼»®¾·´¬
   ïêi i i i¬±± óó Í±«¬¸»®² Ì¿´½ óó ®»³»³¾»® ¬¸»³ óó
   ïéi i i iÍ¬ò Ô¿©®»²½» Ô·¯«·¼¿¬·²¹ Ý±³°¿²§ô ¿²¼ Ì®«-¬»»
   ïèi i i iº±® ×²¬»®²¿¬·±²¿´ Ì¿´½ Ý±³°¿²·»-ò
   ïçi i i i i i iß²¼ ¬¸»² ·¬ ¹±»- ¬¸®±«¹¸ ¬¸» ½´¿·³- ±º
   îði i i i¬¸» Þ®»½µ»²®·¼¹» ½±³°´¿·²¬ò
   îïi i i i i i iß²¼ ¬¸»² ¬¸» ²»¨¬ °¿¹»ô ±² °¿¹» îô -¿§-ô
   îîi i i iþ×² ¿¼¼·¬·±²ô ¬¸» -»¬¬´»³»²¬ ·- ©·¬¸ ¬¸»
   îíi i i iº±´´±©·²¹ Ð´¿·²¬·ºº- ø¿´±²¹ ©·¬¸ ¬¸»·® -°±«-»-
   îìi i i i¿²¼ñ±® »-¬¿¬»-ô ©¸»®» ¿°°´·½¿¾´»÷ ©¸± ¸¿ª»
   îëi i i iº·´»¼ ¿½¬·±²- -»°¿®¿¬»´§ ·² ¬¸» Ý«§¿¸±¹¿ Ý±«²¬§


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïðç

   iïi i i iÝ±«®¬ ±º Ý±³³±² Ð´»¿-òþi ß²¼ §±« -»» Õ¿¬¸®§²
   iîi i i iÜ¿®²»´´ ´·-¬»¼á
   iíi ißi i× -»» ·¬ò
   iìi iÏi iÝ±®®»½¬á
   iëi ißi iË¸ó¸«¸ò
   iêi iÏi iÒ±©ô ©»ù®» ¹±·²¹ ¬± ½±³» ¾¿½µ ¬± °¿¹» î ·² ¿
   iéi i i i-»½±²¼ô ¾«¬ × ©¿²¬ ¬± -¸±© §±« óó ·º §±« ½±«´¼
   ièi i i iµ»»° Ü Û¨ò ïï ·² º®±²¬ ±º §±«ò
   içi ißi iÇ»-ò
   ïði iÏi iß²¼ ¬¸»² ×ù³ ¹±·²¹ ¬± -¸±© §±« -±³»¬¸·²¹ º·´»¼
   ïïi i i i¾§ Ó®ò Þ»ª¿² ®»¹¿®¼·²¹ ¬¸» Í±«¬¸»®² Ì¿´½
   ïîi i i i½±³°¿²§ óó
   ïíi ißi iÑµ¿§ò
   ïìi iÏi ióó ¿²¼ ©¸»¬¸»® ·¬ ¸¿¼ ¿-¾»-¬±- ·² ¬¸» ¬¿´½ô
   ïëi i i i±µ¿§á
   ïêi ißi iÑ¸ô ±µ¿§ò
   ïéi iÏi iÍ±ô ¿¹¿·²ô ®»³»³¾»®ô ¬± -»¬ ¬¸·- «°æ i Í»¬¬´·²¹
   ïèi i i i©·¬¸ -»ª»² ¼»º»²¼¿²¬-ô -»ª»² ¬¿´½ ¼»º»²¼¿²¬-ô
   ïçi i i i¿²¼ ©»ù®» ¬®§·²¹ ¬± º·¹«®» ±«¬ ©¸»¬¸»® ¬¸»§ ¸¿¼
   îði i i i¿-¾»-¬±- ·² ¬¸» ¬¿´½ ±® ¼·¼²ù¬ ¸¿ª» ¿-¾»-¬±- ·²
   îïi i i i¬¸» ¬¿´½ô ±µ¿§á
   îîi i i i i i iÍ± ²±© ·º §±« ¬«®² ¬± Ü Û¨ò ïîô ¬¸·- ·-
   îíi i i i»²¬·¬´»¼ þÐ´¿·²¬·ºº-ù Î»-°±²-»- ¬± Ó±¬·±²- º±®
   îìi i i iÍ«³³¿®§ Ö«¼¹³»²¬ Ú·´»¼ ±² Þ»¸¿´º ±º ¬¸»
   îëi i i iÞÚÙ±±¼®·½¸ Ý±³°¿²§òþi ß²¼ ·¬ù- º·´»¼ ¾§


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïð

   iïi i i iÓ®ò Þ»ª¿²ò
   iîi ißi iË¸ó¸«¸ò
   iíi iÏi iÑµ¿§òi Ò±©ô º·®-¬ ±º ¿´´ô ·¬ -¿§-ô ·º §±« ¬«®²
   iìi i i i¬± °¿¹» î óó
   iëi ißi iÑµ¿§ò
   iêi iÏi ióó þÌ¸» ÞÚÙ±±¼®·½¸ °´¿²¬ ½±²¬¿·²»¼ ³¿²§ ³·´»-
   iéi i i i±º ¿-¾»-¬±- ·²-«´¿¬»¼ -¬»¿³ °·°»-ô ¿-¾»-¬±-
   ièi i i i·²-«´¿¬»¼ ¬¿²µ-ô ¾±·´»®-ô ¿²¼ ¿-¾»-¬±-
   içi i i i·²-«´¿¬»¼ ³¿½¸·²»®§òþ
   ïði ißi iÉ¸»®» ·- ¬¸¿¬á
   ïïi iÏi iÑ² °¿¹» îòi Ü± §±« -»» ¬¸¿¬ ®·¹¸¬ ¬¸»®»á
   ïîi ißi iÑµ¿§ò
   ïíi iÏi iþ×² ¬¸» ´¿¬» ïçèð-ô ÞÚÙ±±¼®·½¸ »²¹¿¹»¼ ·² ¿
   ïìi i i i³¿¶±® ¿-¾»-¬±- ¿¾¿¬»³»²¬ °®±¶»½¬ ·² ·¬- ßµ®±²
   ïëi i i i°´¿²¬òi Ñ²» ¶±¾ ·²ª±´ª»¼ ¬¸» ®»³±ª¿´ ±º ¿²
   ïêi i i i¿-¬±«²¼·²¹ îî ³·´»- ±º ¿-¾»-¬±- °·°»
   ïéi i i i·²-«´¿¬·±²òþ
   ïèi i i i i i iÜ± §±« -»» ¬¸¿¬á
   ïçi ißi iÇ»-ò
   îði iÏi iß²¼ §±«® ³±³ ¸¿¼ ©±®µ»¼ ¿¬ ÞÚÙ±±¼®·½¸ óó
   îïi ißi iÇ»-ò
   îîi iÏi ióó ½±®®»½¬á
   îíi ißi iÇ»-ò
   îìi iÏi iß²¼ ¬¸»² ±² ¬¸» ²»¨¬ °¿¹» Ó®ò Þ»ª¿² ¬¿´µ- ¿¾±«¬
   îëi i i iþÞ»¬©»»² ïçëð ¿²¼ ïçééô ÞÚÙ±±¼®·½¸ °«®½¸¿-»¼


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïï

   iïi i i i³·´´·±²- ±º °±«²¼- ±º ®¿© ¿-¾»-¬±- º·¾»®òþ
   iîi i i iÜ«®·²¹ ¬¸¿¬ óó þÜ«®·²¹ -¿·¼ ¬·³»ô ÞÚÙ±±¼®·½¸
   iíi i i i°«®½¸¿-»¼ ±ª»® -»ª»² ³·´´·±² °±«²¼- ±º ®¿©
   iìi i i i¿-¾»-¬±- º·¾»® º®±³ Ö±¸²- Ó¿²ª·´´» ¿²¼ ±ª»®
   iëi i i i-»ª»² ³·´´·±² °±«²¼- ±º ®¿© ¿-¾»-¬±- º®±³ Ì¸»
   iêi i i iÝòÐò Ø¿´´ Ý±³°¿²§òþ
   iéi i i i i i iÜ± §±« -»» ¬¸¿¬á
   ièi ißi iÇ»-ò
   içi iÏi iß²¼ ·¬ -¿§-ô þÌ¿´½ñ-±¿°-¬±²» ©¿- ½±³³±²´§
   ïði i i i½±²¬¿³·²¿¬»¼ ©·¬¸ ¿-¾»-¬±- ¿- ©¿- »ª·¼»²½»¼ ¾§
   ïïi i i iÞÚÙ±±¼®·½¸ù- ±²´§ ´¿¾±®¿¬±®§ ¿²¿´§-»-òþ
   ïîi i i i i i iÜ± §±« -»» ¬¸¿¬á
   ïíi ißi iÉ¸»®» ·- ¬¸¿¬á
   ïìi iÏi iÌ¸¿¬ù- ®·¹¸¬ ¬¸»®»ò
   ïëi ißi iÑµ¿§ò
   ïêi iÏi iÑµ¿§ò
   ïéi ißi iÑµ¿§ò
   ïèi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Þ§ ¬¸» ©¿§ô
   ïçi i i i½±«²-»´ô ©» ©±«´¼ ª»®§ ³«½¸ ´·µ»ô ·º Ó®ò Þ»ª¿²
   îði i i i¸¿- ¬¸»³ô ¬¸» ¿²¿´§-»- ¼±²» ¾§ ÞÚÙ±±¼®·½¸ù- ±©²
   îïi i i i´¿¾±®¿¬±®§ ¿²¿´§-»- ±² ¬¸» ¬¿´½ ¬¸¿¬ ¸»
   îîi i i i®»º»®»²½»- ·² ¬¸»-» °¿°»®-ò
   îíi iÏi iÑµ¿§òi Ì¸»² ×ù³ ¹±·²¹ ¬± ¿-µ §±« ¬± º´·° ¬±
   îìi i i i°¿¹» ïìò
   îëi ißi iÑº ¬¸·- -¿³» ¼±½«³»²¬á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïî

   iïi iÏi iÑº Ó®ò Þ»ª¿²ù- ¼±½«³»²¬ò
   iîi ißi iÑµ¿§òi Ñµ¿§ò
   iíi iÏi iÑµ¿§òi ß²¼ ³¿§ × ¶«-¬ °±·²¬ §±« ¬± ¬¸·-á
   iìi ißi iË¸ó¸«¸ò
   iëi iÏi iÎ·¹¸¬ ¬¸»®»ò
   iêi ißi iÎ·¹¸¬ ¸»®»ò
   iéi iÏi iþÍ±¿°-¬±²»ñ¬¿´½ ©¿- «-»¼ »¨¬»²-·ª»´§ ¿´´ ±ª»®
   ièi i i i¬¸» ÞÚÙ±±¼®·½¸ °´¿²¬òi øÍ»» ¿ºº·¼¿ª·¬ ±º Ö¿³»-
   içi i i iÝ´¿®µò÷i Ì¿´½ñ-±¿°-¬±²» ©¿- ½±³³±²´§
   ïði i i i½±²¬¿³·²¿¬»¼ ©·¬¸ ¿-¾»-¬±- ¿- ©¿- »ª·¼»²½»¼ ¾§
   ïïi i i iÞÚÙ±±¼®·½¸ù- ±©² ´¿¾±®¿¬±®§ ¿²¿´§-»-ò i Î±¾»®¬
   ïîi i i iÓ±¼¼®»´´ô ¿ º±®³»® ÞÚÙ±±¼®·½¸ ×²¼«-¬®·¿´
   ïíi i i iØ§¹·»²·-¬ ¸¿- ¬»-¬·º·»¼ ¬¸¿¬ ¬¸» ¬¿´½ «-»¼ ¿¬
   ïìi i i iÞÚÙ±±¼®·½¸ ½±²¬¿·²»¼ ¿-¾»-¬±-òþ
   ïëi i i i i i iÜ± §±« -»» ¬¸¿¬á
   ïêi ißi iÇ»-ò
   ïéi iÏi iÑµ¿§òi ß²¼ ·¬ -¿§-ô ·º §±« ¹± ¬± ¬¸» ¾±¬¬±³ ±º
   ïèi i i i°¿¹» ïëô þÞÚÙ±±¼®·½¸ ¼·¼ ²±¬ ½®»¿¬» ¿ ù²±
   ïçi i i i¿-¾»-¬±-ù ¬¿´½ -°»½·º·½¿¬·±² «²¬·´ -»ª»² §»¿®-
   îði i i i´¿¬»®òi ß´-±ô ÞÚÙ±±¼®·½¸ ¼·¼ ²±¬ ®»³±ª»
   îïi i i i¿-¾»-¬±-ó½±²¬¿·²·²¹ ùÉ¸·¬» Ì¿´½ù º®±³ Í±«¬¸»®²
   îîi i i iÌ¿´½ Ý±³°¿²§ óóþ ©·¬¸¼®¿©²ò
   îíi i i i i i i×¬ -¿§-ô þß´-±ô ÞÚÙ±±¼®·½¸ ¼·¼ ²±¬ ®»³±ª»
   îìi i i i¿-¾»-¬±-ó½±²¬¿·²·²¹ ùÉ¸·¬» Ì¿´½ù º®±³ Í±«¬¸»®²
   îëi i i iÌ¿´½ Ý±³°¿²§ º®±³ ·¬- -«°°´·»® ´·-¬ «²¬·´


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïí

   iïi i i iïçèðòþ
   iîi i i i i i iÜ± §±« -»» ¬¸¿¬á
   iíi ißi iÇ»-ò
   iìi iÏi iÍ± ¬¸»®»ù- Í±«¬¸»®² Ì¿´½òi Í± Ó®ò Þ»ª¿² µ²±©-
   iëi i i i¬¸¿¬ ¬¸»®»ù- ¬¿´½ «-»¼ ¿¬ ÞÚÙ±±¼®·½¸ô µ²±©-
   iêi i i i¬¸¿¬ -±³» ±º ¬¸» ¬¿´½ ¸¿- ¿-¾»-¬±-ô ¿²¼ ·² º¿½¬
   iéi i i iµ²±©- ¬¸¿¬ Í±«¬¸»®² Ý±³°¿²§ ¸¿- ¿-¾»-¬±- ·² ·¬ò
   ièi i i i i i i×² º¿½¬ô ·º §±« ¬«®² ¬± Û¨¸·¾·¬ îê óó ³¿§
   içi i i i× ¬«®² ·¬ º±® §±«á
   ïði ißi iÇ»-ô °´»¿-»ò
   ïïi iÏi i×º §±« ¬«®² ¬± Û¨¸·¾·¬ îêô Ó®ò Þ»ª¿² óó ·¬ù-
   ïîi i i iÛ¨¸·¾·¬ ïîßô º±® ¬¸» ®»½±®¼ò
   ïíi i i i i i iÓ®ò Þ»ª¿² ·²½´«¼»- ¿ ¼±½«³»²¬ -¸±©·²¹ óó
   ïìi i i i¬¸¿¬ -¬¿¬»- þÎ»½»²¬ Î¿© Ó¿¬»®·¿´- ·²ª»-¬·¹¿¬·±²
   ïëi i i i¸¿- º±«²¼ ¬¸¿¬ ¿´´ ¬¿´½ -«°°´·»¼ ¾§ Í±«¬¸»®²
   ïêi i i iÌ¿´½ Ý±³°¿²§ ½±²¬¿·² -·¹²·º·½¿²¬ ¿³±«²¬- ±º
   ïéi i i i¿-¾»-¬±-ó´·µ» °¿®¬·½´»- ø¬®»³±´·¬»÷òþ
   ïèi i i i i i iÜ± §±« -»» ¬¸¿¬á
   ïçi ißi iÇ»-ò
   îði iÏi iÑµ¿§òi Í± ¼±»- ¬¸¿¬ ®»º®»-¸ §±«® ®»½±´´»½¬·±²ô
   îïi i i i¹±·²¹ ¾¿½µ ¬± Ü Û¨ò ïïô ¿- ¬± ©¸»¬¸»® Í±«¬¸»®²
   îîi i i iÌ¿´½ Ý±³°¿²§ô ©¸·½¸ -«°°´·»¼ ÞÚÙ±±¼®·½¸ô ¸¿¼
   îíi i i i¿-¾»-¬±- ·² ·¬- ¬¿´½á
   îìi ißi i×¬ ¼±»- ²±¬ ®»º®»-¸ ³§ ®»½±´´»½¬·±²ô ²±ò
   îëi iÏi iÞ«¬ §±« µ²±© ²±© ¬¸¿¬ Í±«¬¸»®² Ì¿´½ Ý±³°¿²§ ©¿-


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïì

   iïi i i i±²» ±º ¬¸» -»ª»² ¼»º»²¼¿²¬- ¬¸¿¬ -»¬¬´»¼ ©·¬¸
   iîi i i i§±«® ³±¬¸»®ù- »-¬¿¬» º±® üîôðððô ½±®®»½¬á
   iíi ißi iÇ»-ò
   iìi iÏi iÛª»² ¬¸±«¹¸ Í±«¬¸»®² Ì¿´½ ©¿- µ²±©² ¾§
   iëi i i iÓ®ò Þ»ª¿² ¬± ¸¿ª» ¿-¾»-¬±- ·² ·¬- ¬¿´½ô
   iêi i i i½±®®»½¬á
   iéi ißi iÇ»-ò
   ièi iÏi iÌ«®²·²¹ ¾¿½µ ¬± Û¨¸·¾·¬ ïïô ¬¸» -»½±²¼ °¿¹» ±º
   içi i i i¬¸·- ´»¬¬»®ò
   ïði ißi iÌ¸·- ·- ïðò
   ïïi iÏi iÌ¸·- ·- ïðòi × ¬¸·²µ ·¬ù- ®·¹¸¬ ¬¸»®»ò
   ïîi ißi iÑ¸ô ±µ¿§ò
   ïíi i i i i i iÑµ¿§ò
   ïìi iÏi iÌ¸» -»½±²¼ ¬± ´¿-¬ °¿®¿¹®¿°¸ -¿§-ô þÌ±³ô × ¸¿ª»
   ïëi i i i²±¬·½»¼ ±² ÝÔßÜ ¬¸¿¬ ·² ¬¸» °¿-¬ ©»»µ §±« ¸¿ª»
   ïêi i i iº·´»¼ ²«³»®±«- Ó¿-¬»® Ý±²-±´·¼¿¬»¼ Ý±³°´¿·²¬-
   ïéi i i i²¿³·²¹ ¬¸·- ¹®±«° ±º Ü»º»²¼¿²¬-ò i Ú®±³ ¬¸»
   ïèi i i i·²º±®³¿¬·±² §±« °®»ª·±«-´§ °®±ª·¼»¼ ¬± ³»ô ·¬
   ïçi i i i·- ¿°°¿®»²¬ ¬¸¿¬ ²»¿®´§ ¿´´ô ·º ²±¬ ¿´´ô ±º ¬¸»
   îði i i iÐ´¿·²¬·ºº- ®»°®»-»²¬»¼ ±² ¬¸»-» ²»© Ó¿-¬»®
   îïi i i iÝ±²-±´·¼¿¬»¼ Ý±³°´¿·²¬- ©»®» »³°´±§»»- ©¸»®»
   îîi i i i¬¸»®» ©»®» ±¾ª·±«-´§ ²± ¬¿´½ »¨°±-«®»-òþ
   îíi i i i i i iÜ± §±« -»» ¬¸¿¬á
   îìi ißi i× -»» ¬¸¿¬ò
   îëi iÏi iÍ± ¿- ¿ ½´¿-- ®»°®»-»²¬¿¬·ª»ô ¼± §±« ¸¿ª» ¿²§


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïë

   iïi i i i«²¼»®-¬¿²¼·²¹ ¿¾±«¬ ©¸»¬¸»® Ó®ò Þ»ª¿² ¿²¼
   iîi i i iÓ®ò Ð´¿½·¬»´´¿ ¬¸·²µ ¬¸¿¬ °»±°´» ©¸± º·´»¼
   iíi i i i½¿-»- ¿¹¿·²-¬ ¬¿´½ ½±³°¿²·»- ·² ©¸·½¸ ¬¸»®» ©¿-
   iìi i i i²± ¬¿´½ »¨°±-«®» ¿®» °¿®¬ ±º ¬¸·- ½´¿--á
   iëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
   iêi i i iº±®³ò
   iéi ißi iß²¼ × ¸¿ª» ²± ·²º±®³¿¬·±² ±² ·¬ò
   ièi iÏi iÉ¸± ©±«´¼ µ²±© ¬¸¿¬ô Ó®ò Þ»ª¿²á
   içi ißi iÓ®ò Þ»ª¿² ¿²¼ñ±® Ó®ò Ý±®»²ò
   ïði iÏi iÞ«¬ §±« ¿²¼ × ¬¿´µ»¼ »¿®´·»® ¿¾±«¬ °»±°´»ô
   ïïi i i i±¬¸»® ½´¿-- ³»³¾»®-ô ¿²¼ ¾»·²¹ °¿·¼ ©¸»² ¬¸»§
   ïîi i i i©»®»²ù¬ ¸¿®³»¼òi Ü± §±« ®»³»³¾»® ©» ¸¿¼ ¬¸¿¬
   ïíi i i i©¸±´» ¾¿½µ ¿²¼ º±®¬¸ ¿¾±«¬ þ·ºþ ¿²¼ §±« ©»®»
   ïìi i i i¸¿ª·²¹ óó
   ïëi ißi iÇ»-ò
   ïêi iÏi ióó ¬®±«¾´» «²¼»®-¬¿²¼·²¹ ¬¸» þ·ºþá i Ñµ¿§ò
   ïéi i i i i i iÍ± ¸»®»ù- ¿ ¼±½«³»²¬ ·² ©¸·½¸ ·¬ù- -¿§·²¹
   ïèi i i i¬¸¿¬ °»±°´» ¿®» º·´·²¹ ½±³°´¿·²¬- ¿¹¿·²-¬ ¬¿´½
   ïçi i i i½±³°¿²·»- ©¸»®» ¬¸» °»±°´» ©¸»®» ¿½¬«¿´´§ ²»ª»®
   îði i i i»¨°±-»¼ ¬± ¬¿´½òi Ü± §±« -»» ¬¸¿¬á
   îïi ißi iÌ¸¿¬ù- ©¸¿¬ ·¬ -¿§-ò
   îîi iÏi iÑµ¿§òi ß²¼ -± ²±© ©» ¼±²ù¬ ¸¿ª» ¿ ¸§°±¬¸»¬·½¿´ô
   îíi i i i©» ¸¿ª» ¿ -·¬«¿¬·±² ©¸»®» §±« ¿- ¿ ½´¿--
   îìi i i i®»°®»-»²¬¿¬·ª» µ²±© °»±°´» ¿®» º·´·²¹ ½¿-»- ·²
   îëi i i i©¸·½¸ ¬¸»§ ©»®» ²»ª»® »ª»² »¨°±-»¼ ¬± ¬¿´½ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïê

   iïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
   iîi i i iÉ¸»®» ¼±»- ·¬ -¿§ ¬¸¿¬á
   iíi iÏi iÜ± ¬¸±-» °»±°´» ¹»¬ ½±³°»²-¿¬·±² ¿- °¿®¬ ±º ¬¸»
   iìi i i i½´¿--á
   iëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±
   iêi i i iº±®³ò
   iéi ißi iÇ±«ù®» -¿§·²¹ ¬¸¿¬ ¾¿-»¼ «°±² ¬¸» ¼±½«³»²¬¿¬·±²
   ièi i i i¬¸¿¬ ¬¸»-» °¿®¬·½«´¿® °´¿·²¬·ºº- ©»®» ²±¬ óó
   içi iÏi iÛ¨°±-»¼ ¬± ¬¿´½ò
   ïði ißi iÛ¨°±-»¼ ¬± ¬¿´½òi Í± ©¸¿¬ ¼± §±« ©¿²¬ º®±³ ³»á
   ïïi i i iÉ¸¿¬ ¿®» §±« ¿-µ·²¹á
   ïîi iÏi iÉ»´´ô ¿- ¬¸» ½´¿-- ®»°®»-»²¬¿¬·ª»ô ´»¬ù- -¿§
   ïíi i i i§±« ¸¿ª» ¿ °·´» ±º ³±²»§ ¿¬ ¬¸» »²¼ò
   ïìi ißi iË¸ó¸«¸ò
   ïëi iÏi iÔ»¬ù- -¿§ §±« ¸¿ª» ¿ ³·´´·±² ¼±´´¿®- ¿²¼ §±«
   ïêi i i i¸¿ª» ¬± ¼·ª·¼» ·¬ «° ¿³±²¹-¬ ½´¿-- ³»³¾»®-ò i Í±
   ïéi i i i¼± §±« ¬¸·²µ ¬¸¿¬ °»±°´» ©¸± ¿®» ½´¿-- ³»³¾»®-
   ïèi i i i©¸± ©»®» ¿½¬«¿´´§ ²»ª»® »¨°±-»¼ ¬± ¬¿´½ ¼»-»®ª»
   ïçi i i i¬± ¹»¬ -±³» ³±²»§á
   îði ißi i×º ¬¸»§ ©»®» ·² º¿½¬ ²»ª»® »¨°±-»¼ ¬± ¬¿´½ô ¾«¬
   îïi i i i¾¿-»¼ «°±² ¬¸» ¾¿-·- ±º ¬¸» ´¿©-«·¬ô ×
   îîi i i i®»¿´´§ óó × ®»¿´´§ ¼±²ù¬ -»» ³» ¾»·²¹ ¿¾´» ¬±
   îíi i i i¿²-©»® ¬¸¿¬ ¯«»-¬·±²ô × ®»¿´´§ ¼±²ù¬ò
   îìi iÏi iÉ»´´ô ´»¬ù- -¿§ óó ´»¬ù- °«¬ ·¬ ¬¸» ±¬¸»® ©¿§ò
   îëi ißi iÑµ¿§ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïé

   iïi iÏi iÚ±® °»±°´» ©¸± ©»®» »¨°±-»¼ ¬± ¿-¾»-¬±- ¿²¼
   iîi i i i¬¿´½ô ´·µ» Ù»±®¹·¿ óó Í±«¬¸»®²ù- ¬¿´½ óó
   iíi ißi iÎ·¹¸¬ò
   iìi iÏi ióó ¾»½¿«-» ©» ²±© µ²±© ¬¸¿¬ Í±«¬¸»®² Ì¿´½
   iëi i i iÝ±³°¿²§ ·- ®·º» ©·¬¸ ¿-¾»-¬±-ò
   iêi ißi iÎ·¹¸¬ò
   iéi iÏi iÑµ¿§òi Í± -±³»¾±¼§ ©±®µ- ©·¬¸ ¬¸¿¬ ¬¿´½ º±® îð
   ièi i i i§»¿®- ¿²¼ ¼»ª»´±°- ³»-± ¿²¼ §±« ¸¿ª» ¿ ´·³·¬»¼
   içi i i i¿³±«²¬ ±º ³±²»§ ¿¬ ¬¸» »²¼òi Ü± §±« ¬¸·²µ ¬¸»
   ïði i i i³»-± ª·½¬·³ -¸±«´¼ ¹»¬ ´»-- ³±²»§ ¾»½¿«-»
   ïïi i i i°»±°´» ©¸± ©»®» ²»ª»® »¨°±-»¼ ¬± ¬¿´½ ¿®» ¹±·²¹
   ïîi i i i¬± ³¿µ» ½´¿·³-ái Ø±© ·- ¬¸¿¬ º¿·®á
   ïíi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¬±
   ïìi i i iº±®³ò
   ïëi ißi i×ù³ -¬·´´ ²±¬ ½»®¬¿·² ¸±© × ©±«´¼ º¿½¬«¿´´§ ¾»
   ïêi i i i¿¾´» ¬± ¿²-©»® ¿¾±«¬ º¿·®²»--ô ·² °¿®¬·½«´¿® óó
   ïéi i i i§±« µ²±©ô ©» µ²±© ¬¸¿¬ ¬¸» ¾¿-·- ·- ·º ¬¸»§ù®»
   ïèi i i i»¨°±-»¼ ¬± ¬¿´½òi Þ«¬ ¬± ³»ô ¿¹¿·²ô ¬¸·- ·-
   ïçi i i i©¸¿¬ × -¿§ô ¬¸» -«°°±-·¬·±² ¯«»-¬·±²-ô × ³»¿²ô
   îði i i i× ¶«-¬ ¼±²ù¬ -»» ¸±© × ½¿² º¿·®´§ ¿²-©»® ¬¸»³ò
   îïi iÏi iÞ«¬ §±«ù®» ¬¸» ½´¿-- ®»°®»-»²¬¿¬·ª»ò
   îîi ißi i×ù³ ¬¸» ½´¿-- ®»°®»-»²¬¿¬·ª» ±² ¬¸·- °¿®¬·½«´¿®
   îíi i i i½¿-»òi ß®» §±« -¿§·²¹ ¬¸¿¬ ·² ¬¸·- °¿®¬·½«´¿®
   îìi i i i½¿-» ©»ù®» ²±¬ ¬¿´µ·²¹ ¿¾±«¬ ¾»·²¹ ¸¿®³»¼ ¾§
   îëi i i i¿-¾»-¬±-á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïè

   iïi iÏi i×ù³ ¿-µ·²¹ §±« ¿- ¿ ½´¿-- ®»° ¼± §±« ¬¸·²µ ¬¸¿¬
   iîi i i i°»±°´» ©¸± ©»®» ²»ª»® »¨°±-»¼ ¬± ¬¿´½ óó
   iíi ißi i×º ¬¸»§ ©»®» ²»ª»® »¨°±-»¼ ¬± ¬¿´½ô ¾¿-»¼ «°±²
   iìi i i i¿½½»°¬»¼ °®¿½¬·½»-ô ¬¸»² ²±ô × ¼±²ù¬ ¬¸·²µ ¬¸»§
   iëi i i i©±«´¼ ¾» »²¬·¬´»¼ ¬± ½±³°»²-¿¬·±²ô ¾«¬ ¬± ¿¼¼
   iêi i i i¬± ¬¸¿¬ô × ¼±²ù¬ -»» ¸±© × ®»¿´´§ ©±«´¼ ³¿µ»
   iéi i i i¬¸¿¬ ¼»¬»®³·²¿¬·±²ò
   ièi iÏi iÇ±« ©±«´¼ ²»»¼ ¬¸» Ý±«®¬ ¬± ¸»´° §±«á
   içi ißi iÌ¸»®» §±« ¹±òi Ç»-ò
   ïði iÏi iÑµ¿§òi ß²¼ ·º ¬¸» Ý±«®¬ ©»®» ¬± ¼»¬»®³·²» ¬¸¿¬
   ïïi i i i°»±°´» ©»®» ²»ª»® »¨°±-»¼ ¬± ³§ ½´·»²¬ù- ¬¿´½ô
   ïîi i i iÛ³¬¿´ ¬¿´½ô ¿²¼ ¬¸» Ý±«®¬ ¼»¬»®³·²»¼ ¬¸¿¬ô §±«
   ïíi i i i©±«´¼ ¿¹®»» ¬¸¿¬ô §»¿¸ô ¬¸»§ -¸±«´¼²ù¬ ¹»¬
   ïìi i i i³±²»§ »·¬¸»®á
   ïëi ißi i×º ¬¸» Ý±«®¬ ¼»¬»®³·²»¼ ¬¸¿¬á
   ïêi iÏi iÇ»-òi Ý±®®»½¬á
   ïéi ißi iÇ»-ò
   ïèi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïí ©¿- ³¿®µ»¼ò÷
   ïçi iÏi iÔ»¬ù- ¹± ¬± Ü Û¨ò ïíò
   îði ißi iÑµ¿§ò
   îïi iÏi iÜ Û¨ò ïí ·- ¬¸» ¼»°±-·¬·±² ±º Õ¿¬¸®§² Ü¿®²»´´
   îîi i i i±² Ö«²» ïèô îððïò
   îíi ißi iÑµ¿§ò
   îìi iÏi iÑµ¿§ò
   îëi ißi iÌ¸» ¼¿¬» ¿¹¿·²á


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïïç

   iïi iÏi iÖ¿²«¿®§ ïèô îððïò
   iîi ißi iÖ¿²«¿®§ò
   iíi iÏi iÇ»-ô -±®®§ò
   iìi ißi i×¬ ©±«´¼²ù¬ ¸¿ª» ¾»»² Ö«²»ô ²±ò
   iëi iÏi iÍ±®®§òi Ý±«´¼ §±« ¬«®² ¬± °¿¹» ìéá
   iêi ißi iìéá
   iéi iÏi iÇ»°ò
   ièi ißi iÑµ¿§ò
   içi iÏi iß²¼ ·¬ù- ¬¸»·® ¯«»-¬·±² ¬± Ó-ò Ü¿®²»´´ ¿¾±«¬
   ïði i i i¸»® »¨°±-«®» ¬± ®»¿´ ¿-¾»-¬±- ·² ¬¸» ÞÚÙ±±¼®·½¸
   ïïi i i i°´¿²¬ò
   ïîi i i i i i iÔ·²» êô ¯«»-¬·±²ô þÉ¸¿¬ ©»®» ·² ¬¸» ¾¿¹-ô
   ïíi i i i³¿ù¿³áþ
   ïìi i i i i i iß²-©»®ô þß-¾»-¬±-òþ
   ïëi i i i i i iÏ«»-¬·±²ô þÖ«-¬ ®¿© ¿-¾»-¬±-áþ
   ïêi i i i i i iß²-©»®ô þÎ¿© ¿-¾»-¬±-ô ëðó°±«²¼ ¾¿¹-ò
   ïéi i i iß²¼ ·¬ ©¿- ©®·¬¬»² ®·¹¸¬ ±² ¬¸» ¾¿¹- ©¸¿¬ ·¬
   ïèi i i i©¿-ô ¸»½µô ©» ¼·¼²ù¬ µ²±© ¬¸¿¬ ·¬ ©¿- ¼¿²¹»®±«-
   ïçi i i i±® ¿²§¬¸·²¹ ´·µ» ¬¸¿¬òþ
   îði i i i i i iÜ± §±« -»» ¬¸¿¬á
   îïi ißi iÇ»-ò
   îîi iÏi iÑµ¿§òi Ç±« «²¼»®-¬±±¼ ¬¸¿¬ Ó-ò Ü¿®²»´´ ©¿- ·²
   îíi i i iº¿½¬ »¨°±-»¼ ¬± ®»¿´ ¿-¾»-¬±- ·² ¬¸» ÞÚÙ±±¼®·½¸
   îìi i i i°´¿²¬á
   îëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±² ¿- ¬±


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîð

   iïi i i iº±®³ò
   iîi ißi iÇ»-ò
   iíi iÏi iß²¼ ¬¸¿¬ù- °¿®¬ ±º ¬¸» ®»¿-±² ©¸§ º±® ¬¸» ´¿-¬
   iìi i i iïë ±® -± §»¿®- §±«ùª» ¸»´°»¼ Ó®ò Þ»ª¿² ®»½±ª»®
   iëi i i i³±²»§ º®±³ ª¿®·±«- ½±³°¿²·»- º±®
   iêi i i i¿-¾»-¬±-ó®»´¿¬»¼ ·²¶«®·»-ô ½±®®»½¬á
   iéi ißi iÌ¸¿¬ù- ½±®®»½¬ò
   ièi iÏi iÒ±© ©±«´¼ §±« ¬«®² ¬± °¿¹» ïïíá
   içi ißi i×² ¬¸» -¿³» ¼±½«³»²¬á
   ïði iÏi iÇ»-ô ³¿ù¿³ò
   ïïi i i i i i iß²¼ ´·²» îíô °¿¹» ïïí ¿¬ ¬¸» ¾±¬¬±³ò
   ïîi ißi iË¸ó¸«¸ò
   ïíi iÏi i×¬ -¿§-ô þÜ± §±« ¼®¿© ¿ ¼·-¬·²½¬·±²ô ³¿ù¿³ô
   ïìi i i i¾»¬©»»² -±¿°-¬±²» ¿²¼ ¬¿´½áþ
   ïëi i i i i i iß²-©»®ô þß²¼ ¬¿´½«³áþ
   ïêi i i i i i iÏ«»-¬·±²ô þÌ¿´½ô ¼± §±« µ²±© ©¸¿¬ ¬¿´½
   ïéi i i i·-áþ
   ïèi i i i i i iß²-©»®ô þÒ±òþ
   ïçi i i i i i iÏ«»-¬·±²ô þÑµ¿§òþ
   îði i i i i i iþÇ±«ù®» ¬¿´µ·²¹ ¿¾±«¬ ¬¿´½«³áþ
   îïi i i i i i iÏ«»-¬·±²ô þ×ù³ ¬¿´µ·²¹ ¿¾±«¬ ¿ ³¿¬»®·¿´
   îîi i i i¬¸¿¬ ·- «-»¼ ·² -±³» ·²¼«-¬®·»- ¬¸¿¬ ·-
   îíi i i i®»º»®®»¼ ¬± ¿- ¬¿´½ô ÌóßóÔóÝòþ
   îìi i i i i i iß²-©»®ô þ×ùª» ²»ª»® ¸»¿®¼ ±º ·¬òþ
   îëi i i i i i iÜ± §±« -»» ¬¸¿¬á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîï

   iïi ißi iÇ»-ò
   iîi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïì ©¿- ³¿®µ»¼ò÷
   iíi iÏi iß²¼ ¬¸»² ·º ©» ¹± ¬± Ü Û¨ò ïìô ¬¸» ²»¨¬
   iìi i i i¼»°±-·¬·±²ô Ö¿²«¿®§ îîô îððïò
   iëi ißi iÑµ¿§ò
   iêi iÏi iß²¼ ·º §±« ¬«®² ¬± °¿¹» îîêô × ©¿²¬ ¬± ®»º»®
   iéi i i i§±« ¬± ¿ -¬¿¬»³»²¬ ¾§ Ó®ò Þ»ª¿² ¿¬ ¬¸» ¾±¬¬±³ò
   ièi ißi iÐ¿¹» îîêá
   içi iÏi iÇ»-ò
   ïði ißi iÑµ¿§ò
   ïïi iÏi iÓ®ò Þ»ª¿² -¿§-ô þÞ®»²¬ô ©» -¬·°«´¿¬»¼ ¿²¼ ©»
   ïîi i i i©·´´ -¬·°«´¿¬» ¿¹¿·² ¬¸¿¬ -¸» ¼±»-²ù¬ µ²±© ¬¸»
   ïíi i i i¾®¿²¼ ²¿³»ô ³¿²«º¿½¬«®»®ô ¼·-¬®·¾«¬±® ±®
   ïìi i i i-«°°´·»® ±º ¿²§ ·²-«´¿¬·±² °®±¼«½¬-ô ¿- ©»´´ ¿-
   ïëi i i i¿²§ -±¿°-¬±²» °®±¼«½¬- ¿- ©»´´òþ
   ïêi i i i i i iÜ± §±« -»» ¬¸¿¬á
   ïéi ißi iÒ±òi É¸»®» ·- ·¬ái Ç±« -¿·¼ ±² îîêá
   ïèi iÏi iÎ·¹¸¬ ¿¬ ¬¸» ¾±¬¬±³ò
   ïçi ißi iÑ¸ô ±µ¿§òi Ñµ¿§ò
   îði i i i i i iÇ»-ò
   îïi iÏi iÜ±»- ¬¸¿¬ ®»º®»-¸ §±«® ®»½±´´»½¬·±² ¿- ¬±
   îîi i i i©¸»¬¸»® §±«® ³±¬¸»® ¼·¼²ù¬ µ²±© ¬¸» ²¿³» ±º ¿²§
   îíi i i i±º ¬¸» ¬¿´½ ³¿²«º¿½¬«®»®- ¬¸¿¬ -¸» ©¿- »¨°±-»¼
   îìi i i i¬±á
   îëi ißi iß¹¿·²ô × ©¿- ²±¬ °¿®¬ ±º ¬¸±-» ½±²ª»®-¿¬·±²-ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîî

   iïi iÏi iÉ±«´¼ Ó®ò Þ»ª¿² ¾» ¬¸» ¾»-¬ °»®-±² ¬± ¬¿´µ ¬±á
   iîi ißi iÇ»-ô ¸» ©±«´¼ ¾»ò
   iíi iÏi i×¬ù- ¬·³» º±® ´«²½¸ò
   iìi ißi iÑµ¿§ò
   iëi iÏi iÉ»ù®» ¬¿µ·²¹ ¿ ´«²½¸ ¾®»¿µò
   iêi ißi iÑµ¿§ò
   iéi iÏi iÑµ¿§òi ×- ¬¸¿¬ ±µ¿§ ©·¬¸ §±«á
   ièi ißi iÌ¸¿¬ù- º·²» ©·¬¸ ³»ò
   içi iÏi iÑµ¿§òi Ù®»¿¬ò
   ïði i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ô»¬ù- ¹± ±ºº
   ïïi i i i¬¸» ®»½±®¼ò
   ïîi i i i i i i i i i iÌØÛ Ê×ÜÛÑÙÎßÐØÛÎæ Ñºº ¬¸» ®»½±®¼ò
   ïíi i i iÌ¸» ¬·³» ·- ïîæíðò
   ïìi i i i i i i i i i iøÎ»½»-- ¬¿µ»²ò÷
   ïëi i i i i i i i i i iÌØÛ Ê×ÜÛÑÙÎßÐØÛÎæ É»ù®» ¾¿½µ ±²
   ïêi i i i¬¸» ®»½±®¼òi Ì¸» ¬·³» ·- ïæðèò
   ïéi iÞÇ ÓÎò ßÍÍßÚæ
   ïèi iÏi iÙ±±¼ ¿º¬»®²±±²ò
   ïçi ißi iÙ±±¼ ¿º¬»®²±±²ò
   îði iÏi iÜ·¼ §±« ¼·-½«-- §±«® ¼»°±-·¬·±² ¬»-¬·³±²§ ±ª»®
   îïi i i i´«²½¸á
   îîi ißi iÒ±ò
   îíi iÏi iÜ·¼ §±« ®»ª·»© ¿²§ ¼±½«³»²¬- óó
   îìi ißi iÒ±ò
   îëi iÏi ióó ±ª»® ´«²½¸ái Ñµ¿§ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîí

   iïi i i i i i i×ù³ ¹±·²¹ ¬± -¸±© §±« ¿¹¿·² Ü»º»²¼¿²¬-ù
   iîi i i iÛ¨¸·¾·¬ ê ¿²¼ Ü»º»²¼¿²¬-ù Û¨¸·¾·¬ èô ¬¸»
   iíi i i i½±®®»-°±²¼»²½» ¬± ¿²¼ º®±³ Þ»ª¿² ®»¹¿®¼·²¹
   iìi i i i-»¬¬´»³»²¬ ©·¬¸ -»ª»² ¬±° ¼»º»²¼¿²¬- ¿²¼
   iëi i i i®»¹¿®¼·²¹ ¬¸» Õ¿¬¸®§² Ü¿®²»´´ ½±³°´¿·²¬ò
   iêi ißi iÇ±« -¿·¼ êá
   iéi iÏi i×ù³ ¹±·²¹ ¬± ¹·ª» ·¬ ¬± §±«ò
   ièi ißi iÑµ¿§ò
   içi iÏi iÍ± ´»¬ù- -¬¿®¬ ©·¬¸ Ü Û¨ò êò
   ïði ißi iß´´ ®·¹¸¬ò
   ïïi iÏi iÜ Û¨ò ê ·- Ú»¾®«¿®§ ïëô îððï ¿²¼ ·¬ù- »²¬·¬´»¼
   ïîi i i iÎ»æi Õ¿¬¸®§² Ü¿®²»´´ Ý±³°´¿·²¬òi Ü± §±« -»»
   ïíi i i i¬¸¿¬á
   ïìi ißi iÇ»-ò
   ïëi iÏi iÍ± ©±«´¼ ¬¸·- ¾» °¿®¬ ±º §±«® º·´»-á i É±«´¼
   ïêi i i iÓ®ò Þ»ª¿² ¸¿ª» -»²¬ §±« ¿ ½±°§ ±º ¬¸·-á
   ïéi ißi iÒ±òi Ì¸·- ©¿- Ú»¾®«¿®§ ïëô ùðïòi Ó±³ °¿--»¼ óó
   ïèi iÏi iÎ·¹¸¬ò
   ïçi ißi ióó ·² Ö«²» ±º ùðïòi Í± ·¬ ©±«´¼ ¸¿ª» ¾»»² ©·¬¸
   îði i i i¸»®ò
   îïi iÏi iÞ«¬ ¼·¼ §±« ¬¿µ» ¸»® º·´»-ô ¸»® ´·¬·¹¿¬·±²
   îîi i i iº·´»- óó
   îíi ißi iÒ±ò
   îìi iÏi ióó ©¸»² -¸» °¿--»¼á
   îëi ißi iÒ±ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîì

   iïi iÏi iÉ¸»®» ¿®» ¬¸»§á
   iîi ißi i× ¬¸·²µ ¬¸»§ù®» ¿¬ ¬¸» º¿³·´§ ¸±³»ò i ×ù³ ²±¬
   iíi i i i-«®»òi ×ù³ ²±¬ -«®»ô ¾«¬ × ¬¸·²µ ¬¸»§ù®» ¿¬ ¬¸»
   iìi i i iº¿³·´§ ¸±³» ©¸»®» ±²» ±º ³§ -·-¬»®- ´·ª»-ò
   iëi iÏi iÑµ¿§òi Ü± ¬¸»§ -¬·´´ »¨·-¬á
   iêi ißi iÑ¸ô §»-òi Ç»-ò
   iéi iÏi iÑµ¿§òi ß²¼ ½±«´¼ §±« óó ½±«´¼ §±« ©±®µ ©·¬¸
   ièi i i iÓ®ò Ý±®»² ¬± ¹»¬ ¬¸±-» óó ¬± ¸¿ª» -±³»¾±¼§
   içi i i i®»ª·»© ¬¸±-» ¼±½«³»²¬-á
   ïði ißi iÇ»-ô × ©±«´¼ ¾» ¿¾´» ¬± ¼± ¬¸¿¬ò
   ïïi iÏi iÙ®»¿¬òi Ì¸¿²µ §±«ò
   ïîi ißi iË¸ó¸«¸ò
   ïíi iÏi iÒ±©ô ¿²¼ ¿´-± óó -± §±« -»» ·¬ù- »²¬·¬´»¼
   ïìi i i iÕ¿¬¸®§² Ü¿®²»´´ Ý±³°´¿·²¬á
   ïëi ißi iË¸ó¸«¸ò
   ïêi iÏi iÌ¸» ®» ´·²»ò
   ïéi ißi iË¸ó¸«¸ò
   ïèi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ó®ò Ý±®»² ¿²¼
   ïçi i i iÓ®ò Ð´¿½·¬»´´¿ô ¼± §±« ¸¿ª» ¿²§ ®»¿-±² ©¸§ ¬¸·-
   îði i i i©¿-²ù¬ °®±¼«½»¼ ±® ´±¹¹»¼ái Ü Û¨ò êòi Ì¸»
   îïi i i i´»¬¬»® »²¬·¬´»¼ Õ¿¬¸®§² Ü¿®²»´´ Ý±³°´¿·²¬ò
   îîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ×- ¬¸·- êá
   îíi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ç»-ô ¬¸¿¬ù- êò
   îìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç±«® ¯«»-¬·±²
   îëi i i i·-ô ×ù³ -±®®§ô ©¸¿¬á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîë

   iïi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i É¸§ ¬¸¿¬ ©¿-²ù¬
   iîi i i i°®±¼«½»¼ ±® ´±¹¹»¼òi × ¶«-¬ ½¸»½µ»¼ ±ª»® ¬¸»
   iíi i i i´«²½¸ ¾®»¿µ ¿²¼ ·¬ ¸¿-²ù¬ ¾»»² °®±¼«½»¼ ¿²¼ ·¬
   iìi i i i¸¿-²ù¬ ¾»»² ´±¹¹»¼ò
   iëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ×ù´´ ¸¿ª» ¬±
   iêi i i i´±±µ ·²¬± ·¬ô Ù»²»ô × ¼±²ù¬ µ²±©ò
   iéi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ñµ¿§ò
   ièi iÏi iß²¼ ¿´-±ô ¬¸»²ô Ü Û¨ò èô ©¸·½¸ ×ù³ ¹±·²¹ ¬± °«¬
   içi i i i¿´-± ·² º®±²¬ ±º §±«ô ©¸·½¸ ¿¹¿·²ô ·- Þ»ª¿²
   ïði i i i½±®®»-°±²¼»²½» -»¬¬´»³»²¬ ©·¬¸ -»ª»² ¬¿´½
   ïïi i i i¼»º»²¼¿²¬-ò
   ïîi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ß²¼ ¿- ©» -¿·¼ô
   ïíi i i iÓ-ò Ü¿®²»´´ù- ³»²¬·±²»¼ ¬¸®±«¹¸±«¬ ¬¸» ´»¬¬»®ô
   ïìi i i i¿²¼ × ¶«-¬ ¼±²ù¬ óó ×ù³ ²±© ½±²½»®²»¼ò
   ïëi i i i i i i×¬ ¶«-¬ ¼¿©²»¼ ±² ³» ±ª»® ´«²½¸ ¬¸¿¬ ¬¸·-
   ïêi i i i©¿-²ù¬ °®±¼«½»¼ ±® ´±¹¹»¼ ¿²¼ ¸±© ½±«´¼ ¬¸¿¬
   ïéi i i i¾»ái Ì¸»®»ù- ±²´§ -·¨ ²¿³»¼ °´¿·²¬·ºº- ¿²¼ ¬¸·-
   ïèi i i i·- óó §±« ³»¬ ©·¬¸ Þ»ª¿² °®·±® ¬± ¬¸»
   ïçi i i i½±³°´¿·²¬ô §±«ùª» ³»¬ ©·¬¸ Þ»ª¿² -·²½»ò i Í¸» óó
   îði i i iÞ»ª¿² ·- Ó-ò Ø±´´»§ù- ´¿©§»®òi Ø» ¸¿- ¿´´ ¬¸»
   îïi i i iº·´»-òi Ø±© ½±«´¼ ·¬ ¾» ¬¸¿¬ ¬¸·- ·-²ù¬
   îîi i i i°®±¼«½»¼ ±® ´±¹¹»¼á
   îíi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ù»²»ô ©»ù´´
   îìi i i i¬¿µ» ¿ ´±±µ ·²¬± ·¬ô ©¸»¬¸»® ¬¸» ¼±½«³»²¬ -¬·´´
   îëi i i i»¨·-¬- ±® ²±¬ô ¾»½¿«-» ±º ¬¸» ¼¿¬» ¿²¼ ¬¸»


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
Case 2:11-cv-01754-BRM-ESK Document 303-1 Filed 05/01/17 Page 127 of 192 PageID:
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîê

   iïi i i i¬·³·²¹ ±º ¬¸» ¬¸·²¹-ô ×ù´´ ¸¿ª» ¬± ´±±µ ·²¬± ·¬
   iîi i i i¿²¼ -»»ò
   iíi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ß²¼ ©·´´ §±«
   iìi i i i¿´-± ¿¹®»» ¬± ´±±µ ¿¬ Ó-ò Ø±´´»§ù- ¼±½«³»²¬-ô
   iëi i i i¾±¬¸ ¿¬ ¸»® ¸±³» ¿²¼ ¿¬ ¬¸» º¿³·´§ ¸±³»ô ¬¸»
   iêi i i i«²¼»®´§·²¹ óó × ¸»-·¬¿¬» ¬± -¿§ ©¸¿¬ × ®»¿´´§
   iéi i i i¬¸·²µô ¾«¬ ¸±© ½±«´¼ ¬¸»§ ²±¬ ¾» »ª»² ®»ª·»©»¼ô
   ièi i i i§»¬ ¿´±²» °«¬ ¿-·¼» -± ¬¸¿¬ ²±¬¸·²¹ ¸¿°°»²- ¬±
   içi i i i¬¸»³ái ×¬ù- ±²» ±º ¬¸» ²¿³»¼ °´¿·²¬·ºº- ·² ¬¸»
   ïði i i i½¿-»ò
   ïïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ù»²»ô ©»ù´´
   ïîi i i i¬¿´µ ¿¾±«¬ ¬¸·- ´¿¬»®ò
   ïíi iÞÇ ÓÎò ßÍÍßÚæ
   ïìi iÏi iÒ±©ô §±« ³»²¬·±²»¼ ©¸»² §±« ³»¬ ©·¬¸
   ïëi i i iÓ®ò Ð´¿½·¬»´´¿ ¿²¼ Ó®ò Þ»ª¿² ©¸»² §±« º·®-¬
   ïêi i i i¸»¿®¼ ¿¾±«¬ ¬¸» ½¿-» ¿²¼ §±« ¬±±µ ²±¬»- ¬¸¿¬
   ïéi i i i§±« ¸±°»º«´´§ -¬·´´ ¸¿ª» ¿¬ ¸±³»ô ¼± ¬¸±-»
   ïèi i i i²±¬»- ¸¿ª» ©¸± »´-» ©¿- ¿¬ ¬¸» ³»»¬·²¹á
   ïçi ißi iÒ±ò
   îði iÏi iÑµ¿§òi Ø±© ¼·¼ §±« º·²¼ ±«¬ ¿¾±«¬ ¬¸» ³»»¬·²¹á
   îïi ißi i× ©¿- »·¬¸»® ½±²¬¿½¬»¼ ¾§ °¸±²» ±® ³¿·´ ¬± ½±³»
   îîi i i i¬± ¬¸» ³»»¬·²¹ò
   îíi iÏi iÞ§ Ó®ò Þ»ª¿² ±® Ó®ò Ð´¿½·¬»´´¿á
   îìi ißi iÞ§ Ó®ò Þ»ª¿²ù- ±ºº·½»ò
   îëi iÏi iÜ·¼ §±« µ²±© ©¸¿¬ ¬¸» ¬±°·½ ±º ¬¸» ³»»¬·²¹ ©¿-á


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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Case 2:11-cv-01754-BRM-ESK Document 303-1 Filed 05/01/17 Page 128 of 192 PageID:
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîé

   iïi ißi iÒ±¬ ¿¬ ¬¸» ¬·³» ¬¸¿¬ × ®»½»·ª»¼ ²±¬·½»ò
   iîi iÏi iØ¿ª» §±« »ª»® ¾»»² ·² Ó®ò Ð´¿½·¬»´´¿ù- ±ºº·½»-
   iíi i i i·² Ð»²²-§´ª¿²·¿ ±® Ò»© Ö»®-»§á
   iìi ißi iÒ±ò
   iëi iÏi iß®» §±« ©·´´·²¹ ¬± ½±³» ¬± Ò»© Ö»®-»§ º±® ½±«®¬
   iêi i i i°®±½»»¼·²¹-á
   iéi ißi iÇ»-òi É» ¼·-½«--»¼ ¬¸¿¬ò
   ièi iÏi iÑµ¿§òi Ø¿ª» §±« ¸¿¼ ¿²§ ³»»¬·²¹- ©·¬¸ ¬¸» ½´¿--
   içi i i i®»°®»-»²¬¿¬·ª»- ©·¬¸±«¬ ¬¸» ¿¬¬±®²»§- °®»-»²¬á
   ïði ißi iÒ±¬ ©·¬¸±«¬ ¿¬¬±®²»§- °®»-»²¬ô ²±ò
   ïïi iÏi iÜ± §±« µ²±© ©¸»¬¸»® ¿²§ ±º ¬¸» ±¬¸»®
   ïîi i i i¿¬¬±®²»§- óó ©·¬¸¼®¿©²ò
   ïíi i i i i i iÜ± §±« µ²±© ©¸»¬¸»® ¿²§ ±º ¬¸» ±¬¸»®
   ïìi i i i½´¿-- ®»°®»-»²¬¿¬·ª»- ¸¿ª» ©®·¬¬»² º»»
   ïëi i i i¿¹®»»³»²¬- ©·¬¸ Ó®ò Ð´¿½·¬»´´¿á
   ïêi ißi i× ©±«´¼ ²±¬ ¸¿ª» ¬¸¿¬ ·²º±®³¿¬·±²ò
   ïéi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ×ù´´ ®»·¬»®¿¬»
   ïèi i i i¬¸·- ®»¯«»-¬òi É»ùª» ´±±µ»¼ ±ª»® ´«²½¸ô ¿²¼ ¬¸»
   ïçi i i i©®·¬¬»² º»» ¿¹®»»³»²¬ô ©¸·½¸ × «²¼»®-¬¿²¼ ·- ¿
   îði i i i®»¯«·®»³»²¬ «²¼»® Ò»© Ö»®-»§ô ¾«¬ §±« ½¿² ¬»´´
   îïi i i i³» óó
   îîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç»-ô ¾«¬ óó
   îíi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i óó ·- ²»·¬¸»®
   îìi i i i´±¹¹»¼ô ²±® °®±¼«½»¼ò
   îëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ò±® ¿®» ¬¸»§


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîè

   iïi i i iº·´»¼ ©·¬¸ ¬¸» Ý±«®¬ «²¬·´ ¬¸» Ý±«®¬ ¿-µ- ¬±
   iîi i i i-»» ¬¸»³ò
   iíi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ü± §±« ¸¿ª»
   iìi i i i±²»á
   iëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i É¸¿¬ô ¿ º»»
   iêi i i i¿¹®»»³»²¬á
   iéi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ç»¿¸ò
   ièi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç»-òi Ó§
   içi i i i«²¼»®-¬¿²¼·²¹ ©» ¼±ô §»-ò
   ïði i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ñµ¿§ò
   ïïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñµ¿§ò
   ïîi iÏi iÍ± §±« ¼± ¸¿ª» ¿ ©®·¬¬»² º»» ¿¹®»»³»²¬ò
   ïíi ißi iÑµ¿§ò
   ïìi iÏi iÑµ¿§ò
   ïëi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ý±«´¼
   ïêi i i iÓ-ò Ø±´´»§ ¸¿ª» ¿ ½±°§ ±º ·¬á
   ïéi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Í¸» °®±¾¿¾´§
   ïèi i i i¼±»- ¾«¬ ¼±»-²ù¬ ®»½±´´»½¬ò
   ïçi ißi iÌ¸¿¬ ½±«´¼ °±--·¾´§ ¾» ¬¸» ½¿-»ò
   îði iÏi iÑµ¿§òi Ü± §±« ¸¿ª» ¿²§ «²¼»®-¬¿²¼·²¹ ±º ¬¸»
   îïi i i i¬»®³-á
   îîi ißi iË²¼»®-¬¿²¼·²¹ ¾¿-»¼ ±² ¬¸¿¬ °¿®¬·½«´¿® º»»
   îíi i i i¿¹®»»³»²¬ ±® ¼± × «²¼»®-¬¿²¼ ¿ º»» ¿¹®»»³»²¬á
   îìi iÏi iÉ»´´ô ´»¬ù- ¼± ¾±¬¸ò
   îëi ißi iÑµ¿§ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïîç

   iïi iÏi iÜ± §±« «²¼»®-¬¿²¼ ¿ º»» ¿¹®»»³»²¬á
   iîi ißi iÇ»-ô × ¼±ò
   iíi iÏi iÉ¸¿¬ù- ¬¸¿¬á
   iìi ißi iÌ¸» º»» ¿¹®»»³»²¬ ·- ¬¸» ¼±½«³»²¬ ¾»¬©»»² ¿²
   iëi i i i¿¬¬±®²»§ ¿²¼ ½´·»²¬ô ±µ¿§ô -¬·°«´¿¬·²¹ ¸±©
   iêi i i i¬¸»§ù®» ¹±·²¹ ¬± ¸¿²¼´» ¬¸» ½¿-» ¿²¼ °±--·¾´§
   iéi i i i¬¸» ¿³±«²¬ ±® ·º ·¬ù- ½±²¬·²¹»²½§ò
   ièi iÏi iÝ±²¬·²¹»²½§òi ß²¼ ¼± §±« µ²±© ©¸»¬¸»® ¬¸»
   içi i i iÉ·´´·¿³- ½¿-» ·- ¿ ½±²¬·²¹»²½§ ½¿-»á
   ïði ißi i×ù³ ²±¬ ½»®¬¿·²òi × ®»¿´´§ ¿³ ²±¬ ½»®¬¿·²ò               ×
   ïïi i i i¼±²ù¬ ®»½¿´´ óó × ¶«-¬ ¼±²ù¬ ®»½¿´´ ·² ¬¸·-
   ïîi i i i°¿®¬·½«´¿® ¼»º»²¼¿²¬òi × ¼±²ù¬ ®»½¿´´ ¿²§ ±º
   ïíi i i i¬¸» ¼±½«³»²¬- ±® ¿²§¬¸·²¹ ¬¸¿¬ ©¿- °®»-»²¬»¼ò
   ïìi i i iÞ»½¿«-» × ¬¸·²µ ¬¸¿¬ ©¿- óó × ¾»´·»ª» ·¬ ©¿-
   ïëi i i i¿´´ ¼±²» ©¸·´» ³§ ³±³ ©¿- -¬·´´ ´·ª·²¹ò
   ïêi iÏi iÞ«¬ ©·¬¸ ®»-°»½¬ ¬± ¬¸·- É·´´·¿³- ½¿-»ô ¬¸»
   ïéi i i i½¿-» ·² Ò»© Ö»®-»§ò
   ïèi ißi iÑ¸ô ±µ¿§òi Ñµ¿§ò
   ïçi iÏi iÉ¸¿¬ ¼± §±« ®»½¿´´ ¿¾±«¬ ¬¸» º»» ¿¹®»»³»²¬- ·²
   îði i i i¬¸¿¬ ½¿-»á
   îïi ißi i× ¸¿ª» ²± ®»½±´´»½¬·±² ±º ¬¸» º»» ¿¹®»»³»²¬ ·²
   îîi i i i¬¸·- °¿®¬·½«´¿® ½¿-»ò
   îíi iÏi iÜ± §±« »ª»² ¸¿ª» ¿ ¹»²»®¿´ «²¼»®-¬¿²¼·²¹ ±º ¸±©
   îìi i i i³«½¸ §±«ù®» »²¬·¬´»¼ ¬± ®»½±ª»®á
   îëi ißi iÌ¸±-» ¬¸·²¹- ¸¿ª» ²±¬ ¾»»² ¼·-½«--»¼ ©·¬¸ ³»


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíð

   iïi i i i»·¬¸»® ¾§ ¬¸»³ ±® Ó®ò Þ»ª¿²òi É» ¸¿ª» ²±¬ óó ×
   iîi i i i¸¿ª» ²±¬ ¼·-½«--»¼ º»»- ·² ¬¸·- ½¿-»ò
   iíi iÏi iÑ® §±«® ®»½±ª»®§á
   iìi ißi iÒ±ò
   iëi iÏi iÍ± óó
   iêi ißi i×º × «²¼»®-¬¿²¼ ©¸¿¬ §±«ù®» -¿§·²¹ò
   iéi iÏi iÔ»¬ù- ³¿µ» ·¬ ½´»¿®ô ¬¸±«¹¸ò
   ièi ißi iÑµ¿§ò
   içi iÏi iß- ©» -·¬ ¸»®» ¬±¼¿§ô §±« ¸¿ª» ²±¬ ¸¿¼ ¿²§
   ïði i i i¼·-½«--·±²- ©·¬¸ Ó®ò Ð´¿½·¬»´´¿ ¿²¼ Ó®ò Ý±®»²ù-
   ïïi i i iº·®³ ±® Ó®ò Þ»ª¿²ù- º·®³ ¿¾±«¬ ©¸¿¬ ¬¸» º»»
   ïîi i i i¿®®¿²¹»³»²¬- ¿®»ô ·² ¬»®³- ±º ¬¸» º»»- ¿²¼ ¬¸»
   ïíi i i i®»½±ª»®§ ·² ¬¸·- ½¿-»á
   ïìi ißi iÒ±ò
   ïëi iÏi iß²¼ ¸±© ¼± §±« ¬¸·²µ ¬¸¿¬ù- ¿´´ ¹±·²¹ ¬± ¹»¬
   ïêi i i i-±®¬»¼ ±«¬á
   ïéi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
   ïèi i i iÙ»²»ô §±« µ²±©ô §±«ù®» ²±© óó
   ïçi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ò± -°»¿µ·²¹
   îði i i i±¾¶»½¬·±²-òi Ü± §±« ¸¿ª» ¿² ±¾¶»½¬·±²á
   îïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç»¿¸ô × ¸¿ª» ¿²
   îîi i i i±¾¶»½¬·±² óó
   îíi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i É¸¿¬ ·- ·¬ óó
   îìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i óó ¾»½¿«-»
   îëi i i i§±«ù®» óó


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíï

   iïi i i i i i i i iÓÎò ßÍÍßÚæi i i i óó º±®³ô
   iîi iº±«²¼¿¬·±²ô ±® °®·ª·´»¹»á
   iíi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ú±®³ô
   iìi iº±«²¼¿¬·±²ô ¿²¼ °®·ª·´»¹»ò
   iëi i i i i i i i iÓÎò ßÍÍßÚæi i i i Ñµ¿§òi Ç±«ù®»
   iêi i·²-¬®«½¬·²¹ ¸»® ²±¬ ¬± ¿²-©»®á
   iéi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ý±®®»½¬ò
   ièi i i i i i i i iÓÎò ßÍÍßÚæi i i i Ñµ¿§òi Þ¿-·-á
   içi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç±« µ²±©ô
   ïði i°®·ª·´»¹»ò
   ïïi i i i i i i i iÓÎò ßÍÍßÚæi i i i ß¬¬±®²»§ó½´·»²¬
   ïîi i°®·ª·´»¹»á
   ïíi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç»¿¸ò
   ïìi iß¬¬±®²»§ó½´·»²¬ °®·ª·´»¹»ô ¾»½¿«-» ²±© §±« ²»»¼
   ïëi i¬± ·²ª¿¼» ·²¬± ¼·-½«--·±²- ¬¸¿¬ ±½½«®®»¼
   ïêi i®»¹¿®¼·²¹ô §±« µ²±©ô ¿-°»½¬- ±º ¬¸» º»»-ò
   ïéi i i i i i i i iÓÎò ßÍÍßÚæi i i i Í¸» ¼±»-²ù¬ óó
   ïèi i-¸» ¸¿- ²± óó -¸» ¸¿- ²± óó ¬¸»®» ¿®» ²±
   ïçi i¼·-½«--·±²- ¾»½¿«-» -¸» ¸¿- ²± óó -¸» -¿§-
   îði i-¸» óó
   îïi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ì¸¿¬ù- ®·¹¸¬ô
   îîi i-¸» ¸¿- ²± ®»½±´´»½¬·±²òi Í¸» ¼±»-²ù¬ ®»½¿´´
   îíi i·¬ò
   îìi i i i i i i i iÓÎò ßÍÍßÚæi i i i Ñº ¿²§
   îëi i¼·-½«--·±²- ®»¹¿®¼·²¹ º»»-á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíî

   iïi
    ïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Í¸» ¶«-¬
   iîi i i i¼±»-²ù¬ ®»½±´´»½¬ óó
   iíi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ß²¼ ¬¸» º»»
   iìi i i i¿¹®»»³»²¬ ·-²ù¬ ´±¹¹»¼ ±® °®±¼«½»¼á
   iëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç±« ¼±²ù¬ ´±¹
   iêi i i i¿²¼ §±« ¼±²ù¬ °®±¼«½» º»» ¿¹®»»³»²¬-ô Ù»²»ò
   iéi i i i×¬ù- ²±¬ ³§ »¨°»®·»²½»ô ±µ¿§á
   ièi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ûª»² Ö¿®»¼ ·-
   içi i i i®¿·-·²¹ ¸·- »§»¾®±©- ¿¬ ¬¸¿¬ ±²»òi Ç±« ¾»¬¬»®
   ïði i i i½¸»½µ ¬¸¿¬ò
   ïïi i i i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi i iÒ± óó
   ïîi iÏi iÑµ¿§òi Í± óó
   ïíi i i i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi i ióó ¾¿-»¼ ±²
   ïìi i i i§±«® ½±³³»²¬ô Ù»²» ¾«¬ óó
   ïëi iÏi ióó Ó-ò Ø±´´»§ô ·² ¬»®³- ±º Ó®ò Þ»ª¿²ù-
   ïêi i i i®»´¿¬·±²-¸·° ¬± ¬¸·- É·´´·¿³- ½¿-» ·² Ò»©
   ïéi i i iÖ»®-»§ô ¼± §±« ¸¿ª» ¿ ©®·¬¬»² º»» ¿¹®»»³»²¬
   ïèi i i i©·¬¸ ¸·³á
   ïçi ißi i× ¼±²ù¬ ®»½¿´´ ¼±·²¹ ¬¸» ©®·¬¬»² óó × ¼±²ù¬
   îði i i i®»½¿´´ ¼±·²¹ ¿ º»» ¿¹®»»³»²¬ ©·¬¸ ®»¹¿®¼ ¬±
   îïi i i i¬¸·- ½¿-»ò
   îîi iÏi iÑµ¿§òi Ü± §±« ¸¿ª» ¿²§ «²¼»®-¬¿²¼·²¹ ±º ¸±©
   îíi i i iÓ®ò Þ»ª¿² ©·´´ ¹»¬ °¿·¼ô ·º ¿¬ ¿´´á
   îìi ißi i× ½¿²ù¬ ®»½¿´´ »ª»® ¼·-½«--·²¹ ¬¸¿¬ ±® -»»·²¹
   îëi i i i¿²§¬¸·²¹ ·² ©®·¬·²¹ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíí

   iïi iÏi i×- ¬¸¿¬ -±³»¬¸·²¹ §±« ©±«´¼ óó ©·¬¸¼®¿©²ò
   iîi i i i i i iÇ±« -»»³ °®»¬¬§ -¿ªª§ ¿²¼ §±«ùª» ¾»»²
   iíi i i i¿®±«²¼ ´·¬·¹¿¬·±² º±® ïë §»¿®-ò i ×¬ -»»³- ´·µ»
   iìi i i i-±³»¬¸·²¹ §±« ©±«´¼ ®»½¿´´á
   iëi ißi iÐ®±¾¿¾´§ò
   iêi iÏi iÔ»¬ù- -»»ò
   iéi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ß²¼
   ièi i i iª»®·º·½¿¬·±²-ô ¸¿ª» ©» ¹±¬¬»² ¬¸»³á
   içi i i i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi i× ¸¿ª» -±³»±²»
   ïði i i i·² ³§ ±ºº·½» ¹»¬¬·²¹ ¬¸»³òi É»ù´´ ¹»¬ ¬¸±-» ¬±
   ïïi i i i§±« -±±²ò
   ïîi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ù®»¿¬ò
   ïíi iÏi iß´´ ®·¹¸¬òi Í± ´»¬ù- ¬«®² ¬± -»¬¬´»³»²¬- ©·¬¸
   ïìi i i i±¬¸»® ¿-¾»-¬±- ¼»º»²¼¿²¬-ò
   ïëi i i i i i iÝ±«´¼ §±« ¬»´´ ³» ·² ±®¼»® ±º ³¿¹²·¬«¼»
   ïêi i i i¸±© ³«½¸ §±«ùª» ®»½»·ª»¼ º±® ¿-¾»-¬±-ó®»´¿¬»¼
   ïéi i i i·²¶«®·»- -·²½» º·´·²¹ ¬¸¿¬ ´¿©-«·¬ ¬¸¿¬ ©» -¿©
   ïèi i i i¿¹¿·²-¬ çè ¼»º»²¼¿²¬-á
   ïçi
     i i i i i i i i i i i
                         iÓÎò ÝÑÎÛÒæi i i i ×ù³ ¹±·²¹ ¬±
   îði i i i·²-¬®«½¬ ¸»® ²±¬ ¬± ¿²-©»® º±® ¬¸» ®»¿-±²- ©»
   îïi i i i»¨°´¿·²»¼ »¿®´·»®ô ¬¸¿¬ ¬¸» ·--«» ±º ¬¸»
   îîi i i i-»¬¬´»³»²¬ ©·¬¸ ±¬¸»® °¿®¬·»- ±«¬-·¼» ±º ¬¸»
   îíi i i i-»¬¬´»³»²¬- ©·¬¸ ¬¸» ¿-¾»-¬±- ¬®«-¬ ·- ¿² ·--«»
   îìi i i i¬¸¿¬ ·- ¾»º±®» ¬¸» Ý±«®¬ ±² -½±°» ±º ¼·-½±ª»®§ô
   îëi i i i¿²¼ ×ù³ ¹±·²¹ ¬± ¿¼ª·-» ¸»® ²±¬ ¬± ®»-°±²¼


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíì

   iïi i i i«²¬·´ ¬¸¿¬ ·--«» ·- -±®¬»¼ ±«¬ ©·¬¸ ³¿¹·-¬®¿¬»
   iîi i i i¶«¼¹» óó
   iíi ißi iß²¼ × ½±²-·¼»® ¬¸¿¬ ½±²º·¼»²¬·¿´ò
   iìi iÏi iÇ±« ½±²-·¼»® ·¬ ½±²º·¼»²¬·¿´á
   iëi ißi i× ¼±òi × ½±²-·¼»® ·¬ ½±²º·¼»²¬·¿´ò
   iêi iÏi iØ¿ª» §±« ¼·-½«--»¼ §±«® -»¬¬´»³»²¬- ©·¬¸
   iéi i i i¿²§¾±¼§ ±¬¸»® ¬¸¿² ´¿©§»®-á
   ièi ißi iÒ±ò
   içi iÏi iÔ·µ» §±«® º¿³·´§ ³»³¾»®-á
   ïði ißi iÒ±¬ ¼·-½«--»¼ -»¬¬´»³»²¬-ô ¶«-¬ ¿- º·¼«½·¿®§ò
   ïïi i i iÉ¸»² ¬¸»®» ©»®» -»¬¬´»³»²¬-ô × ¼·-¬®·¾«¬» ¬¸»
   ïîi i i i½¸»½µ-ò
   ïíi iÏi iß²¼ §±«ùª» ¼·-¬®·¾«¬»¼ ½¸»½µ- ±ª»® ¬¸» ´¿-¬ ïë
   ïìi i i i§»¿®-á
   ïëi ißi iÇ»-ò
   ïêi iÏi iÜ± §±« ¸¿ª» ¿ óó ©·¬¸¼®¿©²ò
   ïéi i i i i i i×º §±«® ¿¬¬±®²»§- ¿´´±©»¼ §±« ¬± ¿²-©»®ô
   ïèi i i i©±«´¼ §±« ¾» ¿¾´» ¬± ¬»´´ ³» ¸±© ³«½¸ §±«ùª»
   ïçi i i i®»½±ª»®»¼ º®±³ ¿-¾»-¬±- óó º±® ¿-¾»-¬±-ó®»´¿¬»¼
   îði i i i·²¶«®·»-á
   îïi ißi i× ©±«´¼ ²±¬ ¾» ¿¾´» ¬± -¿§ ¬¸¿¬ ±² ¬¸» ¬±° ±º
   îîi i i i³§ ¸»¿¼ô ²±ò
   îíi iÏi iÞ«¬ ¼± §±« ¸¿ª» ¼±½«³»²¬¿¬·±² óó
   îìi ißi i× ¸¿ª» óó
   îëi iÏi ióó ¬± -¸±© ·¬á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíë

   iïi ißi ióó ¼±½«³»²¬¿¬·±²ò
   iîi iÏi iÉ±«´¼ ¬¸·- ¾» ·² ¬¸» º·´»- ¿¬ §±«® ¸±³»á
   iíi ißi i×¬ ©±«´¼ ¾» ·² ³§ º·´»-ò
   iìi iÏi iß²¼ ´»¬ù- ¬¿´µ ¿¾±«¬ ¬®«-¬-ò
   iëi i i i i i iÇ±« ³»²¬·±²»¼ ¬¸¿¬ §±« ¸¿ª» -»¬¬´»¼ ©·¬¸
   iêi i i i±® ³¿¼» ½´¿·³- ¿¹¿·²-¬ ¿-¾»-¬±- ¬®«-¬-ô
   iéi i i i½±®®»½¬á
   ièi ißi i× ¾»´·»ª» -±ô §»-ò
   içi iÏi iß²¼ ©¸·½¸ ¿¬¬±®²»§ô ·º ¿²§±²»ô ¸¿- ¸»´°»¼ §±«
   ïði i i i©·¬¸ ¬¸±-»á
   ïïi ißi iÌ¸¿¬ ©±«´¼ ¿´-± ¾» ß¬¬±®²»§ Þ»ª¿²ò
   ïîi iÏi iß²¼ ¸¿ª» §±« º·´´»¼ ±«¬ ¼±½«³»²¬¿¬·±² ®»¹¿®¼·²¹
   ïíi i i i¬¸±-» ¿-¾»-¬±- ¬®«-¬- ¿²¼ ½´¿·³- ¬± ¬¸»³á
   ïìi ißi iÇ»-ô ¬¸®±«¹¸ ¬¸» Ð®±¾¿¬» Ý±«®¬ô ©¸·½¸ ¸¿- ¬±
   ïëi i i i½»®¬·º§ò
   ïêi iÏi iß²¼ ¿- ©» -·¬ ¸»®» ¬±¼¿§ô §±« «²¼»®-¬¿²¼ ¬¸¿¬
   ïéi i i i¬¸» ·²º±®³¿¬·±² ½±²¬¿·²»¼ ·² ¬¸±-» -«¾³·--·±²-
   ïèi i i i¬± ¬¸» Ý±«®¬ ¿²¼ ¬± ¬¸» ¬®«-¬ ¸¿ª» ¬± ¾» óó ¸¿-
   ïçi i i i¬± ¾» ¬®«» ¿²¼ ¿½½«®¿¬»á
   îði ißi iÇ»-ò
   îïi iÏi iß²¼ ¼± §±« µ²±© ©¸»¬¸»® §±«® ³±¬¸»® ¸¿¼
   îîi i i i-«¾³·¬¬»¼ ·²º±®³¿¬·±² ¬± ¬®«-¬- °®·±® ¬± ¸»®
   îíi i i i¼»¿¬¸á
   îìi ißi iÍ¸» ¼·¼ò
   îëi iÏi iß²¼ ¼± §±« µ²±© ©¸»¬¸»® ¬¸¿¬ ©¿- ¬®«» ¿²¼


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíê

   iïi i i i¿½½«®¿¬»á
   iîi ißi iÌ± ¬¸» ¾»-¬ ±º ³§ µ²±©´»¼¹» ·¬ ©±«´¼ ¸¿ª» ¾»»²ò
   iíi iÏi iÉ±«´¼ ¬¸¿¬ ¸¿ª» ¾»»² ®»ª·»©»¼ ¾§ Ó®ò Þ»ª¿² ¬±
   iìi i i i»²-«®» ¬¸¿¬ ·¬ ©¿- ¬®«» ¿²¼ ¿½½«®¿¬»á
   iëi ißi iÌ± ¬¸» ¾»-¬ ±º ³§ µ²±©´»¼¹» ·¬ ©±«´¼ ¸¿ª» ¾»»²ò
   iêi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïë ©¿- ³¿®µ»¼ò÷
   iéi iÏi iÔ»¬ ³» -¸±© §±« Ü Û¨ò ïëô ©¸·½¸ × ¬¸·²µ ·- ¬¸»
   ièi i i i²»¨¬ ¼±½«³»²¬ óó
   içi ißi iÑµ¿§ò
   ïði iÏi ióó ¬± §±«® ®·¹¸¬ô Ó-ò Ø±´´»§ò
   ïïi ißi iÑµ¿§ò
   ïîi iÏi iÜ Û¨ò ïë ·- ¿ ½´¿·³ º±®³ º±® ¼·-½±«²¬»¼ ½¿-¸
   ïíi i i i°¿§³»²¬ ¼¿¬»¼ Í»°¬»³¾»® êô îðððò
   ïìi ißi iË¸ó¸«¸ò
   ïëi iÏi iß²¼ ¬¸» ¿¬¬±®²»§ ²¿³» ±² ¬¸» º®±²¬ ·- Ì±³
   ïêi i i iÞ»ª¿²òi Ü± §±« -»» ¬¸¿¬á
   ïéi ißi iÇ»-ò
   ïèi iÏi iØ¿ª» §±« -»»² ¬¸·- ¼±½«³»²¬ ¾»º±®»á
   ïçi ißi i× ¼±²ù¬ ®»½¿´´ -»»·²¹ ¬¸·- ¼±½«³»²¬ ¾»º±®»ò
   îði iÏi iÉ±«´¼ ¬¸·- ¾» ·² §±«® º·´»- ±® §±«® ³±¬¸»®ù-
   îïi i i iº·´»- ¿¬ ¬¸» º¿³·´§ ¸±³»á
   îîi ißi iÞ»½¿«-» ·¬ ©¿- îðððô ·¬ ©±«´¼ °®±¾¿¾´§ ¾» ¿¬
   îíi i i i¬¸» º¿³·´§ ¸±³»ò
   îìi iÏi iÑµ¿§òi Ý±«´¼ §±« ¬«®² ¬± °¿¹» ïí ±º ¬¸» º±®³á
   îëi i i iÌ¸·- ®·¹¸¬ ¸»®»òi Ì¸¿¬ù- ·¬ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíé

   iïi i i i i i iß²¼ ²«³¾»® º·ª»ô °¿®¿¹®¿°¸ ëô -¬¿¬»-
   iîi i i iþ×²¶«®»¼ °¿®¬§ ³¿§ ©®·¬» ¿ ²¿®®¿¬·ª» -¬¿¬»³»²¬
   iíi i i i¾»´±© ø±® ±² ¿ -»°¿®¿¬» °¿¹»÷ ¼»-½®·¾·²¹ ·²
   iìi i i i¹®»¿¬»® ¼»¬¿·´ ·²¶«®»¼ °¿®¬§ù- ³±-¬ -·¹²·º·½¿²¬
   iëi i i i¿-¾»-¬±- »¨°±-«®»òþ
   iêi i i i i i i×¬ -¿§-ô þÓ-ò Ü¿®²»´´ ©¿- »¨°±-»¼ ¬± ÖóÓ
   iéi i i i°·°» ½±ª»®·²¹ô ½»³»²¬ô ¿²¼ ®¿© ¿-¾»-¬±- º·¾»®
   ièi i i i©¸·´» »³°´±§»¼ ¾§ ¬¸» ÞÚÙ±±¼®·½¸ Ý±³°¿²§ º®±³
   içi i i iïçêç ¬± ïçèéòþ
   ïði i i i i i iÜ± §±« -»» ¬¸¿¬á
   ïïi ißi iÇ»-ò
   ïîi iÏi iÌ¸»®»ù- ²± ³»²¬·±² ±º ¬¿´½ò
   ïíi ißi iÑµ¿§ò
   ïìi iÏi iÜ± §±« µ²±© ©¸§á
   ïëi ißi iÒ±òi × ©±«´¼²ù¬ µ²±© ©¸§ò
   ïêi iÏi iÉ±«´¼ Ó®ò Þ»ª¿² µ²±©á
   ïéi ißi i×ù³ ²±¬ -«®»ò
   ïèi iÏi i×º ¿²§¾±¼§ µ²±©- ¬¸» ®»¿-±² ©¸§ ¬¸·- -¿§- ©¸¿¬
   ïçi i i i·¬ -¿§-ô ·¬ ©±«´¼ ¾» Ó®ò Þ»ª¿²ô ²±¬ §±«á
   îði ißi i×¬ ©±«´¼ ¾» ¸·³ô ²±¬ ³»ò
   îïi iÏi iß²¼ ·º §±« ¬«®² ¬± °¿¹» ïéò
   îîi ißi iÑº ¬¸» -¿³» ¼±½«³»²¬á
   îíi iÏi iÇ»-ò
   îìi i i i i i iß²¼ ¬¸» º·®-¬ ¯«»-¬·±² -¿§-ô þØ¿- ¿²§
   îëi i i i¿-¾»-¬±-ó®»´¿¬»¼ ´¿©-«·¬ ¾»»² º·´»¼ ±² ¾»¸¿´º


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíè

   iïi i i i±º ¬¸·- ·²¶«®»¼ °¿®¬§áþ
   iîi i i i i i iÜ± §±« -»» ¬¸·-á
   iíi ißi iÇ»-ò
   iìi iÏi i×¬ -¿§- þÒ±òþ
   iëi i i i i i iÜ± §±« -»» ¬¸¿¬á
   iêi ißi iÇ»-ò
   iéi iÏi i×- ¬¸¿¬ ½±®®»½¬á
   ièi ißi iÌ¸·- ©¿- ·² îðððá
   içi iÏi iÇ»-òi Ç»-ò
   ïði ißi i× ©±«´¼²ù¬ µ²±© º±® -«®»òi × ©±«´¼²ù¬ µ²±© º±®
   ïïi i i i-«®»ô ¾»½¿«-» ³§ ³±³ ©¿- -¬·´´ ´·ª·²¹ ¿²¼ ¬¸»
   ïîi i i i·²¬»®¿½¬·±² ©·¬¸ ¬¸» ¿¬¬±®²»§ ©±«´¼ ¸¿ª» ¾»»²
   ïíi i i i¾»¬©»»² ¸»® ¿²¼ ß¬¬±®²»§ Þ»ª¿²ò
   ïìi iÏi iÉ¸±ô ·º ¿²§±²»ô ©±«´¼ µ²±© ©¸»¬¸»® ¬¸·-
   ïëi i i i-¬¿¬»³»²¬ ·- ½±®®»½¬á
   ïêi ißi iß¬¬±®²»§ Þ»ª¿²ù- ±ºº·½»ò
   ïéi iÏi iß²¼ §±« ©±«´¼ »¨°»½¬ ·¬ ¬± ¾» ¬®«» ¿²¼
   ïèi i i i¿½½«®¿¬»ô ½±®®»½¬á
   ïçi ißi i× ©±«´¼ »¨°»½¬ ·¬ ¬± ¾» ¬®«» ¿²¼ ¿½½«®¿¬»ô §»-ò
   îði iÏi iß²¼ ©¸»² §±«ùª» -«¾³·¬¬»¼ º±®³- ¬± ±¬¸»®
   îïi i i i¬®«-¬-ô ¸¿ª» §±« ¼·-½´±-»¼ ¬¸» º¿½¬ ¬¸¿¬ §±«
   îîi i i i¸¿ª» ·² º¿½¬ º·´»¼ ±¬¸»® ´¿©-«·¬- ¿¹¿·²-¬ ±¬¸»®
   îíi i i i¿-¾»-¬±- ½±³°¿²·»-á
   îìi ißi i× ½¿²ù¬ ®»½¿´´ ¬¸¿¬ò
   îëi iÏi iÞ«¬ §±« ©±«´¼ »¨°»½¬ ¬¸¿¬ ·º ¬¸¿¬ ¯«»-¬·±² ©»®»


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïíç

   iïi i i i¿-µ»¼ ¾§ ±¬¸»® ¬®«-¬- ¬¸¿¬ §±« ©±«´¼ ·² º¿½¬
   iîi i i i¼·-½´±-» ¬¸» ±¬¸»® ´¿©-«·¬-ô ½±®®»½¬á
   iíi ißi i× ©±«´¼ »¨°»½¬ -± ·º ¬¸¿¬ ©»®» ¬¸» ½¿-»ò
   iìi iÏi iß²¼ §±«ùª» ²»ª»® ®»½»·ª»¼ ¿¼ª·½» ¬± ¼±
   iëi i i i-±³»¬¸·²¹ ±¬¸»® ¬¸¿² ¬¸¿¬á
   iêi ißi iÒ±ô × ¸¿ª» ²±¬ò
   iéi iÏi iÌ¸¿¬ù- -±³»¬¸·²¹ §±« ©±«´¼ ®»³»³¾»®á
   ièi ißi i× ¾»´·»ª» -±ò
   içi iÏi iÌ¸» óó ¾§ ¬¸» ©¿§ô ·º §±« óó ©·¬¸¼®¿©²ò
   ïði i i i i i iÜ·¼ §±« º·´» ¿ ½´¿·³- º±®³ ©·¬¸ ¬¸»
   ïïi i i iÕ¿·-»® ß-¾»-¬±- Ì®«-¬ái Ü± §±« µ²±©á
   ïîi ißi i× ½¿²ù¬ -¿§ º±® -«®»ò
   ïíi iÏi iÑµ¿§òi Î±«¹¸´§ ¸±© ³¿²§ ¬®«-¬- ¸¿ª» §±« º·´»¼
   ïìi i i i¿¹¿·²-¬á
   ïëi ißi i× ½±«´¼²ù¬ ¾»¹·² ¬± -¿§òi × µ²±© ¬¸¿¬ ¬¸»®»
   ïêi i i i©»®» ¿ ²«³¾»® ±º ¼»º»²¼¿²¬- -«»¼ ¿²¼ ¬¸»®» ¿®»
   ïéi i i i¿ ²«³¾»® ¬¸¿¬ ¸¿ª» ¾»»² -»¬¬´»¼ô ¾«¬ × ®»¿´´§
   ïèi i i i½±«´¼²ù¬ »ª»² ¹·ª» §±« ¿ ¾¿´´°¿®µ º·¹«®»ò
   ïçi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïê ©¿- ³¿®µ»¼ò÷
   îði iÏi iÔ»¬ù- ¹± ¬± Ü Û¨ò ïêô ¬¸» ª»®§ ²»¨¬ ¼±½«³»²¬ò
   îïi ißi iÑµ¿§ò
   îîi iÏi iÜ Û¨ò ïê ¿°°»¿®- ¬± ¾» ¿ ¼±½«³»²¬ »²¬·¬´»¼
   îíi i i iþÕ¿·-»® ß´«³·²«³ ú Ý¸»³·½¿´ Ý±®°±®¿¬·±²
   îìi i i iß-¾»-¬±- Ð»®-±²¿´ ×²¶«®§ Ì®«-¬ Î»´»¿-»òþ
   îëi i i i i i iÜ± §±« -»» ¬¸·-á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìð

   iïi ißi iË¸ó¸«¸òi Ç»-ò
   iîi iÏi iÜ± §±« ®»½±¹²·¦» ¬¸·- ¼±½«³»²¬á
   iíi ißi iÉ»´´ô ¾§ ¶«-¬ ´±±µ·²¹ ¿¬ ·¬ ²±© × -»» ¬¸¿¬ ×
   iìi i i i-·¹²»¼ ·² îðïîò
   iëi iÏi iß²¼ ©±«´¼ §±« ¬»´´ ³» ¬¸» °®±½»-- ¬¸¿¬ §±«
   iêi i i i©±«´¼ ¹± ¬¸®±«¹¸ ¾»º±®» -·¹²·²¹ ¿ ¼±½«³»²¬ ´·µ»
   iéi i i i¬¸·-ái Ü·¼ §±« ¬¿´µ ¬± Ó®ò Þ»ª¿²ái Ü·¼ §±«
   ièi i i i®»ª·»© ¼±½«³»²¬-á
   içi ißi i× ©±«´¼ ¬¿´µ ¬± Ó®ò Þ»ª¿² ¿²¼ ©» ©±«´¼ ¼·-½«--
   ïði i i i¬¸» °¿®¬·½«´¿® ±ºº»® º®±³ ¬¸» ½±³°¿²§ò i ß²¼ ×
   ïïi i i i¿´-± óó ·º ·¬ ©»®» ¿½½»°¬»¼ô × ¿´-± ©±«´¼ ¸¿ª»
   ïîi i i i®»½»·ª»¼ ¿ ®»´»¿-»ò
   ïíi iÏi iÑµ¿§òi ß´´ ®·¹¸¬òi Ò±© ¬¸» ®»-¬ ±º ¬¸»
   ïìi i i i¼±½«³»²¬- ×ù³ ¹±·²¹ ¬± ¹± ¬¸®±«¹¸ °®»¬¬§
   ïëi i i i¯«·½µ´§òi Ç±« ½¿² °«¬ ¬¸»³ ¿´´ ·² º®±²¬ ±º §±«
   ïêi i i i·º §±«ù¼ ´·µ» óó
   ïéi ißi iÎ·¹¸¬ò
   ïèi iÏi ióó ¬± óó
   ïçi ißi iÎ·¹¸¬ò
   îði iÏi ióó Ó-ò Ø±´´»§ò
   îïi ißi iÎ·¹¸¬ò
   îîi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïé ©¿- ³¿®µ»¼ò÷
   îíi iÏi iÜ Û¨ò ïé ·- ¿ ¼±½«³»²¬ »²¬·¬´»¼ óó ±® ¿
   îìi i i i¼±½«³»²¬ ¬¸¿¬ ¿°°»¿®- ¬± ¾» ¿ ®»´»¿-» ®»´¿¬·²¹
   îëi i i i¬± Ö±¸²-óÓ¿²ª·´´» ±º Ì®¿ª»´»®-ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìï

   iïi ißi iË¸ó¸«¸òi Ë¸ó¸«¸ò
   iîi iÏi iÜ± §±« ®»½±¹²·¦» ¬¸·- ¼±½«³»²¬á
   iíi ißi iÇ»-ô × ®»½¿´´ ·¬ò
   iìi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïè ©¿- ³¿®µ»¼ò÷
   iëi iÏi iÜ Û¨ò ïè ¿°°»¿®- ¬± ¾» ¿ ½´¿·³- ®»-±´«¬·±² º±®³
   iêi i i iº±® Õ¿¬¸®§² Ü¿®²»´´ º±® üîðôððð º±® Ó¿²ª·´´»ò
   iéi ißi iÉ¸»² ©¿- ¬¸·-ái Ì¸·- ©¿- »¨»½«¬»¼ ©¸»²á
   ièi iÏi iÌ¸·- ´±±µ- ´·µ» ·¬ ©¿- »¨»½«¬»¼ ·² îðððò i ïð óó
   içi i i iÒ±ª»³¾»® ïïô îðððò
   ïði ißi i×º ·¬ ©»®» îðððô ³§ ³±¬¸»® ©±«´¼ ¸¿ª» ¸¿²¼´»¼
   ïïi i i i·¬ò
   ïîi iÏi iÑµ¿§òi ß´´ ®·¹¸¬ò
   ïíi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ ïç ©¿- ³¿®µ»¼ò÷
   ïìi iÏi iÜ Û¨ò ïç ·- º®±³ Ì¸» Ð´·¾®·½± ß-¾»-¬±- Ì®«-¬ ·²
   ïëi i i iØ±°»©»´´ô Ò»© Ö»®-»§òi ß -»¬¬´»³»²¬ óó ¿
   ïêi i i i´·¯«·¼¿¬»¼ ª¿´«» ±º üíëðôððð ¿²¼ ¿ -»¬¬´»³»²¬
   ïéi i i i¿³±«²¬ ±º üîçôðððòi Ü± §±« ®»½±¹²·¦» ¬¸·-
   ïèi i i i¼±½«³»²¬á
   ïçi ißi i×¬ ¿°°»¿®- × »¨»½«¬»¼ ¬¸·- ·² Í»°¬»³¾»® ±º ùðéò
   îði iÏi iÑµ¿§ò
   îïi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îð ©¿- ³¿®µ»¼ò÷
   îîi iÏi iÜ Û¨ò îð ·- ¿ ®»´»¿-» ¿¹®»»³»²¬ º±® Ñ©»²-
   îíi i i iÝ±®²·²¹ñÚ·¾®»¾±¿®¼ ß-¾»-¬±- ×²¶«®§ Ì®«-¬ò
   îìi ißi i× »¨»½«¬»¼ ¬¸·- ·² ùðçò
   îëi iÏi iß²¼ óó ´»¬ ³» º·²·-¸ ¬¸»-»ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìî

   iïi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îï ©¿- ³¿®µ»¼ò÷
   iîi iÏi iÜ Û¨ò îï ·- º±® Ñ©»²- Ý±®²·²¹ Ð»®-±²¿´ ×²¶«®§
   iíi i i iÌ®«-¬ ¿¹¿·² ¼¿¬»¼ Ò±ª»³¾»® ïèô îððçò i Ü± §±«
   iìi i i i-»» ¬¸¿¬á
   iëi ißi iË¸ó¸«¸òi Ë¸ó¸«¸ò
   iêi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îî ©¿- ³¿®µ»¼ò÷
   iéi iÏi iÜ Û¨ò îî ·- º±® Ë²·¬»¼ Ù§°-«³ ß-¾»-¬±- Ð»®-±²¿´
   ièi i i i×²¶«®§ Ì®«-¬ò
   içi ißi iÑµ¿§ò
   ïði iÏi iÜ¿¬»¼ Ó¿®½¸ îíô îððçò
   ïïi ißi iÑµ¿§ò
   ïîi iÏi iÜ± §±« -»» ¬¸¿¬á
   ïíi ißi iÇ»-ò
   ïìi iÏi iÇ±« -·¹²»¼ ¬¸¿¬á
   ïëi ißi iÇ»-ò
   ïêi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îí ©¿- ³¿®µ»¼ò÷
   ïéi iÏi iÜ Û¨ò îí ·- º®±³ ¬¸» Ð®±¾¿¬» Ý±«®¬ ±º Í«³³·¬ô
   ïèi i i iÑ¸·± ®»¹¿®¼·²¹ ¬¸» ¿°°®±ª¿´ ±º ¿ °®±ºº»®»¼
   ïçi i i i-»¬¬´»³»²¬ ±º üîëéôðððòi ß²¼ ·²½´«¼»¼ ·² ¬¸¿¬
   îði i i i·- óó ·¬ ´±±µ- ´·µ» ¿¬¬±®²»§ù- º»»- ±º üèèôðððò
   îïi ißi iÎ·¹¸¬òi Ë¸ó¸«¸ò
   îîi iÏi i×- ¬¸¿¬ ¬± Ó®ò Þ»ª¿²á
   îíi ißi i×¬ ©±«´¼ ¸¿ª» ¾»»² Ó®ò Þ»ª¿² ¿²¼ ¬¸» »-¬¿¬»
   îìi i i i¿¬¬±®²»§ô ©¸± ¿¬ ¬¸¿¬ ¬·³» ©¿- Ü±²¿´¼ É¿´µ»®ò
   îëi iÏi iÑµ¿§ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìí

   iïi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îì ©¿- ³¿®µ»¼ò÷
   iîi iÏi iÜ Û¨ò îì ·- ¿ -»¬¬´»³»²¬ ¿³±«²¬ ±º üêðôðððô
   iíi i i i¿¹¿·² ©·¬¸ îðôððð ¬± Ó®ò Þ»ª¿² ·² îððìò i Ü± §±«
   iìi i i i-»» ¬¸·-á
   iëi ißi iÇ»-ò
   iêi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îë ©¿- ³¿®µ»¼ò÷
   iéi iÏi iÜ Û¨ò îë ·- ¿ -»¬¬´»³»²¬ ¿³±«²¬ ±º üïéîôððð
   ièi i i i©·¬¸ ¿¬¬±®²»§ù- º»»- ±º üëçôððð ¼¿¬»¼ ß°®·´ îðô
   içi i i iîððëò
   ïði ißi iÇ»-ò
   ïïi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îê ©¿- ³¿®µ»¼ò÷
   ïîi iÏi iÜ Û¨ò îê ·- üïêôððð ¼¿¬»¼ óó ±® ×ù³ -±®®§ò
   ïíi i i iüïêôððð ¼¿¬»¼ ß«¹«-¬ ìô îððêòi Ü± §±« -»» ¬¸¿¬á
   ïìi ißi iË¸ó¸«¸ò
   ïëi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îé ©¿- ³¿®µ»¼ò÷
   ïêi iÏi iÜ Û¨ò îéòi üìðôððð -»¬¬´»³»²¬ ¼¿¬»¼ Ó¿§ îïô
   ïéi i i iîððéòi Ü± §±« -»» ¬¸¿¬á
   ïèi ißi iÇ»-ò
   ïçi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îè ©¿- ³¿®µ»¼ò÷
   îði iÏi iÜ Û¨ò îèô ¿ -»¬¬´»³»²¬ ¿³±«²¬ ±º üîçôððð ¼¿¬»¼
   îïi i i iÒ±ª»³¾»® ïëô îððéòi Ü± §±« -»» ¬¸¿¬á
   îîi ißi iÇ»-ò
   îíi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ îç ©¿- ³¿®µ»¼ò÷
   îìi iÏi iÜ»½»³¾»® îîô îððèô ¿ -»¬¬´»³»²¬ ¿³±«²¬ ±º
   îëi i i iüïïôðððòi Ü± §±« -»» ¬¸¿¬á


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìì

   iïi ißi i×- ¬¸¿¬ îçá
   iîi iÏi iÇ»-ò
   iíi ißi iÑµ¿§òi Ç»-ò
   iìi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íð ©¿- ³¿®µ»¼ò÷
   iëi iÏi iÜ Û¨ò íðòi üîêôðððô ß°®·´ ïêô îðïðòi Ü± §±« -»»
   iêi i i i¬¸¿¬á
   iéi ißi iÇ»-ò
   ièi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íï ©¿- ³¿®µ»¼ò÷
   içi iÏi iÜ Û¨ò íïòi Í»¬¬´»³»²¬ ¿³±«²¬ ±º üèôêðð ¼¿¬»¼
   ïði i i iÓ¿§ ïîô îðïîòi Ü± §±« -»» ¬¸¿¬á
   ïïi ißi iÇ»-ò
   ïîi iÏi iß²¼ô ¾§ ¬¸» ©¿§ô -± º±® ¿ -»¬¬´»³»²¬ ´·µ» ¬¸¿¬
   ïíi i i i±º üèôðððô ¼± §±« µ²±© ©¸»¬¸»® ¬¸¿¬ -»¬¬´»³»²¬
   ïìi i i i¸¿- ¿²§¬¸·²¹ ¬± ¼± ©·¬¸ ©¸»¬¸»® ¬¸» ½±³°¿²§
   ïëi i i i°®±¼«½»¼ ¿ °®±¼«½¬ ©·¬¸ ±® ©·¬¸±«¬ ¿-¾»-¬±- ¿²¼
   ïêi i i i¸±© ³«½¸ ¿-¾»-¬±- ·¬ ¸¿¼ ¿²¼ ¸±© ³«½¸ »¨°±-«®»
   ïéi i i i§±«® ³±³ ¸¿¼ ¬± ¬¸¿¬ °®±¼«½¬á
   ïèi
     i i i i i i i i i i i
                         iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
   ïçi i i i×ù´´ ·²-¬®«½¬ ¸»® ²±¬ ¬± ¿²-©»®ò i Ñ²½» ¿¹¿·²ô
   îði i i i¬¸» ·--«» ±º -»¬¬´»³»²¬- ¿²¼ ¬¸» ·--«»- ¹±·²¹
   îïi i i i·²¬± -»¬¬´»³»²¬- ·- ¿ ³¿¬¬»® ¾»º±®» Ó¿¹·-¬®¿¬»
   îîi i i iÜ·½µ-±²ô ¿²¼ ©»ù®» ®»¬¿·²·²¹ ±«® ±¾¶»½¬·±²- ¿²¼
   îíi i i i·²-¬®«½¬·²¹ ¬¸» ©·¬²»-- ²±¬ ¬± ¿²-©»® ±² ¬¸¿¬
   îìi i i i¾¿-·-ò
   îëi iÏi iÝ±«´¼ §±« ¿²-©»® ¬¸» ¯«»-¬·±² ¾«¬ º±® ¬¸»


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìë

   iïi i i i·²-¬®«½¬·±²á
   iîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ×¬ù- ¿ þ§»-þ ±®
   iíi i i iþ²±þ ¿²-©»®ô Ó-ò Ü¿®²»´´ óó Ó-ò Ø±´´»§ò i Í±®®§ò
   iìi iÏi iÇ±« ©±«´¼ ¾» ¿¾´» ¬± ¿²-©»® ¬¸» ¯«»-¬·±² «²´»--
   iëi i i iÓ®ò Ý±®»² ¸¿¼²ù¬ ·²-¬®«½¬»¼ §±«á
   iêi ißi i× ¾»´·»ª» × ©±«´¼ ¾» ¿¾´» ¬±ò
   iéi iÏi iÑµ¿§ò
   ièi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íî ©¿- ³¿®µ»¼ò÷
   içi iÏi iÜ Û¨ò íîòi üíìôðððòi ß²±¬¸»® -»¬¬´»³»²¬ ¿³±«²¬ò
   ïði i i iÜ± §±« ®»½±¹²·¦» ¬¸¿¬á
   ïïi ißi iÇ»-ò
   ïîi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íí ©¿- ³¿®µ»¼ò÷
   ïíi iÏi iÜ Û¨ò ííòi üïêôðððòi Ü± §±« ®»½±¹²·¦» ¬¸¿¬á
   ïìi ißi iÇ»-ò
   ïëi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íì ©¿- ³¿®µ»¼ò÷
   ïêi iÏi iÜ Û¨ò íìòi ß² ¿³»²¼»¼ °®±¾¿¬» ±®¼»® º±® ¿
   ïéi i i i-»¬¬´»³»²¬ ¿³±«²¬ ±º üîôíððòi Ü± §±« ®»½±¹²·¦»
   ïèi i i i¬¸¿¬á
   ïçi ißi iÇ»-ò
   îði i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íë ©¿- ³¿®µ»¼ò÷
   îïi iÏi iÜ Û¨ò íëòi ß -»¬¬´»³»²¬ ¿³±«²¬ ±º üïïôððð ¼¿¬»¼
   îîi i i iß°®·´ ïíô îðïëòi Ü± §±« ®»½±¹²·¦» ¬¸¿¬á
   îíi ißi iÇ»-ò
   îìi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íê ©¿- ³¿®µ»¼ò÷
   îëi iÏi iÜ Û¨ò íêòi ß -»¬¬´»³»²¬ ¿³±«²¬ ±º üïçôððð ¼¿¬»¼


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìê

   iïi i i iß°®·´ ïëô îððìòi Ü± §±« ®»½±¹²·¦» ¬¸¿¬á
   iîi ißi iÇ»-ò
   iíi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íé ©¿- ³¿®µ»¼ò÷
   iìi iÏi iÜ Û¨ò íéòi ß -»¬¬´»³»²¬ ¿³±«²¬ ±º üîìôððð ¼¿¬»¼
   iëi i i iß°®·´ îéô îðïðòi Ü± §±« ®»½±¹²·¦» ¬¸¿¬á
   iêi ißi iÇ»-ò
   iéi i i i i øÜ»º»²¼¿²¬-ù Û¨¸·¾·¬ íè ©¿- ³¿®µ»¼ò÷
   ièi iÏi iÖ¿²«¿®§ îðô îðïðô ¿ -»¬¬´»³»²¬ ¿³±«²¬ ±º
   içi i i iüïïíôðððòi Ü± §±« ®»½±¹²·¦» ¬¸¿¬á
   ïði ißi i×- ¬¸¿¬ óó
   ïïi iÏi iÜ Û¨ò íèò
   ïîi ißi iÇ»-ô × -»» ·¬ù- íèò
   ïíi iÏi iÑµ¿§ò
   ïìi ißi iÇ»-ò
   ïëi iÏi i×² ¬»®³- ±º ¬¸» ª¿®·±«- -»¬¬´»³»²¬-ô ¼·¼ §±«
   ïêi i i i®»´§ ±² Ó®ò Þ»ª¿²ù- ¿¼ª·½» ¾»º±®» ½±²-»²¬·²¹ ¬±
   ïéi i i i-»¬¬´»³»²¬- ©·¬¸ ±¬¸»® ¿-¾»-¬±-ó®»´¿¬»¼
   ïèi i i i¼»º»²¼¿²¬-á
   ïçi ißi i×- ¬¸» ¯«»-¬·±² ¼·¼ × ®»´§ ±² ¬¸¿¬ ©·¬¸
   îði i i i®»´¿¬·±² ¬± ±¬¸»® -»¬¬´»³»²¬- ±® ¶«-¬ ±²»
   îïi i i i°¿®¬·½«´¿® -»¬¬´»³»²¬ ¿¬ ¿ ¬·³»á
   îîi iÏi iÑ²» °¿®¬·½«´¿® -»¬¬´»³»²¬ ¿¬ ¿ ¬·³»ò
   îíi ißi iÉ» ¼·¼ ±²» °¿®¬·½«´¿® -»¬¬´»³»²¬ ¿¬ ¿ ¬·³»ò
   îìi iÏi iÍ± º±® »¿½¸ -»¬¬´»³»²¬ §±« ©±«´¼ ¸¿ª» ¿
   îëi i i i¼·-½«--·±² ©·¬¸ ¸·³ ®»¹¿®¼·²¹ ©¸»¬¸»® §±«


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìé

   iïi i i i-¸±«´¼ -»¬¬´» ±® ²±¬á
   iîi ißi i×ù¼ -¿§ §»-ô ¬¸¿¬ ©±«´¼ ¾» ¿ ¾¿-·- ±º ±«®
   iíi i i i½±²ª»®-¿¬·±²ò
   iìi iÏi iÉ±«´¼ ·¬ ¾» ·² °»®-±² ±® ±ª»® ¬¸» °¸±²»á
   iëi ißi iÛ·¬¸»®ò
   iêi iÏi iß²¼ ©±«´¼ ¿ º¿½¬±® ·² ¬¸» -»¬¬´»³»²¬ ¾» ©¸»¬¸»®
   iéi i i i·² º¿½¬ ¬¸» ¼»º»²¼¿²¬ ¸¿¼ °®±¼«½»¼ ¿ °®±¼«½¬
   ièi i i i©·¬¸ ¿-¾»-¬±-á
   içi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
   ïði i i iÑ²½» ¿¹¿·² §±«ù®» ¿-µ·²¹ ¿¾±«¬ -»¬¬´»³»²¬-
   ïïi i i i¾»§±²¼ ÞßÍÚò
   ïîi i i i i i iß²¼ ×ù³ ·²-¬®«½¬·²¹ §±« ²±¬ ¬± ¿²-©»®ò
   ïíi i i i i i iÌ¸» ³¿¬¬»® ·- ¿² ·--«» ¾»º±®» ¬¸» ¶«¼¹»
   ïìi i i i±² -»¬¬´»³»²¬- ©·¬¸ ±¬¸»® °¿®¬·»- ±¬¸»® ¬¸¿²
   ïëi i i iÞßÍÚò
   ïêi i i i i i iÛ²¹»´¸¿®¼ ·- ¿ ³¿¬¬»® ¾»º±®» Ó¿¹·-¬®¿¬»
   ïéi i i iÖ«¼¹» Ü·½µ-±² ¿²¼ «²¬·´ ¬¸¿¬ ·- ®»-±´ª»¼ô ×ù³
   ïèi i i i·²-¬®«½¬·²¹ §±« ²±¬ ¬± ¿²-©»®ò
   ïçi iÏi iÉ¿- ·¬ ¿´©¿§- Þ»ª¿² ±® ©»®» ¬¸»®» ±¬¸»® ´¿©§»®-
   îði i i i±® °¿®¿´»¹¿´- ·²ª±´ª»¼ ·² ¬¸» ®»½±³³»²¼¿¬·±² ¬±
   îïi i i i-»¬¬´» ½¿-»-á
   îîi ißi iÌ± ¬¸» ¾»-¬ ±º ³§ µ²±©´»¼¹»ô ·¬ ©¿- ¿´©¿§-
   îíi i i iß¬¬±®²»§ Þ»ª¿²ò
   îìi iÏi iß²¼ ¼·¼ §±« µ»»° ²±¬»- ±º ¬¸±-» ½±²ª»®-¿¬·±²-á
   îëi ißi iÒ±ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìè

   iïi iÏi iÍ·²½» ¬¸» ÞßÍÚ ½±³°´¿·²¬ ©¿- º·´»¼ ·² ¬©±
   iîi i i i¬¸±«-¿²¼ óó ·² »¿®´§ îðïïô ¸¿ª» §±« -»¬¬´»¼
   iíi i i i©·¬¸ ±¬¸»® ¼»º»²¼¿²¬- º±® ¿-¾»-¬±-ó®»´¿¬»¼
   iìi i i i½´¿·³-á
   iëi ißi iÇ»-ò
   iêi iÏi iß²¼ ·² -»¬¬´·²¹ ©·¬¸ ¬¸±-»ô ¸¿ª» §±«ô ·² ´·¹¸¬
   iéi i i i±º ¬¸» ÞßÍÚ ½±³°´¿·²¬ô ¿-µ»¼ -°»½·º·½ ¯«»-¬·±²-
   ièi i i i¿¾±«¬ ¬¸» ¿-¾»-¬±- ½±²¬»²¬ ·² ¬¸» °®±¼«½¬- ¬¸¿¬
   içi i i i§±« ©»®» -»¬¬´·²¹á
   ïði ißi iÒ±ô × ¸¿ª» ²±¬ ¿-µ»¼ -°»½·º·½ ¯«»-¬·±²- ©·¬¸
   ïïi i i i®»¹¿®¼ ¬± ¿-¾»-¬±-ò
   ïîi iÏi iÉ¸§ ²±¬á
   ïíi ißi iÒ±òi Þ»½¿«-» × óó
   ïìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Û¨½«-» ³»ò
   ïëi i i i i i i i i i iÌØÛ É×ÌÒÛÍÍæi i i Ñµ¿§ò
   ïêi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i É±®µó°®±¼«½¬ò
   ïéi i i i i i i i i i iÌØÛ É×ÌÒÛÍÍæi i i Ç»¿¸ò
   ïèi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñµ¿§òi ×ù³
   ïçi i i i¿--»®¬·²¹ ¿² ±¾¶»½¬·±²ò
   îði iÏi iß²¼ §±« ½¿² ¿²-©»®ò
   îïi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ò±òi ×¬ù-
   îîi i i i©±®µó°®±¼«½¬òi Í¸» ½¿²ù¬ ¿²-©»®òi ×ù³
   îíi i i i·²-¬®«½¬·²¹ ¸»® ²±¬ ¬± ¿²-©»®ò
   îìi
     i i i i i i i i i i iÓÎò
                         i    ßÍÍßÚæi i i i É¸§ -¸» ¼·¼²ù¬
   îëi i i i¿-µ ¯«»-¬·±²-á


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïìç

   iïi
    ïi ißi iÒ±òi Ò±ò
   iîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ×¬ù- ¸»® ³»²¬¿´
   iíi i i i°®±½»--»-ò
   iìi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ø»® ³»²¬¿´
   iëi i i i°®±½»--»-á
   iêi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç»-òi Ç±«ù®»
   iéi i i i¬®§·²¹ ¬± ·²ª¿¼» ·²¬± ¸»® ©±®µó°®±¼«½¬
   ièi i i i®»¹¿®¼·²¹ ¿ -»¬¬´»³»²¬ ¿²¼ ©¸§ -¸» ³¿¼» óó ¿²¼
   içi i i i©¸¿¬ ©¿- ±² ¸»® ³·²¼ ¿- ¬± ¬¸·²¹- ±¬¸»® ¬¸¿²
   ïði i i iÞßÍÚòi Ç±«ù®» ²±¬ »²¬·¬´»¼ ¬± ·¬ô Ù»²»ò i ß²¼
   ïïi i i i¬¸¿¬ù- ±«® °±-·¬·±² ¿²¼ ©» -¿·¼ ¬¸¿¬ ®»¹¿®¼·²¹
   ïîi i i i¬¸» ±¬¸»® -»¬¬´»³»²¬-ò
   ïíi i i i i i i×¬ù- ¿ ³¿¬¬»® ¾»º±®» Ó¿¹·-¬®¿¬» Ö«¼¹»
   ïìi i i iÜ·½µ-±² ¿²¼ «²¬·´ ¿´´ ±º ¬¸±-» ·--«»- ¿®»
   ïëi i i i®»-±´ª»¼ô ×ù³ ·²-¬®«½¬·²¹ ¸»® ²±¬ ¬± ¹± ·²¬±
   ïêi i i i¼»¬¿·´- ®»¹¿®¼·²¹ ±¬¸»® -»¬¬´»³»²¬-ò
   ïéi iÏi ißº¬»® ¬¸» ÞßÍÚ ½¿-» ©¿- º·´»¼ ·² îðïïô §±« ¸¿¼
   ïèi i i i«²¼»®-¬±±¼ º®±³ Ó®ò Þ»ª¿² ¬¸¿¬ ¬¸»®» ¸¿¼ ¾»»² ¿
   ïçi i i iº®¿«¼ ©·¬¸ Û²¹»´¸¿®¼ô º¿·®á
   îði ißi iÇ»-òi Ì¸¿¬ ©¿- ³§ «²¼»®-¬¿²¼·²¹ò
   îïi iÏi iÌ¸¿¬ óó ¿½½±®¼·²¹ ¬± Ó®ò Þ»ª¿²ô ¬¸¿¬ Û²¹»´¸¿®¼
   îîi i i i´»¼ ¸·³ ¬± ¾»´·»ª» ¬¸¿¬ ¬¸»®» ©¿- ²± ¿-¾»-¬±-
   îíi i i i·² ¬¸» ¬¿´½ô ½±®®»½¬á
   îìi ißi iÌ¸¿¬ ·- ³§ «²¼»®-¬¿²¼·²¹ò
   îëi iÏi iÑµ¿§òi ×² ´·¹¸¬ ±º ¬¸¿¬ «²¼»®-¬¿²¼·²¹ô ¼·¼ §±«ô


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëð

   iïi i i i¿º¬»® ¬¸» º·´·²¹ ±º ¬¸» ÞßÍÚ ½±³°´¿·²¬ ·² îðïïô
   iîi i i i¿-µ -°»½·º·½ ¯«»-¬·±²- ¿¾±«¬ ©¸»¬¸»® ¿ °®±¼«½¬
   iíi i i i½±²¬¿·²»¼ ¿-¾»-¬±- -± ¬¸¿¬ §±« ©±«´¼²ù¬ ®«²
   iìi i i i·²¬± ¿²±¬¸»® Û²¹»´¸¿®¼ -·¬«¿¬·±²á
   iëi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ß²¼ ·¬ù- ¬¸»
   iêi i i i-¿³» ¯«»-¬·±² ¬¸¿¬ §±« ¸¿¼ ¿-µ»¼ ¾»º±®»ô ¶«-¬ ¿
   iéi i i i´·¬¬´» ¾·¬ ¼·ºº»®»²¬ ©¸»² ¿¼¼®»--·²¹ô ¿²¼ ×ù³
   ièi i i i¹·ª·²¹ ¸»® ¬¸» -¿³» ·²-¬®«½¬·±²ò i É»ù®» ²±¬
   içi i i i¸»®» ¬± ¿²-©»® ¯«»-¬·±²- ¿¾±«¬ ¸»® ¬¸±«¹¸¬
   ïði i i i°®±½»--»- ®»¹¿®¼·²¹ ±¬¸»® -»¬¬´»³»²¬-ò i ×¬ù- ¿²
   ïïi i i i·--«» ¬¸¿¬ ·- ¾»º±®» Ó¿¹·-¬®¿¬» Ö«¼¹» Ü·½µ-±²
   ïîi i i i¿²¼ «²¬·´ ·¬ ·- ®»-±´ª»¼ô ©» ¿®» ²±¬ óó ×ù³
   ïíi i i i·²-¬®«½¬·²¹ ¸»® ²±¬ ¬± ¿²-©»®ò
   ïìi i i i i i i i i i iÓÎò ÓßÎ×ÒÑæi i i iÓ·½¸¿»´ô ½±«´¼
   ïëi i i i× ¿-µ §±« ¬± -°»¿µ «° ©¸»² §±«ù®» ¬¿´µ·²¹á
   ïêi i i i×¬ù- ¸¿®¼ ¬± ¸»¿® §±« ±ª»® ¬¸» °¸±²»ò
   ïéi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Í±®®§ ¿¾±«¬
   ïèi i i i¬¸¿¬òi ß²¼ × ©·´´ ¬®§ò
   ïçi iÏi iÇ±« ³»²¬·±²»¼ ¬¸¿¬ §±« ¾»´·»ª» ¬¸» -»¬¬´»³»²¬-
   îði i i i¿®» ½±²º·¼»²¬·¿´á
   îïi ißi iÇ»-ò
   îîi iÏi iÜ± §±« ¸¿ª» ¿²§ ©®·¬¬»² ½±²º·¼»²¬·¿´·¬§
   îíi i i i¿¹®»»³»²¬- ·² §±«® ½«-¬±¼§ô ½±²¬®±´ô ±®
   îìi i i i°±--»--·±²á
   îëi ißi i× ³¿§ ¸¿ª»ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëï

   iïi iÏi iß²¼ ©¸»®» ©±«´¼ ¬¸»§ ¾»á
   iîi ißi iÌ¸»§ °®±¾¿¾´§ ©±«´¼ ¾» ©·¬¸ ³§ ®»½±®¼-ò
   iíi iÏi iÌ¸» ®»½±®¼- ¬¸¿¬ ¿®» ¿¬ §±«® ¸±«-» óó
   iìi ißi iß¬ ³§ ¸±«-»òi Ì¸» ±²»- ¬¸¿¬ × ¸¿ª»ô §»-ò
   iëi iÏi iÌ¸¿¬ Ó®ò Ý±®»² ¸¿-²ù¬ ®»ª·»©»¼ §»¬á
   iêi ißi i× ¼±²ù¬ µ²±© ·º ¸»ù- ®»ª·»©»¼ ¬¸»³ ±® ²±¬ò
   iéi iÏi iÑµ¿§òi É»´´ô »¿®´·»® §±« -¿·¼ ¸» ¸¿¼²ù¬ ¿-µ»¼
   ièi i i i§±« º±® ¬¸»³á
   içi ißi iÎ·¹¸¬òi Ç»¿¸ò
   ïði i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ß²¼ô Ó®ò Ý±®»²ô
   ïïi i i i©¿- -¸» ©®±²¹ ¬¸»®»ái Þ»½¿«-» ´»¬ù- ½±®®»½¬ ¬¸»
   ïîi i i i®»½±®¼ò
   ïíi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i É¸¿¬á
   ïìi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ø¿ª» §±« ¿-µ»¼
   ïëi i i i¸»® º±® ¸»® ®»½±®¼-á
   ïêi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ç»-ô ©» ¸¿ª»ò
   ïéi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ñ¸ò
   ïèi iÏi iÍ± ¸» ¸¿- ¿-µ»¼ §±« º±® §±«® ®»½±®¼-á
   ïçi ißi i× ¼±²ù¬ ®»½¿´´ ·¬ô ¬¸¿¬ù- ©¸¿¬ ×ù³ -¿§·²¹ò               ×
   îði i i i¼±²ù¬ ®»½¿´´ ¬¸¿¬ ¸» ¿-µ»¼ º±® -°»½·º·½
   îïi i i i®»½±®¼-òi Ò±ô × ¼±²ù¬ ®»½¿´´ ¬¸¿¬ò
   îîi iÏi iÞ»½¿«-» §±«ùª» ¼»¿´¬ ©·¬¸ Ó®ò Þ»ª¿² ¿²¼
   îíi i i i¿¬¬±®²»§- º±® ïë §»¿®-ô ¿²¼ ·º ¿² ¿¬¬±®²»§
   îìi i i i¿-µ»¼ §±« º±® ®»½±®¼-ô ·¬ ©±«´¼ ¾» §±«® ²±®³¿´
   îëi i i i°®¿½¬·½» ¬± ¬»´´ ¬¸»³ ¿¾±«¬ ¬¸» ®»½±®¼-ô º¿·®á


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëî

   iïi ißi iÌ± ¹·ª» ©¸¿¬»ª»® ¬¸»§ ¿-µ»¼ º±® ·º × ¸¿¼ ·¬ò
   iîi iÏi iÝ±®®»½¬òi Í± ·º §±« -¬·´´ óó ·º §±« ¸¿ª»²ù¬
   iíi i i i¹·ª»² ¬¸» ®»½±®¼- ¬± Ó®ò Ý±®»²ô ¾¿-»¼ «°±² §±«®
   iìi i i i²±®³¿´ °®¿½¬·½»ô ¼±»-²ù¬ ¬¸¿¬ ¬»´´ §±« ¸»
   iëi i i i¸¿-²ù¬ ¿-µ»¼ º±® ¬¸»³á
   iêi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
   iéi i i i×¬ù- ¿®¹«³»²¬¿¬·ª»ò
   ièi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i Ò±¬
   içi i i i¿®¹«³»²¬¿¬·ª»òi Í¸» -¿·¼ »¿®´·»® §±« ¼·¼²ù¬ ¿-µ
   ïði i i i¸»® º±® ¬¸»³ ¿²¼ ²±© ¿º¬»® ´«²½¸ §±« -¿§ §±«
   ïïi i i i¼·¼ ¿-µòi Ü·¼ §±« ®»ª·»© ¬¸»³á
   ïîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ×ù³ -¿§·²¹
   ïíi i i i©» óó ¬¸»§ ©»®» ®»¯«»-¬»¼òi Ø¿ª» ©» ®»ª·»©»¼
   ïìi i i i¬¸»³ §»¬ô × ¸¿ª» ¬± ¿-µ ³§ -¬¿ºº ©¸± ¸¿²¼´»¼
   ïëi i i i·¬òi × ¼±²ù¬ µ²±©ò
   ïêi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i É»´´ô
   ïéi i i iÓ®ò Ý±®»²ô ©¸»² ·- ¬¸·- ¹±·²¹ ¬± ¸¿°°»²á
   ïèi i i iÜ·-½±ª»®§ù- -«°°±-»¼ ¬± »²¼ ·² º±«® ³±²¬¸-ò
   ïçi i i iÉ»ùª» ¿´®»¿¼§ ¾»»² ·² º®±²¬ ±º ¬¸» ¶«¼¹»ò i Ç±«
   îði i i iº·´»¼ §±«® óó ©»ùª» ¸¿¼ »¨¬»²-·ª» ¼·-½±ª»®§
   îïi i i i¾®·»º·²¹ ¿²¼ ¸»® ¼»°±-·¬·±²ù- ¬±¼¿§ò i É¸»²
   îîi i i i»¨¿½¬´§ ¿®» §±« ¹±·²¹ ¬± ¼»½·¼» ©¸»¬¸»® §±«ù®»
   îíi i i i¹±·²¹ ¬± ®»ª·»© ¬¸»-» ¼±½«³»²¬- ±® ²±¬á
   îìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i ×ù³ ²±¬ ¸»®» ¬±
   îëi i i i¿®¹«» ©·¬¸ §±«ô Ù»²»òi Ç±«ù®» ¬®§·²¹ ¬±ô §±«


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëí

   iïi i i iµ²±©ô ¿²¼ ×ù³ ²±¬ ¹±·²¹ ¬± ´»¬ §±« ¹±¿¼ ³» ·²¬±
   iîi i i i¿² ¿®¹«³»²¬ ©·¬¸ §±«ò
   iíi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ×¬ù- ²±¬ ¿²
   iìi i i i¿®¹«³»²¬òi × ¶«-¬ ©¿²¬ ¬± µ²±©æi É¸»² ¿®» §±«
   iëi i i i¹±·²¹ ¬± ®»ª·»© ¬¸»-» ¼±½«³»²¬-á
   iêi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i É»´´ô ×ù³ ²±¬
   iéi i i i®»-°±²¼·²¹ ¬± §±« ¬±¼¿§ò
   ièi iÏi iÞ§ ¬¸» ©¿§ô ¹±·²¹ ¾¿½µ ¬± ¬¸» É·´´·¿³-
   içi i i i-»¬¬´»³»²¬ ¼·-½«--·±²- ¬¸¿¬ §±« ¸»¿®¼ ¿¾±«¬ô
   ïði i i i¬¸¿¬ ¬¸»®» ©»®» ¬¸» º¿½¬ ±º ¼·-½«--·±²-ô ©±«´¼
   ïïi i i i§±« ¸¿ª» ¿²§¬¸·²¹ ·² §±«® ³¿¬»®·¿´- -± §±«ù®»
   ïîi i i i¿¾´» ¬± °«¬ ¿ ¼¿¬» ±º ©¸»² §±« ¸»¿®¼ ¿¾±«¬
   ïíi i i i¬¸±-» ¼·-½«--·±²-á
   ïìi ißi iÒ±ô × ©±«´¼²ù¬ò
   ïëi iÏi iÑµ¿§òi Ø±© ©±«´¼ §±« ¸¿ª» ¸»¿®¼ ±º ¬¸»³á i Þ§
   ïêi i i i°¸±²» ±® ¾§ ³¿·´ ±®ái Þ§ ³»»¬·²¹á
   ïéi ißi iÐ®±¾¿¾´§ ¾§ ½±²ª»®-¿¬·±²ô »·¬¸»® ·² ¿ ³»»¬·²¹
   ïèi i i i±® °¸±²»ô ¾«¬ × ¼±²ù¬ óó × ¼±²ù¬ ®»½¿´´ ¬¸¿¬ò
   ïçi iÏi iß²¼ ·² ¬»®³- ±º ¬¸» -»¬¬´»³»²¬ ¼·-½«--·±²- ·²
   îði i i i¬¸» É·´´·¿³- ½¿-»ô ¿- ©» -·¬ ¸»®» ¬±¼¿§ óó
   îïi ißi iÌ¸·- °¿®¬·½«´¿® ½¿-» ©»ù®» ¼·-½«--·²¹á
   îîi iÏi iÇ»-ò
   îíi ißi iÑµ¿§ò
   îìi iÏi iÉ·¬¸ ®»-°»½¬ ¬± ¬¸» -»¬¬´»³»²¬ ¼·-½«--·±²- ·²
   îëi i i i¬¸·- °¿®¬·½«´¿® ½¿-»ô ¬¸» É·´´·¿³- ½¿-»ô §±«


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëì

   iïi i i i©»®» ²»ª»® ¬±´¼ ©¸¿¬ ¬¸» °®±°±-»¼ »½±²±³·½
   iîi i i i-»¬¬´»³»²¬- ©»®» ¿²¼ ¸±© ³«½¸ §±« ©±«´¼
   iíi i i i®»½»·ª»ô ½±®®»½¬á
   iìi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ñ¾¶»½¬·±²ò
   iëi i i i i i iÜ±²ù¬ ¿²-©»®ò
   iêi
    ê i i i i i iÒ±© §±«ù®» ¬®§·²¹ ¬± ·²ª¿¼»
   iéi i i i½±³³«²·½¿¬·±²- ¾§ ¿²¼ ¾»¬©»»² ¿¬¬±®²»§ó½´·»²¬-ô
   ièi i i i·²½´«¼·²¹ ®»¹¿®¼·²¹ -±³»¬¸·²¹ ¬¸¿¬ ©¿- ·²
   içi i i i³»¼·¿¬·±²òi Í± ×ù³ óó
   ïði i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ×²-¬®«½¬·²¹
   ïïi i i i¸»® óó
   ïîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i óó ¿--»®¬·²¹
   ïíi i i i¿ óó
   ïìi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i óó ²±¬ ¬±
   ïëi i i i¿²-©»®á
   ïêi
     i i i i i i i i i i iÓÎò ÝÑÎÛÒæ
                              ÝÑÎÛÒæi i i i óó °®·ª·´»¹»ò
   ïéi i i iÇ»¿¸ò
   ïèi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i ×²-¬®«½¬·²¹ ¸»®
   ïçi i i i²±¬ ¬± ¿²-©»®á
   îði i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ì¸¿¬ù- ½±®®»½¬ò
   îïi ißi i× ½±²-·¼»® ¬¸¿¬ ½±²º·¼»²¬·¿´ò
   îîi i i i i i i i i i iÓÎò ßÍÍßÚæi i i i × ¿³ ¼±²»
   îíi i i i¯«»-¬·±²·²¹ º±® ¬±¼¿§ô ©·¬¸ ¬¸» »¨½»°¬·±² ¬¸¿¬
   îìi i i i©» ¸¿ª»²ù¬ ®»½»·ª»¼ ¬¸» ª»®·º·½¿¬·±²-ò i É»
   îëi i i i®»½»·ª»¼ ¿ ´±¬ ±º ¼±½«³»²¬- ´¿-¬ ²·¹¸¬ò i É»ùª»


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëë

   iïi i·¼»²¬·º·»¼ ¿¬ ´»¿-¬ ¬©± ´±½¿¬·±²- ±º ¼±½«³»²¬-
   iîi i¬±¼¿§ô ¿²¼ ¬¸»®» ¸¿ª» ¾»»² ²«³»®±«-
   iíi i·²-¬®«½¬·±²- ²±¬ ¬± ¿²-©»®ò
   iìi i i i iÍ± ×ù³ ¼±²» ©·¬¸ ³§ ¯«»-¬·±²·²¹ º±®
   iëi i¬±¼¿§ô ¾«¬ ×ù³ ¸±´¼·²¹ ±°»² ¬¸» ¼»°±-·¬·±² ¿¬
   iêi i´»¿-¬ ±² ¬¸±-» ¬±°·½- ¿²¼ ±² ¿²§ ±¬¸»®
   iéi i¼·-½±ª»®§ ·--«»- ¬¸¿¬ ©·´´ ¿®·-»ô ·²½´«¼·²¹
   ièi i¿º¬»® Ó®ò Þ»ª¿²ù- ¼»°±-·¬·±²ò
   içi i i i iÝ±«²-»´ô ¿²§ ¯«»-¬·±²-á
   ïði i i i i i i i iÓÍò Ú×ÛÔÜÍæi i i i× ¸¿ª» ¿ º»©
   ïïi i¯«»-¬·±²- ±² ¾»¸¿´º ±º óó
   ïîi i i i i i i i iÌØÛ Ê×ÜÛÑÙÎßÐØÛÎæ Ù»¬ ¿
   ïíi i³·½®±°¸±²» ±² ¾»º±®» §±« -¬¿®¬ò
   ïìi i i i i i i i iÓÍò Ú×ÛÔÜÍæi i i iÑ¸ò
   ïëi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Û¨½«-» ³»ò                 ×
   ïêi i²»»¼ ¬± «-» ¬¸» º¿½·´·¬§òi × ¿°±´±¹·¦»òi Ý¿² ©»
   ïéi i¬¿µ» ¿ ¾®»¿µ º±® º·ª»á
   ïèi i i i i i i i iÓÎò ßÍÍßÚæi i i i Í«®»ò
   ïçi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ì¸¿²µ-ò
   îði i i i i i i i iÌØÛ Ê×ÜÛÑÙÎßÐØÛÎæ Ñºº ¬¸» ®»½±®¼ò
   îïi iÌ¸» ¬·³» ·- ïæìíò
   îîi i i i i i i i iøÎ»½»-- ¬¿µ»²ò÷
   îíi i i i i i i i iÌØÛ Ê×ÜÛÑÙÎßÐØÛÎæ É»ù®» ¾¿½µ ±²
   îìi i¬¸» ®»½±®¼òi Ì¸» ¬·³» ·- ïæìéò
   îëi i i i i ÛÈßÓ×ÒßÌ×ÑÒ ÑÚ ÓßÎ×ÔÇÒ ØÑÔÔÛÇ


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëê

   iïi iÞÇ ÓÍò Ú×ÛÔÜÍæ
   iîi iÏi iÓ-ò Ø±´´»§ô × ¸¿ª» ¿ º»© ¯«»-¬·±²- ±² ¾»¸¿´º ±º
   iíi i i i³§ ½´·»²¬-ô Ý¿¸·´´ Ù±®¼±² ú Î»·²¼»´ ¿²¼ ×®¿
   iìi i i iÜ»³¾®±© ¿²¼ Ð»¬»® Í´±¿²»ò
   iëi i i i i i iÉ¸»² §±« ¬¿´µ»¼ ©·¬¸ Ó®ò ß--¿º »¿®´·»®ô ×
   iêi i i i¾»´·»ª» ¸» ¿-µ»¼ §±« ·º ±¬¸»® ¬¸¿² ©¸¿¬ §±«ùª»
   iéi i i i´»¿®²»¼ º®±³ Ó®ò Þ»ª¿² ·º §±« ¸¿¼ ¿²§ °»®-±²¿´
   ièi i i iµ²±©´»¼¹» ¬¸¿¬ ¸·- ½´·»²¬ ¸¿¼ ¼±²» ¿²§¬¸·²¹
   içi i i i©®±²¹ô ¿²¼ ×ù¼ ´·µ» ¬± ¿-µ §±« ¬¸¿¬ -¿³»
   ïði i i i¯«»-¬·±² ©·¬¸ ®»-°»½¬ ¬± ³§ ½´·»²¬ò
   ïïi i i i i i iÍ± ±¬¸»® ¬¸¿² ©¸¿¬ §±«ùª» ´»¿®²»¼ º®±³
   ïîi i i iÓ®ò Þ»ª¿²ô ¼± §±« ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹»
   ïíi i i i±º ¿²§ ©®±²¹¼±·²¹ ¾§ Ý¿¸·´´ Ù±®¼±² ú Î»·²¼»´á
   ïìi ißi i× ¸¿ª» ²± °»®-±²¿´ µ²±©´»¼¹»ô ²±ò
   ïëi iÏi iß²¼ ±¬¸»® ¬¸¿² ©¸¿¬ §±«ùª» ´»¿®²»¼ º®±³
   ïêi i i iÓ®ò Þ»ª¿²ô ¼± §±« ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹»
   ïéi i i i±º ¿²§ ©®±²¹¼±·²¹ ¾§ Ó®ò Ð»¬»® Í´±¿²»á
   ïèi ißi iÒ±ò
   ïçi iÏi iß²¼ ×ù´´ ¿-µ §±« ¬¸» -¿³» ¯«»-¬·±²ò i Ñ¬¸»® ¬¸¿²
   îði i i i©¸¿¬ §±«ùª» ´»¿®²»¼ º®±³ Ó®ò Þ»ª¿²ô ¼± §±« ¸¿ª»
   îïi i i i¿²§ °»®-±²¿´ µ²±©´»¼¹» ±º ¿²§ ©®±²¹¼±·²¹ ¾§
   îîi i i iÓ®ò ×®¿ Ü»³¾®±©á
   îíi ißi iÒ±ò
   îìi iÏi iÜ± §±« µ²±© ©¸± Ð»¬»® Í´±¿²» ·-á
   îëi ißi i× ¾»´·»ª» ¸»ù- ¿² ¿¬¬±®²»§ò


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëé

   iïi iÏi iË¸ó¸«¸ò
   iîi ißi iÌ¸¿¬ ©¿- ·²ª±´ª»¼ ·² ¬¸·- ±®·¹·²¿´´§ò i ×ù³ ²±¬
   iíi i i i-«®»ò
   iìi iÏi iØ¿ª» §±« ¸¿¼ ¿²§ °»®-±²¿´ ½±²¬¿½¬ ©·¬¸
   iëi i i iÓ®ò Í´±¿²»á
   iêi ißi iÒ±òi Ò±ò
   iéi iÏi iß²¼ ©¸¿¬ ·- ¬¸» º¿½¬«¿´ ¾¿-·- º±® §±«® ¾»´·»º
   ièi i i i¬¸¿¬ Ó®ò Í´±¿²»ù- ¿² ¿¬¬±®²»§á
   içi ißi i×² ®»ª·»© ±º ¼±½«³»²¬- × -¿© ¸·- ²¿³»ò
   ïði iÏi iÑµ¿§òi É¸·½¸ ¼±½«³»²¬- ©»®» ¬¸±-»á
   ïïi ißi iÌ¸» ¼±½«³»²¬- ×ùª» ®»ª·»©»¼ ®»½»²¬´§ò i × ¬¸·²µ
   ïîi i i i¸» ©¿- ®»º»®®»¼ ¬± ·² ¬¸» ½±³°´¿·²¬ò
   ïíi iÏi iÑµ¿§òi ß²¼ ©·¬¸ ®»-°»½¬ ¬± ¬¸» ½±³°´¿·²¬ô ¼±
   ïìi i i i§±« ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹» ½±²½»®²·²¹ ¿²§
   ïëi i i i¿´´»¹¿¬·±²- ·² ¬¸» ½±³°´¿·²¬ ¿¾±«¬ Ý¿¸·´´
   ïêi i i iÙ±®¼±² ú Î»·²¼»´á
   ïéi ißi iÒ± °»®-±²¿´ µ²±©´»¼¹»ô ²±ò
   ïèi iÏi iß²¼ ¼± §±« ¸¿ª» ¿²§ °»®-±²¿´ µ²±©´»¼¹» ±º ¿²§
   ïçi i i i¿´´»¹¿¬·±²- ·² ¬¸» ½±³°´¿·²¬ ½±²½»®²·²¹ Ð»¬»®
   îði i i iÍ´±¿²»á
   îïi ißi iÒ±ò
   îîi iÏi iß²¼ ¬¸»² × ¬¿µ» ·¬ ¬¸¿¬ §±« ¿´-± ¸¿ª» ²±
   îíi i i i°»®-±²¿´ µ²±©´»¼¹» ±º ¿²§ ¿´´»¹¿¬·±²- ·² ¬¸»
   îìi i i i½±³°´¿·²¬ ½±²½»®²·²¹ ×®¿ Ü»³¾®±©á
   îëi ißi iÒ±ò


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëè

   iïi iÏi iÑµ¿§òi Ñ¸ô ¶«-¬ ¿ º»© ½´»¿² «° ¯«»-¬·±²-ò
   iîi i i i i i iÝ¿² §±« ¬»´´ ³» ¬¸» ¿¼¼®»-- ±º §±«®
   iíi i i iº¿³·´§ ¸±³»á
   iìi ißi iïððð Ó±»´´»® ßª»²«»òi Ó±»´´»® ·- -°»´´»¼
   iëi i i iÓóÑóÛóÔóÔóÛóÎòi ×¬ù- ¿ª»²«»òi ß²¼ ¬¸¿¬ù- ßµ®±²ô
   iêi i i iÑ¸·±i ììíðéò
   iéi iÏi iììíðéá
   ièi ißi iÝ±®®»½¬ò
   içi iÏi iß²¼ ·- ¬¸¿¬ ©¸»®» §±« ®»-·¼»á
   ïði ißi iÒ±òi Ñ²» ±º ³§ -·-¬»®- ®»-·¼»- ¬¸»®»ò
   ïïi iÏi iÑµ¿§òi ß²¼ ©¸¿¬ ·- ¸»® ²¿³»á
   ïîi ißi iÝ¸»®§´ ©·¬¸ ¿ óó ÝóØóÛóÎóÇóÔòi Ô¿-¬ ²¿³» ·-
   ïíi i i iÉ±±´®·¼¹»ô ÉóÑóÑóÔóÎó×óÜóÙóÛò
   ïìi iÏi iÑµ¿§òi ß²¼ ¬¸¿¬ù- ¬¸» ´±½¿¬·±² ¬¸¿¬ §±«
   ïëi i i i®»º»®®»¼ ¬± ¾»º±®» ©¸»®» §±« ¬¸·²µ ¬¸¿¬ ³¿§¾»
   ïêi i i i§±«® ³±¬¸»®ù- ¼±½«³»²¬- º®±³ ¸»® ´»¹¿´ ¿ºº¿·®-
   ïéi i i i³·¹¸¬ ¾» µ»°¬á
   ïèi ißi iÇ»-ò
   ïçi iÏi iß¬ ¬¸·- ¬·³» ¬¸¿¬ù- ¬¸» ¯«»-¬·±²- ¬¸¿¬ × ½¿²
   îði i i i¿-µ §±« ¬±¼¿§ò
   îïi i i i i i i i i i iÓÍò Ú×ÛÔÜÍæi i i iÉ»ù®» ¹±·²¹ ¬±
   îîi i i i¸±´¼ ±°»²ô ±¾ª·±«-´§ô ±«® ¯«»-¬·±²-ò i É» ½¿³»
   îíi i i i°®»°¿®»¼ ¬± ¼»°±-» ¬¸» ©·¬²»--ô ¾«¬ -·²½» ©»ùª»
   îìi i i i´»¿®²»¼ ¬¸¿¬ ¬¸»®» ¿®» ¿¼¼·¬·±²¿´ ¼±½«³»²¬-
   îëi i i i¬¸¿¬ ©» ©»®»²ù¬ ¿©¿®» ±ºô ©»ù®» ±¾ª·±«-´§ ¹±·²¹


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïëç

   iïi i i i¬± ©¿·¬ ¬± ¿-µ ¬¸» ¾¿´¿²½» ±º ±«® ¯«»-¬·±²-
   iîi i i i«²¬·´ ©» ¸¿ª» ¿´´ ±º ¬¸» ³¿¬»®·¿´ò
   iíi i i i i i iß¼¼·¬·±²¿´´§ô ¬¸»®» ©»®» °´»²¬§ ±º
   iìi i i i±¾¶»½¬·±²-ô ¬¸» ª¿´·¼·¬§ ±º ©¸·½¸ ©·´´ ¾» ®«´»¼
   iëi i i i«°±² ¿¬ ¿ ´¿¬»® ¼¿¬» ¿²¼ ©» ³¿§ º·²¼ ±«®-»´ª»-
   iêi i i i¾¿½µ ¸»®»ò
   iéi iÏi iÍ± ¿¬ ¬¸·- °±·²¬ ¬¸¿¬ù- ¿´´ ¬¸¿¬ × ¸¿ª» º±®
   ièi i i i§±«ò
   içi ißi iÑµ¿§ò
   ïði iÏi iÍ± ¬¸¿²µ §±«ò
   ïïi ißi iË¸ó¸«¸ò
   ïîi i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Û®·½ ±® Ö±¸²ò
   ïíi i i i i i i i i i iÓÎò ÌËÒ×Íæi i i i Ì¸·- ·- Û®·½ò
   ïìi i i i× ¸¿ª» ¿ º»© ¯«»-¬·±²- º±® Ó-ò Ø±´´»§ò
   ïëi i i i i i i i i i iÌØÛ É×ÌÒÛÍÍæi i i Ñµ¿§ò
   ïêi i i i i i i ÛÈßÓ×ÒßÌ×ÑÒ ÑÚ ÓßÎ×ÔÇÒ ØÑÔÔÛÇ
   ïéi iÞÇ ÓÎò ÌËÒ×Íæ
   ïèi iÏi iÙ±±¼ ¿º¬»®²±±²ô Ó-ò Ø±´´»§ò
   ïçi ißi iÙ±±¼ ¿º¬»®²±±²ò
   îði iÏi iÓ§ ²¿³»ù- Û®·½ Ì«²·-òi × ®»°®»-»²¬ Ì¸±³¿-
   îïi i i iØ¿´µ»¬ ·² ½±²²»½¬·±² ©·¬¸ ¬¸» É·´´·¿³-
   îîi i i i´·¬·¹¿¬·±²ò
   îíi i i i i i iß®» §±« º¿³·´·¿® ©·¬¸ ¬¸» ²¿³» Ì¸±³¿-
   îìi i i iØ¿´µ»¬á
   îëi ißi iÑ²´§ × ¬¸·²µ ¾§ -»»·²¹ ·¬ ±² ¼±½«³»²¬-ô ¾«¬ ×


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïêð

   iïi i i i¼±²ù¬ µ²±© ·º ¸»ù- ¿ °´¿·²¬·ºº ±® ©¸¿¬ ¸·- ®±´»
   iîi i i i·-ò
   iíi iÏi i× -»»òi Ñµ¿§ò
   iìi i i i i i iÜ± §±« ®»½¿´´ ¿°°®±¨·³¿¬»´§ óó ¬¸»
   iëi i i i¿°°®±¨·³¿¬» ¼¿¬» ·² ©¸·½¸ §±«® ³±¬¸»® ©¿-
   iêi i i i¼·¿¹²±-»¼ ©·¬¸ ³»-±¬¸»´·±³¿á
   iéi ißi iÒ±ô ²±¬ »¨¿½¬´§òi ß½¬«¿´´§ô × ¾»´·»ª» ·¬ ©±«´¼
   ièi i i i¸¿ª» ¾»»² -±³»¬·³» ·² îðððô ¾«¬ ×ù³ ²±¬ ½»®¬¿·²
   içi i i i±º ¬¸» ¼¿¬»ô ²±ò
   ïði iÏi iÉ¿- -¸» ©±®µ·²¹ ¿¬ ÞÚÙ±±¼®·½¸ ¿¬ ¬¸» ¬·³»á i Ü±
   ïïi i i i§±« ®»½¿´´ ¬¸¿¬á
   ïîi ißi iÒ±òi Í¸» ¸¿¼ ®»¬·®»¼ò
   ïíi iÏi iÑµ¿§òi Í¸» ®»¬·®»¼ ·² ïçèéô ·- ¬¸¿¬ ½±®®»½¬á
   ïìi ißi iÝ±®®»½¬òi ×² ïçèéò
   ïëi iÏi iß²¼ ©¿- Ó®ò Þ»ª¿² ±® ¸·- ´¿© º·®³ ¬¸» º·®-¬
   ïêi i i iº·®³ ¬¸¿¬ -¸» ®»¬¿·²»¼ ·² ½±²²»½¬·±² ©·¬¸ ¸»®
   ïéi i i i½´¿·³- ®»´¿¬·²¹ ¬± ¸»® »¨°±-«®» ¬± ¿-¾»-¬±-á
   ïèi ißi iÌ± ¬¸» ¾»-¬ ±º ³§ µ²±©´»¼¹»ô ¸» ·- ¬¸» º·®-¬
   ïçi i i i±²»ò
   îði iÏi iß²¼ ¼± §±« µ²±© ©¸»² §±«® ³±¬¸»® ®»¬¿·²»¼
   îïi i i iÞ»ª¿²ù- º·®³á
   îîi ißi i× ½±«´¼ ±²´§ ¹«»-- ùçç ±® îðððò i ×ù³ ²±¬ -«®»ò
   îíi i i i×ù³ ²±¬ -«®»ò
   îìi iÏi iÉ»´´ô ¼± §±« ¬¸·²µ ¬¸¿¬ -¸» ®»¬¿·²»¼ Ó®ò Þ»ª¿²
   îëi i i i¾»º±®» -¸» ©¿- ¼·¿¹²±-»¼ ©·¬¸ ³»-±¬¸»´·±³¿á


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïêï

   iïi ißi i× ¼±²ù¬ µ²±©òi ×ù¼ ¸¿¬» ¬± -¿§òi × ¼±²ù¬ µ²±©ò
   iîi iÏi iÞ«¬ ·¬ ©±«´¼ ¸¿ª» ¾»»² ¿®±«²¼ ¬¸» ¬·³» ¬¸¿¬ -¸»
   iíi i i i©¿- ¼·¿¹²±-»¼ô ·- ¬¸¿¬ º¿·® ¬± -¿§á
   iìi ißi i× ©±«´¼ -¿§ ¬¸¿¬ù- º¿·® ¬± -¿§ò
   iëi iÏi iÜ± §±« µ²±© ©¸»¬¸»® -¸» °»®-±²¿´´§ ½±²¬¿½¬»¼
   iêi i i i¿²§±²»ô »·¬¸»® ©·¬¸ ÞÚÙ±±¼®·½¸ ±® ¿²§ ±º ¬¸»
   iéi i i i³¿²«º¿½¬«®»®- ±º ¿-¾»-¬±- °®±¼«½¬- ¬¸¿¬ §±«
   ièi i i i¾»´·»ª» -¸» ©¿- »¨°±-»¼ ¬±á
   içi ißi i× ½±«´¼ ±²´§ -°»½«´¿¬»òi × ¸¿ª» ²± °»®-±²¿´
   ïði i i iµ²±©´»¼¹» ±º ¬¸¿¬ò
   ïïi iÏi iÑµ¿§òi ß²¼ ¼± §±« ¸¿ª» ¿²§ ·¼»¿ ©¸»² ¬¸» Þ»ª¿²
   ïîi i i iº·®³ ³·¹¸¬ ¸¿ª» ½±²¬¿½¬»¼ Û²¹»´¸¿®¼ ®»¹¿®¼·²¹
   ïíi i i i§±«® ³±¬¸»®ù- ½´¿·³- ®»´¿¬»¼ ¬± ¸»® »¨°±-«®» ¬±
   ïìi i i i¿-¾»-¬±-á
   ïëi ißi iß¹¿·²ô ¾»½¿«-» × ©¿- ²±¬ ·²ª±´ª»¼ ·² ¬¸»
   ïêi i i iÛ²¹»´¸¿®¼ -»¬¬´»³»²¬ô × ½±«´¼ ±²´§ ¹«»-- ¬¸¿¬
   ïéi i i i·¬ ©¿- îðððô îððïòi ×ù³ ®»¿´´§ ²±¬ ½»®¬¿·²ò
   ïèi iÏi iß´´ ®·¹¸¬òi × ¼±²ù¬ ¸¿ª» ¿²§ ¯«»-¬·±²- óó ¿²§
   ïçi i i i±¬¸»® ¯«»-¬·±²- ¿¬ ¬¸·- ¬·³»ò
   îði i i i i i i i i i iÓÎò ÝÑÎÛÒæi i i i Ö±¸²ò
   îïi i i i i i i i i i iÓÎò ÞÑÇÔÛæi i i i Ø·òi Ì¸·- ·-
   îîi i i iÖ±¸² Þ±§´»òi É» ¼±²ù¬ ¸¿ª» ¿²§ ±¬¸»® ¯«»-¬·±²-
   îíi i i i¿¬ ¬¸·- ¬·³»ô ¿´¬¸±«¹¸ ©» ®»-»®ª» º±® ¬¸» -¿³»
   îìi i i i®»¿-±²- ¿- »ª»®§±²» »´-» ¼±»-ò
   îëi i i i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi iÖ«-¬ º±® ¬¸»


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³          ÇÊ»®ïº
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïêî

   iïi i®»½±®¼ô ½±«²-»´ô ©» -»²¬ ±ª»® ¬¸» ª»®·º·½¿¬·±²-
   iîi i¬± ÞßÍÚù- ¿²-©»®- ¬± ·²¬»®®±¹¿¬±®·»-òi × -»²¬
   iíi i¬¸» »³¿·´-òi Ü·¼ §±« ¹«§- ®»½»·ª» ¬¸¿¬á
   iìi i i i i i i i iÓÎò ÚßÎÎÛÔÔæi i i × -»» ¿² »³¿·´
   iëi i²±© ©·¬¸ Ó-ò Ø±´´»§ù- ª»®·º·½¿¬·±²-òi × ¼±²ù¬
   iêi i-»» ¬¸»³ º±® ¬¸» ±¬¸»® °´¿·²¬·ºº-ò
   iéi i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi iÎ·¹¸¬òi Ú±®
   ièi iÓ-ò Ø±´´»§ù-ò
   içi i i i i i i i iÓÎò ÚßÎÎÛÔÔæi i i Ü± §±« ¸¿ª» ¬¸»
   ïði i±²»- º±® ¬¸» ±¬¸»® °´¿·²¬·ºº-á
   ïïi i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi i×ù´´ ¸¿ª» ¬±
   ïîi i¬®¿½µ ¼±©²òi × ¶«-¬ ¿-µ»¼ ³§ ±ºº·½» º±®
   ïíi iÓ-ò Ø±´´»§ù-ò
   ïìi i i i i i i i iÓÎò ÌËÒ×Íæi i i i Ø¿ª» §±« -»²¬
   ïëi i¬¸»³ ¬± ¬¸» ±¬¸»® ¼»º»²¼¿²¬-á
   ïêi i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi iÇ»-ô §±« -¸±«´¼
   ïéi i¸¿ª» ¿ ½±°§ ¬¸»®»ò
   ïèi i i i i i i i iÓÍò Ú×ÛÔÜÍæi i i iÒ±¬ ¬¸»
   ïçi iª»®·º·½¿¬·±²- ¬± ¬¸» ±¬¸»® ¼»º»²¼¿²¬-ù óó
   îði i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi iÎ·¹¸¬ò
   îïi i i i i i i i iÓÍò Ú×ÛÔÜÍæi i i ióó ¼·-½±ª»®§
   îîi i¾«¬ ¬± ÞßÍÚù-ò
   îíi i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi Ý±®®»½¬ò
   îìi i i i i i i i iÓÎò ÚßÎÎÛÔÔæi i i É¿- ¬¸·- -»²¬
   îëi i¬± «- ¾»º±®»á


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïêí

   iïi i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi iÉ» -»²¬ ¬¸±-»
   iîi i¶«-¬ ²±©ò
   iíi i i i i i i i iÓÎò ÚßÎÎÛÔÔæi i i Ø¿¼ §±«
   iìi i°®»ª·±«-´§ -»²¬ ·¬ ¬± «-á
   iëi i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi iÒ±¬ ¬¸¿¬ ×
   iêi i®»½¿´´ò
   iéi i i i i i i i iÓÎò ÙÛÇÛÎÓßÒæi i iÍ± ±² ¾»¸¿´º ±º
   ièi i¬¸» Ý¿¸·´´ ¼»º»²¼¿²¬-ô ©» ©¿²¬ ¬¸» ª»®·º·½¿¬·±²
   içi i¬± ¬¸» Ý¿¸·´´ ¼»º»²¼¿²¬-ù ·²¬»®®±¹¿¬±®·»- ©¸»²
   ïði i§±« ´±½¿¬» ¬¸» ª»®·º·½¿¬·±²ô ·º ¬¸»®» ·- ¿
   ïïi iª»®·º·½¿¬·±²ò
   ïîi i i i i i i i iÓÎò ÐÔßÝ×ÌÛÔÔßæi iÑº ½±«®-»ò
   ïíi i i i i i i i iÓÎò ÌËÒ×Íæi i i i Í¿³» ©·¬¸
   ïìi i®»-°»½¬ ¬± Ó®ò Ø¿´µ»¬ò
   ïëi i i i i i i i iÓÎò ÝÑÎÛÒæi i i i É»´´ô ¬¸»®»
   ïêi i¾»·²¹ ²± ±¬¸»® ¯«»-¬·±²-ô × ¹«»-- ¬¸¿¬ù- ·¬ º±®
   ïéi i¬±¼¿§ò
   ïèi i i i i i i i iÌØÛ Ê×ÜÛÑÙÎßÐØÛÎæ É»ù®» ±ºº ¬¸»
   ïçi i®»½±®¼ ¿¬ ïæëëò
   îði i iøÜ»°±-·¬·±² ©¿- ½±²½´«¼»¼ ¿¬ ïæëë °ò³ò÷
   îïi i i i i i i øÍ·¹²¿¬«®» ®»-»®ª»¼ò÷
   îî
   îí
   îì
   îë


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïêì

   iïi iÌØÛ ÍÌßÌÛ ÑÚ ÑØ×Ñôi i÷i iÍÍæ

   iîi iÝÑËÒÌÇ ÑÚ ÝËÇßØÑÙßòi ÷

   ií

   iìi i i i ×ô Í¿®¿¸ Îò Ü®±©²ô ¿ Ò±¬¿®§ Ð«¾´·½ ©·¬¸·² ¿²¼

   iëi iº±® ¬¸» Í¬¿¬» ±º Ñ¸·±ô ¼«´§ ½±³³·--·±²»¼ ¿²¼

   iêi i¯«¿´·º·»¼ô ¼± ¸»®»¾§ ½»®¬·º§ ¬¸¿¬ ÓßÎ×ÔÇÒ ØÑÔÔÛÇô

   iéi i©¿- º·®-¬ ¼«´§ -©±®² ¬± ¬»-¬·º§ ¬¸» ¬®«¬¸ô ¬¸» ©¸±´»

   ièi i¬®«¬¸ ¿²¼ ²±¬¸·²¹ ¾«¬ ¬¸» ¬®«¬¸ ·² ¬¸» ½¿«-»

   içi i¿º±®»-¿·¼å ¬¸¿¬ ¬¸» ¬»-¬·³±²§ ¬¸»² ¹·ª»² ¾§ ¸»® ©¿-

   ïði i¾§ ³» ®»¼«½»¼ ¬± -¬»²±¬§°§ ·² ¬¸» °®»-»²½» ±º -¿·¼

   ïïi i©·¬²»--ô ¿º¬»®©¿®¼- ¬®¿²-½®·¾»¼ ±² ¿

   ïîi i½±³°«¬»®ñ°®·²¬»®ô ¿²¼ ¬¸¿¬ ¬¸» º±®»¹±·²¹ ·- ¿ ¬®«»

   ïíi i¿²¼ ½±®®»½¬ ¬®¿²-½®·°¬ ±º ¬¸» ¬»-¬·³±²§ -± ¹·ª»² ¾§

   ïìi i¸»® ¿- ¿º±®»-¿·¼ò

   ïëi i i i × ¼± º«®¬¸»® ½»®¬·º§ ¬¸¿¬ ¬¸·- ¼»°±-·¬·±² ©¿-

   ïêi i¬¿µ»² ¿¬ ¬¸» ¬·³» ¿²¼ °´¿½» ·² ¬¸» º±®»¹±·²¹ ½¿°¬·±²

   ïéi i-°»½·º·»¼òi × ¼± º«®¬¸»® ½»®¬·º§ ¬¸¿¬ × ¿³ ²±¬ ¿

   ïèi i®»´¿¬·ª»ô ½±«²-»´ ±® ¿¬¬±®²»§ ±º »·¬¸»® °¿®¬§ô ±®

   ïçi i±¬¸»®©·-» ·²¬»®»-¬»¼ ·² ¬¸» »ª»²¬ ±º ¬¸·- ¿½¬·±²ò

   îði i i i ×Ò É×ÌÒÛÍÍ ÉØÛÎÛÑÚô × ¸¿ª» ¸»®»«²¬± -»¬ ³§ ¸¿²¼

   îïi i¿²¼ ¿ºº·¨»¼ ³§ -»¿´ ±º ±ºº·½» ¿¬ Ý´»ª»´¿²¼ô Ñ¸·±ô ±²

   îîi i¬¸·- ïï¬¸ ¼¿§ ±º ß°®·´ô îðïéò

   îíi i i i i i i i i Í¿®¿¸ Îò Ü®±©²ô Ò±¬¿®§ Ð«¾´·½
   i i i i i i i i i i ©·¬¸·² ¿²¼ º±® ¬¸» Í¬¿¬» ±º Ñ¸·±
   îìi i i i i i i i i Ó§ Ý±³³·--·±² »¨°·®»- ß°®·´ îîô îðïéò

   îë


               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïêë

   iïi iÌØÛ ÍÌßÌÛ ÑÚi i i i i i i i÷
   i i i i i i i i i i i i i i i i ÷i i ÍÍæ
   iîi iÝÑËÒÌÇ ÑÚi i i i i i i i i ÷

   ií

   iì

   ië

   iêi i i i Þ»º±®» ³»ô ¿ Ò±¬¿®§ Ð«¾´·½ ·² ¿²¼ º±® -¿·¼

   iéi i-¬¿¬» ¿²¼ ½±«²¬§ô °»®-±²¿´´§ ¿°°»¿®»¼ ¬¸»

   ièi i¿¾±ª»ó²¿³»¼ ÓßÎ×ÔÇÒ ØÑÔÔÛÇô ©¸± ¿½µ²±©´»¼¹»¼ ¬¸¿¬

   içi i-¸» ¼·¼ -·¹² ¬¸» º±®»¹±·²¹ ¬®¿²-½®·°¬ ¿²¼ ¬¸¿¬ ¬¸»

   ïði i-¿³» ·- ¿ ¬®«» ¿²¼ ½±®®»½¬ ¬®¿²-½®·°¬ ±º ¬¸»

   ïïi i¬»-¬·³±²§ -± ¹·ª»²ò

   ïîi i i i ×Ò ÌÛÍÌ×ÓÑÒÇ ÉØÛÎÛÑÚô × ¸¿ª» ¸»®»«²¬± ¿ºº·¨»¼

   ïíi i³§ ²¿³» ¿²¼ ±ºº·½·¿´ -»¿´ ¿¬

   ïìi i i i i i i i i i i i ¬¸·-i i i i i i ¼¿§ ±º

   ïëi i i i i i i i i ô îðïêò

   ïê

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   ïçi i i i i i i i i i i i ÓßÎ×ÔÇÒ ØÑÔÔÛÇ

   îð

   îïi i i i i i i i i i i i Ò±¬¿®§ Ð«¾´·½

   îîi iÓ§ Ý±³³·--·±² »¨°·®»-æ

   îí

   îì

   îë


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                       ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                Ð¿¹» ïêê

   iïi i i i i i i i i ÜÛÐÑÍ×Ì×ÑÒ ÛÎÎßÌß ÍØÛÛÌ

   iîi iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ

   iíi   iÎ»¿-±² º±® ½¸¿²¹»æ
   i i   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ
   iì
   i i   iÎ»¿-±² º±® ½¸¿²¹»æ
   iëi   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ

   iêi   iÎ»¿-±² º±® ½¸¿²¹»æ
   i i   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ
   ié
   i i   iÎ»¿-±² º±® ½¸¿²¹»æ
   ièi   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ

   içi   iÎ»¿-±² º±® ½¸¿²¹»æ
   i i   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ
   ïð
   i i   iÎ»¿-±² º±® ½¸¿²¹»æ
   ïïi   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ

   ïîi   iÎ»¿-±² º±® ½¸¿²¹»æ
   i i   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ
   ïí
   i i   iÎ»¿-±² º±® ½¸¿²¹»æ
   ïìi   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ

   ïëi   iÎ»¿-±² º±® ½¸¿²¹»æ
   i i   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ
   ïê
   i i   iÎ»¿-±² º±® ½¸¿²¹»æ
   ïéi   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ

   ïèi   iÎ»¿-±² º±® ½¸¿²¹»æ
   i i   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ
   ïç
   i i   iÎ»¿-±² º±® ½¸¿²¹»æ
   îði   iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ

   îïi iÎ»¿-±² º±® ½¸¿²¹»æ
   i i iÐ¿¹» Ò±òi i i i i Ô·²» Ò±òi i i i iÝ¸¿²¹» ¬±æ
   îî
   i i iÎ»¿-±² º±® ½¸¿²¹»æ
   îí

   îìi iÍ×ÙÒßÌËÎÛæi i i i i i i i i i i i iÜßÌÛæ

   îë


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                                 ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                                ·ï
                            üëçôððð                        çëæë ïðçæîî ïììæïð       ïæìé
              ü                 ïìíæè                                                   ïëëæîì
                                                          ïîæíð
                            üêðôððð                        ïîîæïí                   ïæëë
   üïðôððð                      ïìíæî                                                   ïêíæïçôîð
    íëæïê                                                 ïîß
                            üèôððð                         ïïíæïî
   üïïôððð                      ïììæïí                                                              î
    ïìíæîë ïìëæîï                                         ïí
                            üèôêðð                         ïïèæïèôïçôîï ïíêæîì
   üïïíôððð                     ïììæç                      ïìëæîî                   î
    ïìêæç                                                                               èïæïïôïíôîî èèæèôçôïïô
                            üèèôððð                       ïì                            ïî ïðèæîï ïðçæê ïïðæìô
   üïìôððð                      ïìîæîð                     ëíæë ëêæîí ëéæç çëæïí        ïï
    ïðïæïê ïðîæïìôîï                                       çêæç çéæé çèæïé ïðîæê
    ïðíæîí                                                 ïðèæè ïïïæîì ïîïæîôí     îð
                                            ð                                           îðæïíôïì îïæéôèôçôïð
   üïêôððð                                                ïë                            ìðæïë ïïéæé ïìïæîïôîî
    ïìíæïîôïí ïìëæïí                                       ìðæïë éïæé éêæîë çðæí
                            ðï                                                          ïìíæè ïìêæè
   üïéîôððð                     ïîíæïéôïç                  çïæïí çëæïç çêæïí
                                                           çéæîð ïïîæïè ïîðæì       îðôððð
    ïìíæé
                            ðé                             ïîíæïïôïé ïííæí ïíìæïí       ïìíæí
   üïçôððð                      ïìïæïç                     ïíêæêôéôïî ïìíæîï        îððð
    ïðîæç ïìëæîë                                           ïìêæï ïëïæîí
                            ðç                                                          ëíæê ëêæîí ëçæïð êéæéôç
   üîôððð                       ïìïæîì                    ïê                            éçæïê çëæïí çêæç
    ïðêæïêôïè ïðéæéôïèôîì                                  ïðíæî ïðìæïê ïíçæïçô         ïíêæïíôîî ïíèæè ïìïæèô
    ïïìæî                                                  îðôîî ïììæë                  çôïð ïêðæèôîî ïêïæïé
                                            ï
   üîôíðð                                                 ïé                        îððï
    ïìëæïé                  ï                              ïíéæîï ïìðæîîôîí             êéæïïôïê êèæïï éçæïê
                                ëïæïëôïêôïé                                             çêæïí ïððæïîôïç ïðîæïé
   üîðôððð                                                ïè                            ïðíæî ïðìæïé ïïèæîî
    ïìïæê                   ïð                             ïïèæîî ïïçæï ïìïæìôë         ïïçæï ïîïæì ïîíæïï
   üîìôððð                      îðæïí ìðæïë çìæêôïç        ïìîæí                        ïêïæïé
    ïìêæì                       çëæë ïðëæïî ïðèæì
                                                          ïç                        îððî
                                ïïìæïðôïï ïìïæè
   üîëðôððð                                                ïìïæïíôïì                    éçæïê ïðëæïìôïé ïðèæì
    îïæïî                   ïððð
                                                          ïçëð                      îððì
                                ïëèæì
   üîëéôððð                                                ïïðæîë                       ïìíæí ïìêæï
    ïìîæïç                  ïðæðï
                                                          ïçêç                      îððë
                                êæè
   üîêôððð                                                 ïíéæç                        ïìíæç
    ïììæë                   ïï
                                                          ïçéé                      îððê
                                èíæèôçôïèôïç çìæîð çëæë
   üîçôððð                                                 ïïðæîë                       ïìíæïí
                                ïðèæí ïðçæè ïïíæîï
    ïìïæïé ïìíæîð               ïïìæè ïìïæç               ïçèð                      îððé
   üííôððð                                                 ïïíæï                        ïìíæïéôîï
                            ïïóÝÊóðïéëì
    ïðèæç                       êæé                       ïçèð-                     îððè
   üíìôððð                                                 ïïðæïí                       ïìíæîì
                            ïïí
    ïìëæç                       ïîðæèôïï                  ïçèé                      îððç
   üíëðôððð                                                ïíéæç ïêðæïíôïì              ïìîæíôïð
                            ïïæíê
    ïìïæïê                      èëæè                      ïæðè                      îðïð
   üìðôððð                                                 ïîîæïê                       êîæîï çèæïï ïììæë
                            ïïæìè
    ïìíæïê                      èëæïï                     ïæìí                          ïìêæëôè

   üëðôððð                                                 ïëëæîï                   îðïðñ»¿®´§
                            ïî
    íèæîî                       èíæè èìæîî çìæïíôîïôîë                                  êîæïî



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                                    ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                                ·î
   îðïï                        íð                                                       ¿½½«®¿½§
       êîæïîôîï ïìèæî ïìçæïé       îðæïë çìæê ïììæìôë                   é                ëèæîï
       ïëðæï
                               íï                                                       ¿½½«®¿¬»
   îðïî                            ïììæèôç                é                              ïíëæïç ïíêæïôì ïíèæïèô
       ïìðæì ïììæïð                                           êéæïï çìæïê ççæïï          ïç
                               íïê                            ïððæîî ïðëæïìôïé
   îðïë                            éìæïé                                                ¿½¬·²¹
       èéæîî ïìëæîî                                                                      êðæîî êéæê
                               íî                                       è
   îðïé                            ïìëæèôç                                              ¿½¬·±²
       êæç                                                                               êæé íêæïë íèæë íçæé
                               íí                         è
                                                                                         ìðæïî êíæî èìæîì çðæîï
   îï                              ïìëæïîôïí                  çìæïé ïððæïéôïç ïîíæî
                                                                                         çïæè
       ïìîæïôî ïìíæïê                                         ïîëæè
                               íì
                                                                                        ¿½¬·±²-
   îî                              ïìëæïëôïê
                                                                                         èíæîï èçæï ïðèæîë
       ïïðæïê ïîïæì ïìîæêôé                                             ç
                               íë
       ïìíæîì                                                                           ¿½¬«¿´
                                   ïìëæîðôîï
                                                          ç                              êçæïé
   îîê
                               íê                             çìæïè çëæë ïðíæï
       ïîïæêôèôïé                                                                       ¿¼¼
                                   ïìëæîìôîë
                                                          çë                             ïïèæë
   îîè
                               íé                             çëæïé
       éðæïïôïîôïêôîð                                                                   ¿¼¼·¬·±²
                                   ïìêæíôì
                                                          çè                             çëæîí çêæïôí ïðèæîî
   îí
                               íè                             îðæïéôîï êëæïíôïì éïæè
       ïîðæïï ïìîæïðôïêôïé                                                              ¿¼¼·¬·±²¿´
                                   ïìêæéôïïôïî                çëæïì çêæí ïííæïè          ïðèæè ïëèæîì
   îíð
       éðæïíôïêôîï éíæé                                   çç                            ß¼¼·¬·±²¿´´§
                                               ì              ïêðæîî                     ïëçæí
   îì
       ïìíæïôî                 ì                                                        ¿¼¼®»--
                                                                        ß                èëæí ïëèæî
   îë                              èéæïëôïéôïè ïìíæïí
       ëîæîì ëíæì ëêæïôíôïé    ììíðé                      ¿¾¿¬»³»²¬                     ¿¼¼®»--·²¹
       ëéæêôîíôîì ëçæïí êîæè       ïëèæêôé                    ïïðæïì                     ïëðæé
       êìæïç ïððæïç ïðîæïé
                               ìé                         ¿¾·´·¬§                       ¿¼»¯«¿¬»
       ïìíæêôé
                                   ïïçæëôê                    íçæïì                      êïæîï
   îê
                                                          ¿¾´»                          ¿¼³·--·±²
       ïïíæèôïï ïìíæïïôïî
                                               ë              ìíæïè ìéæïôè ëèæì éêæîí    ìîæîðôîîôîí
   îêø¿÷                                                      ïðìæè ïðëæïï ïïêæîî       ¿¼³·¬¬»¼
       èéæïç                                                  ïïéæïê ïîìæïð ïíìæïèô
                               ë                                                         éèæîï èðæîð
   îé                              êæç çìæïíôïì çëæïî         îï ïìëæìôê ïëíæïî
                                   ïíéæï
                                                                                        ¿¼ª·½»
       ïìíæïëôïê ïìêæë                                    ¿¾-»²½»                        îéæéôïðôïïôïíôïéôïç
   îè                          ëð                             êðæîë                      îèæïéôîí îçæç íîæîì
       ïìíæïçôîð                   çìæê                   ¿½½»°¬                         ìçæîì ëíæîë ëìæîôìôê
                                                              íêæë                       ëêæêôè éïæïèôîð éîæïôí
   îèç                         ëðó°±«²¼
                                                                                         èçæîïôîë çïæîë ïíçæì
       éìæí                        ïïçæïê                 ¿½½»°¬»¼                       ïìêæïê
   îç                                                         ëíæïïôïè ëëæí ëêæîôïîô
                                                              ïëôïè ëéæïêôïç ëèæîôîë    ¿¼ª·-»
       ïìíæîí ïììæï                            ê
                                                              ëçæíôïêôîðôîì êðæèôïéô     íêæïî íèæïîôïìôïë
                                                              ïè êïæîë ïïèæì ïìðæïï      ïííæîë
                   í           ê
                                   êèæïè çìæïë çêæïîôïé   ß½½±«²¬                       ¿¼ª·-»¼
                                   ïïçæïî ïîíæîôêôçôïï        ïðèæê                      íëæïî íéæïî
   í                               ïîìæîðôîîôîí ïíêæïí
       èëæïîôïë ïðîæê ïðêæé



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                                ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                            ·í
   ¿ºº¿·®-                    ¿´´±©»¼                    ß°¿®¬                     ¿®¹«³»²¬¿¬·ª»
    ïëèæïê                     çèæé ïíìæïé                ïðæç                      ïëîæéôç
   ¿ºº·¼¿ª·¬                  ß´«³·²«³                   ¿°±´±¹·¦»                 ¿®®¿²¹»³»²¬
    ïïîæè                      ïíçæîí                     ëìæîë ïëëæïê              çíæïì
   ¿ºº·´·¿¬»¼                 ¿³»²¼»¼                    ¿°±´±¹§                   ¿®®¿²¹»³»²¬-
    èèæîë                      ìðæîë ëïæïè ïìëæïê         ìîæïïôïî                  çíæïï ïíðæïî
   ¿º¬»®²±±²                  ¿³±«²¬                     ¿°°¿®»²¬                  ß®¬¸«®
    ïîîæïèôïç ïëçæïèôïç        îíæïï êêæéôîï ééæïì        ïïìæïç                    éæïì
                               ïðèæç ïïéæç ïîçæé
   ¿¹»                                                   ß°°»¿´-ù                  ¿-¾»-¬±-
                               ïìïæïé ïìíæîôéôîðôîì
    éæïé                                                  ìïæí                      çæëôîï ïðæìôïð ïíæèôïïô
                               ïììæç ïìëæçôïéôîïôîë
                                                                                    ïëôïçôîë ïìæè ïëæïíôïìô
   ¿¹¹®»¹¿¬»                   ïìêæìôè                   ¿°°»¿®¿²½»-
                                                                                    ïéôîì ïêæìôïë ïéæêôîî
    éðæîí éïæç éîæïìôîîôîë                                éæïï
                              ¿³±«²¬-                                               îðæîôíôë îçæïì íîæîï
    éíæëôïé éèæë
                               îíæïí ïïíæïê              ¿°°»¿®-                    íëæïì íéæí ììæîì ìëæïè
   ¿¹±                                                    ïíçæîî ïìðæîì ïìïæëôïç    ìêæë ìéæïìôîï ìèæïíôïê
                              ¿²¿´§-»-
    îçæîì íðæî íïæïèôîð                                                             ëíæéôïïôïè ëëæí ëêæîô
                               ïïïæïïôîðôîï ïïîæïï       ¿°°´·½¿¾´»                 ïîôïèôîì ëéæïê ëèæî
   ¿¹®»»                                                  ïðèæîì
                              ¿²¼ñ±®                                                ëçæïôïê êïæïôîï êîæïïô
    îðæîë éèæïè èðæïê
                               êìæîîôîë éìæîïôîí         ¿°°´·½¿¬·±²-               ïç êìæîì êêæîë êéæíôèô
    ïðïæïí ïïèæïí ïîêæì
                               ïðèæîì ïïëæç               îíæïç                     ïë êèæïï éïæé éíæïï
   ¿¹®»»³»²¬                                                                        éìæïíôîí éëæì éêæèôïî
                              ¿²-©»®                     ¿°°´·»-                    ééæïôí éèæîï éçæìôêôïèô
    ïèæîë ïçæïìôïêôïèôîð
                               ïíæïîôîîôîí ïéæïè          ëëæïì
    îíæîí îìæïïôïè îëæïî                                                            ïçôîî èðæîôçôïìôîïôîì
                               îïæïì îîæïð îíæî îéæêô
    çíæéôîð ïîéæïç ïîèæêô                                ¿°°®±¿½¸                   èïæê èèæîî èçæìôç çðæé
                               èôïïôïêôïèôîïôîî îèæïêô
    ïîôîí ïîçæïôìôîï ïíîæìô                               ëîæîí                     çêæíôê çéæîï çèæë
                               ïéôïè îçæîôë ìíæïç
    ïéôîð ïìïæîî                                                                    ççæïèôîï ïðíæïíôïëôïè
                               ìëæïïôïë ìêæïôèôçôïðôïì   ¿°°®±°®·¿¬»                ïðìæî ïðëæìôé ïðêæïç
   ¿¹®»»³»²¬-                  ìéæìôèôïî ìèæïôëôïï        çðæîï                     ïðéæêôïéôîë ïðçæïìôîð
    ïîéæïë ïîçæïç ïíîæê        ìçæîíôîë ëðæç ëíæîìôîë
                                                         ¿°°®±ª¿´                   ïïðæéôèôïìôïê ïïïæïôìô
    ïëðæîí                     ëìæïôîôè ëêæëôêôé ëèæì
                                                          ïìîæïè                    ëôïð ïïîæïðôïì ïïíæêôéô
                               êëæïç éïæîïôîë éîæïôî
   ¿¸»¿¼                                                                            îí ïïìæë ïïéæïôëôîë
                               éêæîí èçæîîôîì çðæïèô     ¿°°®±ª·²¹
    ïéæïë                                                                           ïïçæïðôïìôïëôïêôîí
                               îî çïæí çîæïçôîî çíæï      ìíæîî                     ïííæïìôîí ïíìæïç
   ßµ®±²                       ïïêæîí ïïéæïêôîð
                                                                                    ïíëæêôïí ïíéæëôé
    çæì èèæïç ïïðæïì ïëèæë     ïïçæïìôïê ïîðæïëôïèôîì    ¿°°®±¨·³¿¬»
                                                          ïêðæë                     ïíèæîí ïíçæïïôîì
                               ïíïæê ïííæîð ïíìæïé
   ß´»¨                                                                             ïìïæïìôîí ïìîæé
                               ïììæïçôîíôîë ïìëæíôì      ¿°°®±¨·³¿¬»´§
    êæïð                                                                            ïììæïëôïê ïìéæè ïìèæèô
                               ïìéæïîôïè ïìèæîðôîîôîí     ïêðæì                     ïï ïìçæîî ïëðæí ïêðæïé
   ¿´·ª»                       ïëðæçôïí ïëìæëôïëôïç
                                                         ß°®·´                      ïêïæéôïì
    ëíæé ëéæïð                 ïëëæí
                                                          êæç ïìíæè ïììæë ïìëæîî   ¿-¾»-¬±-ù
   ¿´´»¹¿¬·±²-                ¿²-©»®»¼                    ïìêæïôë                   ïïîæïç
    îêæïè íîæïï ìïæî ïðéæì     ìïæïð
    ïëéæïëôïçôîí
                                                         ¿®»¿                      ¿-¾»-¬±-ó½±²¬¿·²·²¹
                              ¿²-©»®-                     ëíæïîôïç ëêæïíôïê         ïïîæîïôîì
   ¿´´»¹»¼                     îíæë ëéæîì éîæïð èïæîí     èèæîð
    ïéæîî ìîæï ìíæé êïæé       ïêîæî                                               ¿-¾»-¬±-ó´·µ»
    êíæï èéæïð çïæç
                                                         ¿®»²ù¬                     ïïíæïé
                              ¿²¬»                        ìîæç
   ¿´´»¹»¼´§                   êêæç                                                ¿-¾»-¬±-ó®»´¿¬»¼
    ïêæïç
                                                         ¿®¹«»                      îïæî ïîðæê ïííæïê
                              ¿²§¾±¼§                     ïëîæîë                    ïíìæïç ïíéæîë ïìêæïé
   ¿´´±©                       îéæîë íðæè íïæî íìæë
                                                         ¿®¹«³»²¬                   ïìèæí
    ìçæïð                      íéæïç íçæîï ëéæîí ëçæë
                               ïíìæé ïíéæïè               ïëíæîôì                  ¿-¾»-¬±-·-
                                                                                    çèæè



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                                ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                              ·ì
   ¿-·¼»                       ïïðæïê                    ¿©¿®»                      ¾»¹·²²·²¹
    ïîæç íéæí ïîêæè                                       ïçæïí îìæïé çìæè           êæî èìæé ïðíæïï
                              ¿¬¬¿½¸»¼
                                                          ïëèæîë
   ¿-µ»¼                       èêæé                                                 ¾»¸¿´º
    ïèæï îïæîì íîæêôçôïé                                                             éæïïôïì ïðèæé ïðçæîì
                              ¿¬¬»²¼»¼
    ííæïôëôïì íìæë ìïæç                                              Þ               ïíéæîë ïëëæïï ïëêæî
                               êìæé
    ëîæïìôïêôïé êçæîî                                                                ïêíæé
    ïðíæïî ïíçæï ïìèæéôïð     ¿¬¬»²¬·±²                  ¾¿½µ                       ¾»´·»º
    ïëðæê ïëïæéôïìôïèôîðô      èèæé ïððæïé                ïîæç ëèæë éçæïê èíæè       çèæç ïðìæç ïëéæé
    îì ïëîæïôë ïëêæê                                      èëæïð èéæîî çîæëôïð
                              ¿¬¬±®²»§
    ïêîæïî                                                ïððæç ïðçæê ïïíæîï        ¾»´·»ª»
                               ïíæí ïèæïì îðæï îìæíôçô
                                                          ïïìæè ïïëæïí ïîîæïë        çæîôïð ïïæîî ïîæïí
   ¿-µ·²¹                      ïð îèæèôîî íïæí íîæë
                                                          ïëíæè ïëëæîí ïëçæê         îéæîî îèæê íðæë íïæï
    ïéæî ïèæê ìèæëôê éïæïç     íêæïé ìçæïí ëêæïíôîë
                                                                                     íèæïî ìïæîì ìîæì ëêæïí
    éîæê éëæïé ççæê ïðêæîì     ëéæïî ëèæç êïæîôïì        ¾¿¹-                        éîæïê èîæîë èíæï èëæîì
    ïïêæïï ïïèæï ïìéæïð        êîæïíôîî êçæïç èìæîðô      ïïçæïîôïêôïé               èêæîð ïîçæïì ïíëæè
                               îï èëæë èèæïç ïîçæë
   ¿-µ-                                                  ¾¿´¿²½»                     ïíçæè ïìëæê ïìçæîî
                               ïíëæçôïï ïíêæïë
    ïîèæï                                                 ïëçæï                      ïëðæïç ïëêæêôîë ïêðæé
                               ïíèæïîôïíôïê ïìîæîì
                                                                                     ïêïæè
   ¿-°»½¬-                     ïìéæîí ïëïæîí ïëêæîë      ¾¿´´°¿®µ
    ïíïæïê                     ïëéæè                      ïíçæïè                    Þ»´´
                                                                                     ççæîï
   ß--¿º                      ¿¬¬±®²»§ù-                 ¾¿-»¼
    êæïç éæîí îïæïëôîï         ïìîæîð ïìíæè               ïïæïçôîï ïëæç îìæîí       ¾»-¬
    îîæïôìôèôîï îíæï îèæîï                                îêæïè ìêæí ìéæìôêôïðôîð    èæîî îíæîï íîæí ëïæïì
                              ¿¬¬±®²»§ó½´·»²¬
    îçæïôê íïæïîôïë ëîæîî                                 ëçæîí êðæïì êïæîë éïæê     ëéæïé ëçæîî êîæîð
                               îïæîî îîæïð îéæîí
    éïæïìôïé éîæè èïæçôïêô                                éçæíôïïôïîôîï èðæêôïï      çëæîð çèæç ïîîæï ïíêæîô
                               ïíïæïïôïì
    ïç èîæïêôïç èëæïí èêæïô                               èîæê çéæîð ïðìæç ïðéæíô    ë ïìéæîî ïêðæïè
    ê çðæîí çïæïçôîì çîæíôç   ¿¬¬±®²»§ó½´·»²¬-            ïï ïïêæéôîï ïïèæí         ¾»¬¬»®
    çìæïî ïïïæïè ïîîæïðôïé     ïëìæé                      ïîèæîî ïíîæïí ïëîæí        ìëæïì êðæé ïíîæç
    ïîìæïèôîí ïîëæïôéôïî
                              ¿¬¬±®²»§-                  ÞßÍÚ
    ïîêæíôïí ïîéæïéôîí                                                              Þ»ª¿²
                               ïïæîï ïîæëôçôïíôïë         êæëôîðôîîôîì ïïæïôì
    ïîèæíôéôïðôïë ïíðæïçô                                                            ïëæíôéôîïôîë ïêæëôîð
                               ïìæîïôîì ïèæîôïï îëæî      ïìæïï îðæê îëæîî êêæéô
    îí ïíïæïôëôèôïïôïéôîì                                                            ïéæçôîíôîì ïèæïëôïè
                               íïæïç íîæïôêôïí ííæïôêô    ïðôïìôïèôîð éíæïéôîî
    ïíîæíôè ïííæéôïî                                                                 ïçæíôéôïðôïïôîïôîí
                               ïð íëæè íêæç íèæèôïî       ééæïê èèæîì ïìéæïïôïë
    ïìèæîì ïìçæì ïëïæïðô                                                             îìæêôïðôïîôïé îëæíôëô
                               íçæê ìíæïðôîí ëðæíôìôë     ïìèæïôé ïìçæïðôïé
    ïìôïé ïëîæèôïê ïëíæí                                                             ïïôîð îêæïëôîï îéæïíô
                               ëïæè ëîæïéôïè êðæçôïë      ïëðæï
    ïëìæïðôïìôïèôîî ïëëæïè                                                           îì îèæïì îçæïî ííæèôîî
                               êîæï êíæîî êìæè èèæîë
    ïëêæë                                                ÞßÍÚùÍ                      íëæïë íêæïíôïé íéæìôîë
                               ïîéæçôïðôïî ïíìæïé
                                                          ëíæç ëìæîî êïæîî êìæîí     íèæç ìíæîôíôëôêôç ìêæîí
   ß--¿ºù-                     ïëïæîí
                                                          éïæî èïæîí ïêîæîôîî        ìéæï ëïæïï ëîæíôïðôïç
    éîæì
                              ¿¬¬±®²»§-ù                                             ëëæïç ëêæîðôîë ëéæéôçô
   ¿--»®¬»¼                    íîæîí                     ¾¿-·½                       ïîôïè ëèæïð ëçæê êðæêô
    çîæèôïê                                               ìçæïè                      ïç êïæíôçôïîôïë êîæîôëô
                              ß«¹«-¬                                                 ïíôïè êíæí êìæïë êëæéô
   ¿--»®¬·²¹                   ïðìæïê ïìíæïí             ¾¿-·½¿´´§
                                                          ìðæê êçæç çèæî             îì êéæïçôîîôîë êèæî
    çðæîð çïæîí ïìèæïç
    ïëìæïî
                              ¿«¬¸±®·¦¿¬·±²                                          êçæïì éðæîë éïæê éíæìô
                               éðæîë éíæïêôîï            ¾¿-·²¹                      ïïôîë éìæïôïëôïê éêæîë
   ¿--»®¬·±²                                              îîæïìôïé                   éçæíôïïôïí èðæïôïî
    çïæîî çîæïí
                              ¿«¬±³¿¬·½                                              èìæîðôîï èëæë èêæïïôïç
                               çîæïë                     ¾¿-·-
                                                          çæïð ïîæïí îêæïì îèæïç     èéæïïôïí èèæïíôïç
   ¿--±½·¿¬»-                                                                        èçæïê çðæí çïæéôïí
    ïçæí ïðèæé
                              ¿ª»²«»                      ëðæîïôîí éçæïí èíæîí
                               ïëèæìôë                    ïïêæîï ïïéæïé ïíïæè        çîæîï çíæîôèôîï çêæïì
   ¿--«³»                                                 ïììæîì ïìéæî ïëéæé         çéæîï çèæïíôïè ççæïí
    éæïð ïðíæîí
                              ¿©¿®¼                                                  ïððæîð ïðîæêôîï ïðìæìô
                               îèæï                      ¾»½±³·²¹                    ïë ïðëæêôïì ïðéæïôìôë
   ¿-¬±«²¼·²¹                                             ïðìæîë                     ïðèæê ïðçæïï ïïðæïôîì



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                               ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                             ·ë
    ïïïæïç ïïíæìôïïôïí       Þ®»²¬                      íðæïè íîæéôïïôïé ííæîë    ½¸¿²¹»
    ïïìæë ïïëæïôèôç ïîðæì     ïîïæïï                    íìæïïôïì íëæîôíôèôïìôîì    îìæïí ïðïæïî
    ïîïæéôïï ïîîæï ïîíæíô                               íêæîï íéæêôç íèæéôîîôîí
                             ¾®·»º»¼                                              ½¸»½µ
    ïê ïîëæçôïèôïçôîð                                   íçæïê ìðæéôçôïð ìïæí
                              îíæç                                                 ïíîæïð
    ïîêæïëôîí ïíðæï ïíîæîí                              ìêæëôïëôïç ìéæîôê ëçæê
    ïíëæïï ïíêæíôïê          ¾®·»º·²¹                   êëæïôêôïðôîë êçæïè éëæè   ½¸»½µ»¼
    ïíéæïêôïç ïíèæïí          ïëîæîï                    èðæé èìæïðôïïôïí èëæí      ïîëæî
    ïìðæéôç ïìîæîîôîí                                   èéæç èèæë èçæïé çðæïì
    ïìíæí ïìéæïçôîí
                             ¾®·²¹·²¹                   çîæîî çíæìôçôîî çìæí
                                                                                  ½¸»½µ-
                              ìêæïî                                                ïíìæïîôïí
    ïìçæïèôîï ïëïæîî                                    çêæê ïðíæîî ïðéæë
    ïëêæéôïîôïêôîð ïêðæïëô   ¾®±¬¸»®                    ïïéæîíôîì ïîêæïðôïê       Ý¸»³·½¿´
    îì ïêïæïï                 èéæïôí                    ïîèæïç ïîçæêôçôïêôïéô      ïðïæçôïð ïðíæê ïðèæïì
                                                        îðôîî ïíðæîôïí ïíîæïêô     ïíçæîí
   Þ»ª¿²ù-                   ¾®±«¹¸¬                    îï ïíçæí ïìçæïé
    îìæíôç îéæí îèæè ìêæîë    ëéæîë                     ïëíæîðôîïôîë              Ý¸»®§´
    êîæîî êíæì çíæïç ççæê                                                          ïëèæïî
    ïðíæîí ïïîæï ïîêæîì      ¾«²½¸                     ½¿-»-
    ïíðæïï ïíîæïë ïíèæïê      éèæïðôïì                  îðæè îçæïì íîæîï íéæíôç   ½·®½«³-¬¿²½»-
    ïìêæïê ïëëæè ïêðæîï                                 ìéæîï ëîæïð êìæïë          èæîð
                                           Ý            êëæïíôïë êêæîí êéæèôïë    ½·ª·´
   ¾»§±²¼
                                                        êèæïï ééæïôêôèôïð          êæé éæïè
    ïìéæïï
                             Ýó¸ó»ó®ó§ó´                éçæïëôïé çðæé çèæïéôîïô
   ÞÚÙÑÑÜÎ×ÝØ                                           îíôîë ççæé ïðïæïé         ÝÔßÜ
                              ïëèæïî                                               ïðïæîë ïïìæïë
    çæì êêæí éèæí ïðçæîë                                ïðîæî ïïëæíôîì ïìéæîï
    ïïðæêôïíôîðôîë ïïïæî     ÝòÐò                                                 ½´¿·³
                              ïïïæê                    ½¿-¸
    ïïîæèôïîôïìôïèôîðôîí                                                           éëæì éêæïî ééæïë ïðêæï
                                                        ïíêæïî
    ïïíæëôîî ïïçæïðôîí       Ý¿¸·´´                                                ïíêæïî
    ïíéæè ïêðæïð ïêïæê        éæïôîôì îëæîî éïæï       Ý¿--¿²¼®¿
                                                        êæîë                      ½´¿·³»¼
   ÞÚÙÑÑÜÎ×ÝØùÍ               èëæïê èèæîì ïëêæíôïí                                 ìèæïê
    ïïïæïïôîð ïïîæïï          ïëéæïë ïêíæèôç           Ý¿¬¿´§-¬-
                                                        êæë èèæîì                 ½´¿·³-
   ¾·¬                       ½¿´´»¼                                                ëëæïð êïæîî éìæëôêôîí
    êèæïç ïëðæé               éæïé ïðæïçôîïôîí ïïæï    ½¿«-»                       éêæç èìæîë èèæîî èçæê
                              èîæïí                     ëïæé éìæïç                 ïððæïî ïðèæïç ïïéæïî
   ¾±·´»®-
    ïïðæè                    ½¿²ù¬                     ½¿«-»¼                      ïíëæêôïí ïíçæïð ïìïæë
                              ïðæè îðæîë îìæîôïë        ïëæïíôïìôïé                ïìèæì ïêðæïé ïêïæïí
   ¾±²«-                      îéæïï íðæê íïæïé íîæïç
    îèæï                                               ½»³»²¬                     ½´¿®·º·»¼
                              ííæì ìéæîì ìçæéôîë                                   ïèæî îêæë
                              êíæïéôïç êéæì èîæì        ïíéæé
   ¾±¬¬±³
    éíæèôç ïïîæïé ïîðæïï      èéæîïôîì ïðïæî ïðéæïë    ½»®¬¿·²                    ½´¿®·º§
    ïîïæéôïè                  ïíîæîì ïíèæîì ïíçæïî      ïêæïð íîæïî íêæïêôïè       ïêæí êíæé
                              ïìèæîî                    éëæîï éèæîôîë éçæç        Ý´¿®µ
   ¾±¨»-
                             ½¿°¬·±²»¼                  èëæîî çìæîë ïïéæïë         ïïîæç
    êèæïè
                              çêæîî                     ïîçæïð ïêðæè ïêïæïé
   Þ±§´»                                                                          ½´¿--
                             ½¿®»                      ½»®¬·º·½¿¬»                 èæïôëôéôèôîïôîî ïïæçôïé
    éæïì ïêïæîïôîî
                              ïçæì                      èîæê                       ïèæìôë ïçæê îìæîïôîí
   ¾®¿²¼                                                                           îêæïôêôç îèæïôëôéôïï
                             ½¿®»º«´´§                 ½»®¬·º·½¿¬»-
    ïîïæïí                                                                         íïæíôì ííæè íìæîôîë
                              ëëæîî                     ïðêæê
                                                                                   íëæê íêæêôïïôïë íéæïé
   ¾®»¿µ
                             ½¿-»                      ½»®¬·º·»¼                   íèæïôëôê íçæéôç ìðæïî
    èïæîð èëæê ïîîæë ïîëæí
                              êæïë èæë ïïæïðôïïôïç      éæîð                       ìïæïëôîíôîì ìîæëôêôïï
    ïëëæïé
                              ïíæïð ïìæïôî ïèæîî                                   ìíæïîôîïôîì ììæìôëôïê
                                                       ½»®¬·º§
   Þ®»½µ»²®·¼¹»               ïçæïèôîð îðæîôíôç                                    ëéæîî êðæï êíæîôîîôîë
                                                        ïíëæïë
    çèæîì ïðïæïë ïðèæéôîð     îìæîîôîí îëæïôïê îêæï                                êìæîôè êçæì éìæêôîî




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                                ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                              ·ê
    éëæï éêæí èéæïè èèæîï      ïíèæîí                    ½±²½»°¬                    ½±²¬·²¹»²½§
    çïæïîôïë çìæì ïïìæîë                                  ìèæîôì                     ïîçæéôèôç
                              ½±³°¿²§
    ïïëæìôïïôîí ïïêæìôïîô
                               ïðæïçôîïôîí ïïæï ïìæìô    ½±²½»®²»¼                  ½±²¬·²«»
    ïêôïé ïïéæîïôîî ïïèæï
                               éôç ïëæïëôïè îêæéôïðô      ïîëæïì                     ëìæéôïë éðæîï
    ïîéæèôïì
                               ïíôîî ìëæïéôîð ìêæì
                                                         ½±²½»®²·²¹                 ½±²¬·²«»-
   ½´»¿²                       ìéæîí ìèæêôïí ìçæíôïïô
                                                          èçæíôè ïëéæïìôïçôîì        éïæí
    ïëèæï                      îð ëðæïèôïç ëïæêôç
                               ïððæìôïð ïðèæïé           ½±²½´«¼»¼                  ½±²¬®¿½¬»¼
   ½´»¿®
                               ïðçæïîôîë ïïïæê            ïêíæîð                     çèæì
    ïéæïç ííæçôïï éîæê èëæï
                               ïïîæîîôîë ïïíæéôïêôîîô
    ïíðæé
                               îë ïïéæë ïíéæè ïìðæïð
                                                         ½±²º»®»²½»-                ½±²¬®·¾«¬»¼
                                                          ëéæïí                      êêæé
   ½´·»²¬                      ïììæïì
    îìæïì ëçæïë çîæïç
                              ½±³°¿²§ù-                  ½±²º·¼»²¬·¿´               ½±²¬®±´
    ïîçæë ïëêæèôïð                                        îíæîî ïíìæíôìôë ïëðæîð     ïëðæîí
                               ìëæîî
                                                          ïëìæîï
   ½´·»²¬ù-                                                                         ½±²ª»®-¿¬·±²
                              ½±³°»²-¿¬»
    ïïèæïï
                               ïíæïï
                                                         ½±²º·¼»²¬·¿´·¬§             ïîæé ïìéæí ïëíæïé
                                                          îîæïèôîî îíæîíôîì îìæïô
   ½´·»²¬-                                                                          ½±²ª»®-¿¬·±²-
                              ½±³°»²-¿¬»¼                 ïïôïêôïè îëæïî ïëðæîî
    éíæïî ïðëæîíôîë ïðêæìô                                                           ïðæïé ïïæîï ïìæîðôîí
                               ïëæïîôïê çìæí
    êôïð ïëêæí                                           ½±²²»½¬·±²                  ïîïæîë ïìéæîì
                              ½±³°»²-¿¬·±²                ïëçæîï ïêðæïê
   ½´·»²¬-ù                                                                         Ý±±µ
                               ïìæê ïëæîíôîì ïêæîôèô
    éðæîì èçæê
                               ïìôïçôîí ïçæïë îðæë
                                                         Ý±²²±´´§                    êæïð
                                                          éæì
   ½±¿½¸·²¹                    îïæïôïï ìîæîð êïæîï                                  Ý±±°»®
    éîæçôïî                    çíæîï çëæïè çéæîí çèæé    ½±²-»²¬                     éèæí
                               ïïêæí ïïèæë                éðæîì éíæïê
   ½±´´»¿¹«»-                                                                       ½±°·»-
    êìæïí                     ½±³°´¿·²¬                  ½±²-»²¬·²¹                  íìæè êéæïç êèæè
                               ïîæïéôïçôîï ïëæç îêæïçô    ïìêæïê
   ½±´´»½¬·ª»                  îð íðæìôê íîæïï ìðæîë                                ½±°§
    éîæïè
                               ììæçôîð ëïæïëôïè ëëæçô    ½±²-·¼»®                    ëîæë êéæîì èîæïé èêæî
                                                          íçæî êðæèôïê ïíìæíôìôë     ïîíæïê ïîèæïê ïêîæïé
   ½±³»                        ïë ëéæîð ëèæéôçôïíôîï
                               ëçæçôïë êðæíôïí êíæîô      ïëìæîï
    ïîæç íîæïí èðæïî ïðçæê                                                          Ý±®»²
    ïîêæîï ïîéæë               ïðôïíôïëôîð éðæïî         ½±²-·¼»®¿¬·±²               êæïíôïì ïíæîð ïéæïí
                               çëæïí çèæïïôîì ïðèæîð      íèæïè                      ïèæïì ïçæï îðæîî îïæïíô
   ½±³³»²½»¼                   ïîíæëôïî ïîìæïìôîï                                    ïéôîì îîæîôêôïéôîì îíæì
    ëíæé ëêæîì ëéæïð           ïîëæïç ïìèæïôé ïëðæï      Ý±²-±´·¼¿¬»¼
                                                                                     îëæè îéæìôïë îèæïëôîì
                               ïëéæïîôïíôïëôïçôîì         çêæîî ïïìæïêôîï
   ½±³³»²¬                                                                           îçæí íïæïìôïê íëæïð
    ïíîæïì                    ½±³°´¿·²¬ù-                ½±²¬¿½¬                     íêæéôïðôîì íéæï íèæîôèô
                               ççæè                       ïëéæì                      ïðôîë íçæïèôîð ìðæï
   Ý±³³±²
                                                                                     ìïæéôç ìîæîôïí ìíæêôçô
    ëíæè ëéæîë ïðçæï          ½±³°´¿·²¬-                 ½±²¬¿½¬»¼                   ïíôïé ììæïôïï ìëæç
                               çêæîî ççæï ïïìæïêôîï       ïîêæîï ïêïæëôïî
   ½±³³±²´§                                                                          ìéæîë ìçæë ëíæîí ëìæêô
    ïïïæç ïïîæç                ïïëæïè                    ½±²¬¿·²                     çôïïôïìôïç ëëæïí ëêæì
                                                          ïïíæïê                     êðæì êíæéôè êëæïè êçæîî
   ½±³³«²·½¿¬·±²              ½±³°´·½¿¬»¼
                                                                                     éïæïïôïêôîî éîæèôïï
    çïæîë                      çïæì çîæïì                ½±²¬¿·²»¼                   éêæïç ééæïé éçæé èïæïìô
                              ½±³°«¬»®                    îêæïè êïæï êìæîì ïïðæê
   ½±³³«²·½¿¬·±²-                                                                    ïè èîæïè èçæïè çðæïé
                               íîæïë ííæïê íìæê           ïïîæïì ïíëæïé ïëðæí        çïæïôïéôîï çîæïôîôéôïî
    ííæîîôîì íìæî ïëìæé
                                                         ½±²¬¿³·²¿¬»¼                ïðìæê ïðëæïð ïðêæîï
   ½±³°¿²·»-                  ½±²½»¿´³»²¬
                                                          ïïïæïð ïïîæïð              ïðéæçôîð ïïëæëôç ïïêæïô
    îðæê ììæîðôîî ìëæî         éìæîï éëæç
                                                                                     ë ïïéæïí ïïçæîë ïîìæèô
    ìéæïì ìèæïë ëðæï ëïæïî    ½±²½»·ª¿¾´§                ½±²¬»²¬                     ïèôîîôîì ïîëæëôîí
    ççæïé ïðíæéôçôïîôïìôïè     éïæîï                      ïìèæè                      ïîêæïï ïîéæîîôîë
    ïðèæïè ïïëæíôïç ïîðæë                                                            ïîèæëôèôïïôïé ïíðæïéô



               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                                ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                             ·é
    îïôîì ïíïæíôéôçôïíôîï     ½±«´¼²ù¬                    ïïçæïè                   Ü»½»³¾»®
    ïíîæïôë ïííæïç ïììæïè      íïæë ìîæïë ïíçæïëôïè                                 ïìíæîì
                                                         Ü¿®²»´´
    ïìëæîôë ïìéæç ïìèæïìô
                              ½±«²-»´                     èæé ëíæé ëêæîí ëéæïð     ¼»½·¼»
    ïêôïèôîï ïìçæîôê ïëðæëô
                               êæïï îéæéôïðôïîôïéôïç      éíæïí çëæïí çêæïè         íëæïçôîï íêæïï íéæîë
    ïé ïëïæëôïðôïíôïê
                               îèæïé îçæç ìçæîì ëíæîë     ïðïæïè ïðîæç ïðêæïï       íèæê ïëîæîî
    ïëîæíôêôïîôïéôîì ïëíæê
                               ëìæîôëôê ëêæêôè êìæîð      ïðçæî ïïèæîï ïïçæçôîî
    ïëìæìôïîôïêôîð ïëëæïëô                                                         ¼»½·¼·²¹
                               éîæîôì èîæïé èìæîì èêæï    ïîíæëôïî ïîìæïìôîï
    ïç ïëçæïî ïêïæîð                                                                éðæîí
                               èçæîïôîë çíæïè çèæïì       ïíéæê ïìïæê ïìëæí
    ïêíæïë
                               ïïïæïç ïëëæç ïêîæï                                  ¼»½·-·±²
                                                         Ü¿®²»´´ù-
   Ý±®»²ù-                                                                          íêæë íèæïì ëêæïì èíæîð
                              ½±«²¬                       ïîëæïí
    ïíðæïð
                               çëæïì ïðíæè                                         ¼»½·-·±²-
                                                         ¼¿¬»
   Ý±®²·²¹                                                                          ìïæí èíæîí
                              Ý±«²¬§                      êæç íìæïð ëìæîî êîæïé
    ïìîæî
                               ëíæç ëëæì ëéæïê ëèæï       êêæì êçæç ïðìæîë         ¼»»³-
   Ý±®²·²¹ñº·¾®»¾±¿®¼          ëçæîôìôïéôîë ïðèæîë        ïïèæîë ïîëæîë ïëíæïî      êêæè
    ïìïæîí                                                ïëçæë ïêðæëôç
                              ½±«°´»                                               ¼»º»²¼¿²¬
   Ý±®°                        íïæîï êèæïè               ¼¿¬»¼                      êæîð íëæïê íèæîï ìëæî
    ïðïæïð                                                çêæïí ïððæïç ïðîæïê       ëíæïð ëêæïï êêæí èðæïè
                              ½±«®-»
                                                          ïðíæï ïðëæïé ïíêæïí       èèæîì çëæîë ïðìæïì
   Ý±®°±®¿¬·±²                 ïêíæïî
                                                          ïìîæíôïð ïìíæèôïîôïíô     ïðéæïéôîì ïîçæïî ïìéæé
    ççæïè ïðïæïð ïíçæîí
                              ½±«®¬                       ïêôîð ïììæç ïìëæîïôîë
                                                                                   ¼»º»²¼¿²¬-
   Ý±®°±®¿¬·±²ù                êæê éæê ïïæïï ìïæí ëíæè    ïìêæì
                                                                                    éæîôïé èæïì ïîæî îðæîôçô
    ïðïæïî                     ëèæï êêæè êéæïé çðæîï
                                                         ¼¿¬»-                      ïðôîðôîì îïæîôìôë îêæî
                               çïæïê çîæë ïðçæï ïïèæèô
   ½±®®»½¬                                                ïìæïí îëæïç               íèæîï íçæê ìçæè êðæîì
                               ïðôïîôïë ïîéæë ïîèæï
    ïëæê ïéæíôìôêôç ïèæçôïð                                                         êïæîð êëæïì êéæî éïæè
                               ïííæîì ïíëæïìôïè          ¼¿©²»¼
    îíæïêôïèôîð îìæçôïí                                                             ééæï éèæïôíôïð éçæïè
                               ïìîæïé                     ïîëæïë
    îëæéôïðôïîôïí îêæïëôîí                                                          èðæïí èïæì èîæîí èçæï
    íîæîîôîìôîë ííæí íëæïéô   ½±ª»®·²¹                   ¼¿§                        çëæïìôïé çêæì çèæïëôîîô
    ïèôîî íêæíôîî íéæïï        ïíéæé                      êæïí íéæîì                îë ççæíôïìôïé ïððæïíô
    íçæïð ìðæîï ìïæì ììæîïô                                                         îí ïðïæïí ïðîæïôïíôîð
                              ½®»¿¬»                     ¼»¿´
    îî ìéæïèôïç ëïæïí                                                               ïðíæëôîï ïðìæîð
                               ïïîæïè                     êéæîí
    ëëæïïôïêôîðôîïôîîôîì                                                            ïðêæïëôïç ïðéæê ïðèæïï
    ëçæïç êïæçôïðôïí êîæí     ½®»¿¬»¼                    ¼»¿´·²¹                    ïðçæïè ïïìæïôïé ïîíæì
    êêæïïôïîôîë êéæïôïîôîð     ééæí                       çéæîð                     ïîëæïï ïííæïìôïè
    êçæîðôîïôîí éíæîë ééæç                                                          ïíçæïê ïìêæïè ïìèæí
    éèæïêôîì éçæîð èðæïçô
                              ½«®-±®§                    ¼»¿´-                      ïêîæïë ïêíæè
                               êçæé                       çðæïç
    îð èíæìôë èìæïí èêæïë
                                                                                   ¼»º»²¼¿²¬-ù
    çðæèôçôïê ïðêæîð ïðéæï    ½«-¬±¼§                    ¼»¿´¬                      íëæïí ëïæïê êîæïð
    ïðçæì ïïðæîî ïïìæîôê       ïëðæîí                     ëêæîë êêæîì êéæî
                                                                                    éìæïí èïæïï èëæïîôïë
    ïïèæïê ïîðæêôé ïíïæé                                  ïëïæîî
    ïíëæé ïíèæéôïëôïè         Ý«§¿¸±¹¿                                              èéæïëôïéôïè èçæîôé
    ïíçæî ïìçæîí ïëïæïï        ëíæç ëëæì ëéæïê ëèæï      Ü»¿®                       çìæïìôïëôïêôïéôïèôïçô
                               ëçæïôíôïéôîë ïðèæîë        ïðëæîï                    îðôîï ïïèæïè ïîïæî
    ïëîæî ïëìæíôîð ïëèæè
                                                                                    ïîíæïôî ïíêæê ïíçæïç
    ïêðæïíôïì ïêîæîí                                     ¼»¿¬¸                      ïìðæîî ïìïæìôïíôîï
   ½±®®»-°±²¼»²½»                        Ü                ìéæïë êéæç ïðêæë          ïìîæïôêôïê ïìíæïôêôïïô
    ïîíæí ïîëæïð                                          ïíëæîí                    ïëôïçôîí ïììæìôè ïìëæèô
                              Ü¿´³«¬                     ¼»½»¼»²¬                   ïîôïëôîðôîì ïìêæíôé
   Ý±®®»-°±²¼·²¹´§             êæîíôîì                    ëíæê êîæïð éíæïí èìæîí    ïêîæïç ïêíæç
    éíæèôïï
                              ¼¿³¿¹»-                    Ü»½»¼»²¬ù-                ¼»º»²-»
   ½±-¬                        éëæíôïîôïíôïëôïéôîï        èíæîð                     êîæïïôïç çèæïì
    éëæé                       éêæïôé éèæîí
                                                         ¼»½»·¬                    ¼»º·²·¬»´§
   ½±-¬-                      ¼¿²¹»®±«-                   ïïæïî                     ïðîæîí
    éëæë



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  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                               ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                             ·è
   ¼»´·¾»®¿¬»                ¼»¬»®³·²»¼                 ¼·-½±«²¬»¼                 ¼·-¬®·¾«¬»¼
    éìæîð                     ïïèæïîôïë                  ïíêæïî                     ïíìæïí
   ¼»³¿²¼                    ¼»ª»´±°                    ¼·-½±ª»®§                  Ü·-¬®·¾«¬·±²
    êìæîì êëæë                ëéæïí èìæîì                ïííæîì ïëîæîð ïëëæé        ïðïæïï
                                                         ïêîæîï
   Ü»³¾®±©                   ¼»ª»´±°»¼                                             ¼·-¬®·¾«¬±®
    éæë ïëêæìôîî ïëéæîì       ïíæê ëíæïëôîî ëëæê        Ü·-½±ª»®§ù-                 ïîïæïí
                              ëêæîð                      ïëîæïè
   ¼»°                                                                             Ü·-¬®·½¬
    èîæîð                    ¼»ª»´±°-                   ¼·-½«--                     êæê
                              ïïéæè                      ïðæïèôîïôîí ïïæï îéæîë
   ¼»°»²¼-                                                                         ¼·ª·¼»
                                                         ïîîæîð ïìðæç
    îèæîì                    ¼·¿¹²±-»¼                                              ïïêæïê
                              ïêðæêôîë ïêïæí            ¼·-½«--»¼
   ¼»°±-»                                                                          ¼±½«³»²¬
                                                         ïîæìôïê íéæïì ééæîï
    ïëèæîí                   ¼·¿¹²±-»-                                              ëïæîîôîì ëîæî èéæîï
                                                         èîæïî çìæç ïðìæïð
                              çéæïé                                                 çíæïê çëæïë çêæïîôïëô
   ¼»°±-·¬·±²                                            ïîéæé ïîçæîë ïíðæî
                                                                                    îï ççæïî ïððæïç ïðïæï
    êæí çæîíôîë ïðæïôîôéôç   ¼·¿¹²±-·²¹                  ïíìæêôïð
                                                                                    ïðèæì ïïïæîë ïïîæï
    ïèæèôïéôîí ìïæêôïìôïéô    çèæîð
                                                        ¼·-½«--·²¹                  ïïíæïí ïïëæïé ïîðæç
    îï ëïæîï èìæé ïðíæïî
                             Ü·½µ-±²                     îìæïç ïíîæîì ïëíæîï        ïîëæîì ïîçæì ïíêæèôïèô
    ïïèæîï ïîïæì ïîîæîð
                              îîæîð îíæé çïæë çîæïè                                 ïç ïíéæîî ïíçæîðôîî
    ïëëæëôè ïêíæîð                                      ¼·-½«--·±²
                              ïììæîî ïìéæïé ïìçæïì                                  ïìðæîôêôîíôîì ïìïæîôïè
                                                         ïðæêôïð ïìêæîë
   ¼»°±-·¬·±²ù-               ïëðæïï
                                                                                   ¼±½«³»²¬¿¬·±²
    ïëîæîï                                              ¼·-½«--·±²-
                             ¼·¼²ù¬                                                 ïïêæé ïíìæîí ïíëæïôïî
                                                         ïðæïë ïîæèôïî íìæïìôïéô
   ¼»®·ª»¼                    ïðæïí ììæè ìëæíôïé ëïæê
                                                         ïèôîð íéæïíôîî íçæëôïðô   ¼±½«³»²¬-
    ééæïî                     êéæî éçæïç èðæî ïðíæïì
                                                         ïï çîæîï çíæîôëôê          îíæïìôïë íðæîë íïæï
                              ïðçæîð ïïçæïè ïîïæîî
   ¼»-½®·¾»                                              ïíðæïð ïíïæïëôïçôîë        íîæïðôïê ííæîôíôìôë
                              ïìèæîì ïëîæç
    çæî êèæïé èíæïç èìæîí                                ïëíæçôïðôïíôïçôîì          íçæîíôîì ìðæîôèôïïôïìô
                             ¼·ºº»®»²½»                                             ïêôïèôïçôîí ìïæèôïîôïêô
   ¼»-½®·¾»¼                                            ¼·-»¿-»
                              èðæîë                                                 ïèôïçôîð ëïæîð ëîæïëô
    êìæîï éìæîð                                          çèæìôê
                                                                                    ïéôïç êîæïê êìæïì
                             ¼·ºº»®»²½»-
   ¼»-½®·¾·²¹                                           ¼·-»¿-»-                    êéæïçôîí êèæïðôîïôîí
                              çéæîî
    ïíéæí                                                çéæîí                      êçæî éìæîîôîë ïðïæí
                             ¼·ºº»®»²¬                                              ïîîæîí ïîìæç ïîêæì
   ¼»-½®·°¬·±²                                          ¼·-³·--                     ïîçæïí ïìðæèôïì ïëîæîí
                              ìéæïð çéæïïôïìôïé
    çæïé                                                 èíæîð çèæîë ççæí
                              ïðíæïì ïëðæé                                          ïëíæë ïëìæîë ïëëæï
   ¼»-»®ª»                                              ¼·-³·--¿´                   ïëéæçôïðôïï ïëèæïêôîì
                             ¼·-¿¹®»»                                               ïëçæîë
    ïïêæïè                                               èçæê ççæïí ïðîæï ïðíæë
                              îðæîïôîë
                                                         ïðìæïçôîï
   ¼»-¬®±§»¼                                                                       ¼±»-²ù¬
                             ¼·-¿¹®»»³»²¬
    êèæïî                                               ¼·-³·--»¼                   îçæë ëðæè êèæî éçæê
                              éïæîí                                                 ïîïæïî ïîèæïè ïíïæïéô
                                                         ììæïðôïí ìëæîí ìêæî
   ¼»-¬®«½¬·±²                                                                      îî ïíîæî ïëîæì
                             ¼·-½¿®¼                     ìçæî êïæïé ééæïê
    éìæîï
                              éðæï                       ïððæïí ïðêæç
                                                                                   ¼±·²¹
   ¼»¬¿·´                                               ¼·-³·--·²¹                  îêæîí ïíîæïçôîð
                             ¼·-½¿®¼»¼
    èíæïç ïíéæì
                              êèæïî                      ïðíæîî
                                                                                   ¼±´´¿®-
   ¼»¬¿·´-                                              ¼·-°«¬»                     ïïêæïë
                             ¼·-½´±-»
    ïçæïîôïí ïìçæïê
                              ïíçæî                      ïðìæìôè ïðëæêôïï
                                                                                   ¼±²ù¬
   ¼»¬»®³·²¿¬·±²                                        ¼·-¬·²½¬·±²                 èæïðôïé ïðæëôïîôïíôïìô
                             ¼·-½´±-»¼
    ïïèæé                                                                           ïê ïïæè ïíæïî ïìæïí
                              èêæç ïíèæîï                ïîðæïí
   ¼»¬»®³·²»                                                                        ïêæîì ïçæîôíôïîôïêôïç
                             Ü·-½´±-«®»-                ¼·-¬®·¾«¬»                  îðæïè îîæê îëæïç îèæç
    ïïèæïð
                              èéæïç                      ïíìæïï                     îçæïéôïçôîï íðæïîôïç
                                                                                    íïæïôïìôïê íêæïè ìíæïè



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                               ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                                ·ç
    ììæí ìëæïïôîë ìêæçôïðô   »½±²±³·½                   êêæïëôîð éèæîì éçæîë        ç ïìëæçôïíôïêôîïôîë
    îð ìéæíôïï ìèæîôïï        ïëìæï                     èðæîôè èíæîï èìæïîôîë       ïìêæìôïï
    ëðæëôïë ëîæïî ëéæë                                  èëæì ïìéæïê ïìçæïçôîï
                             »½±²±³·½-                                             »¨¿½¬
    ëèæíôîîôîë ëçæíôïèôîí                               ïëðæì ïêïæïîôïê
                              íìæîï                                                 èîæì
    êîæê êíæïï êêæîïôîî
                                                       Û²¹»´¸¿®¼ù-
    éðæï èðæîïôîî èêæê       »ºº»½¬                                                »¨¿½¬´§
                                                        êðæîì êïæï
    èéæîì çíæìôïëôïê çìæëô    îêæè                                                  ïðæë ììæí êíæïï ïëîæîî
    èôïð ïðìæîì ïðêæîë                                 »²-«®»                       ïêðæé
    ïðéæïî ïïëæîî ïïêæîîô
                             »ºº±®¬
                                                        ïíêæì
    îí ïïéæîð ïïèæìôê
                              éëæê                                                 »¨¿³·²¿¬·±²
                                                       »²¬·¬´»¼                     éæïèôîî ïëëæîë ïëçæïê
    ïîëæêôïì ïîçæïïôïî       »ºº±®¬-
                                                        íëæé èïæîî èéæïè çêæïí
    ïíîæëôêôïç ïíêæïç         èìæîí                                                »¨¿³·²»¼
                                                        ïððæîî ïðëæïç ïðçæîí
    ïëïæêôïçôîðôîï ïëîæïë                                                           éæîð
    ïëíæïè ïëìæë ïêðæï       »·¬¸»®                     ïïèæë ïîíæïï ïîìæïíôîï
    ïêïæïôïèôîî ïêîæë         ïïæè îîæïð ìíæè ëêæïç     ïîçæîì ïíçæîî ïìðæîí       »¨¿³°´»
                              êèæè çíæïç ïïèæïì         ïìçæïð                      íëæïé íèæïç
   Ü±²¿´¼                     ïîêæîï ïíðæï ïìéæë
    ïìîæîì
                                                       Û®·½                        »¨½»°¬·±²
                              ïëíæïé ïêïæê
                                                        éæçôïï ïëçæïîôïíôîð         ïëìæîí
   Ü±®²¾«-½¸                 Û´·¦¿¾»¬¸
    éæïë
                                                       »-¬¿¬»                      »¨½»--
                              êæîí
                                                        èæê çæé ïçæîïôîí îìæëôéô    îïæïï
   ¼±¦»²-                    »³¿·´                      ïîôîì ìëæîï êêæïç êéæéô
    ììæîð ìéæïèôîð ìçæí                                 ïé éëæîë éêæïì ééæîí
                                                                                   »¨½«-»
                              ëîæì èîæîð ïêîæì
                                                                                    éæïð ïìæïê îíæîï çïæîï
                                                        éèæîð éçæîì çðæê ïðëæî
   ¼®¿º¬                     »³¿·´-                                                 ïìèæïì ïëëæïë
                                                        ïïìæî ïìîæîí
    ïðèæë                     ííæïçôîï êîæïê êéæîïô
                                                       »-¬¿¬»-                     »¨½«-»¼
                              îë êèæî ïêîæí
   ¼®¿º¬-                                                                           îîæïí
                                                        ïðèæîì
    ïðïæîí                   »³°´±§»¼
                                                       »-¬·³¿¬»                    »¨»½«¬»¼
                              ïíéæè
   ¼®¿©                                                                             ïðïæîï ïðëæîî ïìïæéôèô
                                                        ìðæïì
    íçæïç ïîðæïí             »³°´±§»»-                                              ïçôîì
                              ïïìæîï                   »¬ ¿´
   Ü®±©²                                                                           »¨»½«¬®·¨
                                                        êæìôë
    éæé                      »³°´±§»®-                                              ïðëæî
                              çéæïîôïë                 »¬¸·½-
   ¼«»                                                                             »¨¸·¾·¬
                                                        ìëæè
    èçæê                     »³°´±§³»²¬                                             ëïæïê èïæïï èëæïîôïë
                              ïïæïé                    »ª»²¬-                       èéæïëôïéôïè çìæïìôïëô
   ¼«´§
                                                        ìðæîïôîì                    ïêôïéôïèôïçôîðôîï
    éæïç                     Û³¬¿´
                                                                                    ïïíæèôïïôïî ïïìæè
                              ïðæîï îëæîï ììæèôçôïë    »ª·¼»²½»
                                                                                    ïïèæïè ïîïæî ïîíæî
                              ìêæïèôîî êìæïë èçæíôìô    îîæïê êðæîë êìæîí
              Û                                                                     ïíêæê ïíçæïç ïìðæîî
                              çôïð ïðíæê ïðèæïï         éìæïíôîîôîë éëæêôéôç
                                                                                    ïìïæìôïíôîï ïìîæïôêôïê
                              ïïèæïî                    èçæìôç
   Ûù-                                                                              ïìíæïôêôïïôïëôïçôîí
    ïððæç                    »²½´±-»¼                  »ª·¼»²½»¼                    ïììæìôè ïìëæèôïîôïëôîðô
                              çêæîï çèæîð ïðëæîî        ïïïæïð ïïîæïð               îì ïìêæíôé
   »¿®´·»®                    ïðêæë ïðèæë
    ìîæîì ììæïç ëïæïç                                  Û¨                          »¨·-¬
    ëîæïìôïê êïæé ïïëæïð     »²½´±-·²¹                  ëïæïëôïé èïæïíôîî           ïîìæë
    ïííæîï ïëïæé ïëîæç        çèæïç                     çìæïïôïí çëæïî çêæïîô
                                                                                   »¨·-¬»¼
    ïëêæë                                               ïé ççæïï ïððæïéôïç
                             »²½±«®¿¹»                  ïðíæï ïðëæïî ïðèæí
                                                                                    éìæîë
   »¿®´§                      ïðîæîî
                                                        ïðçæèôîî ïïíæîï            »¨·-¬»²½»
    êîæîï ïìèæî              »²¹¿¹»¼                    ïïèæïçôîï ïîïæí ïîíæçô      êìæîïôîî
   Û¿-¬»®²                    ïïðæïí                    ïï ïîìæîð ïîëæè ïíêæéô
                                                        ïî ïíçæîðôîî ïìðæîí
                                                                                   »¨·-¬-
    ëíæïð ëìæîí ëêæïð        Û²¹»´¸¿®¼                                              ïîëæîë
    êïæïè ïððæç                                         ïìïæëôïìôîî ïìîæîôéôïé
                              ïðæîì ïïæé ïìæïï îëæîï    ïìíæîôéôïîôïêôîð ïììæëô


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                                 ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                           ·ïð
   »¨°»½¬                      ïëëæïê                    º»»                        º·´´·²¹
    íëæîì íêæîôíôì ìíæîì                                  ïèæîë ïçæïìôïêôïéôîð       èêæè
                              º¿½¬
    ìçæïí ëðæï ëïæè ïðíæïé                                çíæïí ïîéæïìôïç ïîèæëô
                               çæïï îçæïôêôé èðæîì                                  º·²¿´·¦»¼
    ïíèæïéôïçôîë ïíçæí                                    ïîôîîôîí ïîçæïôìôïçôîï
                               ççæïî ïðìæî ïðëæê                                     èîæçôïï
                                                          ïíðæïï ïíîæíôêôïéôîð
   »¨°»½¬¿¬·±²                 ïïíæêôè ïïêæîð ïïçæîí
                                                                                    º·²¼
    ìîæïè                      ïíèæîïôîî ïíçæï ïìéæé     º»»´
                                                                                     îìæîë ìêæîð ëçæë êçæïê
                               ïëíæïð                     íèæïê
   »¨°»½¬¿¬·±²-                                                                      ïîêæîð ïëçæë
    ìíæîð                     º¿½¬±®                     º»»-
                                                                                    º·²»
                               ïìéæê                      ïíðæîôïî ïíïæïêôîë
   »¨°»²-»-                                                                          ïîîæè
                                                          ïìîæîð ïìíæè
    éëæë                      º¿½¬-
                                                                                    º·²·-¸
                               ïëæè ïèæîî îëæêôîï        º·¾»®
   »¨°»®·»²½»                                                                        ïìïæîë
                               ëéæëôéôè êðæïì êïæîì       ïïïæïôì ïíéæé
    ìéæîð éïæê éçæí èðæïï
                               êîæï êëæì êçæèôïè éìæïì                              Ú·®»-¬±²»
    ïíîæé                                                º·¾»®-
                               èêæïðôïìôïéôïè èéæçôïð                                çéæïî
                                                          êïæï
   »¨°´¿·²                     èçæïê çïæèôïê çîæîï
                                                                                    º·®³
    ëêæï                       ïðîæïç                    º·¼«½·¿®§
                                                                                     ïçæï íðæçôîð éïæï éíæïï
                                                          îìæìôîì ïíìæïð
   »¨°´¿·²»¼                  º¿½¬«¿´                                                èèæîí çíæïì ïíðæïï
    ïííæîï                     çæïð èëæî ïëéæé           Ú·»´¼-                      ïêðæïëôïêôîï ïêïæïî
                                                          êæîë éæï èêæì ïëëæïðôïì
   »¨°±-»¼                    º¿½¬«¿´´§                                             º·®-¬
                                                          ïëêæï ïëèæîï ïêîæïèôîï
    çæëôèôïëôîð ïðæì ïïæíôê    ïïéæïë                                                éæïç îëæïì íðæë ëïæèôïð
    ììæïèôîì ìëæïç ìêæïéô                                º·¹«®»                      ëíæë ëêæïé ëéæë ëèæïè
                              º¿·®
    îî ìèæïì çêæîë çéæì                                   ïðçæïç ïíçæïè              êíæïôïëôîì êìæêôïï
                               ïëæèôçôîïôîî ïêæïî ìíæë
    ïïëæîðôîë ïïêæçôïðôïèô                                                           éðæîî éëæïî èïæîí èîæîô
                               ìèæîí ëðæïíôïë ëïæîôí     º·¹«®»-
    îð ïïéæïôïïôïè ïïèæîôíô                                                          í çëæïî ïïðæí ïîêæïë
                               ëéæïè êïæîð êêæè éèæïè     ééæïï
    ïï ïïçæîí ïîïæîí ïíéæê                                                           ïíéæîì ïêðæïëôïè
                               éçæêôç èðæîî èêæçôïè
    ïêïæè                                                º·´»
                               çïæïð ïðíæïçôîð ïïéæïî                               º·ª»
                                                          ëïæç êèæîì êçæëôïí çêæê
   »¨°±-«®»                    ïìçæïç ïëïæîë ïêïæíôì                                 îðæïí ìðæïë èïæïé
                                                          ïíçæïð
    ïíæè ììæè çéæîî çèæì                                                             èèæîð ïíéæï ïëëæïé
                              º¿·®´§
    ïïëæì ïïçæïð ïíéæë                                   º·´»¼
                               çìæîí ïïéæîð                                         º´·°
    ïììæïê ïêðæïé ïêïæïí                                  ïëæç ììæçôîð ëïæïîôîë
                                                                                     ïïïæîí
                              º¿·®²»--                    ëìæîî ëçæç êíæïðôïíôïêô
   »¨°±-«®»-
                               ìçæïè ïïéæïê               îð èîæïð èéæîë çëæîì      º±½«-»¼
    ïïìæîî
                                                          ççæè ïðêæï ïðèæîë          ëìæîì
                              º¿´-»
   »¨¬»²-·ª»                                              ïðçæïðôîìôîë ïïìæïê
                               ïéæè éìæîì                                           º±´´±©
    êçæïïôïîôïé ïëîæîð                                    ïïëæî ïîèæï ïíéæîë
                                                                                     íîæîí
                              º¿³·´·¿®                    ïíèæîî ïíçæïí ïìèæï
   »¨¬»²-·ª»´§
                               ïëçæîí                     ïìçæïé ïëîæîð             º±´´±©·²¹
    îíæç ïïîæé
                                                                                     çéæí ïðëæîíôîë ïðêæîôìô
                              º¿³·´§                     º·´»-
   »¨¬»²¬                                                                            êôïð ïðèæîí
                               ïçæîôîî ïîìæîôì ïîêæë      íîæïë ëðæïé ëîæèôïç
    îéæëôêôïê îèæïé ëíæîì
                               ïíìæç ïíêæîïôîí ïëèæí      êèæïé êçæïì çíæïéôïçô     º±´´±©-
    ëêæë éîæï éèæîë éçæç
                                                          îì ïîíæïëôîïôîî ïîëæîï     éæîï
    èçæîðôîî                  º¿®
                                                          ïíëæîôí ïíêæîðôîï
                               ïîæí ëïæïï                                           º±®»¹±·²¹
   »§»¾®±©-
                                                         º·´·²¹                      èíæïð
    ïíîæç                     Ú¿®®»´´
                                                          íðæìôê ëëæïê êíæî çëæïí
                               êæîï ïêîæìôçôîì ïêíæí
                                                          ïïëæïèôîì ïííæïé ïëðæï
                                                                                    º±®³
                                                                                     ïíæîï ïéæïì îðæîí îëæç
                Ú             Ú»¾®«¿®§
                                                         º·´·²¹-                     íëæïï íêæè íèæíôïï
                               çêæïí ïîíæïïôïé
                                                          îïæîð                      íçæïôïè ìîæíôïì ìíæïí
   º¿½·´·¬·»-                 º»¼»®¿´                                                ììæîôïî ìëæïð ìéæîë
    çêæîì çéæì                                           º·´´»¼
                               éæïè îîæëôçôïë ççæîí                                  ìçæê êðæë êëæïè éêæîð
                                                          ïíëæïî
   º¿½·´·¬§                                                                          ééæïè éçæé èçæïç ïðìæé




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                                  ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                          ·ïï
    ïðêæîî ïðéæïðôîï ïïëæê   ¹»²»®¿´                     èïæïë çðæïï ïîîæïèôïç    Ø¿´µ»¬
    ïïêæê ïïéæïì ïîðæï        êèæîð çéæïî ïîçæîí         ïëçæïèôïç                 éæïî ïëçæîïôîì ïêíæïì
    ïíïæïôí ïíêæïîôîì
                             ¹»²»®¿´´§                  Ù±±¼§»¿®                  Ø¿´´
    ïíçæïð ïìïæë
                              íîæîí êèæëôê               çéæïî                     ïïïæê
   º±®³»®
                             Ù»±®¹·¿                    Ù±®¼±²                    ¸¿²¼´»
    ïïîæïî
                              ïðíæë ïðèæïïôïî ïïéæî      éæïôîôì îëæîî èëæïê       ìçæïì ïîçæê
   º±®³-                                                 èèæîì ïëêæíôïí ïëéæïê
                             Ù»±®¹·¿ó°¿½·º·½                                      ¸¿²¼´»¼
    ïíèæîð
                              ïððæî                     Ù±®¼±²ù-                   ïìïæïð ïëîæïì
   º±®¬¸                                                 éïæï
                             ¹»¬¬·²¹                                              ¸¿²¼´·²¹
    îîæïç êïæí ïïëæïí
                              ïçæïê ïííæïð              ¹±¬¬»²                     êéæïë
   º±®©¿®¼                                               ëîæî êêæïì ïííæè
                             Ù»§»®³¿²                                             ¸¿°°»²
    ëìæí ïðïæîî
                              éæí èîæîî ïêíæé           Ù®¿²¬                      íëæîë ïëîæïé
   º±®©¿®¼·²¹                                            éæí ïðïæïì
                             ¹·ª»                                                 ¸¿°°»²»¼
    ïðïæè
                              îîæé íîæë ìéæè êèæîð      Ù®»¿¬                      èìæïï
   º±«²¼                      éëæîð èîæì çìæïî ïîíæé     ïîîæç ïîìæïï ïííæïî
                                                                                  ¸¿°°»²·²¹
    ìëæïôïê ìêæïë ìèæê        ïíçæïè ïëîæï
                                                        ¹®»¿¬»®                    íìæïð
    ìçæîð ïïíæïë
                             ¹·ª»²                       ïíéæì
                                                                                  ¸¿°°»²-
   º±«²¼¿¬·±²                 ïçæïì íïæïçôîë ííæç
                                                        ¹®»¿¬»-¬                   ïîêæè
    ïíïæîôì                   éíæïëôîï èðæé èèæîí
                                                         çèæé
                              çíæîë ïëîæí                                         ¸¿®¼
   º±«®
                                                        ¹®»»¬·²¹                   ëîæë êéæïçôîì ïëðæïê
    îðæïî îèæïï ïëîæïè       ¹·ª·²¹
                                                         ïèæïç
                              çðæïë ïëðæè                                         ¸¿®³
   º±«®¬»»²
                                                        ¹®±«²¼                     ïíæïì ïêæç îêæïîôïì
    ïðïæïé                   ¹±
                                                         îïæîí                     ìçæîï ëïæéôïð
                              ïéæïë íðæïì êëæïéôîïô
   º®¿«¼
                              îí éðæïï éïæïè èéæïí      ¹®±«²¼-                   ¸¿®³»¼
    ïïæïî ïêæë ïéæîí éçæïð
                              çêæïï ççæïï ïððæç          îïæïëôïêôïéôîë îîæïôé     èæîíôîë çæí ïîæïìôîì
    èðæï èéæïð ïìçæïç
                              ïïîæïé ïïèæçôïç ïîïæí                                ïíæìôê ìíæïî ììæïè
                                                        ¹®±«°
   º®¿«¼«´»²¬                 ïîîæïð ïíçæîð ïìðæêôïì                               ëðæïìôïè ïïëæïî ïïéæîì
                                                         íèæîï êïæïç éîæïè
    ïìæíôë ïêæîð ìîæîïôîîô    ïìçæïë
                                                         çèæïë ïïìæïé             ¸¿®³º«´
    îí ìíæé êîæïïôïè éëæè
                             ¹±¿¼                                                  ïïæïêôïèôîë ïîæîôíôîë
                                                        ¹«»--
   º®±²¬                      ïëíæï                                                ïíæî
                                                         ïìæïð ìíæîî ìèæç èêæîë
    îïæîð ëèæïì èïæïî
                             ¹±»-                        ïðîæê ïêðæîî ïêïæïê      ¸¿®³-
    èëæïì èéæïê çìæïï
                              éêæç èîæîî èéæîï           ïêíæïê                    ïîæîîôîí ïëæïïôïîôïìô
    ïðçæè ïîëæç ïíêæïë
                              ïðèæïç                                               ïéôîí ïêæï îéæïôîôïì
    ïìðæïë ïëîæïç                                       ¹«§
                             ¹±·²¹                       çðæïï çïæé               Ø¿®©·½µ
   º«´´
                              çæîí ïîæïç ïéæî îîæïî                                ïðïæçôïðôïï ïðíæê
    êïæîð
                              îéæë ëìæí êïæïê êëæîë
                                                        ¹«§-
                                                                                   ïðèæïì
                                                         ïêîæí
   º«®¬¸»®                    éðæêôïîôîï ééæî èðæïê
                                                                                  ¸¿-²ù¬
    éìæïç                     èïæï èîæïê èèæïé èçæîï    Ù§°-«³
                                                                                   ëïæïï ïîëæíôì ïëïæë
                              çðæïé çîæè çíæïë çìæíô     ïìîæé
                                                                                   ïëîæë
                              îî çëæé çêæïï ïðçæêôïð
               Ù
                              ïïïæîí ïïíæîï ïïéæïï                                ¸¿¬»
                              ïîíæïôé ïîëæè ïîçæê
                                                                     Ø
                                                                                   ïêïæï
   ¹¿¬¸»®·²¹                  ïíðæïë ïííæïçôîë
    éìæîð                     ïìðæïì ïììæîð ïëîæïéô     ¸¿¼²ù¬                    ¸¿ª»²ù¬
                              îîôîí ïëíæïôëôè ïëèæîïô    ïìëæë ïëïæé               íîæç ííæçôïì êéæîï
   Ù»²»                                                                            êçæîî çíæïè çëæîï
    êæïç îèæîë éïæîí èïæïì    îë                        ¸¿´ºó¬®«¬¸                 ïëîæî ïëìæîì
    ïîëæêôîí ïîêæïï ïíðæïè   ¹±±¼                        èçæîôé
    ïíîæêôïì ïìçæïð ïëîæîë    êæïí éæîìôîë ììæê éðæê


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  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                                     ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                        ·ïî
   ¸»ù-                         ïîëæîð ïîêæì ïêîæëôèô      ïîíæïôé ïîìæîôíôîë       ·²½«®®»¼
    îëæïì êêæï çðæïï ïëïæê      ïí                         ïîëæèôïì ïîçæïð           éëæîôê éêæïôêôïì
    ïëêæîë ïêðæï                                           ïííæïçôîë ïíéæïé
                              ¸±³»                                                  ·²¼»°»²¼»²¬
                                                           ïìðæïì ïìíæïî ïìéæïîô
   ¸»¿¼                         íïæïï ëîæïîôïç ïðìæîì                                îêæïêôïéôîîôîë îçæì
                                                           ïé ïìèæïèôîî ïìçæïë
    íïæïé ïíìæîî                ïîìæîôì ïîêæëôïé ïíëæî
                                                           ïëðæéôïî ïëïæïç          ·²¼·½¿¬»¼
                                ïíêæîïôîí ïëèæí
   ¸»¿®                                                    ïëîæïîôîì ïëíæïôê         ëéæç çêæîí
    ïëðæïê                    ¸±°»º«´´§                    ïëìæç ïëëæìôë ïëéæî
                                                           ïêðæèôîîôîí ïêïæïé
                                                                                    ·²¼·½¿¬·²¹
                                ïîêæïé
   ¸»¿®¼                                                                             êðæîë
    îëæîíôîì êíæï èðæî        Ø±°»©»´´                    ×ùª»
                                                           íéæïî ìîæïé çîæè
                                                                                    ·²¼·ª·¼«¿´
    ïîðæîì ïîêæïê ïëíæçô        ïìïæïë
                                                                                     éæï íéæí èèæîë
    ïîôïë                                                  ïîðæîì ïëéæïï
                              ¸±«®
                                                          ·¼»¿                      ·²¼·ª·¼«¿´´§
   ¸»¿®·²¹                      íðæïë
                                                                                     ïðïæì
    ìíæîî                                                  îìæîï îéæîôí êèæîð
                              ¸±«®-                        ééæîð çìæî ïðëæë         ·²¼·ª·¼«¿´-
   ¸»½µ                         êíæìôê
                                                           ïêïæïï                    ïðêæî
    ïïçæïè
                              ¸±«-»                       ·¼»²¬·º·»¼                ×²¼«-¬®·¿´
   ¸»´°                         ïëïæíôì
                                                           îçæîï èéæî çïæêôé çîæí    ïïîæïî
    ìðæì çðæïíôïë çìæîì
                              Ø§¹·»²·-¬                    ïëëæï
    ïïèæè                                                                           ·²¼«-¬®·»-
                                ïïîæïí
                                                          ·¼»²¬·º§                   ïîðæîî
   ¸»´°»¼
                              ¸§°±¬¸»¬·½¿´                 êæïï ïéæîï éëæé ééæïì
    ìðæêôïç ïîðæì ïíëæç
                                                           ïðïæí                    ·²º±®³¿¬·±²
                                ïïëæîî
                                                                                     îíæïç îçæïë íìæêôïç
   ¸»´°·²¹                                                ·´´²»--»-                  íëæîð ëéæî èðæéôïé
    çðæê
                                          ×                çèæî                      èíæïîôîî èìæíôéôçôïìôïé
   ¸»®»ù-                                                 ·³¿¹·²»                    èëæî èéæé çðæïíôîë
    ìçæïë ïïëæïé              ×ù¼                                                    ïðîæîí ïïìæïè ïïëæé
                                                           íêæïê
                                ïëæç ìîæè ëíæì éîæç                                  ïîéæïê ïíëæïéôîî
   ¸»®»·²¿º¬»®                                            ·³°¿½¬
    éæîð                        éëæîð ïððæïê ïìéæî                                  ·²º±®³»¼
                                ïëêæç ïêïæï                éïæîï
                                                                                     íêæíôìôîð íéæè êîæïîôïè
   ¸»-·¬¿¬»                                               ·²½»²¬·ª»
    ïîêæê                     ×ù´´                                                  ·²·¬·¿´
                                ïîæç îïæïì ëìæïë çèæïí     îèæï
                                                                                     ïïæîð
   Ø·                           ïîëæë ïîêæï ïîéæïé        ·²½¸»-
    ïêïæîï                      ïììæïç ïëêæïç ïêîæïï       êèæïè
                                                                                    ·²·¬·¿´´§
                                                                                     ëïæîë
   ¸·¹¸»®                     ×ù³                         ·²½´·²¿¬·±²
    êìæîë                       êæïíôïì ïðæïî ïîæïôî       ëïæïð
                                                                                    ·²¶«®»¼
                                ïêæïð ïèæîôëôê ïçæïí                                 ìíæîë ììæì ïíéæîôì
   ¸±´¼                                                   ·²½´«¼»¼
                                îðæïïôïê îïæë îîæïîôïé                               ïíèæï
    éðæî ïëèæîî
                                îìæîë îêæïç îéæë îçæí      ççæïé ïðêæïè ïìîæïç
                                                                                    ·²¶«®·»-
   ¸±´¼·²¹                      íîæïî íêæïìôïë íçæïç      ·²½´«¼»-                   ïíæïïôïêôïç ïìæï ïêæïë
    ïëëæë                       ìíæîï ìêæïí ìéæé ìèæêô     ïðêæïîôïí ïïíæïí          ïéæêôîðôîë îðæê îïæî
   Ø±´´»§                       îð ìçæïë ëðæîï ëïæïé                                 ìîæï ïîðæê ïííæïé
                                ëíæï ëìæïï ëçæïï êêæïê    ·²½´«¼·²¹
    êæíôïê éæïêôîîôîì îéæè                                                           ïíìæîð
                                êçæê éðæïðôïîôîð éïæïè     êæïë éíæïî éëæí éêæé
    íîæïì ìçæïé ëíæîí ëìæíô
                                éîæêôïïôïî éìæïè éëæîðô    ééæï èíæîï ïðïæïè        ·²¶«®§
    ïé êîæç éïæïî éîæê
                                îì éèæî èïæï èîæïê         ïëìæè ïëëæé               ïêæì ïéæîî ëíæè ëêæîì
    èëæïì çëæè ïîèæïê
                                èíæïë èëæîî èèæïïôïé                                 êïæîï éíæïî éëæì éêæèô
    ïíîæïë ïíêæïð ïìðæîð                                  ·²½±®°±®¿¬·²¹
                                èçæîï çðæïéôîî çïæïè                                 ïî ïíçæîì ïìïæîí
    ïìëæí ïëëæîë ïëêæî                                     îéæçôïç ëìæï ëêæé éîæí
                                çîæéôïè çíæïëôîí çìæè                                ïìîæîôè
    ïëçæïìôïêôïè
                                çëæé çèæïç ïðíæì          ·²½«®
                                                                                    ·²-¬¿²½»
   Ø±´´»§ù-                     ïðêæîì ïðçæïð ïïïæîí       éëæï éêæë
                                                                                     ïïæïë
    ëíæê éíæïí èïæîïôîí         ïïéæïëôîî ïïèæï ïîðæîï




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                                    ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                          ·ïí
   ·²-¬®«½¬                   ·²ª±´ª»¼                   Ö¿®»¼                      µ·²¼
    îïæïì îîæç îéæëôïé         ìéæïí ëçæê éëæîï éêæîë     êæïé ïíîæè                 éëæîí
    îèæïê ëíæîì ëêæë éïæïîô    éçæïð èíæîî ïïðæïë
                                                         Ö»®-»§                     µ²»©
    îë èçæîï çðæïè ïííæîð      ïìéæîð ïëéæî ïêïæïë
                                                          êæê çîæïëôïê ïîéæíôëôîð    ëïæïî èêæïï ïðìæë
    ïììæïç
                              ×®¿                         ïîçæïé ïíîæïé ïìïæïë       ïðëæé
   ·²-¬®«½¬»¼                  éæë ïëêæíôîî ïëéæîì
                                                         ¶±¾                        µ²±©
    ïìëæë
                              ·®®»´»ª¿²¬                  çæïé ïïðæïë                èæçôïðôïïôïêôïéôïèôîð
   ·²-¬®«½¬·²¹                 îïæïç                                                 ïïæèôïç ïìæïç ïëæîð
                                                         Ö±¸²
    îíæî îçæî çðæîî çïæí                                                             ïêæîì ïéæïè ïçæïîôîð
                              ·-²ù¬                       éæïì ïëçæïî ïêïæîðôîî
    çîæïè ïíïæê ïììæîí                                                               îðæïè îíæïð îéæîôïì
                               ìëæè ìêæé ïîëæîï ïíîæì
    ïìéæïîôïè ïìèæîí                                     Ö±¸²-                       îèæì îçæïïôïêôïçôîð
    ïìçæïë ïëðæïí ïëìæïðô     ·--«»                       ïïïæì                      íðæïç íïæïìôïê íìæïíô
    ïè                         îíæêôè ìëæê êðæçôïðôïê                                ïè íëæé íêæïè íéæîí
                                                         Ö±¸²-ó³¿²ª·´´»              íèæîì ìðæïê ìíæíôìôéôè
                               éìæïëôïê çïæìôîë çîæïí
   ·²-¬®«½¬·±²                                            ïìðæîë
                               ïííæîïôîí ïíìæï ïììæîð                                ììæíôîíôîë ìêæîí ìèæïï
    îîæîîôîí îéæïê ëìæîð
    ëëæïì ïìëæï ïëðæè
                               ïìéæïí ïëðæïï             Ö±¸²-±²                     ìçæî ëïæïï ëêæïë ëéæïë
                                                          ïðíæé ïðèæïì               ëèæîë ëçæíôïèôîíôîì
                              ·--«»-
   ·²-¬®«½¬·±²-                                                                      êðæîôçôïðôïìôïé êïæîí
    ïëëæí
                               îíæë ìêæïí êðæïë çïæç     ¶±·²                        êîæîôëôç êíæïé êìæì
                               ïðéæïì ïðèæî ïììæîð        èêæì                       êëæîì êêæîôïçôîï êçæïçô
   ·²-¬®«½¬·ª»                 ïìçæïì ïëëæé
                                                                                     îë éîæéôïì éìæç ééæïïô
    éèæîîôîë
                                                         ¶«¼¹»
                              ·¬ù-                        îîæïç îíæé çïæë çîæïéô     îîôîë èíæê èêæïíôïé
   ·²-«´¿¬»¼                   ïçæïï îïæïèôïç îîæîïô      ïè ïíìæî ïìéæïíôïé         çîæé çìæéôèôïð çèæíôîï
    ïïðæéôèôç                  îî îíæìôêôè îçæïôêôè       ïìçæïí ïëðæïï ïëîæïç       ïðìæïôí ïðëæí ïðêæîìô
                               ííæç íèæé ìëæéôïïôîë                                  îë ïðéæïôìôïî ïïíæîë
   ·²-«´¿¬·±²                                            ¶«¼¹»ù-                     ïïëæèôîì ïïéæìôïé
                               ìèæíôì ìçæïéôïè ëðæèôïí
    ïïðæïé ïîïæïì                                         ìïæï                       ïïçæïè ïîðæïê ïîïæïîô
                               êðæïî êèæïç éïæïç
   ·²¬»®¿½¬·±²                 éèæîë èðæîî èêæîë         Ö«¼¹³»²¬                    îî ïîëæê ïîêæîë
    ïíèæïî                     èéæîë çïæîôíôìôïèôïçôîî    ïðçæîì                     ïîéæïïôïí ïîçæè ïíðæïè
                               çîæïëôïê çíæîë ïððæîî                                 ïíïæçôïê ïíëæîïôîë
   ·²¬»®»-¬»¼                  ïðîæê ïðíæïôìôîí ïðìæç    Ö«²»                        ïíéæïìôïëôïê ïíèæïðôïì
    ìïæîë                                                 êéæïï ïïèæîî ïïçæì         ïíçæïïôïë ïììæïí ïëïæê
                               ïðçæîë ïïíæïï ïïìæïï
                                                          ïîíæïç                     ïëîæïë ïëíæïôì ïëêæîì
   ×²¬»®»-¬·²¹                 ïïëæïé ïïçæç ïîîæí
    íëæê ëîæîî                 ïîíæïï ïîìæïí ïîêæç                                   ïêðæïôîð ïêïæïôë
                               ïîçæé ïíîæé ïìëæî                      Õ
   ×²¬»®²¿¬·±²¿´                                                                    µ²±©·²¹
                               ïìêæïî ïìèæîï ïìçæîôïí
    ïðèæïè                                                                           ïïæë
                               ïëðæëôïðôïê ïëîæé         Õ¿·-»®
   ·²¬»®®±¹¿¬±®·»-             ïëíæí ïëèæë                ïíçæïïôîí
                                                                                    µ²±©´»¼¹»
    îíæê èïæîì èîæè èíæïë                                                            èæîî ïîæïèôîð ïìæîë
                              ·¬-                        Õ¿¬¸®§²                     ïëæîôí îíæïèôîî îëæë
    èëæïê èêæçôïíôîð ïêîæî     îêæéôïðôïî éðæîì éïæî
    ïêíæç                                                 èæê ëíæê ëêæîí ëéæïð       îêæïêôïéôîîôîë îèæïç
                               ïðìæî ïðëæì ïïðæïì         ïðïæïè ïðîæç ïðêæïï        îçæì íîæì íçæïìôïé
   ·²¬»®®±¹¿¬±®§               ïïîæîë ïïíæîí ïïìæë        ïðçæï ïïèæîï ïîíæëôïî      ëïæïì ëëæè ëêæîï ëçæîî
    èïæïð èíæíôïè èìæîî                                   ïîìæïìôîï ïìïæê            êîæêôé êëæìôè éíæîðôîíô
   ·²¬»®®«°¬                               Ö             µ»»°
                                                                                     îë èêæïìôîì èèæîî èçæëô
    ëìæé                                                                             îí çðæï çëæîð çèæç
                                                          éðæïôíôë ïðçæè ïìéæîì
                              Öó³                                                    ïðìæç ïíêæîôë ïìéæîî
   ·²ª¿¼»                                                µ»°¬                        ïëêæèôïîôïìôïêôîï
                               ïíéæê
    ïíïæïë ïìçæé ïëìæê                                    íìæïð ïëèæïé               ïëéæïìôïéôïèôîí ïêðæïè
   ·²ª»-¬·¹¿¬·±²              Ö¿³»-                                                  ïêïæïð
                               ïïîæè                     Õ»ª·²
    ïïíæïì                                                éæïí                      µ²±©²
   ·²ª±´«²¬¿®§                Ö¿²«¿®§                                                ïéæç êïæè êìæîð çðæî
                               ïðëæïìôïé ïðèæì ïïçæïô    Õ·³¾»®´»»
    èçæë                                                                             çïæïí ïðïæïï ïïìæì
                               î ïîïæì ïìêæè              êæì îçæïè



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                                 ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                            ·ïì
   µ²±©-                      ´»¿®²-                      ïðîæïé                   ´±¬
    ïëæîë ïêæêôîð îèæîí        îèæîë                                                êèæïç ïëìæîë
                                                         ´·¬·¹¿¬·±²
    ìíæî éïæïç ïïíæìôëôé
                              ´»¿ª»                       íîæîð êçæïì éïæé èðæïï   ´«³°
    ïíéæïè
                               ïîæè íéæí                  çéæîï ïîíæîï ïííæí        èðæîî
                                                          ïëçæîî
                              ´»¼                                                  ´«²½¸
               Ô
                               ïìçæîî                    ´·¬·¹¿¬·±²-                ïîîæíôëôîïôîë ïîëæíôïë
                                                          èíæì                      ïîéæïè ïëîæïð
   ´¿¾±®¿¬±®§                 ´»¹¿´
    ïïïæïïôîï ïïîæïï           ïèæî îèæîí ìëæê ìêæïî     ´·¬¬´»                    ´«²¹
                               ìçæïé êðæïëôïê éïæîð       íçæïç ïëðæé               çèæì
   ´¿²¹«¿¹»                    çïæîìôîë ïëèæïê
    ïðïæïí                                               ´·ª»-
                              ´»¬ù-                       ïîìæì                               Ó
   ´¿°¬±°                      ïîæè ííæé ììæé ìëæîì
    ííæïé                                                ´·ª·²¹
                               ìêæî ëïæïë ëèæë éðæïï                               Óó±ó»ó´ó´ó»ó®
                                                          ïîçæïë ïíèæïï
   ´¿-¬»¼                      éêæïï èïæè èîæë èíæèôïé                              ïëèæë
    êíæì                       çïæê ççæïï ïðïæë          ÔÔÝ
                               ïðíæîí ïðèæïë ïïêæïîô      êæë                      ³¿ù¿³
   ´¿¬»                        ïëôîì ïïèæïç ïîîæïð                                  éðæïé ïïçæïí ïîðæïðôïí
    êîæïïôîð ïïðæïí            ïîíæç ïîèæîì ïíðæé
                                                         ´±½¿´
                                                          êéæïé                    ³¿½¸·²»®§
   ´¿©                         ïííæêôïí ïíëæì ïíçæîð                                ïïðæç
    íðæîð éïæï éíæïï çðæîï     ïëïæïï                    ´±½¿¬»
                                                          éëæé ïêíæïð              ³¿¹·-¬®¿¬»
    ïêðæïë                    ´»¬¬»®                                                çïæë çîæïè ïíìæï
   ´¿©º«´                      çêæïí çèæïî ïðíæîì        ´±½¿¬·±²                   ïììæîï ïìéæïê ïìçæïí
    éæïé                       ïïìæç ïîìæîï ïîëæïí        ïëèæïì                    ïëðæïï
   Ô¿©®»²½»                   ´»¬¬·²¹                    ´±½¿¬·±²-                 Ó¿¹²»-·¿
    ïðèæïé                     îéæïôïí                    ïëëæï                     ëíæïð ëìæîí ëêæïï
                              ´·¹¸¬                      ´±¹                        êïæïè ïððæïð
   ´¿©-«·¬
    èæî ïíæëôçôïð ïëæè         ïìèæê ïìçæîë               îçæè ïíîæë               ³¿¹²·¬«¼»
    ïêæîë ìëæïêôîîôîì ìèæè    ´·³·¬»¼                    ´±¹¹»¼                     îðæïî îïæê ïííæïë
    ìçæïï ëðæïé ëíæè ëìæîî     éëæí éêæé ïïéæè            íïæïí ïîìæîð ïîëæîôìô    ³¿·´
    ëëæïç ëêæîì ëéæïôïìôîë                                ïêôîî ïîéæîì ïíîæì
                              Ô·²¼¿                                                 ïîêæîï ïëíæïê
    êïæïé éçæïì çëæîí çêæïô
    í ççæïí ïïêæîï ïííæïé      èéæïôí                    ´±²¹                      ³¿·²¬¿·²»¼
    ïíéæîë                                                îçæîíôîì íðæïôîôïí        îïæïè êìæïì
                              ´·²»
                                                          êçæïð
   ´¿©-«·¬-                    ïïçæïî ïîðæïï ïîìæïê                                ³¿¶±®
    ìéæïí ìçæí ëëæîð çëæîì    ´·¯«·¼¿¬»¼                 ´±±µ                       ïïðæïì
    ïíèæîî ïíçæî                                          íìæë ëîæïéôïè êèæïé
                               ïìïæïê                                              Ó¿²-±«®
                                                          ïîëæêôîì ïîêæïôì
   ´¿©§»®                     Ô·¯«·¼¿¬·²¹                                           ïðèæê
    çðæïï ïîëæîð               ïðèæïé
                                                         ´±±µ»¼
                                                          ëîæïë ïîéæïè             ³¿²«º¿½¬«®»®
   ´¿©§»®-                    ´·-¬                                                  éçæìôë ïîïæïí
    ïçæïð èèæí ïíìæé           ïïîæîë
                                                         ´±±µ·²¹
    ïìéæïç                                                ïìðæí                    ³¿²«º¿½¬«®»®-
                              ´·-¬»¼                                                ëíæïìôîð ëëæë ééæîì
   ´¿§°»®-±²                   ìëæî ïðèæè ïðçæî
                                                         ´±±µ-                      éèæîôîð éçæï ïîïæîí
    êðæïè                                                 èîæé ïìïæè ïìîæîð         ïêïæé
                              ´·-¬·²¹
   ´»¿®²                       èïæì
                                                         ´±--                      Ó¿²ª·´´»
    ìéæîî êîæç èðæïî                                      éëæíôîí éêæèôïïôïíôïè     ïïïæì ïìïæê
                              ´·-¬-                       ééæïë
   ´»¿®²»¼                     çéæë                                                Ó¿®½¸
    ïëêæéôïïôïëôîð ïëèæîì                                ´±--»-                     ïìîæïð
                              ´·¬»®¿´´§                   éëæî éêæê




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                                ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                              ·ïë
   Ó¿®·´§²                     íðæïôëôçôïí íïæîôê ííæè   ³·´´·±²                     ìçæìôïîôîî ëðæïôïíôîðô
    êæíôïë éæïêôîî èïæîïôîî    íçæîð ìïæé ëéæì êîæîí      ïïïæíôë ïïêæïë             îë ëïæê êêæïìôïéôïç
    ïëëæîë ïëçæïê              êíæíôïîôïëôîìôîë êìæíô                                éëæïíôïëôïéôîï éêæï
                                                         ³·´´·±²-
                               êôïï êçæç ïîêæïèôîðôîîô                               ééæïì ïðíæïí ïðêæïè
   Ó¿®·²±                                                 ïïïæï
                               îë ïëíæïêôïé                                          ïïêæïíôïç ïïéæçôïð
    éæïí ïëðæïì
                                                         ³·²¼                        ïïèæïì ïîðæë
                              ³»»¬·²¹-
   ³¿®µ»¼                                                 ëðæê ïìçæç
                               ëéæïí ëèæïð êíæïìôïèô                                ³±²·¬±®
    ëïæïêôïé èïæïï èëæïî
                               îï êìæé êçæì ïîéæè        Ó·²»-                       êæè
    èéæïë çìæïìôïëôïêôïéô
                                                          ççæîï
    ïèôïçôîðôîï ïïèæïè        ³»³¾»®                                                ³±²¬¸-
    ïîïæî ïíêæê ïíçæïç         íçæé                      ³·²«¬»                      çèæïî ççæè ïëîæïè
    ïìðæîî ïìïæìôïíôîï                                    éðæïë
                              ³»³¾»®-                                               ³±®²·²¹
    ïìîæïôêôïê ïìíæïôêôïïô
    ïëôïçôîí ïììæìôè ïìëæèô
                               èæéôèôîïôîí ïïæïé îêæêô   ³·²«¬»-                     éæîìôîë
                               ç îèæëôé ìïæîë ìîæëôêô     èïæïé
    ïîôïëôîðôîì ïìêæíôé                                                             ³±¬¸»®
                               ïî ìíæïïôîì ììæìôë éëæï
   Ó¿®¬·´´±¬¬¿                 éêæí ïïëæïï ïïêæïêôïé
                                                         ³·-´»¿¼·²¹                  èæê çæïôíôì ïðæïè ïïæíô
                                                          éìæîì                      ïèôîðôîì ïîæïìôïë
    çêæïì çèæïí ççæê           ïíìæç
                                                                                     ïìæïèôîðôîîôîì ïëæïôë
    ïððæîð ïðëæïë
                              Ó»³¾»®-ù                   ³·-®»°®»-»²¬¿¬·±²           ïêæëôïë îëæé îêæç ììæîì
                                                          ìíæè
   Ó¿-¬»®                      éìæêôîí                                               ìëæìôïç ìêæïé ìèæïì
    çêæîî ïïìæïêôîð
                              ³»³±®·»-                   ³·-®»°®»-»²¬¿¬·±²-          ëïæïí ëéæïï ëèæïð ééæí
                                                          êðæîí èçæîôé               éèæïç çèæí ïððæïí
   ³¿¬»®·¿´                    ìðæîðôîí
                                                                                     ïðíæîî ïîïæîî ïíëæîï
    êðæîí éðæë éëæîí èçæíôè
                              ³»³±®§                     ³·-¬¿µ»                     ïìïæïð ïêðæëôîð
    ïîðæîï ïëçæî                                          ìëæîð
                               ìðæì
                                                                                    ³±¬¸»®ù-
   ³¿¬»®·¿´-                                             ³·-¬¿µ»²
                              ³»²¬¿´                                                 ïîæèôïîôîí ïíæïë îìæîì
    ïïíæïì ïëíæïï                                         êêæïê
                               ïìçæîôì                                               ìðæè ëëæïç êéæé éëæîë
   ³¿¬¬»®                                                Ó±¼¼®»´´                    éêæïì ééæïëôîî éèæîð
                              ³»²¬·±²                                                éçæîì çðæê ççæïí ïïìæî
    êæì èæïìôïëôîìôîë çæê                                 ïïîæïî
                               ïíéæïî
    ïîæí íêæïì íçæí ìëæé                                                             ïíêæîð ïëèæïê ïêïæïí
    ìèæíôì éçæïð çðæïç        ³»²¬·±²»¼                  Ó±»´´»®
                                                          ïëèæì                     Ó±¬·±²-
    çïæîôïè çîæïíôïé çéæîí     ïîæîí ïëæïï ïçæîî
                                                                                     ïðçæîí
    ïììæîï ïìéæïíôïê           ììæïç ëïæïç ëëæïë êïæé    Ó±¹«´
    ïìçæïí                     êéæïè ïîëæïí ïîêæïì        ççæîí                     ³«´¬·°´»
                               ïíëæë ïëðæïç                                          îðæçôïð
   ³»¿²                                                  ³±³
    èæïë ïçæîë íêæïð ììæí     ³»-±                        ïïæïê ïìæïë îêæë ìéæïë
    ëìæïé ëëæé êçæê éìæïï      ïïéæèôïð                   ëêæîí êïæîë ïðîæïè                   Ò
    éêæî ïïéæïç                                           ïðêæïîôïí ïïðæîð
                              ³»-±¬¸»´·±³¿
   ³»¿²-                       ïíæé çèæíôê ïêðæêôîë
                                                          ïîíæïé ïîçæïë ïíèæïï      ²¿³»
    ëìæîï ëëæè êêæïí éïæïðô                               ïììæïé                     èæïð ïðïæç ïîïæïíôîî
    ïç éîæéôïë éìæç éëæîì
                              ³»¬                                                    ïíêæïë ïëéæç ïëèæïïôïî
                               êîæîï êèæè ïîëæïèôïç
                                                         ³±³ù-
                                                                                     ïëçæîí
   ³»¿²¬                                                  íëæïì ïðìæïí
                               ïîêæïì
    ëéæïë ëèæèôïç                                        ³±²»¬¿®§                   ²¿³»ù-
                              Ó·½¸¿»´                                                ïëçæîð
   ³»¼·¿¬·±²                                              ìîæîð éêæêôîï
                               êæïì éïæïë çïæîð
    ïëìæç                                                                           ²¿³»¼
                               ïëðæïì                    ³±²»§
                                                                                     ìëæïç èèæîï ïîëæïé
   ³»¼·½¿´                                                ïíæìôïëôïèôîë ïìæï
                              ³·½®±°¸±²»                                             ïîêæç
    çèæîð                                                 ïéæîôëôèôïïôïé îêæîôì
                               ïëëæïí
                                                          íìæîî íëæïôçôîï íêæïïô    ²¿³»-
   ³»»¬                       Ó·µ»                        îï íéæïðôïí íèæïôê         îèæïð îçæîî
    ïèæïï                      îïæîï                      íçæïë ìïæîë ìîæéôïðôïîô
                                                          ïç ìíæïîôîë ììæïð ìëæìô   ²¿³·²¹
   ³»»¬·²¹                    ³·´»-                                                  ëíæïð ëêæïï ïïìæïé
                                                          îï ìêæëôïç ìéæîôîî
    îèæèôïî îçæïîôîïôîí        ïïðæêôïê



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                                 ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                            ·ïê
   ²¿®®¿¬·ª»                   ²±¬·½»                      èéæîî                       ïïïæïëôïêôïéôîí ïïîæîô
    ïíéæî                       ïîéæï                                                  íôïé ïïíæîð ïïìæïîôïí
                                                          ±ºº»®
                                                                                       ïïëæïêôîî ïïêæîë ïïéæé
   ²¿¬«®»                      ²±¬·½»¼                     íêæê ïìðæïð
                                                                                       ïïèæïðôîðôîíôîì ïïçæèô
    îíæïï                       ïïìæïë
                                                          ±ºº»®»¼                      îî ïîðæïç ïîïæëôïðôïç
   ²¿§                         Ò±ª»³¾»®                    íìæîî íëæï íêæï íèæïêô      ïîîæìôêôéôçôîë ïîíæè
    èéæîì                       ëíæë ëêæîí ëéæç çëæïî      ïçôîî                       ïîìæëôé ïîëæé ïîêæîð
                                çêæç çèæïï ïìïæç ïìîæí                                 ïîéæè ïîèæïðôïïôïíôïìô
   Ò»¿´                                                   ±ºº»®-                       îðôîë ïîçæëôïè ïíðæè
                                ïìíæîï
    èéæïôí                                                 êêæê
                                                                                       ïíïæëôè ïíîæéôïîôîî
                               ²«³¾»®
   ²»¿®´§                                                 ±ºº·½»                       ïíêæçôïïôîì ïíéæïí
                                êæé îðæïïôîï ìçæè êèæîï
    ïïìæïç                                                 ïèæîð îìæí îèæè êîæîî       ïíçæïíôîï ïìðæïí
                                èíæïè ççæïì ïíéæï
                                                           êíæë êèæç êçæî ïîêæîì       ïìïæïîôîð ïìîæçôïïôîë
   ²»½»--¿®·´§                  ïíçæïêôïé
                                                                                       ïììæí ïìëæé ïìêæïí
                                                           ïííæïð ïíèæïê ïêîæïî
    èéæí
                               ²«³»®±«-                                                ïìèæïëôïè ïìçæîë ïëïæé
                                                          ±ºº·½»-                      ïëíæïëôîí ïëéæïðôïí
   ²»»¼                         ìéæïí ïïìæïê ïëëæî
                                                           ïîéæî                       ïëèæïôïïôïì ïëçæçôïë
    ëðæíôë ëìæë éïæïî ïïèæè
    ïíïæïì ïëëæïê                                         ±¸                           ïêðæíôïí ïêïæïï
                                           Ñ
                                                           ìðæïé éïæïì èíæïì çëæï     ±³·--·±²-
   ²»»¼-
                                                           çêæë ïðçæïê ïïìæïî          êðæîí èçæíôè
    ìêæë                       ±¾¶»½¬                      ïîïæïç ïîìæê ïîçæïè
   ²»¹±¬·¿¬»¼                   ïðéæïêôîîôîí               ïëïæïé ïëëæïì ïëèæï        ±²½»
    ëêæîð                      ±¾¶»½¬·±²                                               îéæïë ëìæïç ëëæïí ëêæì
                                                          Ñ¸·±                         éïæïî çïæïé çîæïí
   ²»¹±¬·¿¬·²¹                  ïíæîð ïéæïí îðæîî          çæì èèæïç ïìîæïè ïëèæê
                                îïæïí îîæïî îëæè îéæì                                  ïììæïç ïìéæïð
    íëæè ëíæïìôîï ëëæê
                                îèæïë íëæïð íêæéôîì       Ñ¸·±óª»²«»¼                 ±²»-
    éðæîî
                                íéæï íèæîôïðôîë íçæïè      èèæîð                       ïëïæì ïêîæïð
   ²»·¬¸»®                      ìîæîôïí ìíæïí ììæïôïï     ±µ¿§                        ±°»²
    ïîéæîí                      ìëæç ìéæîë ìçæë ëìæçô      çæîì ïîæêôèôïï ïíæî         êéæïê ïëëæë ïëèæîî
   ²»ª»®                        ïìôïê êðæì êëæïè éïæîì     ïêæïîôïíôïì ïéæïôëôïêô
    íêæïç íéæéôïë ììæïìôïé      éîæïî éêæïç ééæïé éçæé     îð ïèæïëôïé îðæïçôîï       ±°»®¿¬±®
    ëðæïè çìæç ïïëæïçôîë        èçæïè çðæïëôîì ïðìæê       îïæï îìæçôïê íïæîîôîì       êæïð
    ïïêæïèôîð ïïéæïï            ïðëæïð ïðêæîï ïðéæçôîð     íîæïí ííæïî íéæîôìôëôïé
                                ïïëæë ïïêæïôë ïïéæïí                                  ±°·²·±²
    ïïèæîôíôïï ïîðæîì                                      ìïæîðôîí ìîæç ììæê
                                ïïçæîë ïíðæïéôîðôîî                                    ìïæï
    ïíçæì ïëìæï                                            ìêæïê ìéæïêôîð ìèæîïô
                                ïììæïè ïìéæç ïìèæïç        îì ìçæïôïçôîë ëðæïîôïê     ±°°±®¬«²·¬§
   ²»©                          ïëîæê ïëìæì                ëïæïïôïë ëîæîïôîì ëíæîô     íêæîð
    êæê çîæïìôïë ïïìæîð
                               ±¾¶»½¬·±²-                  í ëìæíôïð ëëæïôïîôîë
    ïîéæíôëôîð ïîçæïé                                                                 ±°°±-»¼
                                îïæîí èíæïï ïíðæîð         ëéæíôîë ëèæê ëçæïì
    ïíîæïê ïìïæïë                                                                      çèæè
                                ïììæîî ïëçæì               êðæîï êîæîí êìæë êëæîð
   ²·¹¸¬                                                   êêæîí êéæïðôïïôïíôîë       ±®¼»®
    ïëìæîë                     ±¾´·¹¿¬·±²-                 êèæíôîí êçæï éðæîôèôçô      îðæïî îïæê êêæè êçæïê
                                èæì                        ïïôïìôïêôïèôïç éîæïé        çìæîí çëæé ïííæïë
   ²±³·²¿´                                                 éìæìôïéôïç éëæïî éêæïê      ïìëæïê
    êïæïè                      ±¾¬¿·²
                                éðæîì ïðïæïì               éçæïë èïæïôë èîæîôéôîï
                                                                                      ±®·¹·²¿´´§
   ²±®³¿´                                                  èíæïè èìæîï èëæïìôîïô
                               ±¾ª·±«-´§                                               ïëéæî
    ïëïæîì ïëîæì                                           îë èêæîí èéæìôîíôîë
                                çèæîì ïïìæîî ïëèæîîôîë     èèæçôïè çðæîôïí çîæïî      ±«¬´·²·²¹
   ²±¬»                                                    çíæïôé çìæïï çëæîôìôêôçô    ïçæïë
    èëæê                       ±½½«®
                                ïìæïî îçæîí                ïð çêæç çéæí çèæïêôïé
                                                           ççæêôïï ïððæïêôïè
                                                                                      ±«¬-·¼»
   ²±¬»-                                                                               ïííæîî
    íïæêôéôèôîïôîë íîæîôìôêô   ±½½«®®»¼                    ïðïæëôé ïðíæïôïðôïïôîìô
    ïë ííæé êçæíôëôéôïïôïíô     ïíïæïë                     îë ïðìæìôïïôïè ïðëæïôíô    ±©»¼
    ïê ïîêæïêôïè ïìéæîì        Ñ½¬±¾»®                     ïí ïðéæîôïì ïðçæïíôïëô      èðæïè
                                                           ïêôîï ïïðæíôëôïî



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   Ñ©»²-                       ìðæïð ìéæê ëêæç ëéæïôïì    çìæêôé                     ïí ïííæç ïêïæîë ïêîæéô
    ïìïæîî ïìîæî               ëèæçôîí éçæïð èðæé                                    ïïôïêôîðôîí ïêíæïôëôïî
                                                         °»®-±²
                               çíæïê ïðìæïí ïïêæè
   ±©»-                                                   îèæîî ëðæïêôïéôïèôïç      Ð´¿½·¬»´´¿ù-
                               ïïéæïêôîîôîí ïîèæîî
    ìëæîð                                                 ëêæîï ëéæêôè ëçæé êðæîô    ïçæï íðæç çíæïì çìæî
                               ïîçæïîôîî ïìðæïð
                                                          é êêæï éíæîì èìæïê èëæï    ïîéæî
                               ïìêæîïôîîôîí ïëíæîïôîë
                                                          ïðîæîï ïîîæï ïìéæì
                Ð                                                                   °´¿·²¬·ºº
                              °¿®¬·½«´¿®´§
                                                         °»®-±²¿´                    çæê îëæïë ìêæê ëíæê
                               êïæí êìæîî éèæî
   °ò³ò                                                   ïîæïèôîð ïìæîë ïëæî        êïæïé êîæç êìæîðôîë
    ïêíæîð                    °¿®¬·»-                     îêæïêôïéôîîôîë îèæïç       êêæëôïï éíæïîôïíôïì
                               ïííæîî ïìéæïì              íïæéôîïôîë íîæî êîæêôé     èïæïíôîî èíæïï èìæî
   °¿¹»                                                   êëæè èíæïï èìæîôèôçôïìô    ïêðæï
    êîæè éíæè éìæî èèæïïôïî   °¿®¬§
                                                          ïê èêæïìôîí èéæê èçæîí
    çêæïïôïé ïðîæê ïðëæîì      ììæïê ëéæïî ïðîæîì                                   Ð´¿·²¬·ººù-
                                                          çðæï ïíçæîì ïìîæîôé
    ïðêæé ïðèæîï ïðçæê         ïíéæî ïíèæï                                           êìæîð
                                                          ïëêæéôïîôïìôïêôîï
    ïïðæìôïïôîì ïïïæîì        °¿®¬§ù-                     ïëéæìôïìôïéôïèôîí         °´¿·²¬·ºº-
    ïïîæïè ïïìæè ïïçæë         ïíéæì                      ïêïæç                      êæïìôïè èæïë ïìæïëôïè
    ïîðæèôïï ïîïæêôè                                                                 îçæïç íçæê êëæç éîæîðô
    ïíêæîì ïíéæíôîï           °¿--»¼                     °»®-±²¿´´§
                                                                                     îï éìæîë éêæí éèæïì
                               êéæïï ïðîæïè ïîíæïéôîì     ïïæè îìæîð îçæîð ííæì
   °¿·¼                                                                              èéæïç èèæîï çêæîì çéæíô
                                                          ëêæïì ëçæîì êðæïï êêæî
    çëæîï ïðëæîë ïðêæçôïê     °¿--·²¹                     éëæïè çìæë ïðìæí ïêïæë
                                                                                     ç çèæîí ïðïæïëôïé
    ïïëæïï ïíîæîí              ïðìæïí                                                ïðîæê ïðèæèôîí ïïìæîð
                                                         °»®-±²-                     ïïêæè ïîëæïé ïîêæç
   °¿°»®                      °¿«-»                       ëïæç èíæîî                 ïêîæêôïð
    êèæïç                      ëìæë
                                                         Ð»¬»®                      °´¿·²¬·ºº-ù
   °¿°»®-                     °¿§                         êæîï éæë ïëêæìôïéôîì       éìæë èèæï çíæïè ïðçæîí
    êîæïê ïïïæîî               íëæïê ìêæë ìçæîî ëðæïçô
                                                          ïëéæïç
                               îì éçæë ïðíæïè                                       °´¿²¬
   °¿®¿¹®¿°¸                                             °¸±²»                       ïïðæêôïë ïïîæè ïïçæïïô
    ëîæîì ëíæì ëëæïðôïè       °¿§¿¾´»                     ïîêæîï ïìéæì ïëðæïê        îì
    ëêæïôíôïéôîî ëéæêôîîôîì    ïðèæê
                                                          ïëíæïêôïè
    ëèæîí ëçæïí êîæè êìæïç                                                          °´»¿¼·²¹-
                              °¿§·²¹                     °¸®¿-»                      ìïæî
    êêæïé éðæïïôîð éíæé        ìçæïï ïðíæïí
    éìæíôïé èíæç èìæï èèæèô                               ìéæç éðæîï éïæç
                                                                                    Ð´»¿-
    ç çèæïç ïïìæïì ïíéæï      °¿§³»²¬                    °¸®¿-·²¹                    ëíæè ëèæï ïðçæï
                               ïíêæïí
   °¿®¿´»¹¿´-                                             ëðæé
                                                                                    °´»¿-»
    ïìéæîð                    Ð»¿-»                      °·´»                        êæïï éæè îïæîí îéæïð
                               éíæïî
   Ð¿®¼±²                                                 ïïêæïí                     ìçæïê ëðæïî ëîæîë ëìæî
    íïæïë                     °»½«²·¿®§                  °·°»
                                                                                     ëêæè éðæï éïæïì éîæì
                               éëæîôïîôïí éêæê                                       èéæïé èçæîë çîæêôç
   °¿®¬                                                   ïïðæïê ïíéæé
                                                                                     çèæîï ïðïæçôîî ïïíæïð
    ëìæîì ëëæî êïæïè éîæîë    °»²¼·²¹                    °·°»-
    ïïëæì ïïêæí ïîðæí          îíæé çïæë                                            °´»²¬§
                                                          ïïðæé
    ïîïæîë ïîíæïë                                                                    ïëçæí
                              Ð»²²-§´ª¿²·¿               °·°·²¹
   °¿®¬·½·°¿¬»                 ïîéæí                                                Ð´·¾®·½±
                                                          ééæí
    éðæîë éíæïêôîï                                                                   ïìïæïì
                              °»±°´»                     °´¿½»
   °¿®¬·½·°¿¬»¼                îéæïôïì îèæê îçæïî                                   °±·²¬
                                                          íðæïí ìëæí
    éîæîîôîì                   ìíæîð ìêæïî ëðæïí                                     ïìæïð êðæï èëæïç ïïîæí
                               êíæîï êìæîôé êêæîì ééæî   Ð´¿½·¬»´´¿                  ïëçæé
   °¿®¬·½´»-                   ïïëæîôïðôïèôïçôîì          êæïéôïè íðæèôïïôïé ííæç
    ïïíæïé                                                                          °±·²¬·²¹
                               ïïêæíôïé ïïéæïôïï          íêæïð íéæîë íèæè êîæîì
                                                                                     ëêæïð
   °¿®¬·½«´¿®                  ïïèæîôïï                   êíæí êìæïï êçæîî èêæí
    ïïæïë ïçæïç îëæïç îêæê                                ïïëæî ïîìæïç ïîêæïëôîí    °±®¬·±²
                              °»®½»²¬                     ïîéæïë ïíðæïð ïíîæïïô      êêæê çîæïï
    íìæïç íëæí íçæíôïï



               ÜÌ× Ý±«®¬ Î»°±®¬·²¹ Í±´«¬·±²- ó Ò»© Ç±®µ
  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                               ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                            ·ïè
   °±-·¬·±²                  °®»-»²¬»¼                  °®±¼«½»                    ïïðæîë ïïïæí
    ïìçæïï                    ïîæïé ìêæí ïîçæïí          ïíîæê
                                                                                  °«®»´§
   °±--»--»-                 °®»-»²¬´§                  °®±¼«½»¼                   èéæê
    èíæïï èìæî                çêæè                       ïîìæîð ïîëæîôíôïêôîî
                                                                                  °«®-«¿²¬
                                                         ïîéæîì ïíîæì ïììæïë
   °±--»--·±²                °®»¬¬§                                                éæïè
                                                         ïìéæé
    ïëðæîì                    êçæïë ïííæî ïìðæïì
                                                                                  °«®-«·²¹
                                                        °®±¼«½¬
   °±--·¾·´·¬§               °®»ª·±«-                                              çëæïè
                                                         îêæèôçôïïôïîôïì ìëæí
    îëæïë íéæè                îëæîì
                                                         ëíæïíôîð ëëæë éçæïçôîð   °«¬
   °±--·¾´§                  °®»ª·±«-´§                  ïììæïëôïé ïìéæé ïëðæî     éæïð îêæîì îçæè ìéæïï
    ïîèæïç ïîçæê              çêæîí ïðëæîë ïðêæè                                   êîæïé èéæïê ïðéæïï
                                                        °®±¼«½¬-
                              ïïìæïè ïêíæì                                         ïðèæïï ïïêæîì ïîëæè
   °±¬»²¬·¿´                                             ïïæìôê ìëæïè êðæîì
                                                                                   ïîêæè ïìðæïë ïëíæïî
    èéæî                     °®·±®                       êìæîí ïîïæïìôïë ïìèæè
                              îèæïí îçæïí êéæç èîæïî     ïêïæé                    °«¬¬·²¹
   °±¬»²¬·¿´´§
                              ïðìæïî ïîëæïè ïíëæîî                                 êçæè éïæîí éîæïî
    ëíæïíôîð ëëæë                                       °®±ºº»®»¼
                             °®·ª·´»¹»                   ïìîæïè
   °±«²¼-
                              îïæîî îîæïðôïì îéæîí                                            Ï
    ïïïæïôíôë                                           °®±¹®¿³
                              îçæè çðæïçôîð çïæîôïèô
                                                         ëëæì ëéæïé
   Ð±©»®°±·²¬                 îî çîæïìôïê ïíïæîôìôïðô                             ¯«¿´·º·»¼
    íðæîí                     ïîôïì ïëìæïê              °®±¹®¿³-                   ìêæïí
                                                         ëíæïîôïç ëêæïç ëçæïé
   °®¿½¬·½»                  °®·ª·´»¹»¼                                           ¯«»-¬·±²
    ëíæïïôïè ëëæí ëêæîôïîô    îîæîî çïæîð               °®±¸·¾·¬·²¹                ïíæïíôîì ïêæïï ïéæïç
    ïëôïè ëéæïê ëçæïê                                    îìæïè çíæè                îéæç îçæïð íîæïî ìíæïç
                             °®·ª§
    ïëïæîë ïëîæì                                                                   ììæê ìëæïî ìêæèôçôïï
                              ïîæé îêæïç íêæïé íéæîï    °®±¶»½¬
   °®¿½¬·½»-                  íçæéôïð ëéæî               ïïðæïì                    ìéæìôëôéôïï ìèæïôçôîî
    ëéæïç ëèæí ëçæïôîðôîì                                                          ìçæïéôïèôîíôîë ëðæìôêô
                             °®±¾¿¾·´·¬·»-              °®±³°¬                     èôçôîî ëìæïôí ëèæìôîí
    êðæíôèôïéôïè ïïèæì
                              ìéæë                       ëìæé                      ëçæîí éïæîð éîæîôë
   °®»¼»½»--±®                                                                     éëæîð èíæïí çðæïè çîæìô
                             °®±¾¿¾´§                   °®±±º
    ëíæç ëìæîí                                                                     êôïð ïðéæïï ïïêæîí
                              îçæîð ëîæé ïîèæïé          ìèæïî
   °®»¼»½»--±®-               ïííæë ïíêæîî ïëïæî                                   ïïçæçôïîôïë ïîðæïêôïçô
                                                        °®±°±-»¼                   îï ïîìæîì ïíéæîì
    êïæîî                     ïëíæïé
                                                         ïëìæï                     ïíèæîë ïììæîë ïìëæì
   °®»¼»½»--±®-ù             °®±¾¿¬»                                               ïìêæïç ïëðæê ïëêæïðôïç
                                                        °®±-»½«¬»
    éïæî                      êéæïé ïíëæïì ïìîæïé
                                                         èìæîë                    ¯«»-¬·±²·²¹
                              ïìëæïê
   °®»º»®                                                                          ïëìæîí ïëëæì
                                                        °®±-»½«¬·²¹
    ìîæïîôïë                 °®±¾´»³
                                                         éëæè                     ¯«»-¬·±²-
                              êêæïè
   °®»°¿®¿¬·±²                                                                     ëìæè ëèæèôïç ïïéæïç
                                                        °®±ª»
    ïèæïéôîî ìïæïìôïéôîï     Ð®±½»¼«®»                                             ïìèæéôïðôîë ïëðæîôç
                                                         éëæè
    ëïæîï                     éæïç                                                 ïëëæçôïï ïëêæî ïëèæïô
                                                        °®±ª·¼»                    ïçôîî ïëçæïôïì ïêïæïèô
   °®»°¿®»                   °®±½»»¼·²¹
                                                         èçæïê çïæïë               ïçôîî ïêíæïê
    ìðæïç ìïæë ïðïæîë         éëæë
                                                        °®±ª·¼»¼                  ¯«·½µ´§
   °®»°¿®»¼                  °®±½»»¼·²¹-
                                                         îìæì ïïìæïè               ïìðæïë
    ïèæè èîæí ïëèæîí          ïîéæê
                                                        °®±ª·¼·²¹                 ¯«·¬»
   °®»-»²¬                   °®±½»--
                                                         çðæîì                     êèæïç
    êæïê ïðæï ïèæïíôïëôïê     èíæïç ïìðæë
    îèæç íçæîï ïîéæçôïð                                 °®±¨·³¿¬»                 ¯«±
                             °®±½»--»-
                                                         éìæïç                     êêæç
   °®»-»²¬¿¬·±²               ïìçæíôë ïëðæïð
    íðæïéôîïôîí                                         °«®½¸¿-»¼



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                                ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                              ·ïç
                              ®»½»·ª»                    ®»º»®                      îçæïí
                Î              íëæîð íêæîî íéæïð          ëéæîí ïîïæê
                                                                                   ®»´»¿-»
                               ìéæîî êèæîî éðæë ïëìæí
                                                         ®»º»®»²½»                  ïðïæèôïí ïðëæîî ïðêæë
   ÎòÌò                        ïêîæí
                                                          çêæïè                     ïíçæîì ïìðæïîôîì
    ïðæïç ïððæìôê ïðíæê       ®»½»·ª»¼                                              ïìïæîî
    ïðìæï ïðèæïìôïë                                      ®»º»®»²½»¼
                               îïæïôïï ííæê íçæîì
                                                          ëêæí êðæí êçæí           ®»´»¿-»-
   ®¿·-·²¹                     ìðæïê ìïæïî êêæîð
                                                                                    îíæîë îìæëôê ïðïæîï
    ïíîæç                      êéæïèôîï êèæèôîï ïîéæï    ®»º»®»²½»-
                                                                                    ïðêæí
                               ïííæïê ïíçæì ïìðæïî        ïïïæîî
   ®¿©                         ïëìæîìôîë                                           ®»´»ª¿²½»
    ïïïæïôíôë ïïíæïì                                     ®»º»®®»¼
                                                                                    îîæîë îíæí
    ïïçæïëôïê ïíéæé           ®»½»·ª·²¹                   ïìæïð ïîðæîí ïëéæïî
                               îéæîë ìïæîë êïæîð êçæî     ïëèæïë                   ®»´»ª¿²¬
   ®»¿¼                                                                             íëæïî êçæïè èðæïé
    çæîë ïðæï ëëæîî ëèæïè     ®»½»--                     ®»º»®®·²¹
    êêæïê èèæïé çîæëôçôïï      èëæç ïîîæïì ïëëæîî         ëêæïð çêæî               ®»´·»¼
    ïðïæïð                                                                          éïæï èêæïð
                              ®»½±¹²·¦»                  ®»º®»-¸
   ®»¿¼-                       ïïæïî ëïæîî çëæïë          ìðæìôîð ïðïæë ïðîæïîô    ®»´·»-
    èíæç                       ïìðæî ïìïæîôïé ïìëæïðô     ïë ïïíæîðôîì ïîïæîï       îéæêôïé îèæïé ëíæîë
                               ïíôïéôîî ïìêæïôëôç                                   ëêæê éîæï
   ®»¿´                                                  ®»º®»-¸»¼
    ïïçæïðôîí                 ®»½±´´»½¬                   ìðæîí                    ®»´§
                               ïîèæïè ïíîæî                                         ìçæîì êðæïë ïìêæïêôïç
   ®»¿´´§                                                ®»¹¿®¼
    ïéæïîôïè îðæïè îìæïë      ®»½±´´»½¬·±²                íëæïí ïíîæîð ïìèæïï      ®»´§·²¹
    íïæë íîæç ìèæì ìçæéôç      êîæîð çíæïí ïðïæê                                    ïëæé êðæîî èçæîð
                               ïðîæïîôïê ïïíæîðôîì
                                                         ®»¹¿®¼·²¹
    ëèæì çíæîí ïïêæîîôîí                                  ïëæì ïèæîï îëæêôîï       ®»³»³¾»®
    ïïèæê ïîêæê ïîçæïð         ïîïæîï ïîçæîï ïíïæîî
                                                          ííæîïôîë ëîæè ëêæïè       îèæç îçæîî ìðæë êíæïï
    ïíçæïé ïêïæïé             ®»½±³³»²¼                   ëéæï êðæîì èìæïðôïî       êêæîïôîî éèæí èîæîì
   ®»¿-±²                      éðæîí                      çîæîï çèæïé ïðçæïï        èéæîì ïðíæïï ïðìæîì
    ïíæïðôïè ïìæî îîæïïôïë                                ïîíæíôë ïíïæïêôîë         ïðèæïîôïëôïê ïðçæïé
                              ®»½±³³»²¼¿¬·±²
    ìêæîë ìçæïð çïæïì                                     ïíëæïî ïìîæïè ïìêæîë      ïïëæïî ïíçæé
                               ïìéæîð
    çéæîë ïðéæïêôîîôîí                                    ïìçæèôïïôïê ïëðæïð
                                                                                   ®»³±ª¿´
    ïîðæí ïîìæïç ïíéæïè       ®»½±³³»²¼»¼                 ïëìæè ïêïæïî
                                                                                    ïïðæïë
                               ïðéæë
   ®»¿-±²¿¾´»                                            Î»·²¼»´
                                                                                   ®»³±ª»
    íêæï                      ®»½±®¼                      éæë ïëêæíôïí ïëéæïê
                                                                                    ïïîæîðôîí
                               êæî ëìæïëôïê éïæîì
   ®»¿-±²¿¾´§                                            ®»·¬»®¿¬»
                               éîæïí èëæéôïï çîæïï                                 ®»°
    êðæîî éïæï                                            ïîéæïé
                               ççæïð ïïíæïî ïîîæïïô                                 ííæè çïæïë ïïèæï
   ®»¿-±²-                     ïîôïê ïëïæïî ïëëæîðôîì    ®»´¿¬»
                               ïêîæï ïêíæïç
                                                                                   ®»°»¿¬
    îîæïè éçæîë ïííæîð                                    íîæïðôïê
                                                                                    ïíæîì îçæïð íèæì ìëæïî
    ïêïæîì                    ®»½±®¼»¼                   ®»´¿¬»¼                    ìéæç ëðæç
   ®»½¿´´                      êæí                        ïêïæïí
                                                                                   ®»°´¿½»
    ïðæíôëôêôçôïîôïíôïìôïê    ®»½±®¼-                    ®»´¿¬·²¹                   éëæê
    ïçæîôìôïê îìæîð îçæïé      çèæîð ïðêæè ïëïæîôíôïëô    íîæé ìðæèôïðôïï êìæïì
    íðæïî ìçæéôç êíæïé         ïèôîïôîìôîë ïëîæí
                                                                                   ®»°±®¬»®
                                                          éìæîî ïìðæîì ïêðæïé
    êìæçôïð êêæí êéæì éçæîî                                                         éæéôè çîæë
    èéæîï çíæïê ïðíæïê        ®»½±ª»®                    ®»´¿¬·±²
                               ïîðæì ïîçæîì
                                                                                   ®»°®»-»²¬
    ïîçæïïôïîôïç ïíïæîî                                   ïìêæîð
                                                                                    êæïî èæê çæê çèæïì
    ïíîæïçôîðôîì ïííæì        ®»½±ª»®»¼                  ®»´¿¬·±²-¸·°               ïëçæîð
    ïíêæïç ïíèæîì ïìïæí        ïíìæïç                     ïçæëôéôçôîí îèæïí çðæë
    ïëïæïçôîðôîï ïëíæïè                                                            ®»°®»-»²¬¿¬·±²
                                                          ïðìæïë ïíîæïê
    ïêðæìôïï ïêíæê            ®»½±ª»®§                                              ïìæíôïîôïìôïé ïëæïë
                               ïíðæíôïí                  ®»´¿¬·±²-¸·°-              îêæé ìîæîïôîîôîì




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                                 ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                              ·îð
   ®»°®»-»²¬¿¬·±²-              ïìéæïé ïìçæïë ïëðæïî       êçæîí éðæéôïë èîæèôç      ®«²
    ïìæëôîë ïëæïèôïçôîðôîë                                 èëæïç ïîîæîí ïîìæç         ïëðæí
                               ®»-°»½¬
    îëæê êïæè éïæí èèæîí                                   ïìðæè ïëîæïïôîí ïëíæë
                                ïðæïé íïæîì íéæê ëèæïî
    çïæç                                                   ïëéæç
                                êéæë éêæïï èêæïé                                                Í
   ®»°®»-»²¬¿¬·ª»               ïîçæïê ïëíæîì ïëêæïð      ®»ª·»©»¼
    èæïôë ïïæç ïèæíôìôë ïçæê    ïëéæïí ïêíæïì              ìïæëôïêôïè ëïæîðôîï       Í¿³
    îìæîîôîí îêæï îèæî íïæí                                ëëæçôïë ëèæé êçæîð         çêæïì ïðëæïìôîï
                               ®»-°±²¼
    íìæîë íëæê íéæïé íçæç                                  èîæïï èíæîî çíæïè
                                îéæïðôîð îèæîð ìíæïìô                                Í¿®¿¸
    ìïæïëôîì ìíæîî ëéæîî                                   ïîêæé ïíêæí ïëïæëôê
                                ïê ëêæè éîæì ééæïç éçæè                               éæé
    êðæï êïæîôïë êéæê èèæîï                                ïëîæïí ïëéæïï
                                èçæîë çîæè ïííæîë
    çïæïî çìæì ïïìæîë                                                                -¿ªª§
                                                          ®»ª·»©·²¹
    ïïëæîì ïïêæïî ïïéæîïô      ®»-°±²¼·²¹                                             ïííæî
                                                           ëèæïî êðæïí
    îî                          èêæïî ïëíæé
                                                          ®»ª·-»                     -¿©
   ®»°®»-»²¬¿¬·ª»-             ®»-°±²-»                                               èîæí ïííæïé ïëéæç
                                                           ïðïæç
    îèæïï íìæí íèæê êíæîí       èìæï èëæïë
    êìæí êçæì ïîéæçôïì                                    ®·º»                       -¿§·²¹
                               ®»-°±²-»-                                              ïðæïî ïîæïôî îìæîë îçæí
                                                           ïïéæë
   ®»°®»-»²¬»¼                  èíæí ïðçæîí                                           ïïëæïé ïïêæé ïïéæîí
    ïìæéôç ïçæîôîï îèæîî                                  ®·¹¸¬                       ïíðæê ïëïæïç ïëîæïî
    îçæé éíæì èèæîð ïïìæîð
                               ®»-°±²-·¾´»
                                                           çæîî ïêæéôïêôïè ïçæè
                                ìçæîï ëíæïíôîð ëëæë                                  -¿§-
                                                           îðæïé îëæì íðæîî íîæîï
   ®»°®»-»²¬·²¹                 êéæïì                                                 ëèæï ëçæïë êðæîï êïæïìô
                                                           íéæïèôîð ìîæïð ìíæïôîô
    êæïì íïæì íêæïë                                                                   ïê êëæç êêæë éíæè éìæëô
                               ®»-°±²-·ª»                  ïïôîð ëîæçôïïôïí ëèæïëô
   ®»°®»-»²¬-                   èíæïî èìæí                 ïé êðæîð êèæé éðæïðôîð     ïîôïç éêæí èìæî èèæïí
    îðæï                                                   éíæç éìæî éêæì ééæëôé      çêæîï çèæïè ïðîæç
                               ®»-¬                        éèæéôèôçôïïôïíôïëôïé       ïðëæîì ïðêæéôïðôïë
   ®»°-                         ïìðæïí                                                ïðèæëôïðôîï ïïðæí
                                                           èðæíôïì èïæíôéôèôïî
    êíæîë êìæè                                                                        ïïïæç ïïîæïéôîí ïïìæïì
                               ®»-¬±®»¼                    èêæè èéæì èèæîôìôê çðæé
   ®»¯«»-¬                      êêæç                       çëæïïôïî ççæç ïðîæïî       ïïëæîï ïîðæïí ïîïæïï
    èíæïî èìæí èêæë ïîéæïè                                 ïðìæï ïðëæïêôîð ïðéæî      ïíïæïç ïíéæêôïèôïçôîì
                               ®»-«´¬                      ïðèæïí ïïðæïï ïïïæïì       ïíèæì
   ®»¯«»-¬»¼                    èçæï                       ïïîæëôê ïïìæïï ïïéæíôê
    çîæïï ïëîæïí                                                                     -½¸»³»
                               ®»¬¿·²»¼                    ïïçæïé ïîïæïè ïîíæïðô      êîæïïôïç êíæî
   ®»¯«·®»³»²¬                  ïêðæïêôîðôîì               ïè ïíïæîï ïííæïí
    ïîéæîð                                                 ïíêæïðôîë ïìðæïíôïéô      -½±°»
                               ®»¬¿·²·²¹                   ïçôîï ïìïæïî ïìîæîï        ïííæîì
   ®»-»®ª»                      ïììæîî                     ïëïæç ïêïæïè ïêîæéôîð
    ïêïæîí                                                                           -»¿®½¸
                               ®»¬·®»¼                    Î±¾»®¬                      íîæïì
   ®»-»®ª»¼                     ïêðæïîôïí                  ïïîæïï
    ïêíæîï                                                                           -»½±²¼
                               ®»¬«®²                     ®±´»                        ïîæïðôîï ëïæïè ëìæîì
   ®»-·¼»                       êêæêôïí                    ïïæç ìïæîí ìíæîï ïêðæï     ëëæî ëèæïí èíæç èìæï
    ïëèæç                                                                             çêæïé ïðîæë ïðçæé
                               ®»¬«®²»¼                   ®±±³
   ®»-·¼»²½»-                   êêæïé                                                 ïïìæèôïì
                                                           íçæîï
    èêæîïôîë                                                                         -»»
                               ®»ª»¿´                     ®±«¹¸´§
   ®»-·¼»-                      ëìæì                                                  íîæïë ìêæçôïð ìéæíôïï
                                                           çèæïî ïíçæïí               ëíæïê ëèæîî êïæë êîæïì
    ïëèæïð
                               ®»ª»¿´·²¹                  Î«´»                        êëæîôïï éïæì éíæçôïè
   ®»-±´«¬·±²                   îéæçôïïôïç îçæç íðæïê      èéæïç                      éìæé éëæïð ééæî èðæïé
    ïìïæë                       íìæç ëìæî ëêæè éîæí                                   èïæèôîë èîæîôë èíæîì
                                èçæîì çîæîí               ®«´»¼                       èìæì èëæïé èèæïë èçæïï
   ®»-±´ª»                                                 ïëçæì                      çêæëôïëôïèôïç çéæïôçô
    çèæîî ççæé                 ®»ª·»©
                                                          ®«´»-                       ïïôïì ççæîôïëôïèôîë
                                ìðæîôê ìïæîð ëïæîì
   ®»-±´ª»¼                                                éæïè îîæëôçôïë             ïððæîôìôïðôïìôîì ïðïæëô
                                ëéæïç ëèæîï êðæïí



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  ïóèððóíîëóííéê                                 ©©©ò¼»°±-·¬·±²ò½±³
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                               ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                           ·îï
    ïç ïðîæíôéôïð ïðìæîì      ïíëæë ïíçæïé ïìèæî        -·¹²                      -±®®§
    ïðêæïðôïêôïé ïðçæïôí                                 îíæîí îìæë èîæïí èëæîí    íçæïç èíæïëôïê èèæïï
                             -»¬¬´»³»²¬
    ïïðæïïôïè ïïïæéôïî                                                             ïïçæíôë ïîìæîë ïìíæïî
                              íìæïíôïêôïè íêæïôê        -·¹²¿¬«®»
    ïïîæèôïë ïïíæîôïè                                                              ïìëæí ïëðæïé
                              íéæïí íçæì ìíæîí ëíæïîô    ïêíæîï
    ïïìæîíôîì ïïëæîð
                              ïç ëëæì ëêæïç ëéæïé                                 -±®¬
    ïïêæîî ïïéæîð ïïèæê                                 -·¹²»¼
                              ëçæïé êïæïçôîë êìæîì                                 êèæîì éèæì
    ïïçæîð ïîðæîë ïîïæïê                                 îíæîì îìæï èíæî ïìðæì
                              êëæë êêæéôç éïæïð éîæïë
    ïîíæïî ïîìæïí ïîêæî                                  ïìîæïì                   -±®¬»¼
                              éíæïôïéôîî ïððæîî
    ïîèæî ïííæê ïíêæïê                                                             ïíðæïê ïíìæï
    ïíéæïð ïíèæîôë ïíçæîë
                              ïðîæîð ïðëæïç ïðéæëô      -·¹²·º·½¿²¬
    ïìðæí ïìîæìôïî ïìíæìô
                              ïìôîì ïðèæëôïðôîî          ïïíæïê ïíéæì             -±«¹¸¬
                              ïîíæì ïîëæïð ïííæîî                                  îðæë
    ïíôïéôîïôîë ïììæëôïð
                              ïìïæïëôïê ïìîæïç
                                                        -·¹²·²¹
    ïìêæïî ïêðæí ïêîæìôê
                              ïìíæîôéôïêôîðôîì ïììæçô
                                                         èîæîì ïìðæê              -±«²¼
                                                                                   îðæïé
   -»»·²¹                     ïîôïí ïìëæçôïéôîïôîë      -·³·´¿®´§
    ïíîæîì ïíêæïç ïëçæîë      ïìêæìôèôîïôîîôîíôîì        éíæïì éìæïî              -±«®½»
                              ïìéæê ïìçæè ïëíæçôïçô                                ïëæé
   -»»µ·²¹                                              -·-¬»®-
                              îì ïêïæïê
    ïíæïìôïèôîë ïìæïôê                                   ïîìæì ïëèæïð             Í±«¬¸»®²
    ïêæïôèôïìôïçôîí          -»¬¬´»³»²¬-                                           ïðíæé ïðëæìôé ïðèæïê
                              îíæèôïïôïî îìæìôïç        -·¬
                                                                                   ïðçæïï ïïîæîïôîì
   -»»²                                                  ïðæïì ïêæîë ïéæîð ïèæê
                              íëæïí íèæïëôïé ëçæï                                  ïïíæìôéôïëôîïôîë ïïìæì
    èéæîð ïðïæï ïíêæïè                                   íêæïç íéæé íçæïí ééæïí
                              êêæîì éðæîí éîæïçôîí                                 ïïéæì
                                                         çïæïî ïðëæí ïðéæïë
   -»²¬                       éíæë éèæê ïííæïíôîí
    ïîíæïê ïêîæïôîôïìôîì      ïíìæêôïðôïï ïììæîðôîï      ïíðæç ïíëæïê ïëíæîð      Í±«¬¸»®²ù-
                              ïìêæïëôïéôîð ïìéæïðôïì                               ïïéæî
    ïêíæïôì                                             -·¬«¿¬»¼
                              ïìçæïîôïê ïëðæïðôïç        éíæïë                    -°»¿µ
   -»²¬»²½»                   ïëìæî                                                ïèæîï ïëðæïë
    ëíæë ëìæïé ëêæïé ëéæê                               -·¬«¿¬·±²
    êðæîï êïæïîôïêôîí        -»¬¬´·²¹                    ïïëæîí ïëðæì             -°»¿µ·²¹
    êìæïç êêæë éðæîî          êêæîí éêæîë éèæïî éçæî                               îïæîí îîæïî ïíðæïç
                              ïðïæïê ïðîæîôïí ïðéæïê    -·¨
   -»°¿®¿¬»                   ïðçæïé ïìèæêôç             ïîëæïé                   -°»½·º·½
    çíæîð ïíéæí                                                                    íéæïð íçæïë êîæïé
                             -»ª»²                      Í´±¿²»
                                                                                   ïìèæéôïð ïëðæî ïëïæîð
   -»°¿®¿¬»´§                 ïðîæïôïíôîð ïðíæèôîï       éæë ïëêæìôïéôîì ïëéæëô
    ïðèæîë
                              ïðìæïçôîí ïðçæïè           îð                       -°»½·º·½¿´´§
                              ïïïæíôë ïïîæïç ïïìæï                                 çæïç íðæïç êíæïç êìæïêô
   Í»°¬»³¾»®                                            Í´±¿²»ù-
                              ïîíæì ïîëæïð                                         ïè êêæî êèæì ïðïæïè
    ïíêæïí ïìïæïç                                        ïëéæè
                                                                                   ïðèæïð
   -»®ª»                     -»ª»®·¬§                   -´±©
    ïðïæîë                    çèæî                                                -°»½·º·½¿¬·±²
                                                         íçæïç
                                                                                   ïïîæïç
   -»®ª·½»                   -¸±®¬                      -±¿°-¬±²»
    èîæê                      çìæîí                                               -°»½«´¿¬»
                                                         ïîðæïì ïîïæïë
                                                                                   ïêïæç
   -»¬                       -¸±«´¼²ù¬                  Í±¿°-¬±²»ñ¬¿´½
    îîæïç êïæí èïæîí          ïïèæïí                                              -°»½«´¿¬·±²
                                                         ïïîæé
                                                                                   ìêæé
    ïðçæïé
                             -¸±©                       -±³»¾±¼§
   -»¬¬´»                     íðæîë íçæîí ìéæï éèæïç                              -°»½«´¿¬·ª»
                                                         ïíæí íèæïç ììæé ëðæîí
                              èïæî ïðçæéôïð ïîíæï                                  ìéæí ìèæïï
    íëæïôíôè íêæîï íéæèôç                                ëçæé êïæïï èðæïè çïæïí
    íèæîí íçæïë ééæç èíæîð    ïíìæîë ïíêæé               ïïéæé ïîìæè              -°»´´»¼
    ïìéæïôîï                                                                       ïëèæì
                             -¸±©·²¹                    -±³»¾±¼§ù-
   -»¬¬´»¼                    ëïæïé ïðíæì ïïíæïí         îçæé                     -°·¬»
    íèæé êêæí éîæîë ééæêô                                                          êðæïí
                             -¸±©²                      -±±²
    ïðôïêôîíôîë éèæîðôîì
                              ìïæè                       ïðïæîï ïííæïï            -°±µ»
    éçæïéôîìôîë èðæïí
    èìæïð èëæí ïðêæè ïïìæï                                                         ïèæïç îëæîð



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                               ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                          ·îî
   -°±µ»²                    -¬·°«´¿¬·²¹              -«°°±-·¬·±²                 ïðîæïôïíôîð ïðíæëôéôèô
    ïèæïè îèæê                ïîçæë                    íçæî ïïéæïç                ïîôïíôïìôïëôïéôîï
                                                                                  ïðìæîôïç ïðëæìôéôèôïç
   -°±´·¿¬·±²                -¬±°                     -«®»
                                                                                  ïðêæïëôïèôïç ïðéæêôéô
    êìæîï éìæïí éëæç          éïæïê éîæç               ïíæîë ïêæì îðæïïôïêôîì
                                                                                  ïêôïéôîì ïðèæïïôïîôïêô
                                                       îïæë îìæî îçæïï íîæïç
   -°±¬                      -¬±°-                                                ïè ïðçæïïôïìôïèôîðôîï
                                                       íêæïì íèæë ìëæïí ëðæïï
    èïæïë                     ìèæç                                                ïïïæîï ïïîæïíôïçôîïô
                                                       êíæïéôîì êìæïí êçæê
                                                                                  îîôîìôîë ïïíæìôëôêôïëô
   -°±«-»-                   Í«¾¶»½¬                   éëæîì èêæí èéæîï çíæîí
                                                                                  ïêôîîôîíôîë ïïìæìôëôîî
    ïðèæîí                    èíæïð èèæïé              ïîìæí ïíéæïé ïíèæïðôïï
                                                                                  ïïëæíôìôïèôîðôîë ïïêæçô
                                                       ïíçæïî ïëëæïè ïëéæí
   Í¬                        -«¾³·--·±²                ïêðæîîôîí
                                                                                  ïðôïèôîð ïïéæîôìôéôïïô
    ïðèæïé                    èîæïî çîæïé                                         ïè ïïèæîôíôïïôïî
                                                      -«®°®·-»                    ïîðæïìôïêôîí ïîïæîí
   -¬¿ºº                     -«¾³·--·±²-               ïðéæè                      ïîëæïð ïíéæïî ïìçæîí
    ïëîæïì                    îîæïç ïíëæïé
                                                      -«®°®·-»¼                  Ì¿´½ñ-±¿°-¬±²»
   Í¬¿²¼¿®¼                  -«¾³·¬¬»¼                 ïðéæíôïîôïí                ïïïæç ïïîæç
    ïðïæïï                    îíæïë ïíëæîî ïíèæîð
                                                      -«®®±«²¼·²¹                ¬¿´½«³
   -¬¿®¬                     -«¾-¬¿²½»                 êëæë                       ïîðæïëôîð
    ííæé ìèæïð éêæïï èíæèô    íîæïè êìæïî
    ïé ïîíæç ïëëæïí                                   -©»¿®                      ¬¿´µ
                             -«¾-¬¿²¬·ª»               éæè                        ëðæíôë ëíæì ëéæïéôîì
   -¬¿®¬»¼                    ìéæè                                                ëçæé êðæêôé èéæïí
    çíæïî                                             -©±®²                       ïðîæîî ïîîæï ïîêæïî
                             -«½½·²½¬´§                éæïç
   -¬¿®¬-                     îîæïï                                               ïíëæì ïìðæéôç
    ëêæîî                                             -§-¬»³                     ¬¿´µ»¼
                             -«»¼                      íîæîð êèæîì êçæëôïí
   -¬¿¬»                      ìêæì ìéæîí ìèæé ìçæîð                               ìîæîì èìæê èêæîï çíæïï
    íðæê ëìæïë                ëðæîí êëæïë ïíçæïê                                  ïïëæïð ïëêæë
                                                                  Ì
   -¬¿¬»¼                    -«ºº»®»¼                                            ¬¿´µ·²¹
    îîæïï íçæî ìîæïé          éëæïìôïè                                            îëæîì ìíæïçôîï ìêæïï
                                                      Ìó¿ó´ó½                     ëðæî ëçæçôïï éëæîîôîí
   -¬¿¬»³»²¬                 -«¹¹»-¬·²¹                ïîðæîí                     çêæè ïðéæïí ïïéæîì
    ïîïæé ïíéæî ïíèæïë        éîæç                                                ïîðæîðôîï ïëðæïë
                                                      ¬¿µ»
   -¬¿¬»³»²¬-                -«³                       íðæïí íïæê íëæîï íèæïé    ¬¿´µ-
    ïêæîð ïéæçôîí éìæîì       íëæç íêæîï íéæçôïï       ëïæê êëæîë éðæïë èïæïéô    ëëæïð ïïðæîì
    èçæíôè                    íçæïë                    ïç èëæê çìæïï ïîíæîï
                                                       ïîëæîì ïëëæïé ïëéæîî      ¬¿²µ-
   -¬¿¬»-                    Í«³³¿®§                                              ïïðæè
    êæë ïïíæïì ïíéæï          ïðçæîì                  ¬¿µ»²
                                                       ïçæì êëæïôêôç èëæç èçæï   ¬»´»°¸±²»
   -¬¿¬·²¹                   -«³³»®                                               éæïì
    ëìæïï                     íçæïë                    ïîîæïì ïëëæîî
                                                      ¬¿µ»-                      ¬»´´
   -¬¿¬«-                    Í«³³·¬                                               çæïëôïç íïæïé êìæïí
    êêæç                      ïìîæïé                   çðæîï
                                                                                  ïîéæîð ïííæïë ïíìæïè
   -¬»¿³                     -«°°´·»¼                 ¬¿´½                        ïìðæë ïëïæîë ïëîæì
    ïïðæé                     ïïíæïëôîî                çæèôïê ïðæéôïðôïïôïë       ïëèæî
                                                       ïïæïíôïìôïèôîì ïîæïôíô
   -¬»°                      -«°°´·»®                  ïìôîì ïíæî ïìæè ïëæï      ¬»´´-
    ëèæë                      êïæïç ïïîæîë ïîïæïì      îëæê ììæèôïë ìêæïèôîî      íëæïë
                                                       êðæîì êïæïôïç êìæîí       ¬»®³
   -¬·°«´¿¬»                 -«°°´·»®-
                                                       ééæîí éèæïôîðôîï éçæïô     éîæïì éèæë
    ïîïæïî                    ëíæïìôîï
                                                       ìôëôê èðæíôçôïìôïèôîïô
   -¬·°«´¿¬»¼                -«°°±-»¼                  îì èçæìôëôçôïð çêæîë      ¬»®³-
    ïîïæïï                    éæïð ïëîæïè              çéæì çèæïìôîî ççæí         ïïæç ïîæîî ïëæïïôîí
                                                       ïððæïðôîî ïðïæïî           îéæï îèæë íìæîî ìïæîí



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                                ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                             ·îí
    ìîæç ëïæë ëéæîð êèæïð     ¬¸·²µ·²¹                   ¬±°                        Ì«²·-
    éëæîë éçæïë èêæèôïî        ëðæé                       íïæïé ïîíæì ïíìæîï         éæçôïï ïëçæïíôïéôîð
    çéæîí ïðîæïç ïîèæîï                                                              ïêîæïì ïêíæïí
                              Ì¸±³¿-                     ¬±°·½
    ïíðæïî ïíîæïë ïìêæïë
                               éæïï êïæíôïë èèæïí         êëæé ïîêæîë               ¬«®²
    ïëíæïç
                               ïëçæîðôîí                                             ëîæîì êðæîï éíæé éìæîô
                                                         ¬±°·½-
   ¬»-¬·º·»¼                                                                         ïé èèæé çêæïé ïððæïé
                              ¬¸±«¹¸¬                     ïëëæê
    éæîð ïðæí éêæîì ïïîæïí                                                           ïðîæë ïðíæï ïðëæïî
                               éëæîð ïëðæç
                                                         ¬±¬¿´                       ïðèæí ïðçæîî ïïðæí
   ¬»-¬·º§
                              ¬¸±«-¿²¼                    ïðïæïê ïðîæïì ïðéæé        ïïíæèôçôïï ïïçæë ïîðæè
    çíæí
                               ïìèæî                                                 ïîïæê ïííæïí ïíêæîì
                                                         ¬±¬¿´´§
   ¬»-¬·º§·²¹                                                                        ïíéæîï
                              ¬¸®»»                       îïæïç
    çíæè
                               îðæïî îïæê îèæïð ìðæïèô                              Ì«®²·²¹
                                                         ¬®¿½µ
   ¬»-¬·³±²§                   îí ìïæïïôïèôïç ëïæîð                                  êîæè êìæïç ïïìæè
                                                          ïêîæïî
    ïîîæîð                     çèæïî ççæè
                                                                                    ¬©±
                                                         Ì®¿ª»´»®-
   ¬¸¿²µ                      ¬·³»                                                   îïæê íðæïë êíæìôêôïè
                                                          ïìðæîë
    ïðïæè ïîìæïï ïëçæïð        êæè ïèæïê îëæîð ìïæïî                                 éçæï ïðîæïé ïìèæï
                               ëèæïè êîæï êíæïôïë        ¬®»³±´·¬»                   ïëëæï
   Ì¸¿²µ-
                               êéæïìôïê êèæîí éëæîî       ïïíæïé
    ïëëæïç                                                                          ¬§°·½¿´
                               èðæèôïð èîæì èëæèôïï
                                                         ¬®·¿´                       éìæë
   ¬¸»®»ù-                     çðæîð ïïïæî ïîîæíôïíô
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                               ÓßÎ×ÔÇÒ ØÑÔÔÛÇ ó ðìñðëñîðïé                                             ·îì
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